Case 23-589, Document 74, 01/17/2024, 3604428, Page1 of 264




             23-589
                                IN THE

   United States Court of Appeals
       for the Second Circuit
               ___________________________________________


                MICHAEL DAVIS-GUIDER,
                       Plaintiff-Appellant,

                             – v. –

   CITY OF TROY, RONALD FOUNTAIN, INDIVIDUALLY,
         DANIELLE COONRADT, INDIVIDUALLY,
         CHARLES MCDONALD, INDIVIDUALLY,
            TIM COLANERI, INDIVIDUALLY,
 Defendants-Cross-Claimants-Counter-Claimants-Appellees,

               RENSSELAER COUNTY,
           MICHAEL SIKIRICA, INDIVIDUALLY,
 Defendants-Cross-Claimants-Counter-Claimants-Appellees.

              _________________________________________

      On Appeal from the United States District Court
          for the Northern District of New York
             Case No. 1:17-cv-1290 (FJS/DJS)



           APPENDIX VOLUME 7 OF 11
             Case 23-589, Document 74, 01/17/2024, 3604428, Page2 of 264

              APPENDIX VOLUME 7 TABLE OF CONTENTS


ECF 116-1: Ronald Fountain Affidavit with Exhibit “A”,

Exhibit “B”, Exhibit “C”, and Exhibit “D” .................................. 1254

ECF 116-2: Danielle Coonradt Affidavit with Exhibit “A”

and Exhibit “B” ............................................................................ 1272

ECF 116-3: Jamshid Holehan Affidavit with Exhibit “A”,

Exhibit “B”, Exhibit “C”, Exhibit “D”, Exhibit “E”, Exhibit “F”,

Exhibit “G”, Exhibit “H”, Exhibit “I”, and Exhibit “J” ............... 1283

ECF 116-4: Adam R. Mason Affidavit ........................................ 1310

ECF 116-5: Tim Colaneri Affidavit............................................. 1314

ECF 116-6: Charles McDonald Affidavit.................................... 1319

ECF 116-7: Rhiannon I. Spencer Attorney Declaration with

Exhibit “A”, Exhibit “B”, and Exhibit “C” .................................. 1325

ECF 116-8: City Defendants’ Statement of Material Facts ...... 1443

ECF 121: Plaintiff’s Response to the County Defendants’

Statement of Material Facts ....................................................... 1452

ECF 121-1: Plaintiff’s Local Rule 56.1 Counter Statement ...... 1467

ECF 122: Plaintiff’s Response to the City Defendants’

Statement of Material Facts ....................................................... 1485

ECF 122-1: Plaintiff’s Local Rule 56.1 Counter Statement ...... 1492

ECF 123: Declaration of Brett H. Klein ..................................... 1510
              Case 23-589, Document 74, 01/17/2024, 3604428, Page3 of 264
                                         APPENDIX                                          1254



UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

MICHAEL DAVIS-GUIDER,

                                        Plaintiff,                   RONALD FOUNTAIN
                                                                         AFFIDAVIT
                -against-                                            Case No.: l: 17-cv-1290
                                                                           (FJS/DJS)
CITY OF TROY, RONALD FOUNTAIN, Individually,
DANIELLE COONRADT, Individually, CHARLES
MCDONALD, Individually, TIM COLANERI, Individually,
ADAM R. MASON, Individually, RENSSELAER COUNTY,
MICHAEL SIKIRICA, Individually, and
JOEL ABELOYE, Individually,
                                Defendants.


STATE OF NEW YORK                        )
                                         )ss.:
COUNTY OF RENSSELAER                     )

        RONALD FOUNTAIN, being duly sworn deposes and says:

         1.     I am a defendant in the above-captioned matter and as such I am fully familiar with

the facts and circumstances herein. I make this Affidavit in support of my motion for summary

judgment as well as all City Defendants' motion for summary judgment.

         2.     In February 2015, I was employed by the Troy Police Department ("TPD") as a

patrolman assigned to the Detective Bureau, commonly referred to as a Detective-Sergeant.

         3.     I was on duty on February 26, 2015, when I received a directive from my supervisor

to report to an address for a juvenile cardiac arrest.

        4.     I responded to the scene with co-Defendant, Charles McDonald ("McDonald").

        5.     When I arrived on scene, V.D. was already in transporl to the hospital and I

observed the Plaintiff standing outside with his girlfriend, Rebecca Parker who I learned was the
               Case 23-589, Document 74, 01/17/2024, 3604428, Page4 of 264
                                        APPENDIX                                             1255



biological mother of V.D.

         6.     I asked the Plaintiff and Ms. Parker if they would accompany us to TPD central

station to provide additional information which both individuals voluntarily agreed to do.

         7.     McDonald and I gave the Plaintiff a ride in an unmarked police car and Ms. Parker

was provided a ride by Officer Rasmussen.

         8.     At that point, we had no knowledge ofV.D.'s status or what had happened.

         9.     The Plaintiff was brought into McDonald's Office and Ms. Parker was brought to

a different office.

         10.     About the time we arrived at the police station, I was informed that V.D. had died.

         11.     I then responded to the hospital where V .D. had been taken.

         12.    The Plaintiff remained at the police station with McDonald.

         13.     At the hospital, I was informed that V.D. had died under unknown circumstances.

         14.     Co-Defendant Tim Colaneri ("Colaneri") and I returned to the police station where

the Plaintiff was still waiting with McDonald.

         15.     We asked the Plaintiff some questions regarding V.D.'s health and activities during

the days and hours leading up to the Plaintiff finding her unresponsive.

         16.     We asked the Plaintiff if he would consent to TPD searching his home, and he

signed a TPD form document granting us permission. (Holehan Exhibit "B").

         17.     I also applied for a search warrant which was granted.

         18.     The Plaintiff remained at the police station, and I reported to his residence to

execute the search warrant.

         19.     After the search warrant was executed upon, the Plaintiff left the police station.


                                                   2
               Case 23-589, Document 74, 01/17/2024, 3604428, Page5 of 264
                                        APPENDIX                                             1256



        20.      To the best of my recollection, I spoke with the assigned Child Protective Service

("CPS") worker on the matter.

        21.      To the best of my recollection, V.D.'s biological father was also informed that V.D.

had passed.

        22.      At that time, we had no idea what had happened to V.D. or what could have caused

her sudden death.

        23.      The following day, February 27, 2015, I attended V.D.'s autopsy that was

conducted by co-Defendant Dr. Sikirica along with McDonald, Colaneri, TPD Evidence

Technician Officer Buttofucco and Rensselaer County Assistant District Attorney Andra

Ackerman.

        24.      I have attended other autopsies conducted by Dr. Sikirica.

         25.     It is not uncommon for the police or a member of the District Attorney's Office to

attend an autopsy especially when a seemingly healthy child has died of unknown or suspicious

circumstances.

         26.     Based upon my training and experience, an investigator would attend an autopsy to

obtain a preliminary understanding of the nature of the victim's injuries to further the investigation

in the matter.

         27.     Based upon my training and experience, an evidence technician would attend an

autopsy to collect relevant evidence in order to maintain the chain of custody.

         28.     During V.D. 's autopsy on February 27, 2015, I recall that Dr. Sikirica explained his

preliminary medical observations which was that V.D. had broken ribs and a lacerated liver.

         29.     I believe that during V.D.'s autopsy, Dr. Sikirica explained that such injuries were


                                                   3
              Case 23-589, Document 74, 01/17/2024, 3604428, Page6 of 264
                                         APPENDIX                                            1257



very extensive and unlike anything that would be expected if her death was accidental.

        30.     During V.D.'s autopsy, I never told or directed Dr. Sikirica how to perform his

autopsy or what his results should be.

        31.     Nor did I observe any other individual then present engage in such alleged conduct.

        32.     We were all in attendance to try and understand how a seemingly healthy infant

was suddenly found unresponsive and subsequently died.

        33.     Based upon Dr. Sikirica's preliminary medical observations, it appeared that V.D.'s

death was suspicious and required further investigation while Dr. Sikirica conducted additional

medical testing.

        34.     After the autopsy was completed, on February 27, 2015, McDonald and I went to

the Plaintiff's house and spoke with him briefly.

        35.     We asked the Plaintiff if he would agree to going to the police station for a follow-

up interview.

        36.     The Plaintiff agreed to an interview and went to the police station on March 2, 2015

for said interview.

        37.     On or about March 1, 2015, I completed a TDP form document referred to as an

Investigation Report which documented McDonald's and my actions in the investigation during

the days leading up to the March 2, 2015 interview. (A true and accurate copy of said form

document is attached hereto as Exhibit "A").

        38.     On March 2, 2015, I interviewed the Plaintiff at the police station and said interview

was recorded.

        39.     The Plaintiff was read his rights and he voluntarily signed a Miranda waiver. (A


                                                  4
              Case 23-589, Document 74, 01/17/2024, 3604428, Page7 of 264
                                        APPENDIX                                               1258



copy of the Plaintiffs Miranda Waiver is attached hereto as Exhibit "B").

        40.    During the interview, I asked the Plaintiff questions regarding his care of V.D.

        41.    In relevant part, the Plaintiff explained that he was the only individual, aside from

Ms. Parker, who had been with V.D. during the days leading up to her death and that he was a

primary caregiver for V.D. while Ms. Parker worked.

        42.    In relevant part, the Plaintiff explained that the week or two prior to V.D.'s death,

she had been sick with cold symptoms.

        43.     In relevant part, the Plaintiff stated in sum and substance, that on the morning of

February 26, 2015, V.D. had woken up around 8:00-8:30 a.m. and he had changed her diaper and

gave her a bottle to go lay back down.

        44.     In relevant part, the Plaintiff stated he put a movie on and fell back to sleep himself.

        45.     In relevant part, the Plaintiff stated that he woke up and called out to get V.D.'s

attention but she did not respond.

        46.    In relevant part, the Plaintiff stated that he then went into V.D's room and found

her unresponsive in the bed and attempted to perform CPR.

        47.     In relevant part, the Plaintiff stated that CPR did not do anything, and he then

brought her out to the living room and placed her on the futon and briefly attempted CPR again.

        48.     In relevant part, the Plaintiff stated that he tried to call 911 from the home but he

did not have a working phone, so he ran outside to try and knock on the door of his neighbors, but

nobody answered.

        49.     In relevant part, the Plaintiff stated he ran into Testo's Restaurant and borrowed an

employee's phone to call 911.


                                                   5
                Case 23-589, Document 74, 01/17/2024, 3604428, Page8 of 264
                                          APPENDIX                                              1259



          50.     In relevant part, the Plaintiff stated that for over 20 minutes the 911 operator kept

asking him questions and he eventually hung up on the operator and ran back to V.D.

          51.     ln relevant part, the Plaintiff stated that as he ran back to the house, Ms. Parker had

arrived home from work and the Plaintiff told her to call 911.

          52.     Shortly thereafter, the paramedics arrived and began working on V.D. while he

stayed outside.

          53.     I asked the Plaintiff to demonstrate on a doll how he performed CPR on V.D. which

he did.

          54.     Shortly thereafter, the interview concluded and the Plaintiff left the police station.

          55.     To the best of my recollection, I provided a copy of the interview of the Plaintiff to

Dr. Sikirica.

          56.     During said March 2, 2015, the Plaintiff gave me the cell phone he had attempted

to use to call 911 after he found the Plaintiff unresponsive.

          57.     I maintained said cell phone in the case file for further investigation at some later

time.

          58.     Through the investigation, witness statements were also obtained from Ms. Parker,

Mr. Brown who had driven Ms. Parker home from work on February 26, 2015, various responding

paramedics and the emergency room doctor. (Statements attached to Holehan Affidavit).

          59.     In Ms. Parker's March 2, 2015 statement, she confirmed that she left for work on

February 26, 2015, around 8:00 a.m. and had seen V.D. in the hallway before she left. (SeeExhibit

"D" to Holehan Affidavit).

          60.     Ms. Parker stated that she worked until approximately 1:00 p.m. and then received


                                                     6
              Case 23-589, Document 74, 01/17/2024, 3604428, Page9 of 264
                                       APPENDIX                                            1260



a ride home from her friend Russell Brown.

        61.    Ms. Parker stated that she arrived home at 1:23 p.m. and the Plaintiff was running

from across the street telling her to call 911. (SeeExhibit "D'' to Holehan Affidavit).

        62.    Through a search warrant, we obtained the register information from Ms. Parker's

employer, and we confirmed that Ms. Parker was at work during the time she stated.

        63.    During that time, I had spoken with other individuals in furtherance of the

investigation including V.D.'s biological father and the mother of the Plaintiffs child.

        64.    At that point in the investigation, we had obtained background information

including criminal history and other CPS complaints regarding all relevant individuals involved.

        65.    On March 12, 2015, I attended a meeting with Dr. Sikirica, Detective-Sergeant

Parrow, Colaneri, co-Defendant Adam Mason ("Mason"), and Rensselaer County District

Attorney Andra Ackerman.

        66.    During said meeting, Dr. Sikirica further explained his preliminary medical

findings.

        67.    At that point, I believe Dr. Sikirica had stated that he found no basis for V.D. to

have been found unresponsive and that the death was suspicious.

        68.    In or about late August 2015, Dr. Sikirica provided his final autopsy report.

        69.    Dr. Sikirica ruled V .D.'s death a homicide.

        70.    On September 9, 2015, I interviewed the Plaintiff again.

        71.    The Plaintiff was read his rights and voluntarily signed a Miranda Waiver. (A true

and accurate copy of the 9/9/15 Miranda Waiver is attached hereto as Exhibit ''C").

        72.    During the September 9, 2015 interview, the Plaintiff did not provide any additional


                                                 7
               Case 23-589, Document 74, 01/17/2024, 3604428, Page10 of 264
                                        APPENDIX                                               1261



information than what we already knew.

        73.      At various times throughout the investigation, I spoke with and provided the

assigned Rensselaer County Assistant District Attorney a copy of the information and evidence

obtained.

        74.      The Rensselaer County District Attorney's Office decided to present the case to a

grand jury.

        75.      I never directed the Rensselaer County District Attorney's Office on whether the

case should be presented to a grand jury or not.

        76.      I simply investigated the matter and provided all relevant information I had

obtained to the District Attorney's Office for them to decided if they believed that there existed

enough evidence to move forward with charges against any individual for V .D.'s death.

        77.      On September 29, 2015, I testified before the grand jury.

        78.      I testified truthfully and accurately as to the information I had obtained.

        79.      I did not testify before the grand jury regarding any medical findings or medical

aspects of V.D.' s death.

        80.      To the best of my knowledge, Dr. Sikirica also testified before the grand jury as to

the medical aspects ofV.D.'s death.

         81.     Prior to testifying before the grand jury, I met with the assigned Rensselaer County

Assistant District Attorney to prepare my testimony.

         82.     The grand jury ultimately handed down an indictment against the Plaintiff.

         83.     A warrant for the Plaintiffs arrest was obtained pursuant to said indictment.

         84.     On October 2, 2015, the arrest warrant for the Plaintiff was executed upon which I


                                                   8
              Case 23-589, Document 74, 01/17/2024, 3604428, Page11 of 264
                                         APPENDIX                                              1262



was present for. (A copy of the Arrest Report I created is attached hereto as Exhibit "D").

        85.      I believe probable cause existed to arrest the Plaintiff based upon the arrest warrant.

        86.      The Plaintiff was also arraigned on October 2, 2015 and held without bail.

        87.      I retired from the TPD in or about March 2016.

        88.      To the best of my recollection, I testified at a suppression hearing.

        89.      Prior to testifying at the suppression hearing, I believe I met with the assigned

Rensselaer County Assistant District Attorney to prepare my testimony.

        90.      On or about June 8, 2016, Detective-Sergeant Parrow informed me that the TPD

wanted to obtain a search warrant to search the cell phone that the Plaintiff had given to me during

the March 2, 2015 meeting and I signed an Affidavit in furtherance of said application. (A copy

of said search warrant is attached as Exhibit "J" to Holehan Affidavit).

        91.      On August 22, 2016, I testified at the Plaintiffs criminal trial.

        92.      Prior to testifying at the criminal trial, I met with the assigned Rensselaer County

Assistant District Attorney to prepare my testimony.

        93.      I again testified truthfully and honestly as to my activities throughout the

investigation ofV.D. 's death.

        94.      I do not believe that I ever met with co-Defendant Joel Abelove at any point in time

in connection with this investigation.

        95.      I did not conspire with any individual to improperly influence V.D.'s death

investigation.

        96.      I had no reason to intervene to prevent any alleged constitutional deprivation as

such never occurred.


                                                    9
               Case 23-589, Document 74, 01/17/2024, 3604428, Page12 of 264
                                                APPENDIX                                   1263



          WHEREFORE, Defendant prays for an Order granting the City Defendants' motion for

  summary judgment pursuant to Fed. R. Civ. P. 56(a) together with such other and further relief as

  this Court deems just and proper.




  Sworn to before me this
  _£_ day or~ !-!A-...        J ,2022.
"'---~-2              C:                 :::,
  NotaryPublic,~tate of N~

          ROBERTW. SPONZO,JR.
     NOTARY PUBIJC, STATE or NEW YORK
         Regl~tration No. 01 SPS.1O8/28
           Qualified in Warren County
    Commission Expires September 6, 20 ~ '1
Case 23-589, Document 74, 01/17/2024, 3604428, Page13 of 264
                     APPENDIX                                  1264




EXHIBIT '' A''
              Case 23-589, Document 74, 01/17/2024, 3604428, Page14 of 264
                                          APPENDIX                                              1265

                                 TROY POLICE DEPARTMENT
                                     INVESTIGATION REPORT
VICTJM'SNAME:                            REPORTDATE:                 INCIDENTNUMBER:        DB NUMBER:
Suspicious Death Inv                     03-01-15                    20320-15



                                           NARRATIVE
       I/Os responded to 856-for           a child death call. Upon arrival saw a Female and
       Male subject sitting on fron step of residence. 1/0 was briefed by Ptls Rasmussen and
       Coonradt to the specifics 2 ½ year old female vi transported to St Mary's hospital by
      TFD believed un responsive. I/Os spoke with subject sitting in front of residence both
      were very quiet when introduced to us by patrol. Subject one and caretaker of child
      during time of death was a Michael L Davis-Guider-              and Mother of Victim was
      Rebecca Parker -           . Both were asked to come to       n and talk with I/Os. Both
      agreed Davis-Guider rode with I/Os in front seat due to his size. Female Parker was
      driven to CS by Ptl Rasmussenin front seat of his patrol car. Upon anival at CS Davis-
      Guider was in Det CP Mcdonaldsoffice and Parker was in 2nd floor DB office. 1/0 was
      then notified that 2 ½ year old Vi \.9 Dllll11a had passed. VO then informed
     Parker who was brought to St Marys hospital. 1/Os then iJ°I with Davis-Guider in
      McDonaJdsOffice. Notes taken on Days events at 856               . Only people at 856-
    ....     Floor were Davis-Guider and ~ from 0830 hours to aprox 1PM.
                                                                       1/o then applied or a search
     warrant of residence 856 ~oor.               Also permission to search apt. was granted and
     signed by Davis-Guider. Search warrant was executed ETs Buttafuoco and Marble
     processed scene. ET reports are available. VO along with Sgt T Colaneri also at scene
     during ET processing.                   I/Os then again spoke with Davis-Guider who had
     been sitting with Mcdonald during search warrant execution. Davis-Guider then left
     station with 1with Parker they were picked up by Russell Brown. 2..21:..lj I/Os
     responded to AMC for Autopsy also present were Sgt T Colaneri ET Buttafuoco ADA A
     Ackerman. Dr M Sickidka perfonned Autopsy with his staf£ Results to follow.
                     Aprox 1PM I/Os sto_ppedat residence on1111!1to speak with Parker and
     Davis-Guider they were present also Parkers Mother Nancy Parker and Aunt Mercedes
    Hall-Chestaro were present. Again asked Davis-Guider a couple of questions and also
    answered questions pertaining to child and next steps in process. I/O advised family and
    Davis-Guider that we could meet Monday 3-2-15 and go over entire incident all agreed to
    meet at police station 3-2-15.




    DETECTIVEASSIGNED                                    fSORAPPROVAL                 PAGENUMBER
    Fountain/CP Mcdonald

    CASE STATUS:
Case 23-589, Document 74, 01/17/2024, 3604428, Page15 of 264
                     APPENDIX                                  1266




EXHIBIT ''B''
               Case 23-589, Document 74, 01/17/2024, 3604428, Page16 of 264
                                        APPENDIX                                   1267
 CITY OF TROY POLICE DEPARTMENT

 Control#   ~~<i-V
 YOUR RlGHTS EXPLAINED



                                                                    Time _______      _



 Before we ask you any questions, you must understand your rights.

 You have the right to remain silent.

 Anything you say can and will be used against you in court.

You have a right to talk to a lawyer for advice before we ask you any questions and to have him
with you during questioning.

If you cannot afford a lawyer, one will be appointed for you before any questioning, if you
wish.

If you decide to answer questions now without a lawyer present, you still have the right to stop
answering at any time. You also have the right to stop answering at any time until you talk with
a lawyer.

WAIVEROF RIGHTS
I have read this statement of my rights and I understand what my rights are. I am willing to
make a statement and answer questions. I do not want a lawyer at this time. I understand and
know what I am doing. No promises or threats have been-made to me and no pressure or
coercion of any kind has been used against me.            !7-
                                                         ,../J
                                        Signed:   ;<a~-----------

                                   Print Name: _________________                            _




Time:

Date:



TROY POLICE DEPARTMENT


                                           000443
Case 23-589, Document 74, 01/17/2024, 3604428, Page17 of 264
                     APPENDIX                                  1268




EXHIBIT ''C''
                Case 23-589, Document 74, 01/17/2024, 3604428, Page18 of 264
                                            APPENDIX                                              1269
  Control#: _____                _      TROY POLICE DEPARTMENT




  YOUR RIGHTS EXPLAINED:

  Plac;Tr<?'f   ~~-'----
 Date:   C,~<;.\ S
 Time:CJ    ~t:
 Before we ask you any questions, you must understand your rights.

 You have the right to remain silent.

 Anything you say can and will be used against you in court.

 Your have a right to talk to a lawyer for advice before we ask you any questions and to have him with you
 during questioning.

 If you cannot afford a lawyer, one will be appointed for you before any questioning,if you wish.

 If you decide to answer questions now without a lawyer present, you still the right to stop answering at any
 time. You also have the right to stop answering at any time until you talk with a lawyer.

                                           WAIVER OF RIGHTS

I have read this statement of my rights and I understand what my rights are. I am willing to make a statement
and answer questions. I do not want a lawyer at this time. I understand and know what I am doing. No
promises or lhreats have been made to me and no pressure :rf\'ercion of any kmd has been used against me,
                                              Signed:¼~


                                         PrintName:   '{JIJI I, e[);,vf      '>
Wlmw~
Witness:~                  ~/'
                \ ')                                   I
Time:       OI .--,A=
Date:       9 ·') J(   r




                                                000442
Case 23-589, Document 74, 01/17/2024, 3604428, Page19 of 264
                     APPENDIX                                  1270




EXHIBIT ''D''
                                             Case 23-589, Document 74, 01/17/2024, 3604428, Page20 of 264
                                                                                                    APPENDIX                                                                                    1271
 I, NYSID Ne,                            J.OBTSNt.                                                                                                                            ◄.Rd.Ne,


                                                                                       ARREST REPORT
 $, F81 N.,                             C, ArrotH•.

                                        136346                               Tro Y-o Ice, Bureau
            ,. Nomt(Lui, Finl, Middle)                                                                       10,AUu / NINU\1mr/ M,ldut N1r11r(LMt, Flnt, Ml.dcUt)

         Davis-Guider          Michael Lero                                                                                          r--
                                                                                                             (C   Ii! T   O V   0)

                                                                                           Tro N 12182




                                                                                                                                                                                  (C O T O V Oj


                               .fS. Cta4fff .. ttDdc:t1:daa1at Am.ii
                                   0 lmp•l"t'    Drue, 0 Mt11td~
       1-"-X<L-"'.tlA-,---'-~Ou~llj/l!'-------t--------,---------'-~------~-----~-----------l
                          '49,Mlnnd1 17
                                                                             ,___
                                                                  SO,Mlrand•01111


                                                                                       St. Date




                  1.2 .20                   04        B         F            1         a          MAN

                  125.15                    01        C         F            2         0          MANSLAUGHTER2NO•Reckles                            0    9   9   9

       Pl         260.10                    01        A         M            0         0          END WEL CHILO-Under 17                             3 8 0




                                                                                                                                           VI - Yl<llo,       R£ • Rtlollff        RP• Rtldwr   I'.,...
                                                                                                                                             l•W                  •




      IS,
      above subject arrested for above charges wfo lncldont (Rons. Co. Indictment #16-1094) by members of the TPO and USMS RFTF

     neg wants neg col
w
>
~
ex
<
2:1-------------------------------------------------------~



                                                                                                                                                                                           ., ....
     86..A.rn1llnt Offlttr'a Siznalun

     Fountain Ronald J
     90. Arntl f\hd, At A R11,u1,orA $,O'IA;oc        Priflt ht,,utnutltn!       91.                    u.
                                                                                                                                                                                                      P•t:c.t
                     Ou                     ~
     DCJS )10) (1191 l/91)


                                                                                                             ,Gb1s-01roi
                                                                                                         001522
       CaseCase 23-589, Document
            1:17-cv-01290-DJS    74, 01/17/2024, 3604428,
                              ~~N1-bixiled                Page21
                                                     02/04/22    of 264
                                                               Page  1 of 1
                                                                                             1272



UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

MICHAEL DAVIS-GUIDER,

                                         Plaintiff,                   DANIELLECOONRADT
                                                                          AFFIDAVIT
                  -against-                                           CaseNo.: l:17-cv-1290
                                                                            (FJS/DJS)
CITY OF TROY, RONALD FOUNTAIN, Individually,
DANIELLE COONRADT, Individually, CHARLES
MCDONALD, Individually, TIM COLANERI, Individually,
ADAM R. MASON, Individually, RENSSELAER COUNTY,
MICHAEL SIKIRICA, Individually, and
JOEL ABELOVE, Individually,

                                         Defendants.


STATE OF IDAHO                   )
                                 )ss.:
COUNTYOFCANYON                   )

        DANIELLECOONRADT,being duly sworn deposes and says:

         1.       I am a defendant in the above-captioned matter and as such I am fully familiar with

the facts and circumstances herein. I make this Affidavit in support of both mine and the Troy

City Defendants' motion for summary judgment.

         2.       In February 2015, I was employed by the Troy Police Department ("TPD") as a

patrol officer.

         3.       I was on duty on February 26, 2015, patrolling the City of Troy in a marked police

car when I received a radio call regarding a juvenile cardiac arrest which I responded to.

         4.       I was the first responding officer on scene and, later that same day, I completed a

New York State Incident Report and TPD form document referred to as a Supplemental. (A true

and accurate copy of the New York State Incident Report and TPD Supplemental are attached
       CaseCase 23-589, Document
            1:17-cv-01290-DJS    74, 01/17/2024, 3604428,
                              ~~N1-bixiled                Page22
                                                     02/04/22    of 264
                                                               Page  2 of 1
                                                                                            1273



hereto as Exhibits "A" and "B" respectively).

        5.     When I arrived on scene, the fire department and paramedics were inside the house

performing CPR on the unresponsive infant. Outside the home, I observed the Plaintiff and

Rebecca Parker, the mother of the unresponsive infant later identified as Viola Davis ("V.D.").

        6.     I approached the Plaintiff and Ms. Parker and asked them what had happened.

        7.     The Plaintiff stated, in sum and substance, that V.D. had woken up around 8:30

a.m. and the Plaintiff had told her to go back to bed because it was too early. The Plaintiff further

stated that he then went to wake V.D. up around 11:00 a.m. and she would not wake up.

        8.     I responded to the Plaintiff in sum and substance by telling him that it was 1:30

p.m.

        9.     In response to my statement, the Plaintiff seemed confused and said, "time must be

flying then." (See, Exhibit "B").

         10.   After I spoke with the Plaintiff, I entered the apartment to see if I could observe

anything in plain view that may have contributed to V.D. being unresponsive. (See, Exhibit "B").

         11.   At this point, I had no idea what happened to V.D. and I was simply attempting to

assist in providing any information that could further her treatment.

         12.   At the time that I was walking around the apartment, the paramedics were still

performing CPR on V.D.

         13.   I observed a bottle of pills on a table in the living room and pointed them out to a

paramedic as something that may have contributed to V.D. being unresponsive. (See, Exhibit "B").

         14.   The paramedic stated that the bottle of pills was the narcotic, hydrocodone.

         15.   Shortly after my arrival, the paramedics transported V.D. to the hospital and the


                                                 2
       CaseCase 23-589, Document
            1:17-cv-01290-DJS    74, 01/17/2024, 3604428,
                              ~~N1-bixiled                Page23
                                                     02/04/22    of 264
                                                               Page  3 of 1
                                                                                            1274



Plaintiff and Ms. Parker voluntarily went with detectives to TPD central station.

        16.    At the directive of my supervisor, I remained on scene.

        17.    While I remained on scene, I was informed that V.D.' s time of death was 1408

hours and to continue remaining on scene while a search warrant was obtained.

        18.    While I held the scene for a search warrant, I prepared the TPD form document

Crime Scene Attendance Log which contains the names of all individuals on scene.

        19.    At that time, I contacted dispatch to obtain the names of the first responders to

include them on the Crime Scene Attendance Log.

        20.    Based upon the nature of the call, I was obligated by law to inform Child Protective

Services ("CPS") which I did by calling the CPS hotline while at the scene.

        21.    I also completed the mandatory New York State Report of Suspected Child Abuse

or Maltreatment form.

        22.    At 1600 hours my shift ended, and I was relieved by Officer Balarin who I provided

the Crime Scene Attendance Log to.

        23.    At the time of my relief, a search warrant was not yet being executed upon.

        24.    I was not present when members of the TPD searched the home.

        25.    I did not obtain any witness depositions or statements aside from the statement by

the Plaintiff as contained on the Supplemental.

        26.    I did not participate in any other aspect of the investigation into V.D.'s death.

        27.    I did not attend V.D.'s autopsy nor did I have any knowledge about the autopsy.

        28.    I never spoke to co-Defendant Dr. Sikirica about the autopsy, his results, or any

aspect of the medical findings or TPD's investigation.


                                                  3
        CaseCase 23-589, Document
             1:17-cv-01290-DJS    74, 01/17/2024, 3604428,
                               ~~N1-bixiled                Page24
                                                      02/04/22    of 264
                                                                Page  4 of 1
                                                                                           1275



         29.      I did not testify before the grand jury, nor did I have knowledge of the evidence

presented to said grand jury.

         30.      I was not present when the Plaintiff was arrested in October 2015.

         31.      In or about February 2016, I transferred from the TPD to the Lake Placid Police

Department to be closer to my family.

         32.      On May 3, 2016, I testified at a suppression hearing in connection with the

statement I obtained by the Plaintiff as contained on the Supplemental attached as Exhibit "B".

         33.      To the best of my recollection, I either spoke or met with the prosecutor assigned

to the matter to prepare my suppression hearing testimony.

         34.      On August 19, 2016, I returned to Troy, New York to testify at the Plaintiffs

criminal trial.

         35.      I again testified in connection with the statement the Plaintiff made to me as

contained on the Supplemental attached hereto as Exhibit "B".

         36.      To the best of my recollection, I either spoke or met with the prosecutor assigned

to the matter to prepare for my trial testimony.

         37.      I never met with the Rensselaer County District Attorney at the time, co-Defendant

Joel Abelove, to discuss the Plaintiffs criminal matter or my testimony.

         38.      I did not observe or hear of any impropriety by any member of the TPD, by Dr.

Sikirica, or by and member of the Rensselaer County District Attorney's Office in connection with

the investigation into V.D.'s death nor the prosecution of the Plaintiff for the same.

         39.      I had no reason to intervene to prevent any alleged constitutional deprivation as

such never occurred.


                                                   4
       CaseCase 23-589, Document
            1:17-cv-01290-DJS    74, 01/17/2024, 3604428,
                              ~~N1-bixiled                Page25
                                                     02/04/22    of 264
                                                               Page  5 of 1
                                                                                            1276



       WHEREFORE,Defendant prays for an Order granting all City Defendants' motion for

summary judgment pursuant to Fed. R. Civ. P. 56(a) together with such other and further relief as

this Court deems just and proper.

                                                      ill~c~  Danielle Coonradt




S~m to befo~~s
    dayof~iA.!:ZJ'&            2022.
                                                        Fanny Reyes


~
                                                        Notary PubUc
                                                       State of Idaho
                                                    Commlssron No. 50248




                                                5
CaseCase 23-589, Document
     1:17-cv-01290-DJS    74, 01/17/2024, 3604428,
                       ~~N1-bixiled                Page26
                                              02/04/22    of 264
                                                        Page  6 of 1
                                                                   1277




 EXHIBIT '' A''
                                     J.D~,a_~~iled
                    Case 23-589, Document                   02/04/22Page27
                                          74, 01/17/2024, 3604428,    Pageof of 1\278
                                                                           7 264
              case 1:17-cv-01290-DJS D
                                     arr.£.il~IJJ.A



    .
t~e:J:t:l'.:11-1.I~D:IJU.Ail~-~=---=-_::..--;~~~~--=---,------..J_:::-:_j

                                                                                                                                           o.

                                                                                                                                           D.




~
 ,,                                                                                                           vtti/11 28
                                                                                                              ~~
                                                                                                                               plaNr,I ~
                                                                                                                                           ...
                                                                                                                                           &.




1r
~
                                                                                                                                           H.

~,:
 ,___.__....,._..
                                                                                                                                           J.




                                                          78. IDNo.
                                                          7624
         ••

      DCJ94i :S (11/DO)
                    . . ·:.
                              •

                      ,'FIUIE SlATEMENTS
                                  .'
                                                     0UnloMded    ClVl<IJm
                                                     <ldy D"'-'-J""
                                                                        Rel1111dI
                                                                      OOlllndo_r

                                       "I'll! PUNIStt/\OleMA Cltl~e. PUllSVANT-TO
                                                '·               .      • .
                                                                                         •

                                                                                             .
                                                                                                 .

                                                                                                     I.Aw
                                                                                TIIE NEWVORKSTATE.PEW,L
                                                                                                     :
                                                                                                        .
                                                                                                         ,,
                                                                                                                           -
CaseCase 23-589, Document
     1:17-cv-01290-DJS    74, 01/17/2024, 3604428,
                       ~~N1-bixiled                Page28
                                              02/04/22    of 264
                                                        Page  8 of 1
                                                                   1279




  EXHIBIT ''B''
                                 Case 23-589, Document 74, 01/17/2024, 3604428, Page29 of 264

    'rYPE OF ORIGINAL REPORT           NAM£ OF sue.J£CT   (VICTIM,   DEFENDANT)




                     CASE STATUS:                                     )(· open/active
                0 CLEARED AS FOLLOWS:       D arrest             D warrant obtained            D compl. refused prosec.
                                             0 death of ollender            O outside prosecution            D juvenile
                                            SECOND OFFICER                        EMP. NO,   AP   Q. IN   FIOE       £MP, NO,    PM~ NO,
1po·RTING OFFICER                                                                                                   7'1(07- '/3
          oviro.olt-
PfO"r 1'O1..ICE OE lll!TMEIIIT
                                                                                                                          T. P.O. -   120
                                  Case 23-589, Document 74, 01/17/2024, 3604428, Page30 of 264

   ~ OF ORIGINAL         REPORT

            r')     ~ ~




                                   ----------

    ,   - -- ---- ----




                  CASE STATUS:        D unfounded                   G-1,'pen/actlve               D closed/not cleared
             0 CLEARED AS FOLLOWS:              D arrest            D warrant obtained            D comp!. refused prosec.
                                                 0 death ol offender           O outside prosecution            O Juvenile
£PORTING OFFICE:R                               SEC:::ONO
                                                        O_FFIO~R              tMP. NO,   A   ROVING                    EMP. NO,
:·o Ovl t'""OC-{f-                                                                                                     Pf6'-
qov POl CE DEPARTMEr,IT
                                                                                                                             T. P. D. -   120 1
                                                                                                                                            ~
                                                                                                                                            "
                        Case 23-589, Document 74, 01/17/2024, 3604428, Page31 of 264




 -------··---------                                          ------·----                                ...·----                  - -     ·--·-------
                                                                        ---         ----♦----                    •   -··-·----·                  ---




                      -----                   ·-----              --····---···---                                       . ---------


                                                                                                                                                  ------
                                                                       ---                ---·          .. ---------                    ----           -· ---
-----------------------···-                                                   ------
•----------------------··                                            ----              ----      ------


                                                                                          -----·                     --------------
                                                                                                          ·-··----------------


 . --·-·-----


                     ---·-·------

                CASE STATUS:  0 unfounded                         ~n/actlve                                    D closed/not cleared
            D CLEARED AS FOLLOWS:    D arrest                 O warrant obtained                               D comp!. retuald proaec.
                                            D death of offender                   D. outside pro$ecutlon                            O Juvanlle
    RTING   FFICER             EMP. NO,   SECOND.OFFICER                         El,IP.    0,      PP      I                               EMP. NO.        PAGENO.

            ro.dr                                                                                                                          ~'-·V.
                                                                                                                                                 T. P. D. -     120
       CaseCase 23-589, Document
            1:17-cv-01290-DJS    74, 01/17/2024, 3604428,
                              ~~N1tJIXiled                Page32
                                                     02/04/22    of 264
                                                               Page  1 of 2
                                                                                        1283



UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

MICHAEL DAVIS-GUIDER,

                                       Plaintiff,                    JAMSHIDHOLEHAN
                                                                        AFFIDAVIT
                  -against-                                          CaseNo.: l:17-cv-1290
                                                                           (FJS/DJS)
CITY OF TROY, RONALD FOUNTAIN, Individually,
DANIELLE COONRADT, Individually, CHARLES
MCDONALD, Individually, TIM COLANERI, Individually,
ADAM R. MASON, Individually, RENSSELAER COUNTY,
MICHAEL SIKIRICA, Individually, and JOEL ABELOVE, Individually
                                Defendants.


STATE OF NEW YORK                      )
                                       ) ss:
COUNTY OF RENSSELAER                   )

           JAMSHIDHOLEHAN,being duly sworn, deposes and says:

           1.     That I am one of the custodians of records for the Troy Police Department and I

submit this affidavit in support of a motion made on behalf of the defendants above named seeking

an order granting summary judgment in defendants' favor dismissing the complaint of the plaintiff

and the claims asserted therein.

           2.    I am a Sergeant with the Troy Police Department, and I am a custodian of records

therein.

           3.    The following relevant documents attached hereto are true and accurate copies of

documents kept by Troy Police Department in the regular course of business, and it is the Troy

Police Department's regular course of business for such documentation to be created or acquired

during an investigation:

           a. Exhibit "A": Crime Scene Log dated February 26, 2015
        CaseCase 23-589, Document
             1:17-cv-01290-DJS    74, 01/17/2024, 3604428,
                               ~~N1tJIXiled                Page33
                                                      02/04/22    of 264
                                                                Page  2 of 2
                                                                                             1284



        b. Exhibit "B": "Davis Permission to Search Residence;

        c. Exhibit "C": Deposition of a witness: Michael Bayly dated February 27, 2015;

        d. Exhibit "D": Deposition of a witness, Rebecca Parker, dated March 2, 2015;

        e. Exhibit "E": Deposition of a witness, Frank H. Shoemaker, III, dated March 2, 2015;

         f. Exhibit "F": Deposition of a witness, James D. Tidings, dated March 2, 2015;

        g. Exhibit "G": Deposition of a witness, Jason S. Lucey, dated March 2, 2015;

        h. Exhibit "H": Deposition of a witness, Kathleen Crisafulli, dated March 5, 2015;

        1.    Exhibit "I": Deposition of a witness, Russell E. Brown, dated March 6, 2015;

        j.    Exhibit "J": Search Warrant Application dated June 27, 2016.



Date: February j_, 2022.




Swoan to before me this
 '!:>"day of February, 2022.
~&
Notary Public, State ~York
                           a--


        RHIANNON I. SPENCER
  NOTARYPUBLIC,STATEOF NEWYORK
     RegistrationNo.02SP6393260
      Qualtfiedin AlbanyCounty ,.. r.i
   Commlsslon Expires June 10, 2r,,,,;../.J




                                                  2
CaseCase 23-589, Document
     1:17-cv-01290-DJS    74, 01/17/2024, 3604428,
                       ~~N1tJIXiled                Page34
                                              02/04/22    of 264
                                                        Page  3 of 2
                                                                       1285




  EXHIBIT '' A''
                   CaseCase  23-589, Document
                        1:17-cv-01290-DJS     74, 01/17/2024, 3604428,
                                           ~~N1tJIXiled                Page35
                                                                  02/04/22    of 264
                                                                           Page  4 of 27                            1286
                                              City of
                                                                                                           ~

•
CONTROL#
                                             TIO
                                 Crime Scene Attendance Log

                                                        DATE/TIMELOGSTARTED
                                                                                                   Pagel       of




INCIDENTLOCATION                                        DATE/TIMELOGENDED

  DATE                           AGENCY           TIME IN      TIME OUT                   RECORDING
                                                                                                  OFFICER/DATE/TIME

2/2'1 If




                                                                                      I

                                                                              I
                                                                                  I
                                                                              I

                                                                            I


                                                        1:0    \;     5
                                                        35     \100
                                                         35    \100
                                                        -
                                                        .__.



  TPD156 - 01/15
CaseCase 23-589, Document
     1:17-cv-01290-DJS    74, 01/17/2024, 3604428,
                       ~~N1tJIXiled                Page36
                                              02/04/22    of 264
                                                        Page  5 of 2
                                                                       1287




  EXHIBIT ''B''
                  Case
                Case 1:17-cv-01290-DJS           9t~NfJ1Xiled
                        23-589, Document 74, 01/17/2024, 3604428, Page37Page
                                                              02/04/22        6 of z
                                                                         of 264
                                                                                           1288
                                             Department of Police
                                                   CJTYOFTROY
                                                    SSSTATEST,
                                                  TROY, N.V.12180



  Control #      ) d) 'Lt>
                                       TROY POLICE DEPARTMENT

                                    PERMISSION TO SEARCH PREMISES

 I, MI L,/,l'le'I              If     bvu-                            'having been infonned of my

  constitutional right not have a search made of my premises hereinafter mentioned without a

  search warrant and of my right to refuse to consent to such a search, hereby

 authorize &fl#?tb<✓                p/J 71!(;(    Ttfvf(       #Jc~      ~/-:

MEMBERS OF THE TROY POLICE DEPARTMENT, to conduct a complete search of the

premises located at

The above named members of the Troy Police Department are authorized by me to take from

my premises any letters, papers, materials, or other property which they may require.

This written permission is being given by me to the above named members of the Troy Police

Department voluntarily and without threats or promises of any kind.

                          ,




Signed:.a"~ ........
                -.-."'9----------



Witnesses    /1"(,J/7.;M                             7jj'
                                                       J



                                                            L\




                                                  000528
CaseCase
     1:17-cv-01290-DJS   ~~N1tJIXiled
         23-589, Document 74, 01/17/2024, 3604428, Page38
                                              02/04/22    of 264
                                                        Page  7 of   2\289




  EXHIBIT ''C''
CaseCase
     1:17-cv-01290-DJS               ~~N1tJIXiled
         23-589, Document 74, 01/17/2024, 3604428, Page39
                                              02/04/22    of 264
                                                        Page  8 of                                 21290
                                                                                      Phone:
    Control#:          _20320-15     __
                                                                       Home: ____              _
   DEPOSITION OF A WITNESS
   STATE OF NEW YORI<
   COUNTYOF RENSSELAER
   CITY OF TROY


   Name: _ _ Michael            Bayly _____
                                                      •
                                                      _    Date
                                                                       Work:

                                                                       Cell--


                                                                    of birth:·--
                                                                                    ____       _




   Residing      at:    _City      of Troy     Fire   Department_        Age: ----

   Occupation,         Captain     Troy Fire     Department    ____             _

   Depose and say:               I would         like      to state        that      I was
   working       Engine 1 Station            City of Troy NY 12182 at about
   1:11 P.M. on February                 26 th 2015. My station              received        a
   Medical       call     for --Avenue                  1 st Floor Troy NY for 2
   yr. old in Cardiac              arrest.       Upon arrival        I enter        the 1 st
   floor      residence        and found          on a black           colored        bench
   couch a small black                female child.          She was unresponsive
   but warm to touch.                 An evaluation           showed she was not
  breathing.          Her pupils        were fixed         and dilated.         We began
  CPR protocol.            I attempted        to open the child            jaw, it was
  slightly        stiff.      I bagged         the child        and began pushing
  air.     Her jaw became more responsive.                        I then continued
  CPR with members of my unit.                     We administered           4 round of
  Epinephrine          and we electro            shocked      her after         she went
  into     to shock able            rhythm while           enroute      to St Mary's
  hospital.        I stayed       at the St Mary's             hospital        Emergency
  rooms      and assisted            in the        treatment.       After        she was
 pronounced          by ER Doctor we secured                 and returned          to the
 Fire     Station        and prepared          our report.         On February         27 th
 2015 I was contacted                  by Captain        Sprauge      and requested
 to come to the Troy Police                        Station      and tell         them my
 initial       findings.        I came to the Police               Station       and met
 with       Detective        Sergeant          Parrow       and    gave       him     this
 statement.         End of Statement




 FALSE STATEMEN'l'SMADEHEREIN ARE PUNISHABLEAS A CLASS "A" MISDEMEANOR
 PURSUANTTO SEC'l'ION 210.45 OF THE PENAL LAWOF THE STATE OF NEW YORK.




                                              000496
CaseCase 23-589, Document
     1:17-cv-01290-DJS    74, 01/17/2024, 3604428,
                       ~~N1tJIXiled                Page40
                                              02/04/22    of 264
                                                        Page  9 of 2
                                                                       1291




  EXHIBIT ''D''
                  Case 23-589, Document 74, 01/17/2024, 3604428, Page41 of 264

           DEPOSITIONOF A WITNESS                                                 COURT
           STATEOFNEWYORK
           COUNn' OF RENSSELAER
           CITYOF TROY

           NAME_ Rebeccca A. Parker.___     ___,DATEOF BIRTH__                _

           RESIDINGAT~TroyNYl2182_AGEIIJi-----

           OCCUPATION_Clerk-TroyNY                               __________                      _

           DEPOSEAND SAY:
       ·+I would like to state that I am the mother ofvaalliher
''\?--~·                                                                      date of birth was
                      I would like to state that I currently reside with my boyfriend Michael Davis
                      and my daughter. We have been here for approximately 9 months. We used
        to live in NYC. Viola father is Clarence Davis who resides in NYC presently. I was a
        victim of domestic violence from him and so was my daughter from him.
          On February 26 th 20151 was home with my daughter and my boyfriend. J got up at
        about 7:45 A.M. I got ready for work. Twork a1-                 at-anc-...awe             in
        Troy New York. My boyfiiend got up and went into my daughter's rooni."'He'wentin to
        take her to the bathroom. l saw her in the hallway heading to the bathroom I told her I
        loved her and f see her when I came home from work. I left my house and took the bus to
        work. I worked to about I P.M. A friend of mine by the name ofRusseJI Brown took me
        home. I just happen to look at my phone when we arrived at my apartment. It was 1:23
        P.M J went i!'!tO my apartment and saw my daughter lying face up on the black futon in
        my apartment She was lying on her back with what looked like to me to be her leg
       banging off. I really wasn't to concerned She, v9lleeps in funny positions. I grabbed
       some checks to show Mr. Brown that had been cashed in my account that were
       fraudulent. I thought it was funny that Mike was not there. I walked outside and was
       talking to Mr. Brown when Mike came ou~of Testo Restaurant. He said to me "Call 911"
       He looked upset. He said 911 He sai.s            not breathing. I ran into the apartment and
       went to my daughter 1 was caIJing 911. Mike was right behind me. He said he tried going
       to the neighbors but no one was home/. I was on phone when the Fire Department
       arrived. I told them to hurry up. So did Mike. Three or four of them came in and began
       working on my daughter. At one point one of them said they had something.. I saw a blip
      on one of the screen in a machine. They too~ut                to the ambulance. They wouldn't
      let me go to the hospital with my daughter. M~              them l was her mother but they left
      without me. I went with the Police Officer to the Troy Police Station Mike came there to.
       At the Station I was told my daughter had passed away. I told the Detectives what I
      knew of what happened. I left and went to St Mary's Hospital. I then returned to the
      Police Department after I saw my daughter at the hospital
      After a few hours, I left with Mike and went home.
        Since that time Mike and I have talked. He told me he said after I left that morning He
      put Ola on the toilet. He told me he asked if she was hungry She told him no He told me
      FALSESTATEMENTS  MADEHEREtNARE PUNISHABLE
                                              AS A CLASS"A" MISDEMEANOR
                                                                      PURSUANTTO SECTION./-...          Q.P.
      210.45OFTHE PENALLAWOF THE STATEOF NEWYORK.


     DATE~.             l.'5°     TIME:~l·D~~IGNED:   ~            ~(i;..(/Turc


     WITNES~~                   ~             .,,...___

                /J7L1/~~-(sa11
                                                   000493
           CaseCase
                1:17-cv-01290-DJS  DA_ffJtNfflXled
                     23-589, Document 74, 01/17/2024, 3604428, Page42
                                                          02/04/22    of 264
                                                                   Page   11 of                    21293
                                                                                     r110NE

          CONTROL#    _020320·15                                       HOME--
                                                                            WORK __      _

         DEPOSITION OF A WITNESS                                                       COURT
         STA TE OF NEW YORK
         COUNTY OF RENSSELAER
         CJTYOFTROY

         NAME_ Rebeccca A. Parker____             DATE OF BIRTH.....

         RESIDINGAT ---royNY                      12182_AGE     __
                                                                 ,.._____        _

         OCCUPATION_Clerk                                   Troy NY __________                 _

         DEPOSE AND SAY:
<>,Q·
¥-       he gave her bottle but she really wasn't drinking it He said he then sent her back to bed.
         He told me he watched a movie. He told me he had fallen asleep. He woke up around
          11:00 A.M. He told me it could have been 12 He didn't look at a clock. He called for her
         but she didn't answer. He went into her bedroom. He said she was not moving in her bed.
         He said he listen for breathing but didn't hear any. He began CPR. He told me he reaJJy
         didn't know how but saw movies about it. He had some CPR training in college too. He
         then took her to the Jiving room and put her down on the black futon couch. The same
         one I saw her on when J came home. He said he tried cpr again. He got no reaction. He
         said he ran out after trying to get his phone to call 911. He couldn't get it working. He
         went to the neighbor house and they were not home or didn't answer. Mike said he then
        ran across the street to Testo's Restaurant and asked to call 91 J centers. The 911 asked
        him a lot of questions. He came outside and saw me and told me.
         Mike and l have been crying over this all weekend, Mike told me he thought he migl1t
        have hurt va      trying to do cpr. W~ were told by Det~tive Foun~ainthat .s            ri?s
        were bro~e. 1vi'ikethought maybe his bands llad done it because ms hands were so b1g.
          On March 3 rd 2015 at about noon I came to the tro Police Department with Mike and
        my mother Nancy Parker of
     1111111 1 met with Detectives Fountam and McDona . spo e to Detective Sergeant
        Parrow at that time He asked my to recount my day of my daughters death and her
       conditions prior to her death.
        I told Sergeant Parrow my daughter was a health and active child. The day of the death
       she was a little sluggish. I attributed this to her just getting up in the morning. I told
       Sergeant Parrow that V9illiad a cold a couple of weeks prior and was treated with over
       the counter medication. I had not given her any me<lince in a few days. I told him that
       V911as a Nurse Practitioner in New York It is at Westside Pediatric Care-
                   #
                   ..,West New York NY. Eud of Statement. -~.<?-




      FALSESTATEMENTS MADE HEREIN ARE PUNISHABLE AS A CLASS "A" MISDEMEANO~ PURSUANTTO SECTION
      210.45 OF THE !'ENAL LAW OF THB STATE OF NEW YORK.
CaseCase
     1:17-cv-01290-DJS  DA_ffJtNfflXled
          23-589, Document 74, 01/17/2024, 3604428, Page43
                                               02/04/22        12 of 21
                                                           of 264
                                                        Page
                                                                      294




   EXHIBIT ''E''
                       Case Case  23-589, Document
                             1:17-cv-0129.Q;DJS    74, 01/17/2024, 3604428,
                                                D(&Ci!Witius-3T~led         Page44
                                                                       02/04/22          W.§Ng
                                                                                     of 264
                                                                                iiiii=age
                              ~zc}-lJ            Arr..tl~UlA
'coNTROL #              2
                        JI.../                                                                     HOME
                                                                                                   WORK

 DEPOSITION OF A WITNESS                                                                                           COURT
 STATE OF NEW YORK




                                                                                                   DATE OF BIRTH




     Tc)1 9.        eA--             /<l-f'✓d M-(!.t)                                                                                    d
        .                              P/JJ   D~    V t,V
                                                   p1,f               11---S-                                                      /          ,:_

      •                          ··            • "ikJ4d, •                        tv '-r ;iec_4-/I S'ce/~                              tf'l'i/e

               SC::,             I     I      ~ eetc.>/ rl<                      ' • c ,v er. c..-, J
                                                                                                      -
                                                                                                        .S.ltf.W /I'- /4#/G        e.
            11dL    /frlrt{-e-S+ti-«b r~            i> [!) e, • ----                                                   tJe:11-           /ce_
      fer          ~~                 ;z:::- -r
                               dot! 1 l}_e(!fi--. sec ,4(Vy Fe/4
                                 I                                                                                   e tiiekeG~
FALSE STATEMENTS MADE HEREIN ARE PUNISHABLE AS A CLASS "A" MISDEMEANOR P~UANT                              TO SECTfON 210.45 OF THE PENAL         \L
LAW OF THE STATE OF NEW YORK.                                                                                                             ti:/\/


OATE----L--f-j~-f--=,,.~-#-                         TIME:          lf ' J..::;___.,__'--VVI.__   SIGNED:   ~~
                                                          -   c~
                              Case 23-589, Document 74, 01/17/2024, 3604428, Page45 of 264
 CONTROL#
                                                                                                                  WORK ________                               _

 DEPOSITION OF A WITNESS                                                                                                             COURT
 STATE OF NEW YORK
 COUNTY OF RENSSELAER
 CllY OF TROY




 OCCUPATION---=-~----,r-------=~=-------,---------r---.rr--

 DEPOSE AND;;=.                        <!_"f            '(J c..J   -Jr   Cit- t    •         •     ,,¢   ,8    /4                -
  ~ 1✓ 7h; ~·                /4-('~                 /le~ 1 o~rVC                  -<-..4~                     e Ii    t'             ~ ~      /


  /.}-/,,t       u /4..,,ve!:..c....            t) crrV"~                • H-...5 S(!/1.eq,,r/f.J                 '                               e~c./
 7)rSf-AJLJ-              elf:            ~Pf-I-              r tZvl?//                                                                           ~c.     ~
                                                                                                         +
                                                                                       u<                     /         C.   ,           //

    ~                 ~ Ac               #<""      c!/4                  ~          Ftc!>A       c;           ~~-/2~,            ~.J               ~e_




  &ff        H            Kcf-e/4                         leA...    ~                  ;:    e~e          /7/4e                  Ij 7t, ~
                                                                                                                                     r

     I                          /,-t             ·c/V          .,£-,                                                         .. Z-~




FALSE STATEMENTS MADE HEREIN ARE PUNISHABLE AS A CLASS "A" MISDEMEANOR PURSUANT TO SECTION 210.45 OF THE PENAL
LAW OF THE STATE OF NEW YORK.
CaseCase
     1:17-cv-01290-DJS  DA_ffJtNfflXled
          23-589, Document 74, 01/17/2024, 3604428, Page46
                                               02/04/22        15 of 21297
                                                           of 264
                                                        Page




  EXHIBIT ''F''
                             CaseCase
                                  1:17-cv-01290-DJS  DA_ffJtNfflXled
                                       23-589, Document 74, 01/17/2024, 3604428, Page47
                                                                            02/04/22    of 264
                                                                                     Page   l(j,tC?b~
 CONTROL#
                              42..oJZD--/J                                                                                  HOME
                                                                                                                            WORK

 DEPOSITION OF A WITNESS                                                                                                                     COURT
 STATE OF NEW YORK
 COUNTY OF RENSSELAER
 CITY OF TROY

 NAME          ~r'Z               e0       'f::>_   /,d,             ~ S::..S-                                              DATE OF BIRTH

 REs1D1NGAT         J/kJv:n4.e          2         Oe/,Jl"l-ef~C,y"


                                                                                    M
                                                                                                                                      AGE _       _.~==.!..----


 OCCUPATION          hfl-e-t.-h foyn"u:
 DEPOSE ANDSAY:_~,.v-                   Fe.t~fl                                     v2            t.-JJJr.f   tuC>nfc1..;_                   ~c                   ?:':- •

    J.! a ✓ A/LPf~c-c/<::...
                           A,rs,-tiuc tc.JortfCLdet~-lc1 e;,,r:;',z,-vt:::-/·.
   !Alele&ev   cd .If- {]:ft// Tb~ Ly,t-&I ✓f/ir /cl,~~~lJ/J-,~
                 ~ lV"' "'-· , /4.,le £,.-;.t;,10,rpc,-/,i-,v o "f:f!{!ft
  ,11,t-,t.esc/:-cfi±_                                                        ;,,r
           y &--ffc:~ £_;·?/ ~ "';~ e
   s--Z~-rz!-1                              :ZZkv le~ 'Tli~/'?7                          e
        ~:;;                      ,,Y   ;L.; ..z_-;1.eV/-//
                                                         //-4<!'.                                     ce                    /,1-ck
                                                                                                                                 /"1~le, 1-~P
                                                                                                                                            JJ/y          S




        •                •                   fr   :v       !JP(_       ~                     L   dt cl/Ver, .                        ~ .(_d' PL
            v~                , _:_L /4?o v e. ~J'             77) / t e   O ..t'e ,n_                                                        / ,,u ld, " I#14-_...r
                                        4 .57A.r1-i1/,6/-7c£c~
                                                             r04     e..-L




                                                                                     ~~IVl}uL                                      (cA-                                      l
                    _,                                                         7-        D               I.    /2ee;;;/j,                                t!J/f/ c__




 V1t--s:;::o/Ve_ @o~nl-                                    /;;       ~v u/~y Ba.I~                                                        ',/Ucci        4/1                ~L
                ~                 ~I)                                 I¼ I fl /Le                 (X_~             #l'l                       '      f        Is   C




FALSE STATEMENTS MADE HEREIN ARE PUNISHABLE AS A CLASS "A" MISDEMEANOR PURSUANT TO SECTION 210.45 OF THE PENAL
LAW OF THE STATE OF NEW YORK.
CaseCase
     1:17-cv-01290-DJS  DA_ffJtNfflXled
          23-589, Document 74, 01/17/2024, 3604428, Page48
                                               02/04/22        17 of 21299
                                                           of 264
                                                        Page




  EXHIBIT ''G''
                     CaseCase  23-589, Document
                          1:17-cv-01290-DJS     74, 01/17/2024, 3604428,
                                             DA_ffJtNfflXled             Page49
                                                                    02/04/22 Paofe264
                                                                                   18 of 2

 CONTROL#
                    ~320~
                ---------'-                       t~_                                                              HOME
                                                                                                                   WORK

 DEPOSITION OF A WITNESS                                                                                                            COURT
STATE OF NEW YORK
COUNTY OF RENSSELAER
CITY OF TROY

NAME                     s a:..c.Y
               ::Ji,:tsor/                        At(                                                              DATE OF BIRTH


RESIDING AT        f:,o n ~.;'fd-;;_;r/- 7Atfv/V y
                              Y         IJ_e,                                                                                 AGE


OCCUPATION         ;::;;e_hf lfcA-/1/3/J(C-~
DEPOSE AND SAY:         6 /V          /i,6i{..t{/t.lj/         ,L&tf~          )<~l'f         f       ll.ct{fa1l'O        '1/11/-J i-?7<:_d!C:,             #/
               •                  f!_cu i.,1,(/J'.                 rt~                . 'L> ~,,c_          ~            t:P/f/ //A/Lr;~                hJ
                                  (,/ e1vct er             ~-            ,w                                                             4 t::!/.r.
                                                                                                                    . c:..e...,,,,.,-1,-,,v.                       4-
   Aq,,.._c 3/4-</c                                                                   t'          v        '//1-    //q                                       •         ~
   ---✓-                                                                ~✓             ffe /4J4-fl' re
                                                                                 '                         -                                                   •
                                            ~ A-                                4          C:Ff-A.f),11-<!.-,                                /        6.              ~

               lf-/2/f.                    ,,   .f ~~~~/JI~ ~#-c-                                                         s+4-tv/j       /VCfd'T0
                   fc ~                                        c   /4 ~ ~ Ir le. s4 ~ td -<1-.t:1
                                                                         tJ'     I!                   -e                               •     .. ~ Sfl.c
7) / D k/-~fapt_                                r C.t-'1,- (   ,   ;/      ~ f3fj !3(ff-de_/11~ ~ 4/ If-                                         Ci    /   q
       .hre:1 i)                         Aul                               .                  ' /0:;PL~,                itc:                 (llwAJ
           •                       /                                                         v.       ~c~                                        ~e

                                                      '1                                       sr4,                                        ~U)/t(:},e_~

  .7hc..                      llo//      Otte!_                                                   •                                                         cJ/~eJ
                                                                                                                                                                e

        tfJ'                  't4-t4-.c_  t,                                                                                             ~.,.-                 ""t.     t__

 t>tv e.                                ·//,.                                                                                                                      ~I
                                                  ,        ~/Vi




FALSE STATEMENTS MADE HEREIN ARE PUNISHABLE AS A CLASS "A" MISDEMEANOR PURSUANT TO SECTfON 210.45 OF THE PENAL
LAW OF THE STATE OF NEW.YORK.




                                                                                                                                                           TPO 118182
CaseCase
     1:17-cv-01290-DJS  DA_ffJtNfflXled
          23-589, Document 74, 01/17/2024, 3604428, Page50
                                               02/04/22        19 of 21
                                                           of 264
                                                        Page
                                                                      301




  EXHIBIT ''H''
                           Case
                         Case    23-589, DocumentDjlffftNffiX'ed
                              1:17-cv-01290-DJS  74, 01/17/2024, 3604428,             ~~i
                                                                          Page51pof 264
                                                                      02104122
  CONTROL#
                         ~ 3
                           6 ztJ -                 JS                    HOME    age      302__
                                                                                                  WORK

                                                                                                                  COURT




    N b ,iJL.                  775 fi JI,\ f '-; 1:-::~'J-          /L I       c:. (!, h,;            C- 0        e ts c.... u c-t/ ~ J~
    //1-tt/J)I t121>01Vouu                                      7hc:.7J~c;--+~                                         ,-h,JtcJ/1-...s
  J;-*,wr-'.!n,IJ
              I.-{ 2._ Jb u2"'1-,


   R~be<!.<0¢-:~4-/Ceev:;a11cu                                             •       /'I-:     /   c. ~.5,1)/       ~-     L fief-
   {,,?  :1/if{ e/L               1                S :SJ;e Ve 1,L~
                                        (J'/fe- .5 ,f; 0 </,1 h c,
                                                                                   11
                                                                                        /;J /2y'. /
           er:, vo" t,7 6 fo s h,e/ '9--t• ti t-J/)l w
       B,q-w                                               f!/ / P!d                                     tfk_e_

        ~n T      [{ DiXV 1+ f<nu~ , 3 he 614- ·JO /-2>ne   tJ7 /S




FALSE STATEMENTS MADE HEREIN ARE PUNISHABLE AS A CLASS "A" MISDEMEANORPURSUANTTO SECTION 210.45 OF THE PENAL
LAW OF THE STATE OF NEW YORK.



                                                                    II I 1., "' ("' - SlGNEof,Jti.,,,_                 c.-r          /-1u

WITNESS:-J.L.J._---J~........l,,L---:::::;,,:_-=-.._,,..c~-----=-                                                             TPO 118182
CaseCase
     1:17-cv-01290-DJS  DA_ffJtNfflXled
          23-589, Document 74, 01/17/2024, 3604428, Page52
                                               02/04/22       21 of 21
                                                           of 264
                                                        Page
                                                                     303




    EXHIBIT ''I''
                   Case Case 23-589, Document
                         1:1T-cv_.01290-DJS   74, 01/17/2024, 3604428,
                                            DA_ffJtNfflXled            Page53
                                                                  02/04/22       22 of 2j 304
                                                                              of 264
                                                                           Page
                                                                                               PHONE
 CONTROL#
       _)l-=.:CJ:._:J::.-(J=c)
                  __       _                                                   HOME

                                                                               WORK   -=-----=
 DEPOSITION OF A WITNESS                                                                       COURT
 STATE OF NEW YORK
 COUNTY OF RENSSELAER
 CITY OF TROY

 NAME     Ztt.ae/J/C              &c1pA/'                                      DATE OF BIRTH


 RESIDING AT




 DEPOSE ANO SAY:                                              wr/.u'.H     .    f ,'~P#:4f               #
 h!e              ~~                                                       v~#.                    ~A~~
I do 6./t;;ny:>::&zy:
                  J;a4M                             -w/64 & &/era::.~                   dt?      tt&W'/4L •
           't:✓ke' UV~
  --lho-tcc-·                               &e;:1   1e   ,z;;;~v4-ey1Y-t:1               k~       4'de
 hPWte~.r                      rd, ljr./ .4~ h&4              4- CP~               :&:u~ 4:~~
  /,.I'klltb-C .£#~~                        r ~/: "~'"- "°
                                                         --.6                                     tt6?7U'T
12ro/«   t:Xuc-,t/    ~k>-C k/Y~ ~ ~,,1/t'l./£,   4b¢'4h~    Jttvb-
 l~fk~?~      4 k #f ,,.,tHrl .r-;> }o//4/U ~ /lffe,c. /P~         1-
a:ti f:o /4 l<dtb"'«--PI 5- hcPW✓~ /1/t'c;veef L(R-/ 22~ ice!,e:Zc,;f
               I
 Adkt/✓Jte! ~f Jlf).1/.Cd#/Ve:! id
dcc~«d ,/- :p- Iv ii J~;e ..fiM!:~/VY
                                                              ~v
                                                            /Le< t!lak~
                                                   hl'ld /4& #/17'//J Jf4v
 iP ~p ;F&~a/                 4~ to ✓a! ,;/;€/ C4£:z:L./ -Ii,./be/' 1/'1/ :1-
tv"k fh<W.u41& h;i,-t£t?./l c:Jte;-z:;L            titd w-/fel ~1«« /2
~_A M6, ~ wr/t~ ace/ /v//e:-/ ti/ /rJ---/Md<:·d'YMt?/~ Jke
 f~f tfJt1/--V MY 1/d/clef-·+:~Jllt/.fo                       %le htJJ//.JtY-t=
   -u,,,_,,~..: CJt/ -J I I/?        v c1 ~v          -     A ;~      lo /Y1 t tflf/L-
 -J-          • ~         ~      ~ ckvl      arttf tlitrt izMf. ..-..;c-..SAW r
 /2¢1t#        i}::;,f?"-a·I? 1 Jc,r:M r~vl   12~/J-"f    ,tcL£JJf J'!teY?frt:cl-
t!itp/V? i: yc!t?rutb c,t// fl~_ dtHI=i~ tt:,Qu4f
                                               /V'/-felf A~
• lo ell:II fl/ ¥: #tdltx/ wlff d:I Ylte&:d~ /IA/L MtL
FALSE STATEMENTS MAOE HEREIN ARE PUNISHABLE AS A CLASS "A" MISDEMEANOR PURSUANT TO SECTION 210.45 OF THE PENAL
LAW OF THE STATE OF NEW YORK.




                                                                         SIGNED~                         ~
                                                                                                         TPD 118182
                Case Case  23-589, Document
                      1:17,,._cv-01290-DJS   74, 01/17/2024, 3604428,
                                           DA_ffJtNfflXled            Page54
                                                                 02/04/22    of 264
                                                                          Page  23 of 21
                                                                                                                 305
                                                                                                    PHONE
 CONTROL# _'2.J,=O_J_.
                  2-e)
                  ___              _                                             HOME
                                                                                 WORK --=:;;..._          ____             _



 DEPOSITION OF A WITNESS                                                                           COURT
 SrA TE OF NEW YORK
 COUNTY OF RENSSELAER
 CITY OF TAOY



                                                                                              AGE _____                   _
 RESIDING AT _-Jl!I

 OCCUPATION~S/1                        "',~.                                 ,

 DEPOSEANDSAY:2'2.AftA/U/4;:;:             ~ U,/7/r C,,(/,1M/~
                                               a,(/&        fl/ i«fu
~f ihHI h&te 12e6£c~,1; l?f/1/ lllftv Lvfr     /Jte ht:1U'-/o~ct--
I f"I ()/LI- tJ/Pl~ C:/IJC <f:/b;,,J//# Yke:::
                                           At1t//€ r:d#vrl
     '/UL~       I    ~          iaf              b'            -,-    ~ c::.e/ ,,4~6,IMGv /1-/I

  t-/wdo/ ~"'"f                                      J'odf gV/26.V dY.1?' f~f ,,.,,,d,,
                                                       ttf.,y   i¼c'
  'z#et1,t~I~                         ~ ~ /7VL 1-/4,-,          /,.pl,y_,,.~/4'e
.A#h«/mvc,e;t' ;£                  .../'!if~ /I a,~r    /H/n'P k' ~/664,/       j/1/:-
                                                                                                                 c~




FALSE STATEMENTS MADE HEREIN ARE PUNISHABLE AS A CLASS "A'' MISDEMEANOR PURSUANTTO SECTION 210.45 OF THE PENAL
LAW OF THE STATE OF NEW YORK.




                                                                                                                  TPO 118182
CaseCase
     1:17-cv-01290-DJS  DA_ffJtNfflXled
          23-589, Document 74, 01/17/2024, 3604428, Page55
                                               02/04/22       24 of 21306
                                                           of 264
                                                        Page




 ·EXHIBIT ''J''
                      Case
                   Case 1:17-cv-01290-DJS  DA_ffftN1:hX1ed
                            23-589, Document 74, 01/17/2024, 3604428, Page56
                                                                  02/04/22   of 264
                                                                           Page  25 of               2fJ0
                                                                                                           7
  SEARCH WARRANTAPPL:ICAT:tON (C.P.L.                  690.35)


  SECOND: THE FOLLOWING ALLEGATION OF FACTS                          ARE SUBMITTED            IN   SUPPORT OF THE
  ABOVE STATEMENT:

            *(1)    Are based     upon personal      knowledge        of the      applicant
            *(2)    Are based       upon information              and belief,          the  sources   of        such
                    information     and the grounds         for     such belief       are as follows:
        I,  Michael   E Parrow    Sr. , having   been employed         by the Troy Police
 Department    for 33 years     and currently    holding    the position       of Detective
 Sergeant,   have been recently      assigned  to the    investigation      of the crushing
  death of VIIII    re&   ,DOB ~
           On Februar~h                   015 at 2p.M., members of the Troy Police                      Department
  were called          to                  Avenue,       in the City of Troy,              for a report       of an
  unresponsive          2yr o a female child.                 U on arriv     1 Tro       Fire Department        thex
  located      the lifeless          body of  v9II            D       DOB               on a couch in the 1 8
  floor    apartment        of Rebecca Parker               DO                    Mother and Michael          Davis
 OOB.........              Davis stated           to responding        Fire P sonnel         that the child had
 soil~er                         earlier       in morning.         He brought      her to the bathroom           and
  then put her to bed. She was there                          since    8:30 9 A.M. when she went to her
 room for a nap. Davis stated                      that he slept         and when he realized         that he had
 not heard from v91i1around                     Noon on the 15~, he went to wake her. He stated
 she was unresponsive.                 He started          CPR. She didn't        respond.      He attempted       to
 use cell        phone to call              for help        and the battery          was dead.       He then ran
 outside       looking      for help He stated                he found no one was around.               He stated
 that be returned             the apartment            and began CPR again.           He the crossed        to the
 restaurant       Testo's       and asked that they call 911 for him. The mother returned
 to the residence              as the Fire Department·                was administering          CPR. Child      was
 transported         to St~'             s Hospital          in Troy New York. She was treated                   and
evaluated.        V-D                    as pronounced          at the ER this date.
        Autopsy        revea e         that      the child,         v...     D-         had sustained         crush
injuries        which was inconsistent                with the adiniru.st~n              of the CPR by either
Michael       Davis or Troy Fire Department.                        After    investigation,         by Detective
Fo t ·n, Mr. Davis was charged with Manslaughter                                for his actions        with V--
            n February          15tl;l 2016.         During      the investigation          Detective     Fountain
              the cell        phone Mr: Davis stated                  he attempted        to use to call         for
help.     After     further       investigation           by Troy Police        Detectives,      we have reason
to believe        that this mobile cellular                   device belongs       to the Michael Davis may
contain       evidence       which would assist                in the investigation            of the death       of
V-Dh- T e victim,•             ~,....._
                                ~'           was t ak en to St. Mary's               • 1 in
                                                                                Hospita   • Troy,
where she pronounce        death after        evaluation     of ER Doctor Cristifulli.
        This Detective     was recently         requested     to assist     in the investigation
and secure     a search warrant         for the afore described         Cell phone
        The aforementioned     mobile cellular          device needs to be searched       in order
to discover      if any evidence         that tends      to prove useful      in the Manslaughter
investigation      of vMia D d .
Attached:          TPD 3205
                   Affidavit    of Retired     Detective         Ronald   Fountain.
             Case
          Case     23-589, DocumentD_AffJtNmxled
               1:17-cv-01290-DJS    74, 01/17/2024, 3604428, Page57
                                                         02/04/22       26 of 2fJOS
                                                                    of 264
                                                                  Page



SEARCHWARRANTAPPLICATION (C.P.L.        690.35)

      WHERETOFORE,the applicant          requests  that this   Court issue a search
warrant directing    search for and a seizure       of the above described    property
in or upon the above designated       or described   place, vehicle or person.
 Current in Possession     of the Troy Police Department
The electronic    or digital     contents    of the Motoro~k-         in color,    Cell
Phone       Model        Nwnber                          ~'                  MEID(HEX)
                    ID(DEC)




SUBSCR
befor
2016

JUDGE
                      JS D!lCVi!Wfi~led
       Case 23-589, Document                    02/04/22Page58
                              74, 01/17/2024, 3604428,    Page of of 21309
                                                               27264
Case 1:17-cv-01290 - D    Ar£    L~lJl.A.


                                             AFFIDAVIT


 COUNTY OF RENSSELAER                   )
                                        ) SS:
 STATE OF NEW YORK                      )


 I, Ron Follnlain, a retired detective of the Troy Police Department, City of Troy, County of
 Rensselaer, State of New York, do herebystate under penally of perjuzy that

     l. Dw-ingthe year 2015 J investigated a case involving the death of a child, V.          -
        who died on 2/26/15.

    2. During soid invesligatio11I interviewed a Michael Davis (DOB-on                   March 2,
       2015 at the Troy Police Department in Troy, New York.

    3. During said interview on March 2, 2015, at approximately 1 I :58 AM, Mic11aolDavis
       gave yow· deponent a black Motorola cellular telephone model number
      ~JD(HEX).........,1,                            MEID(DEC)
       which I secured in my case ~vestigation               at some later time.



      ~~                                               Dated:   b·   v,\6
                                                                            CINDY B, MATTISON
                                                                       Notary Publlc, State of New York
       Sworn to before me this       ~Y         of June 2016                  No. 01MA6171013
                                                                       aualilied In F1onsse1aer Gounty/10

       c~✓
                                                                     Commission Expires July 16, 20-LJ.

       No~PubUc
           Case
        Case 1:17-cv-01290-DJS         l\.°PPENl)-fxiled
                23-589, Document 74, 01/17/2024, 3604428, Page59Page
                                                      02/04/22   of 264
                                                                      1 of 4
                                                                                         131O



UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

MICHAEL DAVIS-GUIDER,
                                      Plaintiff,                     ADAM R. MASON
                                                                       AFFIDAVIT
               -against-                                           Case No.: l:17-cv-1290
                                                                         (FJS/DJS)
CITY OF TROY, RONALD FOUNTAIN, Individually,
DANIELLE COONRADT, Individually, CHARLES
MCDONALD, Individually, TIM COLANERI, Individually,
ADAM R. MASON, Individually, RENSSELAER COUNTY,
MICHAEL SIKIRICA, Individually, and
JOEL ABELOVE, Individually,

                                      Defendants.


STATE OF NEW YORK                       )
                                        )ss.:
COUNTY OF RENSSELAER                    )

       ADAM R. MASON, being duly sworn deposes and says:

         1.    I am a defendant in the above-captioned matter and as such I am fully familiar with

the facts and circumstances herein. I make this Affidavit in support of both mine and the City

Defendants' motion for summary judgment.

        2.     In February 2015, I was employed by the Troy Police Department ("TPD") as a

sergeant assigned to the Detective Bureau, commonly referred to as a Detective-Sergeant.

        3.     I am currently a Captain with the TPD.

        4.     Through my employment as a Detective-Sergeant with TPD, on or about February

26, 2015, I became aware of the death of an infant named Viola Davis ("V.D.").

        5.     To the best of my recollection, co-Defendant, Ronald Fountain ("Fountain") was

the assigned lead investigator in the matter.

                                                   J
           Case
        Case 1:17-cv-01290-DJS         l\.°PPENl)-fxiled
                23-589, Document 74, 01/17/2024, 3604428, Page60Page
                                                      02/04/22   of 264
                                                                     2 of 4
                                                                                            1311



        6.     I had a very limited investigatory role in V.D.'s death investigation.

        7.     I never attended V.D.'s autopsy that was conducted by co-Defendant, Dr. Sikirica.

        8.     As some point in the early investigation, my Captain at the time, Captain Sprague,

had requested that Detective-Sergeant Parrow and I go speak with the Plaintiff and V.D. 'smother,

Rebecca Parker, because there was concern that TPD's relationship with the Plaintiff was

deteriorating as a result of the investigation and we wanted to maintain a positive relationship.

        9.     Detective-Sergeant Parrow and I went to the home where the Plaintiff and Ms.

Parker were staying, and Detective-Sergeant Parrow spoke with the Plaintiff away from me.

         10.   To the best of my recollection, I did not hear any of the conversation between

Detective-Sergeant Parrow and the Plaintiff because I was speaking with the owner of the building

where the Plaintiff was staying.

         11.   On March 12, 2015, I attended a meeting with Dr. Sikirica, Detective-Sergeant

Parrow, Fountain, co-Defendant Tim Colaneri and Rensselaer County ADA Andra Ackerman.

         12.   I do not recall if Detective-Sergeant Parrow and I spoke with the Plaintiff prior to

the March 12, 2015 meeting or after.

         13.   To the best of my recollection, during said March 12, 2015 meeting, we discussed

Dr. Sikrica's preliminary autopsy results and the facts that had been collected at that juncture in

the investigation.

         14.   To the best of my recollection, during said March 12, 2015, Dr. Sikirica informed

us that V.D. had broken ribs and extensive internal damage to her liver.

         15.   During said March 12, 2015 meeting, we discussed whether the injuries V.D.

sustained could have been the result of CPR and Dr. Sikirica's professional medical opinion was


                                                 2
           Case
        Case 1:17-cv-01290-DJS         l\.°PPENl)-fxiled
                23-589, Document 74, 01/17/2024, 3604428, Page61Page
                                                      02/04/22   of 264
                                                                     3 of 4
                                                                                               1312



that the injuries he observed were far more extensive than what would be expected from CPR.

         16.   Based upon Dr. Sikirica's observations during his autopsy, it appeared that V.D.'s

death was not accidental.

         17.   To the best of my recollection, during said March 12, 2015 meeting, there was also

a discussion regarding whether I would interview the Plaintiff in a formal setting.

         18.   Ultimately, I did not interview the Plaintiff.

         19.   I had no further involvement in the investigation ofV.D.'s death.

        20.    Eventually, I came to learn that the Plaintiff was indicted by a grand jury and was

arrested for the death ofV.D. but I was not present for such arrest.

        21.    I did not testify before the grand jury nor did I have knowledge of what specific

evidence was presented to the grand jury.

        22.    I did not prepare any charging instrument, nor did I arrest the Plaintiff.

        23.    I did not meet with any member of the Rensselaer County District Attorney's

Office, including co-Defendant, Joel Abelove who was the Rensselaer County District Attorney at

the time, to discuss any aspect of the Plaintiffs criminal court proceedings.

        24.    I was not involved in any trial preparation, nor did I testify at Plaintiffs trial.

        25.    I did not observe or hear of any impropriety by any member of the TPD, by Dr.

Sikirica, or by and member of the Rensselaer County District Attorney's Office in connection with

the investigation into V.D.'s death nor the prosecution of the Plaintiff for the same.

        26.    I had no reason to intervene to prevent any alleged constitutional deprivation as

such never occurred.




                                                  3
           Case
        Case 1:17-cv-01290-DJS                 l\.°PPENl)-fxiled
                23-589, Document 74, 01/17/2024, 3604428, Page62Page
                                                      02/04/22   of 264
                                                                     4 of 4
                                                                                         1313



       WHEREFORE, Defendant prays for an Order granting the City Defendants' motions for

summary judgment pursuant to Fed. R. Civ. P. 56(a) together with such other and further relief as

this Court deems just and proper.


                                                              Adam R. Mason



Swop to before me this
.3E!_day off-e.brvc:,..~             , 2022.


~d)~
Notary Public, State of New York
      RHIANNON I. SPENCER
  NOTARYPUBLIC,STATEOF NEWYORK
      Registration No. 02SP6393260
       Oualiflad fn Albany County
   Commission Ex,ofresJune10, 2~




                                                     4
           Case
        Case 1:17-cv-01290-DJS         l\.°PPENl)-:fxiled
                23-589, Document 74, 01/17/2024, 3604428, Page63Page
                                                      02/04/22        1 of s
                                                                 of 264
                                                                                         1314



UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

MICHAEL DA VIS-GIBDER,

                                       Plaintiff,                         TIM COLANERI
                                                                            AFFIDAVIT
               -against-                                              Case No.: l:17-cv-1290
                                                                            (FJS/DJS)
CITY OF TROY, RONALD FOUNTAIN, Individually,
DANIELLE COONRADT, Individually, CHARLES
MCDONALD, Individually, TIM COLANERI, Individually,
ADAM R. MASON, Individually, RENSSELAER COUNTY,
MICHAEL SIKIRICA, Individually, and
JOEL ABELOVE, Individually,

                                       Def end ants.


STATE OF NEW YORK                       )
                                        )ss.:
COUNTY OF RENSSELAER                    )

       TIM COLANERI,being duly sworn deposes and says:

     I. I am a defendant in the above-captioned matter and as such I am fully familiar with the

facts and circumstances herein. I make this Affidavit in support of both mine and the Troy City

Defendants' motion for summary judgment dismissing the complaint.

    2. In February 2015, I was employed by the Troy Police Department ("TPD") as a patrol

officer assigned to the Detective Bureau and was commonly referred to as a Detective-Sergeant.

    3. I am currently a Sergeant with the TPD.

    4. I was on duty on February 26, 2015 and was infonned that TPD had been dispatched for a

report of an unresponsive infant, later identified as Viola Davis. ("V .D.").

    5. To the best of my recollection, I responded to the hospital that V.D. had been transported

to and was informed that she had passed away under unknown circumstances.
           Case
        Case 1:17-cv-01290-DJS         l\.°PPENl)-:fxiled
                23-589, Document 74, 01/17/2024, 3604428, Page64Page
                                                      02/04/22       2 of s
                                                                 of 264
                                                                                            1315



     6. To the best of my recollection, after reporting to the hospital, I went to TPD headquarters

and interviewed the Plaintiff, as an individual identified as a primary caregiver for V.D., in the

presence of co-Defendant Ronald Fountain ("Fountain") and co-Defendant Charles McDonald

("McDonald").

     7. Said conversation consisted of me asking questions to the Plaintiff regarding V .D. 's health

and condition leading up to being found unresponsive and what, if anything, the Plaintiff did at the

time.

     8. I recorded the conversation we had with the Plaintiff on my cell phone.

     9. After the conversation had ended, I responded to the scene where a search was being

executed.

    10. To the best of my recollection and upon reviewing relevant documentation, while at the

scene when the search warrant was being executed, I conducted a canvass of the neighborhood

where V .D. had resided with the Plaintiff and her mother, Rebecca Parker.

    11. I interviewed the owner ofTesto's Restaurant who confirmed what the Plaintiff had stated

which was that the Plaintiff had gone inside the Restaurant to ask to use a phone to call 911.

    12. On February 27, 2015, I attended V.D.'s autopsy, which was conducted by co-Defendant,

Dr. Sikirica.

    13. Also, in attendance at said autopsy was McDonald, Fountain, TPD Evidence Technician

Officer Buttofucco, and Rensselaer County Assistant District Attorney Andra Ackerman.

    14. I have attended many autopsies with Dr. Sikirica both before and after V .D. 's autopsy.

    15. I have attended other autopsies where a member of the Rensselaer County District

Attorney's Office was present.


                                                 2
           Case
        Case 1:17-cv-01290-DJS         l\.°PPENl)-:fxiled
                23-589, Document 74, 01/17/2024, 3604428, Page65Page
                                                      02/04/22       3 of s
                                                                 of 264
                                                                                           1316



    16. lt is not abnormal for the police or members of the Rensselaer County District Attorney's

Office to attend an autopsy especially when a seemingly healthy juvenile victim has died under

suspicious or unknown circumstances.

    17. We may attend an autopsy to receive a preliminary understanding of the injuries the victim

may have sustained to further our investigation.

    18. It is typical for an evidence technician from the police department to attend an autopsy in

the event an item of evidence needs to be documented to maintain the chain of custody.

    19. I have never directed nor instructed Dr. Sikirica to make any specific medical finding or

determination in his autopsy report.

   20. In this case specifically, I never directed nor instructed Dr. Sikirica what his medical

findings should be or what the contents of his autopsy report should be.

   21. I did not observe, nor did I ever become aware of any individual involved in the

investigation ofV.D. 's death attempting to direct Dr. Sikirica to make any specific medical finding

or to render any opinion that was not his own.

   22. I never conspired with Dr. Sikirica to render a medical opinion or to falsify the contents of

V.D. 's autopsy report.

   23. To the best of my knowledge, Dr. Sikirica is a commensurate professional who rendered

his medical opinion, and all of his medical opinions that I know of, based upon his professional

opinion and in furtherance of the truth.

   24. To the best of my recollection and based upon documentary evidence, my next relevant

involvement in V.D.'s death investigation was on March 12, 2015 when I attended a meeting with

Dr. Sikirica, Detective-Sergeant Parrow, Fountain, Mason and ADA Andra Ackerman.


                                                   3
           Case
        Case 1:17-cv-01290-DJS           l\.°PPENl)-:fxiled
                23-589, Document 74, 01/17/2024, 3604428, Page66Page
                                                      02/04/22       4 of s
                                                                 of 264
                                                                                           1317



   25. To the best of my recollection, during said March 12, 2015, meeting, we discussed Dr.

Sikirica's initial medical findings and opinions.

   26. To the best of my recollection, either during the autopsy on February 27, 2015 or at the

March 12, 2015 meeting, Dr. Sikirica expressed that V.D. had extensive trauma to her liver and

had broken ribs which were beyond expected medical trauma.

   27. At the time of said meeting, it appeared that V.D.'s death was not accidental due to said

observed injuries.

   28. To the best of my recollection, I had no further involvement in the investigation ofV.D.'s

death until October 2, 2015, when I was present when the warrant for the Plaintiffs arrest was

executed pursuant to a grand jury indictment.

   29. I believe probable cause existed to arrest the Plaintiff based upon the grand jury indictment

and the warrant issued for his arrest.

   30. I did not testify before the grand jury nor was informed what specific evidence the

Rensselaer County District Attorney's Office would present to the grand jury.

   31. I did not meet with any member of the Rensselaer County District Attorney's Office,

including Joel Abelove, to prepare for the grand jury or the criminal trial.

   32. I did not testify at trial.

   33. I did not observe or hear of any impropriety by any member of the TPD, by Dr. Sikirica,

or by and member of the Rensselaer County District Attorney's Office in connection with the

investigation into V.D.'s death nor the prosecution of the Plaintiff for the same.

   34. I had no reason to intervene to prevent any alleged constitutional deprivation as such never

occurred.


                                                    4
           Case
        Case 1:17-cv-01290-DJS             l\.°PPENl)-:fxiled
                23-589, Document 74, 01/17/2024, 3604428, Page67Page
                                                      02/04/22       5 of s
                                                                 of 264
                                                                                         1318



        WHEREFORE, Defendant prays for an Order granting the City Defendants' motions for

summary judgment pursuant to Fed. R. Civ. P. 56(a) together with such other and further relief as

this Court deems just and proper.

                                                     ~~~\
                                                      ..      Tim Colaneri



SwOJllto before me this
£_   day of     fem,.;41\_j
                         ,2022.


        RHIANNONI. SPENCER
  NOTARYPUBLIC,STATEOFNEWYORK
      Registration No. 02SP6393260
       Qualified in Albany County 'l 7
   CommissionExpiresJune 10, 20 c:;>\, J




                                                 5
           Case
        Case 1:17-cv-01290-DJS          l\.°PPENl)-:fxiled
                23-589, Document 74, 01/17/2024, 3604428, Page68Page
                                                      02/04/22   of 264
                                                                      1 of 6
                                                                                            1319



UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

MICHAEL DAVIS-GUIDER,

                                       Plaintiff,                    CHARLESMCDONALD
                                                                        AFFIDAVIT
                 -against'..                                         CaseNo.: l:17-cv-1290
                                                                           (FJS/DJS)
CITY OF TROY, RONALD FOUNTAIN, Individually,
DANIELLE COONRADT, Individually, CHARLES
MCDONALD, Individually, TIM COLANERI, Individually,
ADAM R. MASON, Individually, RENSSELAER COUNTY,
MICHAEL SIKIRICA, Individually, and JOEL ABELOVE, Individually
                                Defendants.


STATE OF NEW YORK                        )
                                         )ss.:
COUNTY OF RENSSELAER                     )

        CHARLESMCDONALD,being duly sworn deposes and says:

            1.   I am a defendant in the above-captioned matter and as such I am fully familiar with

the facts and circumstances herein. I make this Affidavit in support of both mine and the Troy

City Defendants' motion for summary judgment dismissing the complaint pursuant to Fed. R. Civ.

P. 56(a).

         2.      In February 2015, I was employed by the Troy Police Department ("TPD") as a

patrol officer assigned to the Juvenile Detective Bureau.

         3.      I was on duty on February 26, 2015, when I received a directive from my supervisor

to report to an address for a juvenile cardiac arrest.

         4.      I responded with co-Defendant, Ronald Fountain ("Fountain").

            5.   At some point, I learned that the child's name was Viola Davis ("V.D.").

         6.      When I arrived on scene, V.D. was already in transport to the hospital and I

                                                    1
           Case
        Case 1:17-cv-01290-DJS        l\.°PPENl)-:fxiled
                23-589, Document 74, 01/17/2024, 3604428, Page69Page
                                                      02/04/22   of 264
                                                                     2 of 6
                                                                                           1320



observed the Plaintiff standing outside with his girlfriend, Rebecca Parker who I learned was the

biological mother of V.D.

        7.     The Plaintiff and Ms. Parker were asked to accompany the police to TPD central

station to provide additional information.

        8.     Both the Plaintiff and Ms. Parker voluntarily agreed to go to TPD central station to

provide information.

        9.     At that point, we had no knowledge of V .D. 's status or what had happened.

         10.   The Plaintiff rode in an unmarked police vehicle with Fountain and me while Ms.

Parker rode with another officer.

        11.    Plaintiff was brought into my office and Ms. Parker was brought to a different office

to provide information.

        12.    Upon our arrival at TPD central station, Fountain reported to the hospital to obtain

additional information about V.D.

        13.    During that time, I stayed at TPD central station with the Plaintiff and engaged in

small talk while additional information was obtained by Fountain.

        14.    At some point, I was informed that V.D. had died under unknown circumstances.

        15.    Shortly thereafter, Fountain and co-Defendant Tim Colaneri ("Colaneri") returned

from the hospital and came to my office where the Plaintiff and I were still waiting.

        16.    Colaneri asked the Plaintiff questions from a form document about V .D.'s activities

and condition during the days leading up to her death.

        17.    Thereafter, the Plaintiff consented to having his home searched and a search

warrant was also obtained and executed upon. (TPD Permission to Search signed form attached to


                                                 2
           Case
        Case 1:17-cv-01290-DJS         l\.°PPENl)-:fxiled
                23-589, Document 74, 01/17/2024, 3604428, Page70Page
                                                      02/04/22   of 264
                                                                     3 of 6
                                                                                          1321



Fountain Affidavit as Exhibit "B").

        18.    To the best of my recollection and upon reviewing relevant documentation, I was

not present for the warrant execution at the Plaintiffs residence.

        19.    After the warrant was executed upon, the Plaintiff left police headquarters.

        20.    On February 27, 2015, I attended V.D.'s autopsy that was conducted by co-

Defendant Dr. Sikirica with Fountain, Colaneri, TPD Evidence Technician Officer Buttofucco and

Rensselaer County Assistant District Attorney Andra Ackerman.

        21.    To the best of my recollection, as we observed the autopsy, Dr. Sikirica discussed

medical aspects of the autopsy and what he then observed.

        22.    I never directed Dr. Sikirica on how to conduct the autopsy or what if any medical

determinations he should make.

        23.    Based upon my experience, it is not uncommon for the police or members of the

District Attorney's Office to attend an autopsy.

        24.    Based upon my review of the Investigation Report Narrative completed at or about

the time of the incident, after the autopsy on February 27, 2015, Fountain and I went to the

Plaintiff's residence and spoke with him, Ms. Parker and other family members then present. (See,

Investigation Report Narrative attached to Fountain Affidavit as Exhibit "A").

        25.    Further, based upon my review of the Investigation Report Narrative, Fountain and

I asked the Plaintiff if he would agree to be interviewed a second time. (See, Id.).

        26.    On March 2, 2015, the Plaintiff went to TPD central station for an interview which

was recorded. (3/2/15 Miranda Waiver attached to Fountain Affidavit as Exhibit "C").

        27.    Fountain conducted the interview with the Plaintiff.


                                                   3
           Case
        Case 1:17-cv-01290-DJS         l\.°PPENl)-:fxiled
                23-589, Document 74, 01/17/2024, 3604428, Page71Page
                                                      02/04/22   of 264
                                                                     4 of 6
                                                                                          1322



        28.    To the best of my recollection, I was present for the interview but, I watched the

interview from outside the room through a video recording system.

        29.    During the interview on or about March 2, 2015, the Plaintiff demonstrated how he

allegedly performed CPR on V.D. when he found her unresponsive.

        30.    After the interview concluded, the Plaintiff left the police station.

        31.    I did not attend the meeting on March 12, 2015 that Colaneri, Fountain, co-

Defendant Adam Mason, Detective-Sergeant Parrow, Rensselaer County Assistant District

Attorney Andra Ackerman, and Dr. Sikirica attended.

        32.    At some time in or about August 2015 or September 2015, Dr. Sikirica released his

final autopsy report.

        33.    Between the March 12, 2015 meeting and the release of Dr. Sikirica's autopsy

report, Fountain and I continued to investigate additional reports.

        34.    Fountain was in communication with the Rensselaer County Child Protective

Services who had contact with the mother of the Plaintiffs daughter who resided in New York

City and V.D.'s father.

        35.    During the investigation, and based upon the Plaintiffs own statements, it was

determined that the Plaintiff was the only person with V.D. during the days leading up to her death

and immediately before her death.

        36.    During the investigation we had confirmed that Ms. Parker had been with V.D. the

night before her death and Ms. Parker had stated to medical personnel that while V.D. had cold

symptoms a couple weeks prior to her death, she was perfectly find t~e days leading up to her

death including the night before. (Parker Statement attached to Holehan Aff. as Exhibit "B").


                                                  4
           Case
        Case 1:17-cv-01290-DJS          l\.°PPENl)-:fxiled
                23-589, Document 74, 01/17/2024, 3604428, Page72Page
                                                      02/04/22   of 264
                                                                     5 of 6
                                                                                           1323



        37.    Through the investigation and interviews, we confirmed that Ms. Parker had seen

V.D. on the morning of her death and that Ms. Parker left for work around 7:45 a.m. on said day.

        38.    On September 9, 2015, after the final autopsy results were released, the Plaintiff

was interviewed again.

        39.    To the best of my recollection, the Plaintiff did not provide any additional

information than what we already had, and he left the station at the conclusion of his interview.

        40.    At some point, the matter was presented to a grand jury.

        41.    I did not testify before the grand jury.

        42.    I learned that the Plaintiff was indicted by the grand jury and an arrest warrant was

issued pursuant to said indictment.

        43.    I do not believe I was present when the Plaintiff was arrested on October 2, 2015.

        44.    In or about February 2016, I retired from the Troy Police Department.

        45.    On or about May 3, 2016, I testified at a suppression hearing in connection with my

observations and conversations with the Plaintiff in my office at the police station on 2/26/2015.

        46.    I did not testify at the Plaintiffs criminal trial.

        47.    I did not observe or hear of any impropriety by any member of the TPD, by Dr.

Sikirica, or by and member of the Rensselaer County District Attorney's Office in connection with

the investigation ofV.D.'s or the prosecution of the Plaintiff for the same.

        48.    I had no reason to intervene to prevent any alleged constitutional deprivation as

such never occurred.




                                                   5
            Case
          Case 1:17-cv-01290-DJS          J\.ff.ENl}-JXiled
                  23-589, Document 74, 01/17/2024, 3604428, Page73 Page
                                                         02/04/22  of 2646 of 6
                                                                                       1324



            WHEREFOREjDefendant prays for an Order granting the City Defendants, motion for

summaryjudgment pursuant to Feel R. Civ. P. 56(a) togetherwith such .otherand further relief as

ibis Court deems ju,st and prop~r.




SJ»lm to befor~me this
_'f_-·    day of C{ b':c.,,41j, 2022.




          F;r·:iANNON
                    I. SPENCER
  NOTAl:n'PUBLIC,STATEOF NEWYORK
         RC:!;1t,•ra\ionNo. 02SP8393260
      Ou~iifled ln Albany County
   Commis.".i•'.ln
               Expues June 10, 20




                                               6
             Case 23-589, Document 74, 01/17/2024, 3604428, Page74 of 264
                                       APPENDIX                                            1325



UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

MICHAEL DAVIS-GUIDER,
                                      Plaintiff,                         ATTORNEY
                                                                        DECLARATION
               -against-                                             CaseNo.: l:17-cv-1290
                                                                           (FJS/DJS)
CITY OF TROY, RONALD FOUNTAIN, Individually,
DANIELLE COONRADT, Individually, CHARLES
MCDONALD, Individually, TIM COLANERI, Individually,
ADAM R. MASON, Individually, RENSSELAER COUNTY,
MICHAEL SIKIRICA, Individually, and
JOEL ABELOVE, Individually,

                                      Defendants.


       RHIANNON I. SPENCER, ESQ., under penalty of perjury, sets forth the following:

        1.     I am an attorney duly licensed and admitted to practice in all Courts of the State of

New York and I am admitted to practice in the United States District Court for the Northern District

of New York. I am employed by the law firm of Pattison, Sampson Ginsberg & Griffin, PLLC

who are the attorneys for the above-named defendants City of Troy, Ronald Fountain, Danielle

Coonradt, Charles McDonald, Adam R. Mason, and Tim Colaneri (hereinafter referred to as the

"City Defendants").

       2.      I submit this Declaration, together with the accompanying Memorandum of Law in

support of said Defendants' Motion for Summary Judgment pursuant to Rule 56 of the Federal

Rules of Civil Procedure seeking dismissal of the Plaintiff's Third Amended Complaint in its

entirety against these moving defendants.

       3.      As discussed in the accompanying Memorandum of Law, the City Defendants

(movants) seek a dismissal of Plaintiffs Third Amended Complaint on the grounds that there is
            Case 23-589, Document 74, 01/17/2024, 3604428, Page75 of 264
                                       APPENDIX                                            1326



no question of material fact that a jury ought to consider or, in the alternative, because the City

Defendants are entitled to qualified immunity.

       4.        In furtherance of the City Defendants' motion, the following relevant exhibits are

attached here:

       A. Exhibit "A": September 29, 2015 grand jury testimony of Defendant Fountain;

       B. Exhibit "B": Excerpt from the Plaintiffs underlying criminal trial of the testimony of

            the Plaintiff's expert witness, Dr. Shaku Teas;

       C. Exhibit "C": Plaintiffs Expert Witness Disclosure in the instant civil matter.



Dated: February 4, 2022.


                                              Rhiannon I. Spencer, Esq.
                                              Pattison, Sampson, Ginsberg & Griffin, PLLC
                                              Bar Roll No. 102582
                                              Attorneys for Defendants, The City of Troy,
                                              Danielle Coonradt, Charles McDonald,
                                              Adam R. Mason, Ronald Fountain, and
                                              Tim Colaneri
                                              22 First Street - P. 0. Box 208
                                              Troy, New York 12181-0208
                                              (518) 266-1001




                                                  2
Case 23-589, Document 74, 01/17/2024, 3604428, Page76 of 264
                     APPENDIX                                  1327




EXHIBIT '' A''
               Case 23-589, Document 74, 01/17/2024, 3604428, Page77 of 264
                                                APPENDIX                                                                       1328
PlS
5/3/'16
                                                                                                                                           43
                 FOUNTAIN- INVESTIGATION- DAVIS, 9/29/15

  (
  I
           1     Thereupon,

           2                                                RONALD FOUNTAIN,

           3     having          been           duly         sworn            by      The        Foreperson                   of     the

           4     Grand       Jury,              was        examined                 and         testified                as

           5     follows:

           6     EXAMINATION                    BY MS.                HALL:

           7                Q.            Again,                 if     you        would          state          your          name

           8     and      spell          it         for      the        record,                 please?

           9                A.            It's            Ronald              Fountain,                 F-O-U-N-T-A-I-N,

          10                Q.            And where                     are        you      currently                 employed?

          11                A.            Troy            Police              Department.

          12                Q.            And how long                            have      you         been        employed

          13     there?
          14                A.            Twenty-three                            years.

          15                Q.            And in                 what         capacity              are        you       currently

          16     working           in?
          17                A.            I am the                    juvenile              investigator/sex

          18     crimes           for         the         City         of     Troy         Police.

          19                Q.            And what                    exactly              do     you       do      on        a daily

          20     basis?
          21                A.            I am assigned                            every          case         in     the          City

          22     of    Troy,            well,             just         about,            regarding                  a sexual

          23     assault,               a child              injury,                a child             fatality,                  an

          24     adult       sexual                 assault,                all       come         to     me.
  '

                                                JOAN L. BURLEIGH (518)                            767-3030

                                                             001112
                Case 23-589, Document 74, 01/17/2024, 3604428, Page78 of 264
P26
                                               APPENDIX                                                                    1329
S/3/ '16

                   FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15
                                                                                                                                        44

 (
 I
            1                Q.          Do you               have         any       specialized                     training

            2      with      respect              to     those             cases?
            3                A.          I do.                I've         been       to     Dallas,                 Texas        for

            4      the     Crimes           Against                Children            conference.                         They

            5      sent      me to          Seattle,                 Washington               for         the        Juveniles

            6      for     Justice.                I've            been      to      the     New York                  State

            7      Best      Practices,                 the          Advanced              Best      Practices,
            8      investigator                   school,             and        probably            a whole                bunch
            9     of      other       little            trainings                   every         year          to     keep       me
           10     updated         on        all        the         laws.
           11               Q.          And how long                        have       you        been          in     that
           12     capacity?
           13               A.          About            eight             years.
           14               Q.          And were                   you      working           in     that             capacity
           15     on February                  26th          of     2015?
           16               A.          I      was.
           17               Q.          And did                   there       come         a point              in     time
           18     when      you       were         called             to     respond          to         856         4th      Ave.?
           19               A.          Yes.
           20               Q.          And where                    is     that?
           21               A.          It        is    in         Lansingburgh,                    the         northern
           22     part      of    the        city.
           23               Q.          City           of     Troy?
           24               A.          County               of      Rensselaer,                  State          of        New



                                             JOAN L. BURLEIGH (518)                         767-3030

                                                        001113
                Case 23-589, Document 74, 01/17/2024, 3604428, Page79 of 264
P27
                                                APPENDIX                                                                      1330
5/3/ '16

                   FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15
                                                                                                                                           45

 (
            1     York.
            2                 Q.           And what              was           your          purpose             of     going

            3     there?
            4                A.            There          was         a call               for      a child             fatality

            5     at    the        time.            They         didn't               know        if     the          child        was

            6     going           to     make       it     or        not,            so    they        called            --    my

            7     Captain              called           myself            and         told        me to          respond             to

            8     the       scene.
            9                Q.            And you              in        fact        did        that?
           10                A.            I    did.
           11                Q.            And describe                        what         occurred              when        you
           12     arrived.
           13                A.            When we got                      there           there         was         a couple
           14     of    patrol           officers               that             were        already             at     the
           15     scene.               An ambulance                   had         already              left.            I think            I
           16     caught           the     tail          end         of     the           ambulance              pulling
           17     away.            And the              mother            of      the        child         and         the
           18     boyfriend              of       the     mother               were          both        still          at     the
           19     scene,           outside,              waiting.
           20               Q.            And what               was           the        mother's             name,          if     you
           21     recall?
           22               A.            Her       name         is        Rebecca               Parker.
           23               Q.            And what              was            the        mother's             boyfriend's
           24     name?



                                               JOAN L. BURLEIGH (518)                            767-3030

                                                          001114
                Case 23-589, Document 74, 01/17/2024, 3604428, Page80 of 264
P28
                                              APPENDIX                                                                    1331
S/3/ '16

                   FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15
                                                                                                                                        46

 (
            1               A.          Michael             Davis            Guider           (phonetic

            2      spelling).
            3               Q.          And with              respect              to        Michael               Davis

            4     Guider,          do you         know        his           date        of        birth?

            5               A.          I'm      going            to        go with           -               of      '86.
            6               Q.          Are      you        guessing?
            7               A.          I'm      pretty            sure.             I know              it's            1986.

            8     That's         for     sure.
            9               Q.          You      sai d       the        a rob u 1 an c e had                    1 e ft    .

           10               A.          It     did.

           11               Q.          Who took             her?             Who left                in        the
           12     ambulance,             if     you         know?
           13               A.          The.2-and-a-half                           year           old,         V-
           14     D..
           15               Q.          And mom nor                    Michael            Davis            went           in     that
           16     ambulance?
           17              A.           Neither             one        of     them        went           in        the
           18     ambulance.
           19              Q.           Do the         Troy            Police           prevent                either
           20     party      from       going          in     an       ambulance?
           21              A.           No,      we would               not.
           22              Q.           Would         the     paramedics                     --      have           you
           23     worked         with        paramedics                before?
           24              A.           Twenty-six                years.



                                             JOAN L. BURLEIGH (518)                       767-3030

                                                      001115
                    Case 23-589, Document 74, 01/17/2024, 3604428, Page81 of 264
P29
                                                     APPENDIX                                                                              1332
5/3/ '16

                       FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15
                                                                                                                                                       47


 I
                1                Q.            And        do      they         prevent                 a parent                      or     a

            2          legal          guardian             to         go with             a child                    in        an

            3          ambulance?

            4                   A,             Absolutely                     they        would                let          them           go.
            5                   Q.             Would            let      me go?                  They           wouldn't
            6         prevent           them         from             going         --
            7                   A.             They        would              not        stop          them.                   No.
            8                   Q.             And        once          you        arrived                at         this           address,

            9          February              26th,         2015,             describe                 what            you           did.
           10                   A.             Well,-           we spoke                 to     Michael                   and            Rebecca
           11         just      briefly,               and         asked            them         if         they            would            come
           12         down       to     the      police                station                and       talk              to        us     because
           13         we didn't               know        what          was         going            on        yet.
           14                                  So myself                 and         my partner,                          Chuck
           15         McDonald,               asked          Michael                to        go with                us.             Michael

           16         sat      in      the     front             see,         because                he's            a very                big
           17         fellow,           and      Chuck            sat         in     the         backseat,                          and     we
           18         drove          down      to      the        police             station.                        Rebecca                was
           19         brought           down         by      one        of     the            patrol             officers                   who
           20         was      there,          and        she         was      brought                 to        the            station.
           21                   Q.            And         they         both         went            voluntarily?
           22                   A.            They         did.
           23                   Q.            And       did           there         come            a point                    in     time        on
           24         February           26th         when            you      had        a conversation                                   with



                                                 JOAN L. BURLEIGH (518)                                767-3030

                                                              001116
                 Case 23-589, Document 74, 01/17/2024, 3604428, Page82 of 264
P30
                                                      APPENDIX                                                                          1333
S/3/ 'l 6
                                                                                                                                                    48
                   FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15

{
             1     Michael           Davis?
             2               A.             There                 did.
             3               Q.             Would                 you      describe                 that            for         the     grand

             4     jurors,           please.

             5               A.             He was                 sitting             downstairs                         in     Chuck

             6     McDonald's                   office,                  which         is         right            next         to      mine.

             7     We're       in      the            juvenile                  section                of      the        police

             8     department,                       the         back      part            of      it.             And we asked

             9     Michael           --         well,             we started                     off          by     asking             him     how

            10     the      day      went.                  Who was              at        the         house.                  What         could

            11     have      happened.                           And according                         to      Michael,                 there

            12     was      nobody              at         the      house            but         him          from        the         time

            13     Rebecca           left             for         work          in     the         morning                at         8:30.

            14    And when             she            returned                  home         at        1 p.m.,                 the      only

            15     person         in       that             house          was         him         and         Viola            Davis.

            16               Q.             And did                  you        at     any          point            in        time

            17     verify         that           information?
            18               A.             He did.                      We got             a statement                        from
            19     Rebecca,            we got                    a statement                     from          an     independent

            20    witness            that             she         was      at        work,             and         we got             her

            21     Stewart's               work             records              for        that            day,          that         she      was

            22    using        the         --         the         cash       register                    at        Stewart's

            23    between            the         hours              of     9 a.m.               and         1 p.m.
            24               Q.             So she                 was      not        with            the         child             between



                                                 JOAN L. BURLEIGH (518)                                  767-3030

                                                                 001117
                    Case 23-589, Document 74, 01/17/2024, 3604428, Page83 of 264
P3I
                                                         APPENDIX                                                                             1334
S/3/ '16

                       FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15
                                                                                                                                                               49

lI
                1     9 and           1 --          at        9 a.m.              and        1 p.m.               on        February                 26th?

            2                    A.               That's             correct.
            3                    Q.               And did              Michael                   describe                   the         day,          or

            4         how       the        day        started?
            5                    A.               He did.
            6                    Q.              And could                    you         describe                  that           for          the
            7         Grand           Jury,           please.
            8                    A.              Michael               said              that          he        woke         up        to      the
            9         smell           of     V-               pooping                in         her         Pamper.                    And
           10         they're              trying             to      potty              train              her,         so       he
           11         immediately                    made          her            stop          pooping                in        her         Pamper

           12         and      he      guided             her         towards                   the         back         bathroom.                         The
           13         bathroom               was         in     the         back           part             of     the           apartment.
           14                                    At      that          same             time          Rebecca                 was        leaving
           15         and      said,             goodbye,                I love                 you,         to        them            and      walked
           16         out      the         door.              He continued                            to     bring            her            back,
           17         helped           her        get         on      the          toilet,                 and         I guess                 she
           18         finished               pooping,                according                       to      him,           at         8:30          in
           19         the     morning.
           20                                    Then          after              that          he         brought               her         back
           21         into       the         living            room           where              he        sleeps.                  He put                a
           22         new      Pamper             on her,              he          got       her           something                    to      drink
           23         and     she          didn't             want          it,          and         then          she        was            tired            at
           24         8:30       in        the      morning              and             decided                 she        wanted              to        go



                                                    JOAN L. BURLEIGH (518)                                  767-3030

                                                                   001118
                Case 23-589, Document 74, 01/17/2024, 3604428, Page84 of 264
P32
                                                   APPENDIX                                                                        1335
5/3/ '16

                   FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15
                                                                                                                                                  50

  I
 (
            1     back       to      bed.
            2                Q.              Can        you      describe                     for      the           grand         jurors

            3     the       layout            of       the       apartment,                     the        size          of        the

            4     apartment?
            5                A.              Sure.             It's          -~        it's          not         huge,         but         it's

            6     not       tiny         either.                 When         you         walk            in     the       main          entry

            7     door       you're               in    like          a living                  room,            that's

            8     probably               about,              I don't              know,             15,         20     feet         by      15

            9     feet.            And       that's            where              they          have            a couple             of

           10     mattresses                 and        they          sleep             --
           11                Q.             When you                  say     "they"                 who are              you

           12     referring                 to?
           13                A.             Oh.          Rebecca              and            Michael              have        a
           14     mattress              and        they        sleep              in      there.                 There's             a T.V.
           15     with       a --           with        a D.V.D.                  player             attached                 to     it.
           16     There's           a futon               to      the        left,             that             they      can        push
           17     down       into           a bed,            also.               And then                 they         have         a

           18     dresser           in       that         room.
           19                               Immediately                      to        the      right             of      that           room
           20     is      where         V               slept.               And         there             is        a single              bed,

           21     a bunch           of       clothes             and         stuff             like            that.             She       has

           22     a dresser,                 I believe.                      And         then          there's                a space
           23     heater           on     the          ground           to        keep         her         warm         because
           24     they       said         that          room          kind         of         gets         cold.



                                                JOAN L. BURLEIGH (518)                               767-3030

                                                             001119
                Case 23-589, Document 74, 01/17/2024, 3604428, Page85 of 264
P33
                                                  APPENDIX                                                                    1336
5/3/ '16

                  FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15
                                                                                                                                            51

 (
            1                               The       next         room         up     is     the        kitchen,               and

            2     then       after          the          kitchen           is    the         bathroom.                    And

            3     that's            the     entire            house.

            4                Q.            The        wall         where         Rebecca             and        Michael

            5     sleep,           is      that          a shared           wall            with        V-'s                  room?
            6               A.             It      is.

            7               Q.             Okay.             From      the           room      where            V-              --
            8     where          Michael            and       Rebecca            sleep,             can        you        see        into

            9

           10               A.             You can.
           11               Q.             Describe                what,        if      anything,                   he     says
           12     next.
           13               A.             He told              me that              she     went         back           to     bed

           14     because            she        was       tired.            And he            put        a D.V.D.               in

           15     the      recorder               and      he      watched                    National                   Treasure
           16     was      the       D.V.D.           he told          me he               watched.                 He watched
           17     the      D.V.D.           and       he      fell         asleep.
           18               Q.             What's            the     next         thing            he     told           you.
           19               A.             He told            me that            he         awoke         and        the

           20     credits            were         playing,            and        he        decided             to    get        up

           21     and      start          making           breakfast                 for      him        and        V-.                   He
           22     said      he       called           in     for      V-              a couple                 of    times            and
           23     she      didn't           respond.                 And we're                assuming               this            is
           24     around           12:30          p.m.          So about              four         hours            later.



                                                JOAN L. BURLEIGH (518)                       767-3030

                                                           001120
               Case 23-589, Document 74, 01/17/2024, 3604428, Page86 of 264
P34
                                                  APPENDIX                                                                              1337
5/3/'16
                                                                                                                                                          52
                 FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15

 (
           1                  Q.           Well,              did        the      defendant                       at        any        point

           2     in      time       tell           you         what           time         he       woke           up?

           3                  A.           He said                 he      thought                 it        was        11 or               12:00.

           4     He wasn't                 sure.               He said               he      went            in        to        see        v ..
           5     she       was      lying           in         her       bed.              He went                 to        wake           her          up

           6     and       shake           her,          she         wouldn't                move.                 At        which            time

           7     he      said       that           he        started            what            he       believed                      to     be

           8     C.P.R.             And       he         started               compressions                            in        the        room.

           9                  Q.           Did          he     tell           you         how many                  times              he did

          10     that?
          11                A.             He said                 in     the        room           he        did           it     once,

          12     then         he    carried                  her        out      into           the          living                room,            put

          13     her       on      the      futon              and       there             he      again               tried            C.P.R.

          14     When she                didn't              respond,                he      said            he        tried            to         get

          15     a phone            to      work,              but       the         phones              weren't                   working,

          16     his       cell          phones.                   So he        ran         up          to    a neighbor's

          17     house,            and      left             Vlllillthere.                         He ran               up         about

          18     five         doors,          knocked                   on a friend's                         house                up the

          19     street,            nobody              answered.                     He went                 back               again             to

          20     the       house,           checked                 on~'                        who still                        wasn't
          21     moving            or     breathing,                     again             tried             to        give         her

          22     C.P.R.             She       didn't                 respond.                   He left                 the         house

          23     again,            leaving              V...             in     the         house,                proceeded                        over

          24     to     the        restaurant                   across               the        street.                     It's



                                              JOAN L. BURLEIGH (518)                                 767-3030

                                                             001121
                 Case 23-589, Document 74, 01/17/2024, 3604428, Page87 of 264
P35
                                                   APPENDIX                                                                                   1338
5/3/ 'J 6
                                                                                                                                                            53
                   FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15


             1     Testo's            Restaurant                     in        Troy,          which                 is       kitty-corner

             2     to      where           they        live.                 He asked                   if        he      could               use     the

             3     phone,          one       of        the          employees                 said,                 here.                 You       can

             4     use      my cell               phone.                 He then              called                   for         an

             5     ambulance.                     He called                    9-1-1.               And I believe

             6     within          the       next             ten       minutes               the            Fire            Department

             7     arrived            at     the          scene.

             8               Q.              Did         he      tell          you         what              he     did         after

             9     that?
            10               A.             After             he        left         Testo's,                     he      was            crossing

            11     the      street,               at      the        same            time          the
            12     mother,            Rebecca,                  was          pulling               in        the         house.                    She

            13     had      gotten           a ride                 from        Mr.         Brown,                 who was

            14     dropping            her         off          after           her         shift              at        Stewart's.

            15     He went            and         said,            she's          not         breathing.                             She's            not

            16     breathing,                to        Rebecca.                  And          at         the           same          time           the

            17     Fire       Department                     was        pulling               in         and           the       police

            18     were      pulling               in.           And he               said          that               was         it.

            19               Q.             Did         --      at       any         point              in        time          did           he

            20     describe            how V-                        was        in      the         morning?
            21               A.             He said                 she        was         a little                      slow            to     the

            22     go.        I    mean,           he        was        --      she         just             wasn't,                 like,            all

            23     with      it.           But         she       walked               to      the            bathroom                     fine,

            24     she     wasn't            thirsty.                        He said           she            had            had         a cold,



                                              JOAN L. BURLEIGH (518)                                    767-3030

                                                              001122
                Case 23-589, Document 74, 01/17/2024, 3604428, Page88 of 264
P36
                                                APPENDIX                                                                         1339
5/3/ '16

                   FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15
                                                                                                                                                  54


            1     but       that        was        about             a week             before.                  She       --        they

            2      given          her    some            over-the-counter                               Motrin             from

            3      Family          Dollar.                She            was         fine.           She         hadn't           been

            4      sick      lately,               not         in        the         last         few      days.

            5                Q.           Did        he        indicate                     when        the       last          time        he

            6     had      given         her        Motrin                 was,         or        Family          Dollar
            7     Ibuprofen?
            8                A.           He said                   it         was     over          a few         days          ago.

            9     At      least         a few        days                ago.
           10                Q.           Did       he         --         if     you         would,           can         you

           11     describe              what        you         observed                     as    Michael               Davis'
           12     demeanor?
           13               A.           Calm.                 He wasn't                     running             around              or

           14     screaming              like        you            would             think          somebody               would            if
           15     they       had        had     a 2-and-a-half                                year         old      who wasn't

           16     breathing.                  And         --        and         he      --        he was          kind          of
           17     subdued.               He wasn't                       yelling.                  He wasn't
           18     screaming.                  He wasn't                        claiming,                I don't             know            what
           19     happened.               He was                just            very          even         keel          about
           20     everything.
           21               Q.           What            is     Michael                 Davis'             relationship                      to
           22     V-D-

           23               A.           I think                in         a roundabout                       way,         he        might
           24     be      a cousin            of     hers.                     He's         not      the      biological



                                              JOAN L. BURLEIGH (518)                               767-3030

                                                          001123
                     Case 23-589, Document 74, 01/17/2024, 3604428, Page89 of 264
P37
                                                        APPENDIX                                                                              1340
5/3/ 'l 6

                        FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15                                                                                          55


                 1     father,            but          he      might           be       a cousin                     of         the
                 2     biological                    father.                  And I'm               not         sure             if       there's
             3         an      actual           blood            relation                    or     if      it's                an     adoption
             4         thing.
             5                    Q.                Okay.              But,        suffice                 to            say,         Michael
             6         Davis        is        cousins              with         V-                 D....             '     biological
             7         father?
             8                    A.                Correct.
             9                    Q.                What,         if        anything,                    did         he         say        after
            10         that?
            11                    A.                Well,        once          we got               to         the         police
            12         station           we spoke                  to       him         at        length.                   He told                us
            13         about       his          basketball                    career.                    He told                     us      about
            14         how h~ got                   home         the        night             before             after                 going         out
            15         to     a friend's                    house.             How V-                           was         already
            16         asleep           the         night         before             when            he         got         home             around
            17         ten.        She         was          already            in        bed.              It            might            have       been
            18         a little               bit       latter              than         that.                 That             she          had
            19         eaten       SpaghettiOs,                         he     thinks,                   the             night            before.
            20         But      besides               that,            he     talked               about                 himself              a lot,
            21         that       he     was          the      only           person               in      the            house.               There
            22         was      never          anybody                 else        in        there.                      He told              me that
            23         numerous           times.
            24                                  At      subsequent                      interviews                         he         told         me he



                                                     JOAN L. BURLEIGH (518)                               767-3030

                                                                 001124
              Case 23-589, Document 74, 01/17/2024, 3604428, Page90 of 264
P38
                                                APPENDIX                                                                        1341
5/3/16
                                                                                                                                              56
                FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15


(               knew       his          own        strength                  and     he      knew         that          he
          1

          2     couldn't                harm         a child.

          3                Q.                Couldn't              harm            a child           or       --

          4               A.                 Well,         he      knew            how to          treat            a child,

          5     and      that           he     had         held         many         children                 and       he      knew

          6     that       he      would             not        hurt          them        by       holding              them            or

          7     doing          anything               wrong.

          8                Q.                Going         back          to        that        interview,                     did       he

          9     account            for         --     well,             if     you        know,           what          time            was

         10     9-1-1          called?

         11                A.                About         1:07          p.m.,            1:05       p.m.

         12                Q.                And     you         said          he     said         he      woke          up

         13     between                11 and         12?

         14                A.                Yes.          But         there          was        also         no clocks,

         15     and      the       phones             weren't                 working,              so        he     really

         16     wasn't           too          sure         of     the         time.

         17                Q.                Did     he         have         any      explanation                       for         a time

         18     difference                   between              11 and             12 and             when         9-1-1

         19     arrived?

         20                A.                He could              not         explain             that.

         21                Q.                Did     he         talk         about         V...            being              injured

         22     or      hurt           in     any     way         that         morning?

         23                A.                He said              there            was     nothing                 wrong            with

         24      her.           It's          normal            occurrence                   for        her        to     be        a
 '\



                                               JOAN L. BURLEIGH (518)                             767-3030

                                                           001125
                Case 23-589, Document 74, 01/17/2024, 3604428, Page91 of 264
P39
                                                  APPENDIX                                                                         1342
5/3/ '16
                                                                                                                                                  '57
                   FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15


            1     little            tired         and         sometimes               go back                    to        bed     at       8:30

            2     in       the     morning              for         a 2-and-a-half                          year            old.

            3                Q.             Did        he     indicate               to        you          how C.P.R.                      was

            4     performed?

            5                A.             He did.                  He --

            6                Q.             Could           you       describe                 that,             please.

            7                A.             He explained                      to    me in              --        in        --     he

            8     would           place          his        hand          underneath                  her         back            and       he

            9     would          push        very           gently           on     the         front             of        her        chest

           10     and       her         stomach             area,          and      then         he would                       blow        into

           11     her       mouth          a few            times.               And he          said             her           chest

           12     would           rise      and        the          air      wouldn't                 come            out.             So    he

           13     slowly,               again,         pushed              the      air         out         of        her        and

           14     would           try      blowing             in         again,          but         the         air           wouldn't
           15     come       out,          he'd        have          to      push         it     out.

           16                Q.             Did        he     tell          you     how many                     times            he
           17     tried          that?
           18                A.             At     least             three         different                     times.
           19                Q.             And you             said         that         he      went            for           help,          he

           20     left       the         child         at      the         house?
           21                A.             Twice.
           22                Q.             Was anyone                    home      with          that            child?
           23                A.             No     one.
           24                Q.             With        respect                                       D      •         ,    do     you



                                                 JOAN L. BURLEIGH (518)                         767-3030

                                                            001126
                Case 23-589, Document 74, 01/17/2024, 3604428, Page92 of 264
                                                   APPENDIX                                                                          1343
P40
S/3/'l 6
                                                                                                                                                        58
                  FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15


            1     know         what          she     was         wearing              on February                            26th            of

            2     2015?

            3                  A.             I    believe             she         had        on a                      some            type         of

            4     nightshirt,                     with       a flower                 on it,                and         a Pamper.

            s                  Q.            And was              there            any        discussion                          with            him

            6     with         respect              to     the         Pamper?

            7                 A.             We asked                 him     if       he had                changed                    it

            8     recently.                   We asked                him       if       he       changed                    it     after               he

            9     gave         her      C.P.R.               We asked                 him         about                the         one        that

           10     was         on the          floor.              And how he                      stopped                    her         in       mid

           11     poop         from          pooping             in     the          rest         of        it         and         then           got

           12     back         to     the         toilet          to        continue               pooping.                         He --

           13     he     --     his          explanation                    was,         this          is         what                       how

           14     they         do     it,         and      this         is      how they're                            potty                                 I,



           15     training              her.

           16                                He stated                 he     had           not        changed                    her

           17     diaper             after         C.P.R.               And that                  was            the         way we

           18     found         her.
           19                 Q.             And with                 respect               to    the            diaper,                  were

           20     there         any          observations                    made           at     the            time             that           the

           21     child         was          found?
           22                 A.             I believe                 the      diaper             was             clean.

           23                 Q.             When you                 say     "clean,"                  is         that            dry

           24     and



                                                  JOAN L. BURLEIGH (518)                          767-3030

                                                            001127
                 Case 23-589, Document 74, 01/17/2024, 3604428, Page93 of 264
P41
                                                      APPENDIX                                                                       1344
5/3/ 'l 6

                    FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15
                                                                                                                                                     59

 (
             1                A.                Dry         and         no     fecal         matter.

             2                Q.                Did         you         have      an        opportunity                       to     walk

             3      through              the         house?

             4                A.                I did.
             5                Q.               Did          you        make       any        observations                          with

             6      respect           to            the         apartment,              and           specifically
             7     Viola's            room?
             8                A.               Her          bedsheets,                 it        --        it     kind         of     looked
             9      like      made.                  There          was        a little                indentation                        on the

            10     pillow           where                 the     head         was,         and        then            the         sheet        was

            11     perfect,               and             the     --      and     the            blanket               over         the
            12     sheet           was     really                 neat.           It        wasn't               like         fussed            up
            13     or      messed          up or                 anything.                  It        was        all         kind         of
            14     very       neat,             like             somebody              had        just           got         out     of        bed
            15     and      pulled              everything                     back         up.
            16                Q.               And is              that         the      area              where         Michael
            17     Davis           described                     finding          vtl9                C1IIIIII
                                                                                                            unresponsive?
            18                A.               Yes.
            19                Q.               Was the                 information                    --        what         you      were
            20     seeing           with             your         eyes         consistent                       with     the
            21     information                      he      was         giving          you?
            22                A.               Yes.
            23                Q.               It         looked           like        C.P.R.               had        been
            24     performed               in         that         --



                                                    JOAN L. BURLEIGH (518)                            767-3030

                                                                 001128
                Case 23-589, Document 74, 01/17/2024, 3604428, Page94 of 264
P42
                                                     APPENDIX                                                                         1345
5/3/ '16

                                                                                                                                                        60
                  FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15


            1                    A.            Oh,        no.           It        --        there           was        no messy

            2     stuff.                 He definitely                        wasn't                moving             her         on top

            3     and       messing                 up        the      sheets.                    It      just         didn't              look

            4     like           it.          But        could           he       have?                I don't               know.

            5                    Q.            And        you         said         with            respect              to        a dirty

            6     diaper,                you        observed                 a dirty                diaper?
            7                   A.             It        was        sitting                 on      (sic)         the        living,                on

            8     the       floor             next            to      a sippy                cup.
            9                   Q.             With           respect              to        Viola,              did     you         have           a

           10     conversation                       with             Michael               Davis           about            her      being

           11     in      any          pain         or        expressing                    pain          in     any         way?

           12                   A.             I did.                 And     I asked                  him        if     she         cried

           13     at      all,          if     she            screamed                 and        yelled           when            she      went

           14     back           to     bed         at     8:30         and            he      said,           nope,          she          didn't
           15     say       a word.                  She           didn't              yell.              She      didn't             say         she

           16     was      hurt.               He actually                        said,             usually             if         she's
           17     hurt,           she         would            tell         me if              something                hurt.
           18                   Q.            And         did         she     indicate                    to      him        in      any       way
           19     that           she      was        hurt?
           20                A.               No,         she         did     not.
           21                Q.               With            respect             to         --     during             the         course
           22     of      the          conversation,                        did         you         ask        him      about            him
           23     touching                her,           or        doing          anything                  to    her,            injuring
           24     her      in          any     way?



                                                    JOAN L. BURLEIGH (518)                             767-3030

                                                                   001129
                 Case 23-589, Document 74, 01/17/2024, 3604428, Page95 of 264
P43
                                                     APPENDIX                                                                     1346
S/3/ 'I 6

                   FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15
                                                                                                                                                   61

 ,· ,.._
 l
             1                  A.             I did.                I asked              him      if      maybe            by

             2     chance,              when         he       brought               her     back          to        the      bathroom

             3     to      finish             the       morning              poop,          if      he was                upset         again

             4     about             changing             the        child's               diaper.                  I asked            him

             5     if      he        had      maybe           picked           her        up      or      squeezed                her         and

             6     said         that          this        is     where            poop           comes         from.              Did         you

             7     actually                 give        her      a squeeze                  and         tell         her,         this            is

             8     what         it         feels        like         and       --      and        that's             how you               know

             9     when         you         have        to      go     to      the        bathroom.                   And,           again,

            10     he      said         he     did        not        do that.

            11                  Q.             Did      you       discuss                 his      size        and          his

            12     strength?
            13                  A.            We did,             at        length.                I --

            14                  Q.            And what               was          discussed                with           respect               to

            15     that?
            16                  A.             I asked            him        if      he         knew       that           his        size,

            17     being             one      6 foot            10 and            300       pounds,               compared                 to

            18     her      size,             being          a tiny           little              girl,           that          he

            19     wouldn't                 have        to      squeeze              very        hard          to     hurt           her.

            20     And he             said         he     knows         his          own strength                     and         he

            21     knows             that      he would                not        hurt          a child.                   He knows

            22     how to             handle            children.
            23                  Q.            Did       there          --      anything                 with         respect                 to

            24     the      February                 26th        interview                  --     anything                  in      the



                                                   JOAN L. BURLEIGH (518)                          767-3030

                                                               001130
         Case 23-589, Document 74, 01/17/2024, 3604428, Page96 of 264
                                         APPENDIX                                                                    1347
                                                                                                                                  62
           FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15

(
     1     February           26th,          2015         interview                 that         gave        you           any

     2     sort       of     further          information?

     3               A.            I remember                   him     telling            us        how he            was

     4     alone,          how there              was       no one             else        there           on the

     5     February           26th,         but          that         interview               was         very        short

     6     and      brief,         because           we didn't                  even          know         at        that

     7     time      how V-                 had      passed.

     8               Q.            Did     there           come         a point            in        time        when

     9     you      re-interviewed                       and      met       with         Michael            again?

    10               A.            I met          with          him     two      other           times.                I met

    11     with      him      on February                   2nd        of      2015        and       --

    12               Q.            February              2nd?

    13               A.            I'm     sorry.                March         2nd       of      2015           at     the

    14     police          station,           and         I interviewed                       him      on        tape.

    15     And      then      I met         with          him         again         on     September                  9th        at

    16     ~he      police         station.                 Interviewed                    him       a few            weeks

    17     ago.
    18               Q.            Did     you       learn            any      other           information

    19     than      that       which         you         previously                   given         to     the         grand

    20     jurors?
    21               A.            I believe               I've         said        everything.                        I

    22     could        be    missing             something.                    It's          been         a while.

    23               Q.            During          the         course          of      those          interviews,

    24     if     you      could         recall           what         was      said,           in     sum           and



                                      JOAN L.       BURLEIGH (518)                  767-3030

                                                  001131
                  Case 23-589, Document 74, 01/17/2024, 3604428, Page97 of 264
P45
                                                    APPENDIX                                                                  1348
5/3/ '16
                                                                                                                                              63
                    FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15

 (
              1     substance,                 with         respect               to      that       day        and      Viola's

              2     injuries.

              3               A.              I --         the       last          interview               I had          with            him

              4     on      September               9th,          I spoke               at     length,             telling              him

              5     that        we knew             now the              cause            of      death,           how she              had

              6     died,          and       that         there          had        to       be     somebody             who did

              7     this        to     her.           And he             stated              to     me again             that           he

              8     was      the       only         person             in     the        house,            there         was        no

              9     one      else        there            the      entire              day.          He also             stated

             10     that      he       knew         his         own strength,                       and     he        knew         that

             11     he      would        not        harm         a child               because             he      knew       it        was

             12     like      to       use      his        strength,                   and        he would              not        do

             13     that.            I believe                  that's            everything.

             14                                            (Pause.)

             15                                           MS.       HALL:               I don't            think          I

             16                 have          anything               further                 from      (sic)

             17                 this          witness.
             18                                           Do any             of     the        grand        jurors

             19                 have          any     questions?

             20                                           Yes,         ma'am.

             21                                           GRAND JUROR:                         I'm

             22                 confused.                   Where            did         she      die?           In
             23                 the      house             or     in        the        hospital            or      in
             24                 transport?
     .   ~




                                                JOAN L. BURLEIGH (518)                            767-3030

                                                            001132
                Case 23-589, Document 74, 01/17/2024, 3604428, Page98 of 264
P46
                                               APPENDIX                                                                     1349
S/3/ '16

                  FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15
                                                                                                                                       64

(
            1                                       MS. HALL:                      Detective

            2                 Fountain?

            3                                       THE WITNESS:                             The        easiest

            4                 way to           answer          that          is,         the          hospital

            5                 has      to     pronounce               deaths,                  whether

            6                 you're          dead       or     not.               So
            7                                       GRAND JUROR:                             No.         I     know

            8                 that.           But      where          did          --        where            did

            9                 she      expire?

           10     BY MS.          HALL:          (Cont'g.)

           11                Q.         Do you          recall                                --        or     do     you      know

           12    -s                 condition            at         the         house,             at        -Ave.,
           13     when       9-1-1          arrived,           or         the      paramedics                       arrived?
           14               A.          She      was      not         breathing,                        and        they     were

           15     doing       everything                they         could              to      try          and      get    her      to

           16     breathe.             She      was      --      there             was         no heartbeat                    and

           17     there       was      no breath               at         that          time.
           18               Q.          So the          child             was       in        full           cardiac

           19     arrest?
           20               A.          According               to        the       medical                  people.            I'm

           21     not     medical            people,           though.
           22                                       MS. HALL:                    Did          that           answer

           23                 your      question,               ma'am?
           24                                       GRAND JUROR:                         Uh-huh.
\




                                             JOAN L. BURLEIGH (518)                           767-3030

                                                       001133
                Case 23-589, Document 74, 01/17/2024, 3604428, Page99 of 264
P47
                                               APPENDIX                                                                  1350
5/3/ '16
                                                                                                                                          65
                  FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15

(
            1                                         GRAND JUROR:                        What         time

            2                 was       that?
            3     BY MS.        HALL:                (Cont'g.)

            4              Q.            What         time       was          9-1-1         called?

            5              A.            1:05         p.m.-ish,                   give      or     take            a couple

            6     of   minutes.
            7              Q.            And with              respect               to     the        earlier

            8     question,             so      the      actual             death          was         pronounced              ...

            9              A.            At     St.      Mary's              Hospital              by        the

           10     attending             physician,                whoever                 that         was.

           11              Q.            Do you           know         if         they      were            ever        able         to

           12     revive        V ...           or     get       any        life          back         to     her?

           13              A.            I heard              there          was         some      kind            of    rhythm

           14     somewhere,              but         I don't           know
           15              Q.            I want          --      if      you        don't          know,            don't            --

           16              A.            I don't              know.
           17              Q.            Okay.
                                                                                                                                               II
           18                                         MS. HALL:                    Any other

           19                 questions               from       the          grand         jurors?

           20                                         GRAND JUROR:                        What         time

           21                 did       the     individual                   go over              to        the

           22                 restaurant                to     use          the     phone?

           23                                         THE WITNESS:                        About             1:05

           24                 p.m.            They      were          there         within             five



                                              JOAN L. BURLEIGH (518)                        767-3030

                                                        001134
                    Case 23-589, Document 74, 01/17/2024, 3604428, Page100 of 264
P48
                                                    APPENDIX                                                               1351
S/3/ '16

                       FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15                                                                     66


                1                   minutes              of     him     calling,                  the     Fire

            2                       Department                  had     showed              up.
            3          BY MS.           HALL:             (Cont'g.)

            4                      Q.           And is           the     Fire          Department                    who

            5          appropriately                     responds           in     Troy             when         there's     a

            6          medical            emergency?
            7                  A.               Yes.           They      have          --     we have                our   own
            8          ambulance                service.               So the           Fire            Department          and
            9          the    ambulance                  from      Troy         go to             every          medical     scene
           10          in    the        city.
           11                                                 GRAND JUROR:                    Could            the
           12                      damage           have         been       caused            by him
           13                      trying           to        do C.P.R.?
           14                                              MS. HALL:               I don't                 believe
           15                      that's           an        appropriate               question                 for
           16                      this         witness           --
           17                                              GRAND JUROR:                      It's          the
           18                      other          one.           I'm    sorry.
           19                                              MS. HALL:               I

           20                                              GRAND JUROR:                      Because              I
           21                      didn't          know         there        was        C.P.R.
           22                      involved              before         this.
           23                                              MS. HALL:               Well,                your
           24                      recollection                   refresh          --         you        know,



                                                  JOAN L. BURLEIGH (518)                          767-3030

                                                               001135
                Case 23-589, Document 74, 01/17/2024, 3604428, Page101 of 264
P49
                                           APPENDIX                                                                   1352
5/3/ '16

                   FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15                                                                 67

 /
 {
            1              your          recollection                     recalls             what        the
            2              testimony                  was.           If      you want            to       call
            3              that          witness             back,           we can           do that.
            4              If     you      want            to       ask      for     a read           back,
            5              we can          do         that          as    well.
            6                                        GRAND JUROR:                       No.         He
            7              didn't          say            anything              about         C.P.R.
            8                                        GRAND JUROR:                       Yes,        he
            9              did      --
           10                                        MS. HALL:                  Your
           11              recollection                      --      wait.           That's           for
           12              your      deliberations                         --
           13                                        GRAND JUROR:                       Sorry.
           14                                        MS. HALL:                  Your
           15              recollection                      re      --    recalls.                 So,
           16              it's      --         if     the        grand          jurors          want       to
           17              call      back            in      that         witness,             we can            do
           18              that      as      well.
           19                                        Any other               questions                for
           20              this      witness?
           21                                        Oh.          I'm      sorry.             Yes,
           22              ma'am.
           23                                        THE FOREPERSON:                          Mr.
           24              Davis,          at        the        time       of      Mr.     Davis



                                          JOAN L. BURLEIGH (518)                          767-3030

                                                      001136
                 Case 23-589, Document 74, 01/17/2024, 3604428, Page102 of 264
PSO
                                             APPENDIX                                                                            1353
S/3/ '16

                    FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15
                                                                                                                                        68

 (
             1               spoke         that            he     --     they             have        a way in

            2               to     change              her       diaper.                   Was were                   they

            3               have        to       --        a way to              change               --        change

            4               her      diaper?                    Was there                  any        kind            of

            5               noise          she        was making                      or     any          kind         of

            6               sound?
            7                                         MS. HALL:                      If     you           know         the

            8               answer           to       that?
            9                                         THE WITNESS:                          He said                  that

           10               she      had      awoken               and         he         had        gotten            up
           11               because           she           was        pooping               in       her

           12               diaper.                How
           13                                         MS. HALL:                      Not        --        in    the

           14               morning.                  At               are       you        referring                       to
           15               the      afternoon?
           16                                         THE FOREPERSON:                                I'm
           17               referring                 when        he         first          spoke,                  that
           18               he    got        up       to        change          her
           19                                         MS. HALL:                      Okay.

           20                                         THE FOREPERSON:                                --        to

           21               change           her       diapers.
           22                                         MS. HALL:                      Okay.             Thank
           23               you     for       clarifying.
           24                                         THE       WITNESS:                   He had               told



                                          JOAN L. BURLEIGH (518)                                767-3030

                                                       001137
                    Case 23-589, Document 74, 01/17/2024, 3604428, Page103 of 264
PSl
                                                       APPENDIX                                                                        1354
5/3/'16

                       FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15
                                                                                                                                                     69


 ('
                1                me that                he         had         heard         her,            and        that's

            2                    when             he    woke             up because                     he     knew        she

            3                    was         pooping                    in     her     diaper.                  How he

            4                    knew,             I don't                   know

            5                                                    THE FOREPERSON:                               Heard           her

            6                    doing             what?
            7                                                    GRAND JUROR:                       Pooping                --

            8                                                    MS. HALL:                He can                only
            9                    answer                the         question             as         to        what         he
           10                    was         --        what             he     told     him
           11                                                    THE WITNESS:                       He said               he

           12                    knew         she        was             pooping.
           13                                                MS.             HALL:        And           those            are
           14                    Mr.     Davis               1
                                                                   words?
           15                                                THE WITNESS:                          They            are.
           16         BY MS.         HALL:               (Cont'g.)
           17                   Q.            And with                       respect          to        ~•               s activity
           18         that      morning,                did             he     describe                 that        to     you?
           19                   A.            Just               that         she      had      awoken               and         she        was
           20         pooping.               And --                and         I helped                 --     you        know,         I
           21         started          changing                    her         and     told         her         to        stop         and
           22         brought          her         to        the         bathroom.                  That's                what         he     told
           23         me.

           24                   Q.           Other                than         being          tired,               as     you
  •~  ..

                                                   JOAN L. BURLEIGH (518)                                767-3030

                                                                  001138
                    Case 23-589, Document 74, 01/17/2024, 3604428, Page104 of 264
P52
                                                       APPENDIX                                                                              1355
5/3/ '16

                       FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15                                                                                             70

    (
                1      testified                 to        earlier,                did         he mention                       that         she

            2          was
            3                      A.            She         wasn't              thirsty.                   She            took         the
            4          sippy            cup      and        she         didn't            take            a drink.                     She         put

            5          it    to        her       mouth           and           tasted           it        and        put         it      down.
            6                                                 THE FOREPERSON:                                   So he
            7                       so he             changed               her        and       brought                   her
            8                       back         into            the        area         where            she         --
            9                       where             he     went           to     go change                    her?
           10                                                 MS. HALL:                       Well,          we can
           11                       re-ask             that            question,                if        you         --
           12          BY MS. HALL:                         (Cont'g.)
           13                      Q.            If        you        would,             Detective                   Fountain,                     what
           14          did     Michael                Davis             tell       you         he     did            a~ter             changing
           15         her,         or     tell         --        tell           you      what         happened                    after
           16         changing                V-?
           17                     A.             After           he         stopped             her         from           pooping,                     he
           18         guided            her      back            to      the       bathroom                 in        the         back             of
           19         the      house           so      she         could           finish             going                to     the
           20         bathroom                on the             toilet,               then          he     brought                    her         back
           21         to     the        living             room          where           he      sleeps               and         he         put        a
           22         new      Pamper            on her                there,            and         then        she            went          back
           23         to     bed        in     the         bedroom               right          next            to     that             room.

I
           24                     Q.             Did        he        put        her      to     bed        or        did             she      put
•,.




                                                      JOAN L. BURLEIGH (518)                              767-3030

                                                                  001139
                Case 23-589, Document 74, 01/17/2024, 3604428, Page105 of 264
P53
                                                  APPENDIX                                                                         1356
5/3/ '16
                                                                                                                                                 71
                   FOUNTAIN - INVESTIGATION - DAVIS, 9/29/15


            1      herself           to      bed         --

            2                A.             He said                 she       puts           herself              to        bed.          She

            3      went      in      there          and            went         back          to         sleep,             were    his

            4      words.
            5                Q.             And did                you          find         the         --      or     where        did

            6      you      find       the        sippy               cup       and          the         dirty          diaper            that

            7      you     testified                to         earlier?

            8                A.             Right             in        the      living              room         where            Mr.

            9      Davis          sleeps.

           10                Q.             In     the          area          where            he        testified

           11      changing            her        Pamper?

           12                A.             Yes.              And         that's             between              --        you     know,

           13      it's      a common               --         it's           the       living                room,          and    then

           14      her     doorway               into          her        bedroom.                       And that                    it      was

           15      right          before          her          doorway,                 in         the        living           room.

           16      Sitting           on the             floor             was          the         crumpled                 up paper

           17      and      the      sippy          cup            of     water.

           18                                            MS. HALL:                      Any other

           19                 questions                   from            the       Grand            Jury             for

           20                 this          witness?

           21                                             (Whereupon,                        the         Grand          Jury

           22                 indicates                   in        the         negative.)

           23                                            MS. HALL:                      Let         the          record

           24                 reflect              in         the         negative.



                                                 JOAN L. BURLEIGH (518)                              767-3030

                                                              001140
Case 23-589, Document 74, 01/17/2024, 3604428, Page106 of 264
                     APPENDIX                                   1357




EXHIBIT ''B''
     Case 23-589, Document 74, 01/17/2024, 3604428, Page107 of 264
                               APPENDIX                                 1358


     1

     2   STATE OF NEW YORK                       COUNTY COURT
         COUNTY OF RENSSELAER                    CRIMINAL TERM
     3   ************************************************
         THE PEOPLE OF THE STATE OF NEW YORK,
     4
         - against      -                             15-1094
     5
         MICHAEL DAVIS,
     6
                                 Defendant.
     7   ************************************************
                                 Rensselaer    County Courthouse
     8                           Congress   and Second Streets
                                 Troy, New York      12180
     9                           August 24, 2016
 10                             Trial    -   Volume    6

 11      Before:
12                 HONORABLEANDREWG. CERESIA,
                                   County Court                 Judge
13

14       A p p     e a r a n c e s;
15       For   THE PEOPLE OF THE STATE OF NEW YORK:
16             JOEL E. ABELOVE, ESQ.
               Rensselaer    County District   Attorney
17             Rensselaer    County Courthouse
               Congress   and Second Streets
18             Troy, New York 12180
19             BY:    CINDY CHAVKIN, ESQ.
                      Assistant District  Attorney
20

21       For     DEFENDANT:
22             JOHN C. TURI, ESQ.
               Rensselaer    County Public   Defender
23             Congress   and Second Streets
               Troy, New York 12180
24
               BY:    WILLIAM ROBERTS, ESQ. and
25                    JESSICA ZWICKLBAUER, ESQ.
                      Assistant Public Defenders
                            Cheryl M. Moore, Senior Court Reporter
     Case 23-589, Document 74, 01/17/2024, 3604428, Page108 of 264
                              APPENDIX                               1359

                                                                        2

     1   People v. MichaelDavis

     2
         Also   Present:
     3
                Michael Davis, Defendant
     4          Clerk of the Court
     5

     6

     7

     8

     9

    10

    11

    12
)   13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                            Cheryl M. Moore, Senior Court Reporter
     Case 23-589, Document 74, 01/17/2024, 3604428, Page109 of 264
                                      APPENDIX                                            1360

                                                                                            176

     1    People v. Michael Davis

     2                                  INDEX TO PROCEEDINGS

     3    FOR THE DEFENSE {Continued):
     4 DR. SHAKU TEAS
       Direct   Examination       by Mr. Roberts ..............                            10
     s Cross Examination        by Ms. Chavkin ...............                             58
       Redirect   Examination          by Mr. Roberts ............                         72
     6 Witness   Excused ................................                                  77
     7
         Defense       Rests ..................................                            77
     8

     9 Motions        ........................................                             78
10
         Pre-Summation                Instructions                .....................    86
11

12       Defendant's     Closing     Statement      ..................                     90
         People's    Closing    Statement    ....................                         119
13

14       Court's       Jury        Charge ...........................                     12 3
15
         Alternate          Jurors          Discharged              ...................   159
16

17       Jury      Deliberations                 Commenced ..........•.......             159
18
         Matter      Adjourned            ..............................                  174
19

20

21

22

23

24

25


                                Cheryl M. Moore, Senior Court Reporter
     Case 23-589, Document 74, 01/17/2024, 3604428, Page110 of 264
                                             APPENDIX                                                                  1361


     1    Dr. S. Teas - Direct Examination by Mr. Roberts

     2                           go forward               at      this      time.

     3                                       With        that       said,        the     defense           may call

     4                          its     next        witness.

     5                                       MR. ROBERTS:                   Your Honor,               at    this

     6                          juncture            the         defense          calls       Dr.     Shaku          Teas.

     7                                               DR.        SHAKU TEAS,

     8    the      witness           hereinbefore                 named,         being       first         duly

     9    cautioned             and     sworn        or affirmed                 to tell           the     truth,       the

 10      whole         truth,         and     nothing             but     the      truth,          was examined

11       and testified                 as     follows:

12                                           CLERK OF THE COURT:                            The sworn          witness

13                              is     Dr.    Shaku            Teas.         First        name,          S-H-A-K-U.

14                              Last        name Teas,              T-E-A-S.

15                                          THE COURT:                   Okay.         Mr. Roberts,                 you may

16                              proceed.

17                                          MR. ROBERTS:                    Thank        you.

18                              Direct         Examination                  by Mr.          Roberts

19                  Q           Good morning.

20                 A            Good morning.

21                 Q            Could        you please                 introduce           yourself          to      the

22       jury?

23                 A            My name is               Shaku         Teas.         The first             name is

24       spelled         S-H-A-K-0.                 It     is      actually            an abbreviation                  of    a

25       much longer             name,        but        that's           what       I use      professionally.


                                      Cheryl M. Moore, Senior Court Reporter
     Case 23-589, Document 74, 01/17/2024, 3604428, Page111 of 264
                                                  APPENDIX                                                                               1362

                                                                                                                                            11

     l    Dr. S. Teas - Direct Examination by Mr. Roberts

     2    And the             last            name is         Teas,        T, as            in        Tom, E-A-S.

     3               Q               And,        Dr.       Teas,         what         is     your        current

     4    profession?

     5               A               I'm        a physician                and        I practice                pathology,

     6    mainly          forensic                pathology.

     J               Q              And could                 you give           the        jury        a basic               run        down

     8    of your             education?

     9               A              I went            to      school         and college                     and     then

 10      medical              school            in      India,         Bombay University                            and        King

11       Edward          Memorial                Hospital.                 I received                  my M.B.,                B.S.

12       degree          which             is    the       equivalent                 to     the       M.D. degree                    in

13       America              in     January             of      1972.          Following                that            I worked

1;,4 for         five          months            in      a small           maternity                  home and                then       came

1§.      to     America,                 to     Chicago,             did     a year              of rotating

1~       internship                  at       Saint        Joseph's           Hospital                 in     Chicago.

17       Following                 that         I did         four       years         of        residency               training

1~       in     anatomic                 and clinical                 pathology                  at    University                   of

19       Illinois             Hospital                in      Chicago.                I finished                that           in    June

20       of     1977.              And then             joined         the       Cooke            County            Medical

2l       Examiner's                 office            which          had     been          newly         formed           at        that

2-2      time       to    do forensic                      pathology.                  In Illinois                   Cooke

23       County          is        the        largest          county         with          about            five        to     five

24       and    a half              million             people         and       is        the        only      county              that

25       had    a medical                     examiner's              system           as opposed                   to    coroner's


                                          Cheryl M. Moore, Scn~or Court Reporter
 Case 23-589, Document 74, 01/17/2024, 3604428, Page112 of 264
                                           APPENDIX                                                                            1363

                                                                                                                                       12


 1   Dr. S. Teas - Direct Examination by Mr. Roberts

2    system.             I was with                 the     medical                  examiner's                office           from

 3   1977      to       the        early         part      of        1991        when I left                   of my own

 4   accord         and        actually             started               doing         contract               autopsies

 5
     for      some of              the     coroners              in       the        nearby          counties,                which

 6   I continued                   to     do until          about               2005         and a few into                     2008.

 7   Then       I also             did     autopsies                 for        --     at     the        request          of

 8   families            and        some lawyers                     and        also         did     second            autopsies

 9
     and exhumation                       autopsies.                   I have           --         I'm    trying          to     --     I

10   tried         to    quit            doing      autopsies                   since          about        2008,         2009

11   but      I will           still         occasionally                       do second                autopsies              and

12   exhumation                autopsies.                  I'm         board           certified                in     anatomic,

13   clinical            and        forensic              pathology.                        I've        been     board

14   certified                in    anatomic              and clinical                       pathology               since       1977

15   and      in    forensic               pathology                 in     1979.

16              Q             And,         Doctor,          do you belong                          to     any        specific

17   organizations?

18              A             I do.

19              Q             What are              those            organizations?

20              A             I belong              to    the         National                Association                 of

21   Medical            Examiners,                 which         is        an organization                       that

22   consists            mainly            of      forensic                pathologists                   and         their

23   investigators.                         I'm     also         a member                   of the        American

24   Academy            of     Forensic             Pathology.                       Actually              I'm        a fellow

25   in      both       of them.                 Which          is     an organization                          that


                                         Cheryl M. Moore, Senior Court Reporter
         Case 23-589, Document 74, 01/17/2024, 3604428, Page113 of 264
                                                       APPENDIX                                                                            1364

                                                                                                                                                  13
(
         1        Dr. S. Teas - Direct Examination by Mr. Roberts

         2        encompasses                 different               sections            like         pathology,                   biology,

         3    which              I'm     a member.               Engineering,                     jurisprudence,

         4    general              section             with      biologists,                   psychiatry,                    et      cetera.

         5    And I'm              a member             of      the     Chicago             Pathology                  Society             and    I

         6    regularly                  attend         their          meetings             and also               a member                of

         7    the         United           States           and Canadian                  Academy            of        Pathology.

         8                  Q            Okay.          Now rather                  than        just         being         a member

         9    are         you in           any      way specifically                       involved                with         the

     10       National                 Association               of     Medical            Examiners?

    11                     A             I am.          I am --              I sit         on some of                   their

    12        committees.                      I'm     a member              of     what         they        call         the         I&A

    13        Committee,                 which         is     the       Inspection                   and Accredidation

    14       Committee.                    And also             on their                international                     committee.

    15        I've        been          on other             committees                 too.

    16                     Q             How long             have      you been                specifically                    involved

    17       in      those             committees,              how many years?

    18                    A             A few years.                    I don't             remember               exactly                when.

    19                    Q             Are      you familiar                     with      the        National

    20       Association's                       guidelines              relative               to     the        number            of

    21       autopsies                  one      should         be recommended                       to      perform?

    22                    A             Yes,       because             I do inspect                    offices            so they

    23       they         have         a checklist               and one             of        the     things            is        that

    24       if      --     if     each        pathologist                   --    or      actually               the      average

    25       for      the         office          is    more          than        250 they             get        --     they         --


                                               Cheryl M. Moore, Senior Court Reporter
 Case 23-589, Document 74, 01/17/2024, 3604428, Page114 of 264
                                         APPENDIX                                                                                  1365

                                                                                                                                         14

1    Dr. S. Teas - Direct Examination by Mr. Roberts

2    there's          a phase             one        violation.                 If     they          --        if       they        do

 3   more      than        250 it          is        a phase         one.             But      if     they              do more

 4   than      325 then             it     is        a phase         two.             That         means             they          would

 5   not     get      accredited.                      So if        --    but         it's         a limit                   mainly

 6   because          if     you do too                 many autopsies                       you have                   a tenancy

 7   to     make mistakes.

 8             Q           Now, what                  does     it        mean to             be board

 9   certified?

10             A           So the           American              Board          of      Pathology                      is     a

11   national            board           where         once     you have                gone         to        medical

12   school         and      then         you have             done       a specific                      identified

13   amount         of     training              in     a certain               specialty;                     whether              it

14   be pathology,                  surgery,              internal              medicine                  or        a

15   subspecialty                thereof,               each        of    them          have         a separate
                                                                                                                                              I


16   specified             amount          of training                   that         you have                 to        do,       and

17   once      you finish                 that         training           you take                  this            national

18   board,         which        is       an exam.              And pathology                        it        is        like       a

19   three         day exam,              depending               on how many specialties                                          --

20   subspecialties                      you're         doing,           and         then      once            you pass

21   that      exam you are                     said      to      be board              certified.                           So the

22   two big          branches              of pathology,                   which             is     the            study          of

23   changes          that       occur            in    our       body      with             any     kind               of disease

24   or     injured          state,             is     anatomic            pathology                 and            clinical

25   pathology.               Anatomical                  pathology                  deals          with            the


                                    Cheryl M. Moore, Senior Court Reporter
     Case 23-589, Document 74, 01/17/2024, 3604428, Page115 of 264
                                             APPENDIX                                                                               1366

                                                                                                                                               15

     1    Dr. S. Teas - .Direct Examination by Mr. Roberts

     2    morphological                 changes               that         you may see,                 either               with         the

     3    naked        eye    or under              the         microscope             and also                as        a

     4    cellular           level.            Clinical                pathology             deals         with              all         the

     5    lab     work that            they         do in            the     hospital;              be it            blood,

     6    urine        or microglial                     studies.                So those           are        the           two big

     7    branches.             Then each                 of those                   each          of     those              has

     8    subspecialties                 too.             So with            anatomical                 pathology                   you

     9    can     further          specialize                  in     forensic            pathology,                  dermatol

10        pathology,           hematoma              pathology.                     So different                    --

11       different            sets.            But        you have            to     first          do anatomical

12       pathology.                For clinical                      pathology,              again,            you can

13       subspecialize                 in     microbiology,                       which       is        looking               at

14       cultures            and      things         like            that     or     infectious                 diseases.

15                 Q          What does                  it     mean to            be published?

16                 A          It      just      means            that        if     you have              done           some

17       study         or done         case         reports             you publish                them         in       a

18       journal          or present                them        at      a meeting             that        --        that           is

19       accepted          by others                in        your      field.

20                 Q          Have you been                      published?

21                 A          I have           published                a few papers.

22                 Q          Okay.            Now, Doctor,                   obviously                 you're               here

23       today       to   testify.                  Where do you live?

24                 A          I live           in    River            Forest,         Illinois,                  which              is

25       the     suburb       of Chicago.


                                      Cheryl M. Moore, Senior Court Reporter
 Case 23-589, Document 74, 01/17/2024, 3604428, Page116 of 264
                                     APPENDIX                                                                      1367

                                                                                                                              16

 1   Dr. S. Teas - Direct Examination by Mr. Roberts

 2             Q           How did          you get           here         today?

 3             A           I flew         in.

 4             Q           Okay.          Now, you flew                    in to       testify             on behalf

 5   of Mr.         Davis,         correct?

 6             A           Yes.

 7              Q          Now, could             you give                me the       brief          version           of

 8   what      an autopsy             is?

 9              A          So in         anatomic            pathology               you can          do

10   autopsies,             you can          do surgical                  pathology            where            you look

11   at     pieces         of    tissue         both       grossly              and under           the

12   microscope             to make a diagnosis                           in a patient                who is

13   living          and    you can          also       look         at     the      cells       when you do

14   celology           like       PAP smears              and       aspirations.                   So all          of

15   them      are      pretty        anatomic.                When you do autopsies                               what

16   you do is             you review             the        records,             you look          at      the     body

17   outside,           then       you open            the     body         up,      you look              at

18   everything             while         everything             is        in     place       and      then        you

19   remove          everything             and examine               everything               and         then     you

20   take      little           pieces       of     the       pertinent              tissues           and examine

21   them      under        the     microscope,                 which           is   exactly           what        you do

22   in     surgical            pathology           too.         So a forensic                   --        there        are

23   slight          differences             between            forensic             autopsies              and

24   hospital           autopsies.                You always                try      to      correlate             it

25   with      the      clinical            history           that         you're         getting.                The


                                   Cheryl M. Moore, Senior Court Reporter
 Case 23-589, Document 74, 01/17/2024, 3604428, Page117 of 264
                                             APPENDIX                                                                           1368

                                                                                                                                              17

      1     Dr. S. Teas - Direct Examination by Mr. Roberts

      2        forensic            pathologist                give         a lot          more         importance                to

      3     injuries               and       they're          experts              in mechanism                    of     injuries

      4     and        looking             and      evaluating               the      injuries.                    The hospital

     5      pathologists                     do more          of     looking              at     every         organ            and

     6      seeing          how it            correlates              to      the         clinical             history.

     7      forensic             pathologists                  do that              too.             So you're             really

     8      looking           at       the       body,        making          a Y-shaped                    incision            where

     9     you open              the       body,          you look            inside,                you document                    all

 10        your        findings              and       then        you also            open           the     head         by making

 11        a bi-parotide                     incision              that      goes          from         one        ear     to        the

 12        other           and     then          taking       the         brain       out            and     examining                it.

 13                    Q            Now, you              indicated                there         may be some

 14        importance                in      having         a history                of        the     individual                that

 15        you are            examining.                  Why is           that       important?

16                     A            Well,          because          you always                   want        to     correlate

17        with         what        were       the      circumstances                       surrounding                   the     death

18        and      so you want                   to           there          might          be artifacts                   created

19        in     a body            after         death        and         there       are        lots         of     things            done

20        to     the       body        when a person                  dies          so you want                    to     correlate

21        what      was done                 and      how it         was done              to        what      your        findings

22        are.

23                     Q           What about              the       prior          medical                history,             is

24        that      something                that         you need            to     know?

25                  A              Yes,       because          you --              some         things            need


                                           Cheryl M. Moore, Senior Court Reporter
 Case 23-589, Document 74, 01/17/2024, 3604428, Page118 of 264
                                           APPENDIX                                                                                1369
                                                                                                                                             18

1    Dr. S. Teas - Direct Examination by Mr. Roberts

2    targeted               studies           because                 death         is     not         necessarily

3    always           just             anatomical,               it      be a functional                         death.               So

4    there         may be organs                        that          may appear                 to be normal                     but

 5   doesn't           mean necessarily                               that         they     were          functioning

 6   correctly.

 7                Q           And what              do you do when you don't                                           have       a

 8   medical           history?

 9                A           You do the                      autopsy.               The autopsy                      process

10   itself           is      just         document              your          findings.                   Then         you go and

11   get      other           history              and you do an investigation.

12                Q           Okay.               So it          is     possible                 after       you complete

13   your         physical                examination                  to      then        garner           more

14   information                       from   family             history                 before          making          your

15   final         determination?

16                A               Yes.

17                Q               If     you don't               get         the     family              history

18   concerning                   medical           history              how does                 that      affect            your

19   final         report?
20                A           Well,           it        all      depends             on what              you         find        and

21   what         you are                looking          for.           If        there          is     no medical

22   history               that          you can          obtain,              other         medical               history              is

23   negative,                you try              to     correlate                  it     with          your         findings.

24   It     all       depends              on what              you find.                   If      I --         if     I have           a

25   gunshot               wound          case,          somebody              shot         in      the      chest           or


                                          Cheryl M. Moore, Senior Court Reporter
     Case 23-589, Document 74, 01/17/2024, 3604428, Page119 of 264
                                                   APPENDIX                                                                                   1370

                                                                                                                                                         19

    1    Dr. S. Teas - Direct Examination by Mr. Roberts
'
    2    there's            a stab                 wound or           if        I do an autopsy                               and          I find

    3    an acute             myocardial                      infarction,                    M-Y-O-C-A-R-D-I-A-L,

     4   infarction,                     if        I find        evidence                   of       a heart                 attack,           clear

     5   cut     heart           attack                       Heart         attack               is        a layman's                      term.

     6   It     is     not       a medical                    term.             --      then           I may not                    need       a

     7   more        detailed                  history.               But         if        I don't                   find         anything

         that        is      just             staring          at     me in             the           face         then            I would
     8

         want        to      know more                  about         the         circumstances                              and      I would
     9

         want        to      know more                  about         the         history                  of         the      person          who
    10

    11   is     dead         and         also        maybe           a family                   history.

                      Q             Is        it     possible              to         see        something                    staring              you
    12
    13   in     the       face           and neglect                  the            need        to        see         that         medical

    14   history?

    15                A             No.            You always                   try        to        get        it,          try     to      get      as

    16   much information                             as      you can                and        in        a child                 there,          I

    17   would         want          to        get      all         the     history                   starting                    with      the

    18   birth         and       starting                  with           the        antenatal                   of         the      mother.

    19                Q             What about                  the         recitation                      of         family            history

    20   from         the      mother,                would          that            be helpful?

    21                A             Yes.

    22                Q             What about                  the         father?

    23                A             Yes.

    24                Q             How can                genetic              traits               of      the        mother              and

    25   father             affect              your       ultimate                   findings?


                                               Cheryl M. Moore, Senior Court Reporter
 Case 23-589, Document 74, 01/17/2024, 3604428, Page120 of 264
                                      APPENDIX                                                                            1371

                                                                                                                                    20

 1   Dr. S. Teas ~ Direct Examination by Mr. Roberts

 2              A         So there             is     a certain                    percentage                 of our

 3   cases       that      we don't             find            an obvious                 cause      of       death          and

 4   so in more            recent         years,                since         our         geno     has        been

 5   identified            now,       there           are        certain             mutations                in    our

 6   genes       that      are       associated                  with         --     with        sudden            death.

     So it       is     helpful          to    get          that         information.                     It       is    still
 7

 8   not      routine          because          it        is     still         expensive               to      do it          but

 9   sometimes            in     a young             person            that         may have           died           and we

10   don't       have         something              obvious             you can            pursue            that,

11   depending            on what         the         importance                    is.

12              Q         Now, Doctor,                     you performed                     autopsies?

13              A         I have.
14              Q         How many autopsies                               have          you performed,                      not

15   just       you directly              but         also            been         assisting?

                A         So,        I don't              assist           anybody           usually.                   I have
16
17   gone       and     observed          some autopsies                            at     the     request              of

18   attorneys            on the         opposite                  side,           both     in criminal                   and

19   civil       cases.           I personally                        performed             over         6,000

20   postmortem               examinations.                        But       I worked            in      a very           busy

21   office           where      there        were             five      pathologists                    performing

22   autopsies            and     so we always                        looked          at    our       own interest

23   in      cases.           I try      not         to        perform             autopsies             anymore             but     I

24   did      perform          one     on Monday.                      Main         reason,           I'm       getting

25   old.        And so --             and      it         was no different.                             It     was easy.


                                  Cheryl M. Moore, Senior Court Reporter
     Case 23-589, Document 74, 01/17/2024, 3604428, Page121 of 264
                                              APPENDIX                                                                           1372

                                                                                                                                        21

     1    Dr. S. Teas - Direct Examination by Mr. Roberts

     2    So --         and     now I just                 actually              review         cases         both         for

     3    criminal             and     civil         matters             and      I learn             from      one        to     the

     4    other         because             the     findings             and      the        analysis           of        the

     5    cases         are     --     cases         are      very         similar.

     6              Q            In the            duration           of       your      career          have         you had

     7    the     opportunity                 to     view         individuals                  who you have                 known

     8    for     a fact          have        been      subject             to       CPR?

     9              A            Yes.

10                  Q            What is            CPR?

11                  A            Cardiopulmonary                      recessitation.                         And when you

12       have       somebody            collapsing                 and not            responding                the        idea     is

13       that       you try            to     get     the      heart           moving           in     the      person,

14       trying          to     resuscitate                 them.

15                  Q           How does             that         work?           How do you get                      the

16       heart         moving          again?

17                  A           Well,         you can             do a couple                  of     things.              And

18       I'm      not     a cardiologist                     or     an ER physician                      or      anything.

19       But what             you do is             you try           to       pump the              heart       manually

20       by compressing                     the     chest.            And the            methods             have         changed

21       over      the        years.              And you also                 try      to     give      rescue

22       breathing.                  Then         you can         also         apply         electroid               --     you

23       can      apply        electrical              current             that         will         stimulate              the

24       heart.

25                 Q            The autopsies                  that         you performed                    relative              to


                                       Cheryl M. Moore, Senior Court Reporter
 Case 23-589, Document 74, 01/17/2024, 3604428, Page122 of 264
                                                APPENDIX                                                                          1373

                                                                                                                                         22

     1    Dr. S. Teas - Direct Examination by Mr. Roberts

     2    individuals                 who had received                          CPR has           that        included             both

     3    adults            as well             as children?

     4              A               Yes.

     5                  Q           Have you had the                       opportunity                  to    personally

     6    observe             with         your       own eyes            how CPR both                   performed

     7    correctly                and incorrectly                       can     affect           the        systems             of the

     8   body?

     9              A              What I do know from my own observation                                                        and

10       from       reading               the        literature,                that      CPR can             cause

11       injuries              that         can       easily        be misinterpreted                          as being

12       injuries              that        have         either           lead      to     death          or been            --     are

13       associated                 with        death.             So,     depending               on the            injuries

14       it    is       essential               to      look       at     other         things           to    try        and

15       differentiate                     whether           these         are         injuries           that        occurred

16       during             life      or     could         they         have      been       possibly                been

17       occurred              as a result                 of      the     CPR.          And so you go back                            to

18       get    the          history            of     exactly            how CPR was performed,                                 by

19       whom it             was performed,                     what       was their               knowledge               base.

20                  Q              Okay.             Have you had an opportunity                                     to

21       examine             organs         that         have       been        affected            by the            effects

22       of    CPR?

23                  A              Yes.

24                  Q              What type             of organs               are      affected             by CPR?

25                  A              So CPR can              cause          a lot         of   injuries                and there


                                          Cheryl M. Moore, Senior Court Reporter
     Case 23-589, Document 74, 01/17/2024, 3604428, Page123 of 264
                                                   APPENDIX                                                                                 1374

                                                                                                                                                   23

     1    Dr. S. Teas - Direct Examination by Mr. Roberts

     2    is    literature                    where          different                  offices             have           gone     back

     3    and     looked               at     that.               So whether               you're            looking               at

     4    children               or adults,                  it       can      occur            in     both,            usually             you

     5    can     get       fractures                  of the              ribs,          you can            get           fractures              of

     6    the     sternum,                   which         is        the     big        breast             bone         that       holds

     7    the     ribs           together.                  You can get                    injuries                to       lungs.            You

     8    can     get       injuries                  to    the         liver.             You can                get       injuries              to

     9   the      kidneys.                    You can             get        injuries                to     the         spleen.              You

10       can      get       what            we call             retroperitoneal                           hemorrhage,                   which

11       is     there            is        a hemorrhage                    behind          the        organs               where        our

12       organs           sit.              So you can                 get         different                kinds           --     and of

13       course           you can              get         facial            injuries                because               when they

14       intubate,                part         of      recessitation                       is        to     put        a tube           down

15       your      throat               so that             you can                send        oxygen            to        the     lungs.

16       So you           can         get      a lot            of     oral         injuries                and        facial

17       injuries.

18                 Q              Are         you familiar                     with        the            term        of     what       a

19       laceration                   to     the      liver            is?

20                 A                  Yes.

21                 Q              What is              a laceration                       to     the        liver?

22                 A              So a laceration                            is     a            an injury                  that

23       quote,           unquote             you can                say      is     caused               by blunt               trauma.

24       Where       if      it        is     in      the         skin        the       entire             thickness                of the

25       skin     is       broken.                  And as            opposed             to     an abrasion                      which       is


                                            Cheryl M. Moore, Senior Court Reporter
     Case 23-589, Document 74, 01/17/2024, 3604428, Page124 of 264
                                                APPENDIX                                                                        1375

                                                                                                                                          24

     1    Dr. S. Teas - Direct Examination by Mr. Roberts

     2    just      on the               surface.               And the         liver,           it     is      the        same

     3    thing,          that           you get          not      only        the    capsule,                the      liver         is

     4    covered             with        a thin          lawyer          of    fibrous           tissue             which        we

     5    call      a capsule,                   but      the      peritoneal               or the            liver         tissue

     6    itself          is      damaged.

     7              Q              And in           order        to      lacerate           a liver             do you need

     8    something               poking           into      it?

     9              A              No.

 10                 Q              How do you               form         a laceration                  where          you don't

11        have     something                   jabbing          into       a liver?

12                  A              It     is      just      blunt         trauma           because            the      liver

13       is

14                 Q              Could           you explain              to    me what               blunt          trauma

15       is?       It         sounds           awful.

16                 A              So,       the      way forensic                pathology                describes

17       trauma          is       a sudden             penetrating               injury.               Where          the

18       bullet          is     passing             through.              You can           have         a stab            wound

19       where        the         knife         passes          through.              Blunt           trauma          is    where

20       you can            see         abrasions,              lacerations,                et        cetera.              Where,

21       say,      in     a motor               vehicle          accident             or    somebody                punches

22       you,      the         pushes           compress           you.         So those               are      the

23       mechanisms                that        you       look      at.         And so the                liver         is

24       relatively                soft        and pliable                sometimes              even         when I'm

25       doing      the         autopsy            and      I go to            pick        up the            liver         my


                                          Cheryl M. Moore, Senior Court Reporter
       Case 23-589, Document 74, 01/17/2024, 3604428, Page125 of 264
                                              APPENDIX                                                                                       1376

                                                                                                                                                     25

       1    Dr. S. Teas - Direct Examination by Mr. Roberts

       2    thumbs          or my fingers                      will         dig            in     and       cause          denting             and

       3    a laceration                and         then         depending                      on --         on what                was going

       4    on.        So I can             cause           that           by just                picking            it      up and

       5    pushing          my fingers                   in     it        so that                would        all         be

       6    considered              blunt           trauma.                 It        is        a big         general                category.
                                                                                                                                                          I



       7               Q           So if           I were             to    bump my arm on this                                      table

       8    and      left      a bruise              is        that         considered                      blunt         trauma?

       9               A           Yes.

 10                    Q           Regardless                   of the                amount           of     force          the        term

 11         itself          means      just          that?

 12                   A            Yes.

 13                   Q            Okay.            Now, with                    respect               to     the         liver,         how

 14        is      injury         associated                   with        CPR                   bad        question.                  How

 15        does       CPR cause             the       laceration                       to        a liver?

16                    A            So to       understand                       what            you need             to      know is

17         the       anatomy         and      it      is        not        --         the        heart        sits          right            here

18         in      what     we call           our         pericardium.                            Then        there             is     a thin

19         layer       of      muscular             tissue             that            we call               the      diaphragm

20         that       separates             the       thorax,               the            chest         cavity,                from         the

21         abdominal              cavity.             Right            below               that        is     the         liver         on the

22         right       side,         but      it      also            extends               a little                bit      to        the

/. 3       left      of     the     midline               because                it        has     two major                 lobes            and

24         then      two     smaller               lobes.

25                    Q           Doctor,            r·notice                   you're            pointing                a lot          to


                                       Cheryl M. Moore, Senior Court Reporter
      Case 23-589, Document 74, 01/17/2024, 3604428, Page126 of 264
                                          APPENDIX                                                                       1377

                                                                                                                                    26

      1     Dr. S. Teas - Direct Examination by M.r.Roberts

      2     your      body.         In preparation                    of      your      testimony               here     did

      3     you prepare             a Power        Point          that          relates           the      position            of

      4     the      organs       in the       body?

      '5               A         Yes.

      6                Q         And if        I were        to        play       that           Power         Point     with

            you would            that     assist        you in             your       explanation                  of   the
      7
      ~8 anatomy           to     this     jury?

      9-               A         Yes.

     LO                Q         Okay.         Would        it        assist          you        in     your      testimony

     11     in      explaining           the     various          relations                 of        the.organs,

     12     their       placement,             as well           as     to      CPR?

     13                A          Yes.

     1·4                                   MR. ROBERTS:                       Your Honor,                 at     this

     15                           opportunity            I would               ask      permission                to    put     up

     1.6                          on the       screen,           for         demonstrative                     purposes,

     17                           some slides            that           the      doctor           can      illustrate

     1:a                          what     she     is    discussing                   with        the      jury.

     19                                    THE COURT:                   Any objection?

                                           MS. CHAVKIN:                       No objection.
     2<0

     21                                    THE COURT:                   Okay.            You may proceed.

                                           MR. ROBERTS:                        Bear      with          me while         we get
     :Z-2

     23                           this     up and          running,              Doctor.

     24                                    THE WITNESS:                        That's        fine.

'-
     25                                    MS. ZWICKLBAUER:                             Can I turn               on the


                                         Cheryl M.. Moore, Senior Court Reporter
 Case 23-589, Document 74, 01/17/2024, 3604428, Page127 of 264
                                       APPENDIX                                                                             1378

                                                                                                                                    27

 1   Dr. S. Teas - Direct Examination by Mr. Roberts

 2                        television?

 3
                                        THE COURT:                  Of course.                     Mr.        Roberts,

 4                        are        you going            to        have         the        witness            step         down?

 5
                                        MR. ROBERTS:                       I think            that         would         be

 6                        best,            your     Honor.                Ms. Zwicklbauer                        is      going

 7                        to        control         the      slides.                   If     I can           ask      Dr.

 8                        Teas          to     come down.

 9
                                        THE COURT:                   You just                have        to make sure

10                        that          the       jury     can        see        the        witness.                So if

11                            she    was going             to        remain            on the            stand         --

12                                      MR. ROBERTS:                       Yes,        Judge.                 I was going

13                        ask        permission                for        the      witness               to    come down

14                            so she          can    point           out        specifically                   what         we're

15                            talking          about.           I was trying                        to     position               the

16                            television.                 I apologize.

17                                      THE COURT:                   That's            okay.             Doctor,             you

18                        may step                down.
                                        THE WITNESS:                       Thank            you.         Is     this         good?
19

20                                      MR. ROBERTS:                       You tell                me.

21                Q           Is    that       in    a position                  that         you're            able         to

22   talk         about       the      relation           of        the     organs             as well              as      talk

23   to     the       jury?

24                A           Yes.

25                Q           You'll          be able          to     keep         your            voice        up loud


                                     Cheryl M. Moore, Senior Court Reporter
 Case 23-589, Document 74, 01/17/2024, 3604428, Page128 of 264
                                           APPENDIX                                                                                         1379

                                                                                                                                                     28

 1   Dr. S. Teas - Direct Examination by Mr. Roberts

 2   enough?

 3             A             I will.                 I will.                        Raise      your          hand           if         you

 4   can't      hear          me or understand                                  me.

 5             Q             All          right.               Now, Doctor,                         what          you were

 6   discussing               was the               relationship                            of the           liver           to        the

 7   heart       anatomically.                            Could            you explain                       to      the          jury,            now

 8   that      we have             this        diagram                    up,         could         you talk                 about            what

 9   you were             talking             about             on the                stand.             Where              is     the

10   liver       and       how does                 it      relate                  to      other        organs?

11              A            So looking                    at        --        it        doesn't          want         to         shine

12   right       there.               I will              just            use         the      tip.           So looking                       at

     this      figure            that         is      on the               left-hand                    side,          it         is        just
13

     actually             showing             you the                blood               vessels             that           come out                of
14

15   the      heart        and        the          liver.                 And I have                    -- actually                         did

     that      from        the        internet,                   from               a digital               site.                So what
16

     you see           here          is     the          heart.                 And you are                     looking                 at     it
17

     at      an angle,             not        head          on,           but         just         a little                 bit         from
18
19   the      right          side.            And this                    is         the     heart.               These            are         the

20   blood          vessels.                This          is      the           blood          vessel             right                to    the

21   blue,       that's            called                the      inferior                   vena        cava          that             comes

22   out      the      liver          and          goes         to        the         right           side        of        the         heart

23   taking          in    deoxygenated                         blood                that      goes          to      the          right

24   side      of      the       heart             and         then            it     goes         to    the         lung,              gets

25   oxygenated               and          comes          back            on the             opposite                side.                  But


                                      Cheryl M. Moore, Senior Court Reporter
     Case 23-589, Document 74, 01/17/2024, 3604428, Page129 of 264
                                                          APPENDIX                                                                                       1380

                                                                                                                                                                     29

     1     Dr. S. Teas - Direct Examination by Mr. Roberts

     2     this         is         the      heart.                       This          is    the          right             side         of the

     3    heart.                   And it                is     quite             not        that            far           to     the      left,         but         I

     4    think              this         is         done            just         to        show the                  relationship.                         And

     S    this          is         the      liver.                       This      is        the          right             lobe         of the

     6    liver.                   This         small               part          is        the         left          lobe.              The heart

     7    actually                  sits            at        an angle                  and        it        rests              on the          diaphragm

     8    which          is         between                   the         chest             cavity              and         the         abdominal

     9    cavity.                   And so it                       is      sitting                on it.                   This,         the       one        to

 10       the      --         to     the            right,                or to             the         left,              I don't             know

11       which,               depending                       on the             way you're                          looking,             if       you're

12        facing              it     it         would               be to          your            left,              is        a head-on             from           a

13       model           of         the        human body.                             And so what                          you are            seeing

14       here       that's                 marked                   in      blue            arrows              is        the      heart.             And I

15       have       color                coded                them          both            so that              you are                 looking,              you

16       know,           everything                           that          is     blue            is      the            heart.              And to           the

17       left       is         the         right               side          of        the         heart              and        to     the      right          is

18       actually                  the         left            side          of the                heart.                  So this             part       is

19       the      right              side            and            this,          the        one that                     is      marked           in    a

20       darker              blue,             is        the         diaphragm                     which             is         a thin         lawyer           of

21       muscular                  tissue                and         fibrous                tissue               that            separates               the

22       two      cavities.                          And the                 liver            just             sits             right         underneath

23       it.       So the                  heart               is        actually                 almost               resting                on the

24       liver          so it's                     close            proximity.                         so       I guess                the     question

25       was how does                          it        cause            damage              --


                                                Cheryl M. Moore, Senior Court Reporter
 Case 23-589, Document 74, 01/17/2024, 3604428, Page130 of 264
                                                APPENDIX                                                                                    1381

                                                                                                                                                       30

 1   Dr. S. Teas - Direct Examination by Mr. Roberts

2                  Q               Yes.
                   A                      doing                compressions?                        If      you're            doing
 3
 4   compressions,                            depending                on how you're                        doing             it,         you're

 5   essentially                     pushing                   the     chest            cavity            with          the         ribs         back

 6   to     your             --     to        the         back.             And you are                   compressing                      what         I

 7   call      the            anterior                    to     the        posterior,                   front          to      back,            and

 8   the      recommendations                                  are       that      you push                  the         sternum             about

 9   a third                 of --            a third                of the        way to                half       of        the         way so

10   there             is     a lot             of        force          going          on there                that,           because

11   they're                 so close,                    that         you can              cause         injury              to      the

12   liver             and         also         the        chest            cavity            is     such          --     I mean,                you

13   put      the            compressive                        force,          the         ribs         can       fracture                 either

14   in      the        front             or        the         side        and        also        in     the       back             because

15   those             are         the        stress             points.

16                 Q               Can the                duration                of the            CPR affect                      the

17   injury?

18                 A                So the            procedure                   of        doing         CPR, especially                          in

19   children,                     has        undergone                  changes              over          the         years.              It

20   always             used             to     be that                you use              two hands.                       That          they

21   recommended                         that         you in             children                  you use              two fingers

22   and      then                they        started                saying            it     is     better              to         hold     the

23   chest             cavity             with            your         hands           like         this.               I don't             know

24   how to                 describe                it.          So you're                  doing           two thumb                 pressure

25   and      there                are        --      there            is     literature                    out         there         when


                                              Cheryl M. Moore, Senior Court Reporter
     Case 23-589, Document 74, 01/17/2024, 3604428, Page131 of 264
                                               APPENDIX                                                                                   1382

                                                                                                                                                  31

     1    Dr. S. Teas - Direct Examination by Mr. Roberts

     2    they         started          using          that,          I think             it         was in                2005,      that

     3    they      started             seeing          more          rib        fractures                      when they             were

     4    doing         that          kind     of procedure,                       but         it      is        effective                in

     5    getting          the         rhythm          back.             So you have                        got        to     weigh         the

     6    bad     effects              and     the      good          effects            of          it.             So that's              how

     7    it     can     cause          damage          to     the         liver         and           to        the        ribs.

     8              Q            When you're                   performing                 CPR what's                         the

     9   purpose           of pushing                 on the             heart?             What are                    you doing?

10                  A            Because              you're          mechanically                          trying            to     push

11       blood          and get           it    to      --     to        start         beating                  on its             own.

12                  Q            So you're              essentially                      applying                     force

13       squishing               the     heart?

14                  A            Yes.

15                  Q            And the             heart          is      returning                  back            to     normal

16       size       when you're                 squishing                  it     again?

17                  A            Correct.

18                  Q            How does             blood           enter           and           leave            the      heart

19       when you're                  performing               that         procedure?

20                  A            It     is     just       mechanical.                       It         is        like         it     is

21       sucking          it      in     and     then          you're            pushing                   it     back.

22                 Q             Okay.          Why don't                  you get              back             in     your         seat

23       for     a little              bit.           I will          move this                     out         of     the         way.

24                               Doctor,          have         you had                an opportunity                           to

25       review         materials              relative               to        the      examination                        of V,..


                                        Cheryl M. Moore, Senior Court Reporter
 Case 23-589, Document 74, 01/17/2024, 3604428, Page132 of 264
                                      APPENDIX                                                                  1383

                                                                                                                          32

 1   Dr. S. Teas - Direct Examination by Mr.Roberts

 2   Dal?

 3             A            I have.

 4             Q            What materials                  have        you reviewed?

 s             A            So I reviewed                 the        autopsy         report        by

 6   performed              by Dr.      Sikirica.                    I reviewed            the     histology

 7   slides          that     he took             under        the     microscope.                 I reviewed

 8   the      autopsy         photographs                 taken        at     the     time       of autopsy

 9   and      also        photographs              of V-taken                        the     day before,              I

10   think       by the           police.            I reviewed               some scene

11   photographs.                  I reviewed               the       medical         records,            I think

12   it     was from          Seton         Hospital,                on V-                 And I also

13   reviewed             some Well          Baby or              immunization               records           on

14   V-               I     reviewed         all      the       police          reports.            And with

15   the      autopsy         was included                  the       toxicology             and    the

16   ancillary              studies         that      were           done.          I also       reviewed

17   three         interrogation                  tapes        where         Mr.     Davis       was

18   interrogated                 by the          police.
19              Q           Okay.           And,      Doctor,           are         you aware        of     Dr.

20   Sikirica's              opinion          that        V-           had      ultimately              died        based

21   on blood             loss?

22             A            Yes.

23              Q           Are you          in      agreement               with     that       opinion?

24             A            No.

25              Q           Why not?


                                   Cheryl M. Moore,Senior Court Reporter
     Case 23-589, Document 74, 01/17/2024, 3604428, Page133 of 264
                                                APPENDIX                                                                                     1384

                                                                                                                                                    33

     1    Dr. S. Teas - Direct Examination by Mr. Roberts

     2                 A           So it's               --     it's          the            appearance                of     the

     3    injury,               both        grossly            and          also         under            the     microscope,

     4    correlated                   with        the        interrogation                         tapes         where            Mr. Davis

     5    describes               how and where                        he performed                         CPR.            So those           are

     6    the     things               that        I took         into             --        into        consideration                     and

     7    also       my knowledge                     that        liver             injuries                 do not           bleed          very

     8    rapidly           to     cause            death         in minutes                        to      30 minutes.

     9               Q             Okay.            Do you have                         an opinion                within            a

 10      medical            degree            --     within                 a certainty                    of medical

11       withdrawn.

12                                 Do you have                   an opinion                        with         a reasonable

13       degree            0£     medical            certainty                  as           to     if    Viola             Davis       died

14       because            she        bled        out?

15                   A            I have            no evidence                         to        suggest         that         she      bled

16       out.          And when you are                          looking                     at    a case          like        this          you

17       really          need          to     analyze            everything                        to     eith~r             say      lhat

18       she      died          because            of bleeding                     or to             say        that         she     did      not

19       die      of bleeding.                      And I have                     taken             that        into

20       consideration                      with         my experience                            and my knowledge                      about

21       liver       injuries.                     I have          a little                       interest             in     liver

22       injuries,               so ...

23                 Q              Okay.

24                 A              So my opinion                        is     that            these          liver           injuries

25       were     actually                  caused            by CPR.


                                         Cheryl M. Moore, Senior Court Reporter
     Case 23-589, Document 74, 01/17/2024, 3604428, Page134 of 264
                                               APPENDIX                                                                          1385

                                                                                                                                         34

     1    Dr. S. Teas - Direct Examination by Mr.Roberts

     2               Q            Okay.

     3               A            And --

     4               Q            Were these                 injuries               caused      when the                 child

     5    was alive              or are             these         injuries            postmortem               injuries?

     6               A            When I say                 they         were       caused         by CPR they're

     7    postmortem.

     8               Q           Why do you say                       that?

     9               A           The reason                  I say          that      the     liver          injuries              are

10        postmortem               is    the         appearance               of the          gross          liver

11        injuries           and        also         the      microscopic               findings              are

12       extremely               important.                   When you have                   an injury              to     any

13       living          tissue,              you have             blunt           trauma,         what       you're          doing

14       is     you're           crushing             the         tissue           so under         the       microscope

15       they     will        not        only         just         be bleeding               but      there          will         be

16       destruction                of        the     cells          that      make up the                organ.              So if

17       you are          looking              at     Lhe liver               it     would      be --          the        cells

18       are     called           hepatocytes.                      Hepato           means      liver,             cytes

19       means       cells          of the            liver.               So if      you were            to       look      at

20       them     under           the     microscope                  you would              see      that         the      cell

21       structure           is         destroyed              in     the      area         where      the         laceration

22       or the          blunt          trauma         has         occurred.             The microscopic

23       appearance              of      --     of Viola's                  liver       shows         that       the        cells

24       are    completely                intact             in     the      margins          where          the

25       lacerations               occurred.                   The gross              gives        you a clue                to


                                        Cheryl M. Moore, Senior Court Reporter
     Case 23-589, Document 74, 01/17/2024, 3604428, Page135 of 264
                                                          APPENDIX                                                                                 1386

                                                                                                                                                              35

     1    Dr. S. Teas - Direct Examination by Mr. Roberts

     2    what         you may find                                 in the          microscope                    but     the      microscope

     3    beats            it     all.                   For          example,                say     a woman has                  breast

     4    cancer            and         the              surgeon                  goes        and     then         takes         the         lump       out

     5    and         sends        it          to         the          pathology                department.                      The

     6    pathologist                        looks              at          it     and may suspect                        that          it    is

     7    cancerous                but              he or              she         cannot           tell          you by just                 looking

     8    at     it        that         it          is         cancerous                 or     benign             because             there        is        a

     9   marked             overlap.                           It      is         only        when he looks                    under          the

 10      microscope                    that               he can                  say    whether             it     is     cancerous                or

11       it's         not         or         it's          a benign                     condition.                  So then,

12       depending                 on that,                         the           surgeon           or     the      oncologist                 or       the

13       breast             doctor              will                take           action           as     to     what         needs         to     be

14       done         in        that          person.                        And then               sometimes              you have                to    do

15       other            ancillary                       studies                  on this            tissue            that      you get               to,

16       you      know,            look              at         the          origin           because             there          are

17       different                 kinds                  of        cancers              to     determine                exactly             what

18       kind         of        cancer               it         is.

19                    Q            Doctor,                      did              you perform               --      did     you perform

20              did        you organize                               any         slides            that        would          assist          you to

21       demonstrate                     to         the             jury          just        exactly             what         you're

22       talking                about?

23                    A            Yes.

24                                                   MR. ROBERTS:                              Your        Honor,          may I have

25                                 the          witness                      come down again                        so we can


                                               Cheryl M. Moore, Senior Court Reporter
 Case 23-589, Document 74, 01/17/2024, 3604428, Page136 of 264
                                               APPENDIX                                                                                         1387

                                                                                                                                                          36

     1    Dr. S. Teas - Direct Examination by Mr. Roberts

     2                             discuss               this?

     3                                          THE COURT:                         Yes,            you may.

     4                                          THE WITNESS:                                I'm         so sorry.

     5              A              So these                are           actually                 pictures                 of V-s

     6    liver      taken              at     autopsy                   by --         by Dr.              Sikirica.                     The top

     7    one shows               the        front          of the               liver.                  So as            I'm       standing

     8    here      this          is     the        right                lobe.              And you can                     see        that         the

     9    laceration               is        on the            top            of the          right              lobe.             So it            is

10        not     where           the        ribs        were             fractured.                       It        is     away from

11       there.            And that                 this            is     the         whole             laceration.                         Then

12       the      piece          of      the        liver            that          overlines                     that           has

13       separated.                    I don't             know whether                            it     was completely

14       separated               or got             separated                    as you removed                             the        liver

15       from      the      body.              And then                    on the             back             of the             liver,            the

16       left      lobe          showed             another                laceration                     and there                    was some

17       small       lacerations                     on the                back             of the             right            lobe         too.

18       But what's                important                   is        to      look         at         this         top         laceration

19       and what           you see                 is     that            --     first             of      all,           it's         not         in

20       any position                   where            the         blood             --     big         blood            vessels             come

21       from     the       liver.                  The artery                    was intact.                             There's             no

22       mention           that         the         inferior                  mesenteric                    vein           and         the

23       pressure           in         the     veins            is         much lower.                          If        you were             to

24       bleed      it      would            bleed          pretty                slowly.                  But            the      arteries

25       were     not       mentioned                    or were                 not        torn          to     cause             a rupture


                                         Cheryl M. Moore, Senior Court Reporter
     Case 23-589, Document 74, 01/17/2024, 3604428, Page137 of 264
                                                APPENDIX                                                                                       1388

                                                                                                                                                         37

     1    Dr. S. Teas • Direct Examination by Mr. Roberts

     2    of     the        arteries            that            would         bleed             extensively                    and         very

     3    soon.             But      what's            interesting                    is        that            when you look                       at

     4    the     way the              tissue             looks            you're           not         seeing           pieces                of

     5    blood            clots       stuck         in       there.                There             is        hardly         any.             And

     6    you really                have        to        see     a comparison                          on what               --     the

     7    ante-mortem                  liver         laceration                     to      make the                 comparison.

     8    But     when         I looked              at       that           grossly             I      knew I had                   to        look

     9    at     the        microscope               to       draw          any       kind           of conclusions                            from

 10       it.

11                     Q           Did you prepare                           a slide               to       compare                and

12        contrast             relative              to       what          we're           talking               about?

13                     A           I did        because                I had          cases                of both            that         I

14       have       called           CPR when                 I did           the         autopsy                and     cases            where

15       I have            done      a second               autopsy                 I agreed                that         it        was

16       ante-mortem.                      The question                       with          that           was the             timing               of

17       injuries.

18                  Q              And this             specific                   slide,            does         that         speak            to

19       what       we're           discussing?

20                  A              Yes.         So this                is     another                case         that         I

21       actually             did      a second                 autopsy,                 that          somebody               else         did

22       the     autopsy             and       that's            why it              is        cut         in     a different                       way

23       but     what         you do is                this           is     all         the         laceration                    here        and

24       this      was similar,                   it       had         actually                 opened             up on one

25       side.             So you can             see           the         thick         blood             that's            got         --


                                          Cheryl M. Moore, Senior Court Reporter
     Case 23-589, Document 74, 01/17/2024, 3604428, Page138 of 264
                                                   APPENDIX                                                                              1389

                                                                                                                                                38

     1    Dr. S. Teas • Direct Examination by Mr.Roberts

     2    that       is,       like,            embedded                 in    the       laceration                    itself.             It

     3    doesn't            just          fall           off.           And in          contrast                to         --   this      is

     4    Viola's            liver,            where              you see            that      there             isn't           that

     5    necrotic,                like,            blood          that        is,       you       know,              stuck       there

     6    for     awhile,               so ...

     7               Q             What does                     that      tell          you in        layman's                  terms?

     8               A             It      just            tells         me that             I need          to         look       further

     9    and     rule        out        CPR may have                         caused         that      injury.                    I mean,

10        I looked            at        this         right             away and             I said          it         is

11       antemortem.                     This             is     the      trauma            that     was responsible

12       for      the        child's               death.

13                   Q             Is      that           present             in     Viola's          liver?

14                  A              No,        it      is       not.           And there              are         other           things.

15       There         are      little               subcapsular                     hemorrhages                  which           is     very

16       typical           of what                 we see           in CPR associated                             liver

17       injuries.

18                  Q           Now, with                      respect             to    what        you were

19       discussing                on a cellular                         lever,           do you have                       some slides

20       that      you can              demonstrate                      visually              for     the            jury       what

21       you're          talking               about?               Do you              know which                one you               need

22       here?

23                 A            It       is         further              forward.              Right             --      right          after

24       the     first         liver               that        you showed.                    Further.                      Move

25       forward.              Yeah,               that's          it.         Maybe          this         --         maybe        one


                                         Cheryl M. Moore, Senior Court Reporter
     Case 23-589, Document 74, 01/17/2024, 3604428, Page139 of 264
                                                  APPENDIX                                                                                        1390

                                                                                                                                                             39

     1    Dr. S. Teas - Direct Examination by Mr. Roberts

     2    before            that.               Yeah.          Okay.             I have              two slides                     of that.

     3                 Q            What are               we looking                   at     here,              Doctor?

     4                 A            So this              is      Vtlll's           liver.                   This          is       one            of

     s    the      slides             that        I received                 from            the       autopsy                 that           Dr.

     6    Sikirica                had performed.                          So you can                   see        all          these              red

     7    blood         cells          that            they're            actually                 still          pretty                rounded.

     8    They haven~t                     --     the         red        blood         cells          after             that            just

     9    fall         apart.              That         actually            helps             sometimes                   with           the

 10       timing.                 But what              you can            see         even          in     the         area            of

11        hemorrhage                  I can        recognize                each             liver          cell          or

12       hepatocyte.                       The blue              part       is         what         we call               the         nucleus

13       of      the       cell.             The pink               part         for        each           cell         is        the

14       cytoplasm.                   That's             the        two main                components                    of the                  cell.

15       You have               the        nucleus            where         DNA resides                       and         then           you

16       have       the       cytoplasm                  where           there          are         other          organs                that

17       control            our       --        control             your      function.                       These               two are

18       the      same slides.                         This         is     a higher                power.                 And you can

19       recognize                 each         cell       separately.                        If      this         was a crush

20       injury            that       occurred                during         death             those              cells            would               not

21       be recognizable.                              They         would        be --             they           would            lyse,

22       they      would            be open,              so        I wouldn't                 be able               to           recognize

23       the     structure.                      Go to         the        next         one.               And so this                        is

24       another            area       and here                you can             see         that          this            is     a

25       laceration                 that         was recognized                        --      that          was seen.                        And


                                           Cheryl M. Moore, Senior Court Reporter
     Case 23-589, Document 74, 01/17/2024, 3604428, Page140 of 264
                                                     APPENDIX                                                                                              1391
                                                                                                                                                                     40

     1    Dr. S. Teas - Direct Examination by Mr. Roberts

     2     then      this           blue            line          marks            the         edge            of the              laceration

     3    and      I can            see           the        cells            but        what             is     more             important                     is

     4    as      you go on the                           higher              power            you can                    literally                     see

     S    this      --        this            is        from        the        same area                       as that              and            you can

     6    just      recognize                       the         entire             cell             separately.                          It        is

     7    pretty          intact.                    It         doesn't              show what                       we call              necrosis.

     8    Necrosis             is            cell       death            during                life.                 If      --     if        a cell

     9    dies      after               death,             and          it     does,                then        you call                  that

 10       lysis.              The cell                  is        just         splitting                       up because                     of         the

11        time      that's               passed                 between             --         between                the         time             a person

12       passed          and            --        that's           what            happens                 when the                 body                starts

13       to      decompose.                         So this              is        a comparison.                                This          is,

14       again,          to        contrast                     this,         this             is         from        the         other                 liver

15       that       I showed                   you         so you can                     see          how different                               it

16       looks.           The blood                        is      stuck.                 It         is        not        moving              away.

17       This       -- this                  -- so you compare.                                       This            is      v-•s                       liver

18       and       you can               see        the          edge         here         and you can                            see         the         edge

19       there.           And you                   -- what                  has         happened,                   not          only          is        there

20       hemorrhage,                     this           whole            tissue,                you can                   see      little

21       specks          of        --        of     nuclei              but         it     is         destroyed.                         It's

22       it's      necrotic.

23                  Q              And all                 of      these            slides                 on the               cellular

24       level      point               to        whether               or not             Vlllt was alive                                    or

25       deceased             at        the         time          of CPR?


                                              Cheryl M. Moore, Senior Court Reporter
     Case 23-589, Document 74, 01/17/2024, 3604428, Page141 of 264
                                                APPENDIX                                                                                    1392

                                                                                                                                                   41

     1    Dr. S. Teas - Direct Examination by Mr. Roberts

     2               A            It        points           to      --       to    me that                 this         is      more

     3    likely         to be a CPR related                                  injury.

     4              Q             Okay.              Well         --

     5              A             I don't              know if                you want                 to    go through                  the

     6    others,          but         --

     7              Q            Sure.               While           you're           down here                     let's         talk

     8    about         the      other          ones.

     9              A            The other                   thing         that            is     important                   when you

 10       have      trauma             that        has       occurred                 in        life        you just                 don't

11        get     the      liver            lacerated,                    you get               a lot         --      everything               is

12        just      situated                pretty           tight;             the        pancreas                 is        right

13       behind          the         liver,          the      adrenal               glands              are         there,            the

14        kidneys          are        there.                So you often                        get     injuries                 to those

15       organs          that         you can               see      grossly               or not            under             the

16       microscope.                   And the               hemorrhage                    will         just          spread

17       between          those             tissues.                 So you need                       to    look           at    all

18       that.          This          is      actually               a section                   of the             pancreas             from

19       the     other          case          that       I told               you and that                     it        was my

20       opinion          that         this          was antemortem,                             and that                wasn't          the

21       issue      in        that          case       at     all,         but        you can                see         how the

22       blood      has         dissected                into           the        connective                  tissue             between

23       the     pancreas.                   These          are        little              lobules             of        the

24       pancreas.               The pancreas                      is      a gland                that         sits           behind         the

25       liver      that         produces                enzymes              and digests                      your           food       and


                                           Cheryl .M.Moore, Senior Court Reporter
     Case 23-589, Document 74, 01/17/2024, 3604428, Page142 of 264
                                                    APPENDIX                                                                                    1393

                                                                                                                                                        42

     1    Dr. S. Teas - Direct Examination by Mr. Roberts

     2    also         produces                insulin.                         It     is      sitting               right        there.              You

     3    see        the        massive              hernorrage                      it's          caused.                The adrenal

     4    gland            is        a small              gland            that             sits      on top              of the          kidney,

     5    controls                   a lot         of      functions                        and there                is     extensive

     6    hemorrhage                    in     the         tissue                surrounding                    it.          And none            of

     7    that         was present                      in       V-                    so that's                another             clue.

     8                 Q               What do you mean it's                                         a clue?

     9                 A               It     is     a clue                that             you should                    look      further

10        and        inspect                further              as     to           why you are                    getting           just       an

11        isolated                liver            injury             with            a little                hemorrhage                in      the

12       muscles                of     the         diaphragm,                        that          you should                look       more

13       closely                at     could            this          possibly                     be CPR related.

14                     Q              Now if              this         was a blunt                          force          trauma         injury

15       to      the       abdomen                 that          lacerated                    the          liver,          how would             that

16       force            affect             surrounding                        organs?

17                     A              It     should              --        it        should            affect              them      too.

18       With        CPR, because                         the         liver             is         more       pliable             and     softer

19       than         some of                the        other           organs                it      is      more         likely         to     be

20       injured                than         some of              the           other              organs.

21                    Q              And did               you        --         what          value,           if        any,      did        the

22       lack        of bruising                     on the                exterior                  of       vlllll         play       into

23       your        determination?

24                   A                I think             that's                 another              clue          because           the       skin

25       is     --     I think                that's             another                    clue       to      warn          you to          look


                                             Cheryl M. Moore, Senior Court Reporter
 Case 23-589, Document 74, 01/17/2024, 3604428, Page143 of 264
                                                APPENDIX                                                                                 1394

                                                                                                                                                   43

 1   Dr. S. Teas - Direct Examination by Mr. Roberts

2    further.                  Though             you may sometimes                                 get        intraabdominal

 3   injuries              without                external                    injuries              but        if     you --            if     you

 4   were       seeing                that        you may not                         be able             to        see    the        skin

 5   surf ace             but         you often                    see        hemorrhages                    in      the     -,..,..in       the

 6   connective                  tissue             underneath                        the      skin         and       none        of that

 7   was seen              in         this        case             either.

 8              Q               Okay.              Are we all                        set      with          the       slides,

 9   Doctor?               Is         there            --
10              A               The only                    other         slides              I put            in     is    of        another

                that            it     was my opinion                               that       it's          CPR and             I did         the
11   case

     autopsy              and         the        lacerations                        were       pretty               extensive.
12
                is                               liver.                 This          is      another               case     that            I had
13   This                 V..              's

     that       it        was my opinion                               that          this      was CPR.                    I did        the
14
     autopsy.                   I raised                    the        issue          and      investigated                      to      see
15

16   how CPR had                      been        done.

17              Q                Do you notice                           similarities?

18              A                Yes,           I do.                  As you can               see,           again,            what        you

19   are     seeing                  the        dark         here         is         really           not      blood.             When

20   there           is    an opening                        and         you take              a photograph                      that         area

21   appears              to         be dark                rather            than          blood.                This      is     a little
                                                                                                                                                        I,


22   bit     of blood.                          But,         again,                 you see           there          is     hardly            any

23   blood           stuck            compared                    to     the         other       ones.               Thjs        liver         was

24   lacerated                  inside            and then                     it     was lacerated                        on the            back

25   too     and,          again,                you are                 seeing             these           little          subcapsular


                                            Cheryl M. Moore, Senior Court Reporter
 Case 23-589, Document 74, 01/17/2024, 3604428, Page144 of 264
                                             APPENDIX                                                                         1395

                                                                                                                                          44

     1    Dr. S. Teas - Direct Examination by Mr. Roberts

     2    hemorrhages                  which      are       more      typical                 of CPR related                      liver

     3    injury.

     4              Q            Okay.           Why don't             you shut                 that         down.

     5                           Now, Doctor,                 are      you familiar                         with     the      term

     6    sudden         unexpected               death        --

     7              A            Yes.

     8              Q            --        associated           --     what            is     that?

     9              A            So,        sudden         unexpected                  death          is     when somebody

10        dies      without            having          a medical                history             and       the    person

11        just      dies        suddenly.                  And different                     people          define          it

12       differently.                      Some people               say        it's         like          they     had no

13       symptoms              for     24 hours.               Some people                     say         they     had     no

14       symptoms              ever.          So it         varies.              But when somebody                          dies

15       but      has      no medical             history.                 So when a 16 year                           old

16       drops          dead      and       there's          no medical                     history          then     we call

17       that       sudden            unexpected             death.

18                  Q            So are         you familiar                    with          the      term         SIDS?

19                  A            Yes.

20                  Q           What is           SIDS?

21                 A            So SIDS,              it    stands          for        Sudden              Infant      Death

22       Syndrome.               And it          was a term                that          was formed                 back      in

23       1969     when the              first         definition                 of      SIDS.             Since      I'm

24       almost         that         old     I have          seen      the         changes             that         have

25       occurred.               So it          was defined                as      the        death          of     a kid         who


                                       Cheryl M. Moore, Senior Court Reporter
 Case 23-589, Document 74, 01/17/2024, 3604428, Page145 of 264
                                        APPENDIX                                                                                      1396

                                                                                                                                                 45

 1   Dr. S. Teas - Direct Examination by Mr. Roberts

 2   was under           two years                   of age                and         died        suddenly.                    Then        it

 3   was revised                 in     the         '80s            to     decrease                the        age     to        one        year

 4   and with          the        caveat             that            you have                 to    do a scene

 5   investigation                    to      rule         out           environmental                        factors.

 6             Q            Okay.             Was there                        a cut-off                period         for           when

 7   SIDS was related                         to     age?

 8             A            Yes.           So originally                              the      original               definition

 9   from      1969 was two years                                   and then                I think            it     was            '89

10   that      they      changed               it         to        one year                and then                over        --     since

11   then      the     terminology                        has        undergone                 a lot           of     changes

12   where      some people                    don't                like         to      use       the        term         SIDS

13   because          SIDS implies                        that            it     was definitely                       natural               and

14   they      started            using             the        term             sudden         unexplained                      infant

15   death      and      so that               it         could                include         other           things            because

16   they      felt      some of               these                cases          where           it     may have               been

17   suffocation,                 either             accidental                        or     intentional,                      and with

18   the      back     to        sleep         campaign                        where        instead            of putting                   the

19   infant          down --            face         down with                     the        --        the     kid        is        on the

20   back.           They        have         changed                    some of            the         terminology.

21   Unfortunately                    or      fortunately                        the        records            department

22   still      codes            them         all         as SIDS.

23             Q            Is        there          --        is        there          any difference                          with

24   unexplained                 death         as opposed                         to     SIDS as to                  what            you see

25   in      a two and a half                         year               old?


                                      Cheryl M. Moore, Senior Court Reporter
     Case 23-589, Document 74, 01/17/2024, 3604428, Page146 of 264
                                                   APPENDIX                                                                              1397

                                                                                                                                                   46

     1    Dr. S. Teas - Direct Examination by Mr. Roberts

     2                 A             It       is       similar               excepting                 sudden         death         in the

     3    first            year       of        life         is        more         common than                 in     a toddler.

     4    However,                 you can             get        sudden                death      all        the      way going

     5    into         their          20s          and 30s.                   So,        I mean,             I have         seen        many

     6    cases            where          a 16-year-old,                            15-year-old                just         drops        dead

     7    with         no medical                   history.                   And actually                    no cause             that       I

     8    find         when I do the                      autopsy.                       Or if         I find          a cause           it    is

     9    a very             subtle             cause         that            the        coronary             arteries            didn't

 10       rise         the       same way,                then           you say                could         this        possibly            be

11        because             of      that.             And as                they         started            to     do more

12        studies,               just       metabolic                    studies                with      conduction                studies

13        in     the       heart,               they      find           at        least         maybe         five         to    ten

14       percent              of     these             cases            do have             a cause            but        you have            to

15       do the            extra           studies                to     --        to     find         out     what        may have

16       caused            the      death.

17                     Q            Is     that          what           we're            talking             about,         the      geno?

18                   A              Correct.

19                   Q             Okay.               So it            is     necessary                 to     rule        out      these

20       other         issues              to      go into              the         geno?

21                   A             Correct.                   I mean it                    is    like         the      condition

22       known as              Long QT Syndrome                               because             when you are                    looking

23       at    the         QRS complex                   it        is        the        rhythm         of the             heart      that

24       is    the         issue          and       so they're                      associated                with         certain

25       mutations                 and genes                 so you specifically                                   look     for      those


                                           Cheryl M. Moore, Senior Court Reporter
 Case 23-589, Document 74, 01/17/2024, 3604428, Page147 of 264
                                        APPENDIX                                                                           1398

                                                                                                                                          47

 1   Dr. S. Teas - Direct .Examination by Mr. Roberts

 2   mutations.                  They're            pretty             specialized               studies,               cost          a

 3   lot     of money.                  few places                   do it       at      this        time        and      it        is

 4   not     routine.

 5             Q            Now, with                   respect          to     V...            the       materials

 6   that      you reviewed,                       could          you --         could          you explain                    to     me

 7   what             withdrawn.

 8                          Could           you explain                  what         a seizure                is?

 9             A            Okay.                A seizure              is     like       having           something                  in

10   the     brain          that        causes            a person              to     have       convulsions.

11   And the          theory,               it     is     a theory,              is      that        when you have                         a

12   seizure          somehow               it     affects             the      rhythm          of     your           heart.

13   Because          we know as                   forensic             pathologists                   that           a certain

14   percentage                 of    people            who have              a history              of     seizure             just

15   die     suddenly                and         we may not              find         anything            in     autopsy.

16   In Cooke           County,                  when I worked                  there,          we had            about             50

17   cases      a year               that         people          had        a history            of      seizure,              or

18   there      was a question                           that        they       may have             had        it,      that

19   died      suddenly               and         some of            them       we found             a cause             of         the

20   seizure          but        in most            of      them         we didn't              find        a cause                 for

21   the     seizure.

22             Q                And if           an individual                   passes         without                someone

23   seeing          the        symptoms            before             that          individual             was either

24   unconscious                 or     resulted                in     their          death,         what         would             you

25   look      for         to    determine                --      or     are         you able          to       determine


                                      Cheryl M. Moore, Senior Court Reporter
 Case 23-589, Document 74, 01/17/2024, 3604428, Page148 of 264
                                               APPENDIX                                                                              1399

                                                                                                                                               48

     1    Dr. S. Teas - Direct Examination by Mr. Roberts

     2    that      there         was a seizure                       without                 a first-hand

     3    account?

     4              A             It     is     very        difficult.                        Sometimes              there          may

     5    be little            tell-tale                 signs,             like         if     you have             an adult

     6    you have          tongue              bites          and then                 you wonder                could         the

     7    person        have           had a seizure.                           Or if          you find             a very

     8    subtle        change               in the        brain.                For      example,                I had one

     9   case       where         the         person           had abnormal                     grey        matter.                The

10       grey      matter              surrounds               the        brain          but        there         was a little

11       bit      of grey              matter         in       the        white         matter             where         it

12       shouldn't           have             been      and that                 could          be a focus                    of a

13       seizure.            So if             you find              something                  subtle            you might               be

14       able      to    characterize                      that           the      person            may have             had a

15       seizure        because                of     that.               But      it     requires                real        careful

16       looking.            It         is     easy        to miss.

17                 Q           And,           Doctor,           are         you aware                nationally                 what

18       percentage               of autopsies                    result            in an unexplained

19       death?

20                 A          So it             varies          from            office          to office.

21       Anywhere           from         two to            three           percent             to     five         percent            that

22       you may not               find         a definite                  cause             of death.

23       Sometimes           --        I have           personally                  had this,                I have            a

24       16-year-old               who drops                dead,           and         I happen             to     remember              a

25       16-year-old,                  I will           just         --     and there                 is     nothing               else


                                        Cheryl M. Moore, Senior Court Reporter
 Case 23-589, Document 74, 01/17/2024, 3604428, Page149 of 264
                                      APPENDIX                                                                      1400

                                                                                                                            49

 1   Dr. S. Teas - Direct Examination by Mr. Roberts

2    to     suggest       that         they      have      any         drugs         involved          or any

 3   foul      play      involved,              I would          say      the        cause        of death            was

 4   cardiac          arrhythmia.                What I'm              saying         is     that       it     was a

 5   functional           death          rather          than      an anatomical                    death.

 6             Q          Now, in            reviewing            the     materials                 provided          by

 7   Dr.     Sikirica,              as well        as     his      opinions,                did     you see           any

 8   value      that          Dr.     Sikirica           associated              with        the      first-hand

 9   account          of Viola's              mother,           as well          as Mr.            Davis,          that

10   she     was lethargic                   and didn't            have         an appetite                  the

11   morning          before          she      received           emergency                services?

                          I mean,            I don't         know what                you mean.                I don't
12             A

13   know what           Dr.         Sikirica           was thinking.

14             Q          Okay.
                                                                                                                                 I,
15             A          I can't             fathom       that.

                          In this             specific           case,         are     you aware               of     the
16             Q

17   fact      that      the         child      was lethargic                   and wasn't              eating

18   that      morning?

               A          Yes.          And there               was also             a history           that         she
19
20   complained               of chest           pain     the          week before.

               Q          And did             you see           that      specific             event,          the
21
22   lethargic           child,          was that           taken         into         account           in        any of

23   the     reports           that         you looked            at     from        Dr.      Sikirica?

24             A          Again,             I don't       know what                 you mean that                   he

25   took      it      into         account.            I don't          know whether                  he assigned


                                     Cheryl M. Moore, Senior Court Reporter
 Case 23-589, Document 74, 01/17/2024, 3604428, Page150 of 264
                                              APPENDIX                                                                                    1401

                                                                                                                                                  50

 1   Dr. S. Teas - Direct Examination by Mr. Roberts

2    any     significance                        to         it,         whether           he considered                        it     or

 3   not.

 4               Q               Is that               --         is     that         specific              first-hand

 5   account           from            witnesses                       related           to     moments               before          she

 6   receives               treatment,                      is         that      significant?

 7               A               It     is.            You take                  everything                  into

 8   consideration                       that           you wonder                      was something                    going             on in

 9   this        child.                And I thought                            the      possible                history             of the

10   chest        pain            in     a two and                      a half           year         old        is     also

11   important.

12               Q               So with               that             specific              report,             does     it        in      any

13   way relate                   that          it      is         more         important               to       then      speak             with

14   the     mother               and get               the            history           of both                the     child         in

15   addition               to        the     mother's                    familial              history?

16               A               It      is     always                  important              when you have                        a death

17   that        you cannot                     figure                 out      what      happened.                     The problem

18   is     if       you decide                      that's              the      injury            that         caused             the

19   death           then         everything                       else         comes          to     a screeching                        halt.

20
                 Q               Is      that          your             opinion           that        occurred                 here?

21               A               Yes.

22               Q               What,           if         anything               --     what,            if     any,

23   significance                      did           you put                 relative            to     --       well,          what's

24   vitreous               fluid?

25               A               V-I-T-R-E-O-U-S.


                                         Cheryl M. Moore, Senior Court Reporter
     Case 23-589, Document 74, 01/17/2024, 3604428, Page151 of 264
                                                   APPENDIX                                                                                      1402

                                                                                                                                                           51

     1    Dr. S. Teas - Direct Examination by Mr. Roberts

     2               Q               Thank             you.

     3               A               It's          the        fluid             in        the      eyeball.                  So what

     4    happens                    again,                 the         liver          is        involved              in      this.             If

     5    you are             trying              --        you can die                      of low blood                      sugar        or you

     6    can      die        of     high          blood            sugar.                   You cannot                  make a

     7    diagnosis                of        dying           of high                 blood             sugar       postmortem

     8    because             what           happens               is      when you die                        and       the        liver

     9    cells         that         contain                 glycogen,                    the      glycogen                 turns         into

 10       gluclose             and           it    releases                    into         the         bloodstream.                      So the

11       blood          sugar           is        always            high          after            death          depending                 on

12       when you're                    taking               the        blood.                   So you cannot                     assign             any

13       significance                       to     it.             The vitreous                         fluid,          the        eyeball

14       fluid,          is        away from                  the         blood.                  So,      in     fact,            in     the

15       vitreous              the        blood             sugar              starts             to     fall          after         death.

16       So             again,              so if           you get               a blood                sugar          of        10 or 20 or

17       30 in          the        vitreous                 you cannot                      draw         the      conclusion                 that

18       the      person            died          from             low blood                 sugar.               But        if      it     is

19       very      high,            actually                  if        it's         over          100,          the        person          has

20       been      dead            24 hours,                 you can                  sort         of theorize                    that       maybe

21       the      blood         sugar             was much higher                                when the               person            died

22       and perhaps                    this           is    the          cause             of     death.               So you --                you

23       have      to     look           at       --        you have                 to      look         at      those           results             to

24       draw      those           conclusions.                            And I don't                      think            that         was

25       done.           At least                 I didn't                 get          any vitreous,                        either


                                            Cheryl M. Moore, Senior Court Reporter
     Case 23-589, Document 74, 01/17/2024, 3604428, Page152 of 264
                                              APPENDIX                                                                        1403

                                                                                                                                      52

     1    Dr. S. Teas - Direct Examination by Mr.Roberts

     2    gluclose            or electrolyte                      results         to        evaluate          Viola           for

     3    dehydration,                    especially              if     she     had a history                   of not

     4    drinking            and         I don't          know exactly                whether             she      was

     5    hydrated            or     not,         and      I don't          have       those         results,             I

     6    cannot          draw       any conclusions                      about        her        electrolytes

     7    being         normal.             And if          your        electrolytes                 are      abnormal

     8    that        can     affect          the        rhythm         of the         heart         too.

     9                Q            Doctor,          did         you note         whether             or not          there

10        was any           infection               in     V-

11                    A            So the          --     there        was a history                  that         she

12        wasn't          quite        well        the      week before                and the             lungs

13        actually           did       show some chronic                        inflammation                  and        I think

14        I had         taken       some sections                      and put         it     on the          Power           Point

15       too.           So there            are         chronic         inflamed            cells       around            the

16       bronchi.                 The tracheal-bronchial                           tree        is      like         a tree.

17       You get            the     trachea              that     then         divides         into         two main

18       bronchi            and     then          divides         into         smaller         ones.             And the

19       little           bronchi           under         the     microscope                had      evidence            of

20       chronic            inflammation                  cells        around          them.

21                 Q              Now, Doctor,                  the     one last             thing         I want         to

22       talk      to       you about              is     the     volume         of blood             in      the

23       abdominal              cavity        of Viola.                  I think            there       are        records

24       that      indicate               there          was 350 milliliters                         and      50

25       milliliter               clot.            How would             you explain                how blood             gets


                                       Cheryl M. Moore, Senior Court Reporter
     Case 23-589, Document 74, 01/17/2024, 3604428, Page153 of 264
                                              APPENDIX                                                                                  1404

                                                                                                                                                  53

     1    Dr. S. Teas " Direct Examination by Mr. Roberts

     2    into      the      abdominal                  cavity            if     the         person             is      deceased?

     3              A          So we continue                            to     bleed          after             death.               When I

     4    do an autopsy,                     and sometimes                       it      is        24 hours                  after      that,

     5    and      I cut      a vessel                  it        will        just       bleed            all         over.           There

     6    have      been      cases           where               the     organ          transplant                     people          have

     7    tried       to put         a needle                     and draw             blood         from             a big          vessel

     8    and then           I open           Lhe chest                   cavity             and there                  is      a lot        of

     9   blood,         or    they           try       to put             a central                 line         which           they        are

 10       trying        to put           a central                  line         when they're                         trying          to

11       resuscitate               or        stabilize                   a person             whose             --      whose         lost

12       consciousness,                      they        can        tear         the         blood         vessel              and that

13       will      also       produce               blood.                We know that                     you can               bleed

14       after       death.             We use               suction             all         the     time             when we're

15       doing       an autopsy                because                  blood          leaking             out         of      blood

16       vessels          obstruct             our           feel        and we want                  to         take          that        out.

17       No pathologist                      should               draw     the         conclusion                     that       because

18       you're       seeing            350 or               400ccs            of blood              in     the          abdominal

19       cavity       that         that        whole               amount            was present                      when the

20       person       died.             We don't                   know how much of                         it         came before

21       the      person      died           and        how much of                     it     came after                      the

22       person       died.             And it               is     mentioned                 in    the         bionetes

23       textbooks,           it        is     not           just        my experience.                              So we have               no

24       way of       knowing             exactly                 how much blood                      or         if     there          was

25       any blood           in V..                1
                                                       s abdomen               when she               died.                  So I think


                                     Cheryl M. Moore, Senior Court Reporter
     Case 23-589, Document 74, 01/17/2024, 3604428, Page154 of 264
                                                     APPENDIX                                                                                   1405

                                                                                                                                                           54

     1    Dr. S. Teas - Direct Examination by Mr. Roberts

     2    that         should             be taken                    with         cautiousness.                             And so the

     3    next         thing            you do is                     to     try         to     calculate                    that        the    blood

     4    volume             that         I'm            seeing            in      this         person             is        that

     5    sufficient                    to     be a cause                         of death,                 is     it        sufficjent               to

     6    lead         to        shock             for     this            person             to     collapse.                       And Viola

     7    did         have            about         40 percent,                     38 to             40 percent                     of her

     8   blood           volume               in     her         abdominal                    cavity              so it           would        be

     9    sufficient                    for         her         to     start          going            in        shock.               The

10       problem                 is     that         when you go into                                shock          you           just      don't

11       die,          bing,            go suddenly,                         it     is        a process.                      It's              so by

12       the          time        you have                 lost            40 percent                  you start                    to    go in

13       shock,              your        heart             rate            beats          faster,                your         respiration

14       gets          faster,                your         blood            pressure                 starts             to     fall.            It

15       is      --     it        is     not         instantaneous.                                That          kind         of a death                  is

16       not      instantaneous.                                 And so you need                             to     start            looking              at

17       that          and        realize                that         I really                 have         no way of

18       estimating                     how much blood                            volume             there          was when this

19       person             dropped.                     In the             other             case      that            I had with                  the

20       CPR she             also            had         just         barely              enough            blood            to      be a cause

21       of death.                     And that                  to        a lay         person             and detectives

22       around             is        very         hard         to     explain                 but      that            is     the       reality

23       when you                see         all         the         cases         that            you cannot                  estimate

24       that.           And that                    I also            take          into            fact         that         liver

25       lacerations                     do not                kill         instantaneously.                                 There        are


                                              Cheryl M. Moore, Senior Court Reporter
     Case 23-589, Document 74, 01/17/2024, 3604428, Page155 of 264
                                                APPENDIX                                                                        1406

                                                                                                                                              55

     1    Dr. S. Teas • Direct Examination by Mr. Roberts

     2    cases         where         they        go to         the       emergency               room and they                     are

     3    sent      home.             In fact,            Mo~itz,                M-O-R-I-T-Z,                  is     called,

     4    like,         the     grandfather                   of      forensic           pathology.                     He has            a

     S    book      of        trauma.             He mentions                    a case.           ER physicians

     6    know that             liver            lacerations                bleed        slowly.                Surgeons

     7    will      not        operate            legitimately                    even      on major

     8    lacerations.                     So it         is    a process.                   It     doesn't             just

     9   happen          suddenly.                 So that's                --     those          are     the         other

 10      things          that        you need             to       take      into        consideration.

11                  Q               You mentioned                  briefly           that         you performed

12       autopsies              with           detectives             around,            correct?

13                 A             Yes.

14                 Q            Have you ever                      experienced                   situations              where

15       law      enforcement                   have      a certain                expectation                 when you're

16       performing                 the        autopsy?

17                 A            I mean,             I don't            know if           they           are

18       expectations,                    but      they        are       often       there,             sometimes               more,

19       sometimes              few.            Often         times       a prosecutor                    is        there.

20       When I work                 in     the     medical              examiner's                office            we tried

21       to     keep      them        out        because           the      medical              examiner              was in

22       charge.              All     I had         to        do was tell                my boss              I don't           want

23       them      around,            you tell                them     to        go to      the         next         room.

24       When I worked                    in     another           county           they         had     a window,                  they

25       would      be out            and when                I got       done       I would             go and              talk     to


                                          Cheryl M. Moore, Senior Court Reporter
 Case 23-589, Document 74, 01/17/2024, 3604428, Page156 of 264
                                    APPENDIX                                                                      1407

                                                                                                                            56

 1   Dr. S. Teas - Direct Examination by Mr. Roberts

 2   them,     but

 3            Q           Why didn't              you want               them      in    the      room?

 4            A           I --      personally,                   they      just        delay      me and

 5   and make         things         difficult               and      draw         conclusions               that

 6   they     shouldn't             be drawing.                   And the           NAS, National

 7   Academy         of    Science,           actually              came out             in     a report            from

 8   2009     that        the      law      enforcement               and       the      prosecutors

 9   shouldn't            be influencing                    the      forensic            pathologist,

10            Q           Have you experienced                             an attempt             to    influence

11   your     determination?

12            A           Definitely              on the            case     that         I showed            you     in

13   the     liver        they      tried        to        influence            me a great             deal.

14            Q           Okay.

15                                   MR. ROBERTS:                     Could         I have        a moment,

16                        your      Honor?

17                                   THE COURT:                   You may.

18                                   (Whereupon,                  a pause           ensued.)

19                                   MR. ROBERTS:                     I have            no further

20                         questions.

21                                   Thank        you,         Dr.       Teas.

22                                   THE WITNESS:                     Thank         you.

23
                                     THE COURT:                   Okay.            Members        of        the     Jury,

24                        we're          going        to     take        a brief          break        at     this

25                         time.          We'll        break          for     about           15 minutes.


                                 Cheryl M. Moore, Senior Court Reporter
      Case 23-589, Document 74, 01/17/2024, 3604428, Page157 of 264
                                   APPENDIX                                                                               1408

                                                                                                                                    57

      1   Dr. S. Teas - Direct Examination by Mr. Roberts

      2
                                    During      the      course             of        this          break           please

      3                  do not       discuss          this         case,             don't          read           or

      4
                         listen       to      any media             accounts,                  don't             visit          or

      5                  view      any      premises,              do not             conduct                 any

      6
                         research           about      this         case,             do not             request               or

      7                  accept       any      payment             in     return              for         supplying

      8                  any      information            about            this         case.                  Please

'\    9
                         don't       form      any      judgements                    or      opinions                 about

                         this      case.        If      anyone            attempts                  to        improperly
     10

     11                  influence            you,     please             report              that            directly

     12                  to me.

     13                             We'll      break          for        15 minutes                      at     this

     14                  time.

     15                             Thank      you.                                                                                      I




     16                             (Whereupon,               the        jury         exited              the

     17                  courtroom.)

                                    THE COURT:                Okay.              Doctor,                 because
     18

     19                  you're       still          giving             sworn         testimony                     I'm

     20                  going       to     direct       that            during            the       course               of

     21                  this       break      you not             discuss              this         case            or    your

     22                  testimony            with      anyone,             and         that             includes              the

     23
                         attorneys            involved              in     this         case.

                                    We're       going         to        break          for       15 minutes.
     24

     25                  We'll       see      you back              here         at     that             time.


                                  Cheryl M. Moore, Senior Court Reporter
 Case 23-589, Document 74, 01/17/2024, 3604428, Page158 of 264
                                APPENDIX                                                               1409

                                                                                                              58

 1   Dr. S. Teas • Cross Examination by Ms. Chavkin

 2                              Thank        you.       The Court             will        stand      in

 3                    recess.
 4                              (Whereupon,             a brief          recess           was taken.)

 5                              (In     open        court.)

 6                              THE COURT:              We'll         bring        the     jury      back

 7                    in,     please.

 8                              (Whereupon,             the      jury        entered         the

 9                    courtroom.)

10                              THE COURT:              Okay.           Please           be seated.

11                              Members          of    the      Jury,        the     sworn         witness

12                    remains         Shaku         Teas.

13                              Ma'am,         I remind          you that            you're         still

14                    under      oath.

15                              And,        Ms. Chavkin,              you may proceed

16                    whenever          you're         ready.

17                              MS. CHAVKIN;                  Thank      you,        your        Honor.

18                      Cross        Ex.uiination             by Ms.         Chavkin

19            Q       Good morning,                 Doctor.

20            A       Good morning.

21            Q        Just     a few questions                  on your           background

22   before       we start.           Are    you licensed               in     the       State       of     New

23   York?

24            A        No,     I'm    not.

25            Q       And do you do trials                       as     an expert            witness?


                              Cheryl M. Moore, Senior Court Reporter
 Case 23-589, Document 74, 01/17/2024, 3604428, Page159 of 264
                                 APPENDIX                                                               1410

                                                                                                                   59

 1 Dr. S. Teas - Cross Examination by Ms. Chavkin
2             A         I'm     not      quite      sure        what      you mean.             I don't

3    do trials.              I testify           in trials.

 4            Q         Okay.         As an expert                witness?

 5            A         Yes.

 6            Q         And how many per                   year         do you do?

 7            A         It     varies.           Maybe 8 to              12,     sometimes            15 to

 8   18.      It   depends.              I'm     slowing        down so it            is      less     now.

 9
              Q         Okay.         Do you charge                or bill          for       your

10   time?

11            A         I bill        for      my time.

12            Q         How much do you charge                           on average?

13            A         I have        an hourly            rate         for     criminal        cases         of

14   $375 per        hour       but      a lot      of times            I spend       a lot          of hours

15   and     I reduce         the     fees       so it      depends            on the      case        and

16   then     sometimes          I actually              just      do cases          pro      bono.           I

17   work     with      The Innocence               Project         people.

18            Q         Okay.         And how much are                        you going        to bill            or

19   charge        on this       case?
              A         So there's               a contract.                  For my pretrial                I --
20
21   the     max was $5,000.                   And then           for     coming        out     here      and

22   testifying          it     was another              $5,000.

              Q         Doctor,          did      you ever          prepare         a report            for             I
23
24   Dr.     Sikirica          or anyone           else?

25            A         Well,         I had no communication                        with        Dr.


                                Cheryl M. Moore, Senior Court Reporter
 Case 23-589, Document 74, 01/17/2024, 3604428, Page160 of 264
                                    APPENDIX                                                                           1411

                                                                                                                                   60

 1   Dr. S. Teas - Cross Examination by Ms. Chavkin

2    Sikirica.              And the          defense              attorneys                 who retained                me

 3   did     not      ask       me to       produce             a report.

 4             Q            And you stated                      that        you        reviewed           Dr.                           '




 5   Sikirica's               autopsy            report,          correct?

 6             A            I did.

 7             Q            And you did               not        call            Dr.     Sikirica              to    discuss

 8   your      interpretations                      of the             case?

               A            No,     I did          not.          I     was asked              not        to.
 9

10             Q            By who?

11             A            The attorneys                   who retained                    me.

               Q            When did              you receive                    his     report?
12
               A            I   think        it      was sometime                      in    July        maybe         or
13
14   late      June        sometime              when I was contacted.                                I think               that

15   was the          first        thing          that          I received.

16             Q            Okay.           I believe                it     was your             testimony              that

17   you      requested            the      materials                  that        Dr.      Sikirica                based      his

18   report          on?

19             A            Yes.          I requested                     additional             material              before

20   I gave          an opinion,                 a global              opinion.

21             Q            Doctor,          what          is     toxicology?

22             A            Toxicology               is     when we do an autopsy                                   we draw

23   different             body         fluids        to        send        it     out      to     the         laboratory

24   to     be tested             for      certain              things            that      may be an issue.

25               Q          Did you          review             the        toxicology               reports            in


                                   Cheryl M. Moore, Senior Court Reporter
     Case 23-589, Document 74, 01/17/2024, 3604428, Page161 of 264
                                               APPENDIX                                                                      1412

                                                                                                                                      61

     1    Dr. S. Teas - Cross Examination by Ms. Chavkin

     2    this       case?

     3               A              I did.

     4               Q              And what             significance,                     if     any,         was found         in

     5    the     toxicology                 testing             of     VIIII            DIIIII?

     6               A              Well,         in     the      results            I found             no significance

     7    that     I would               assign          any whole                 lot     of significance                   to.

     8    Though,             if     there        was specific                     questions              --    each

     9    laboratory                 reports            results          in        a different                 way.       They

 10       have     different                 standards                 of the            minimum         that      they      would

11        find.          If        there       are       issues          raised            I would             go and have            a

12       talk      with            the     toxicologist                  and        I would             have      to   know

13       exactly          how that                laboratory               reports              certain           levels.

14                 Q               Okay.          So it           is    safe         to     say     that         you don't

15       do your          own toxicology                        testing,             right?

16                 A               No,      I'm        not     a toxicologist.                           I just

17       interpret                 the     results             that      come from                the      toxicology

18       laboratory.

19                 Q               So you         rely         on the          reports             generated           by the

20       toxicology                 lab?

21                 A               As far         as their              methodology                 is     concerned             I

22       do.      And if             I have            questions              about         the     methodology              I

23       talk     to     them.              When I worked                     in     the        ME's office            the

24       toxicologist                    was there,               we talked                to    them          on every      case

25       that     we thought                 drugs           may be an issue.                            When I worked


                                         Cheryl M. Moore, Senior Court Reporter
 Case 23-589, Document 74, 01/17/2024, 3604428, Page162 of 264
                                      APPENDIX                                                                           1413

                                                                                                                                    62

 1   Dr. S. Teas - Cross Examination by Ms. Chavkin

 2   for    the       coroner's              I had             access      to         the        labs     that        the      --

 3   that       the    samples              went         to.

 4              Q        Doctor,              have         you ever              heard           the      term        ratio

 5   failure?

 6              A         I --         that's             a toxicology                  issue.                I do not

 7   know anything                about            it     and       I have            not        discussed            that

 8   with      any     toxicologist.

 9              Q         Just         to     be clear,                 Doctor,             it     is     your

10   testimony           that         the       liver           injury          was postmortem?

11              A         Yes,         it     was due              to    CPR.

                Q        Okay.               And that              there         is     no explanation                        for
12                                                                                                                                       I




13   Viola's          death       at        this         point?

14              A         Correct.                 At this              point          I have            no

15   explanation.

16              Q         You received                         some slides              in        this        case,

17   correct?

18              A         I did.

19              Q        And do the                     slides          assist          you in            coming         to

20   your       conclusion              about            the       cause         of    death?

21              A         It     came to                my assistance                   to        help        me

22   understand           the         liver             injuries           were         secondary               to     CPR.

23              Q         And did             the         slides         explain                 why Viola            needed

24   any    attempts             to     be made to                  revive            her?

25              A         I beg             your        pardon?


                                  Cheryl M. Moore, Senior Court Reporter
     Case 23-589, Document 74, 01/17/2024, 3604428, Page163 of 264
                                              APPENDIX                                                                              1414

                                                                                                                                              63

     1    Dr. S. Teas - Cross Examination by Ms. Chavkin

     2                  Q           Okay.            Did the              slides             explain           why Viola

     3    needed             any        attempts          to be made                    to      revive          her?

     4                  A           I'm      not        sure      that            the        slides           would         help     me

     5    in     that         case        anyway,          so ...

     6                  Q           Okay.           Do they             reveal               any      reason          for     her        to

     7    be unconscious?

     8                  A           No.

     9                  Q           Would         the     loss          of        350      to      400 mls           of      blood

 10       cause         her        to     be unconscious?

11                      A           It     could         lead        to      shock,             yes.

12                  Q               Have      you        seen        injuries                 like       this        before?

13                  A               I think          I just           demonstrated                       at     least         one

14       case       and where                they        were         very          similar.                  There         are     no

15       two cases                 that      are        identical                 in    forensic                pathology.

16       Every          one        is     a little             different,                    but      there         are

17       similarities.

18                  Q               On your          slide           that          you showed,                  Doctor,            isn't

19       it      true        that         comparing             to      vllll•s               liver           you     showed         the

20       slide          of    an adult              liver?

21                  A              No.       What was --                     it     was the            actual             liver

22       from      children.                  The one that                        I said           was due           to      CPR was

23       actually             a seven             month         old        and         I think           the        other          one

24       that      I said               was a real              liver             injury           was a toddler.                        I

25       don't          remember            the      exact           age.


                                          Cheryl M. Moore, Senior Court Reporter
  Case 23-589, Document 74, 01/17/2024, 3604428, Page164 of 264
                                           APPENDIX                                                              1415

                                                                                                                         64

      1    Dr, S. Teas - Cross Examination by Ms. Chavkin

      2              Q          How does             one perform            CPR on a two and a half

      3    year      old?

      4              A          So I'm         not     an emergency              room physician                  or

     5     cardiologist,                 but    as    I mentioned,               that       they    have       gone

     6     through          changes.            The first           thing        you do with             CPR,

     7     whether         an adult            or child,           is    to take          and lay        the

  -8       person        on a flat             surface        and not         on a soft            surface,            not

     9    a bed,         not     a futon.             The other           case       that       I showed         CPR

 1J)      was also           done        on a bed          to that        child.            So that's          the

 11       first         thing      that        you do.           And then          with      an adult          you

 12- actually                use     two hands,              one hand         over        the   other.           With

 13       a child         you can          either          use    the     two fingers              or use        the

 14       thumbs.           But you're               not     suppose        to put          one hand        behind

15        and one hand               in    front       and push.

16.                 Q           As you saw the                   Defendant         do on video?

17                  A           Yes.

1'8                 Q           Does CPR involve                   pressure          applied        to     the

19        abdomen?

20                  A           You should            not,       but     a lot       of procedures               are

:21       done      incorrectly,               especially               by lay     people.           Just        as

22        you can         do an incorrect                  Heimlich          maneuver.             When you do

23        a Heimlich            maneuver           you are         supposed          to push         up.         If

24        you bush          back         you cause         a lot         of damage.             And I've          had

25        cases      where         the     Heimlich          maneuver         was performed


                                     Cheryl M. Moore, Senior Court Reporter
 Case 23-589, Document 74, 01/17/2024, 3604428, Page165 of 264
                                          APPENDIX                                                                                1416

                                                                                                                                              65

 1   Dr. S. Teas - Cross Examination by Ms. Chavkin

 2   incorrectly                   and lead            to       ruptures                 of     a viscous.

 3                 Q          So applying                   pressure                to        the     abdomen              is     not

 4   caused            by CPR, correct?
 5                 A          It's         not,       but        the        heart,             as     I demonstrated

 6   earlier,              the       heart          and the            liver             are        very      close              so even

 7   if      you're         applying                just        pressure                 on the            chest           the        liver

 8   is      right         there.            The liver                 is         really            not     in      the

 9   abdominal              --       in     the      abdomen.                     As you            look      at      it

10   externally                  it's,       it's                 depending                    on whether                  you are

11   inspiring              or       expiring              in     your            respiration                 it      moves            up

12   and      down.              So it       can       actually                   go all            the     way up to                  the

13   fifth          rib.

14                 Q          Well,          are      you aware                   of      which           of v-•s                      ribs

15   were          fractured?

16                 A          Dr.         Sikirica              mentioned                 I think             ninth             and

17   tenth           fracture             posteriorly.

18                 Q          Posteriorly.                       If     a person                    applies         pressure

19   to      the       abdomen            what       risks            are         involved?

20                 A          Depends              on how you're                         applying             the      pressure.

21   You can            cause            rupture           of     the            viscous            or the          liver,              the

22   spleen,            you        know,          different                 organs.                 So the          liver             often

23   is      the       most        common.             Again,               it     is      because            of      its

24   structure.
25                 Q          Have you ever                      heard             of     the        term        CPR


                                         Cheryl M. Moore, Senior Court Reporter
 Case 23-589, Document 74, 01/17/2024, 3604428, Page166 of 264
                                    APPENDIX                                                                                 1417

                                                                                                                                    66

 1   Dr. S. Teas - Cross Examination by Ms. Chavkin

 2   defense?

 3             A           I may have.

 4             Q           What does                 that            mean?

 5             A           It     just         means            that       the       defense           is     using           CPR

 6   as a defense.                  I am presuming                           it     is     more --           it     is

 7   something            that      lawyers                   use       rather        than       doctors            use.

 8             Q           You mentioned                         that        you are         a member              of the

 9   National            Association                     of Medical                Examiners.

10             A           Yes.

11             Q           Do they             publish                 a journal?

12             A           They      do.

13             Q           Do you             read            that      journal?

14             A           Yes,      most            of the             time.

               Q           What's             the        name of             the     journal?
15
               A           We --         it         is        called         the     AJP.         It        used        to    be
16
17   the    American             Journal                 of     Pathology                and Medicine.                       Now

18   they      just       produce             an online                  journal.

19             Q           Have you reviewed                              the       articles           related               to

20   CPR injuries                related                 to     children?

21             A           I have             reviewed                 some.         If     you tell               me

22   exactly            which      one         I can            tell       you.           I've     got        a whole

23   bunch         of    them      in     my computer.

24                                       MS. CHAVKIN:                        Just         one moment,               your

25                         Honor?


                                  Cheryl M. Moore, Senior Court Reporter
 Case 23-589, Document 74, 01/17/2024, 3604428, Page167 of 264
                                      APPENDIX                                                                             1418

                                                                                                                                   67

 1   Dr. S. Teas - Cross Examination by Ms. Cbavkin

 2                                     THE COURT:                       Sure.

 3                                     (Whereupon,                      a pause          ensued.)

 4               Q           What other             reasons                could         there         be

 5   withdrawn.

 6               A           I beg         your     pardon?                    I didn't          hear         the         last

 7   part        of    your     question.

 8                                     THE COURT:                       Doctor,          there         is      no

 9                           question          yet.

10                                     MS. CHAVKIN:                        I didn't              ask     a question.

11               Q           What other                reasons             --    what       other            causes

12   could        there        be for         a laceration                       of the          liver?

13               A           So you could                have            trauma.            The question

14   is     --    you can            have     a gunshot                   wound go through                          it,     you

15   can     have        a stab        wound go through                            it,      you can            have         a

16   trauma           that     can     cause           laceration                  and then             you can             have

17   CPR.

18               Q           And could            it     also            be a form            of child

19   abuse?

20               A           So my opinion                    is        that     child        abuse            is

21   actually            more        a legal           term         rather           than        a medical                 term.

22   So if        I'm        going      to    say        it        is     caused          by blunt             trauma

23   then        you could            --     you could                  possibly            call        it     child

24   abuse.            But     for     me to           label             something           as child                 abuse        I

25   have        to    see     other         injuries.                    Because           child            abuse,          to


                                  Cheryl M. Moore, Senior Court Reporter
     Case 23-589, Document 74, 01/17/2024, 3604428, Page168 of 264
                                                          APPENDIX                                                                          1419

                                                                                                                                                    68

     1    Dr. S. Teas - Cross Examination by Ms. Chavkin

     2    me,        implies               chronic                    mistreatment                  of children.

     3                Q               And are                    children             particularly                  susceptible                    to

     4    blunt           force            and            compressive                  injuries             to     the         abdomen?

     5                A                   You know,                   I don't              know if         there          is     a --         if

     6    there           is     any           comparison                     done         with      --     you mean children

     7    of    certain                   age         to        adults         of certain                 age?

     8                Q               A two                and a half                 year        old.

     9                A               Compared                    to        who?

 10                   Q               To adults.

11                    A               It        depends                on what             injuries              you're          looking

12       at.

13                    Q               Is        it         fair        to     say         that      children             and         adults

14       are      different                     anatomically?

15                   A                No.             Anatomically                     they're             exactly             the      same.

16       It     is       the         size            of         the     --    the          organs         that      are         different.

17       All      human beings                             are        the      same.             We have          the          same thing.

18       We have               variations                        sometimes                of     how organs               may be

19       situated               but            you can have                        situs         inversus           where            your

20       left        side            is        to         the     right            side        which       is     a rare

21       condition                   but        we are                all     the         same      inside.

22                   Q               Do children                        break         bones          the        same way as

23       adults           do?

24                   A               The pliability                            of     children             may be different.

25       So since               it        is         --     they            have     more         cartilidge               they         have


                                               Cheryl M. Moore, Senior Court Reporter
 Case 23-589, Document 74, 01/17/2024, 3604428, Page169 of 264
                                        APPENDIX                                                                       1420

                                                                                                                                  69

 1   Dr. S. Teas - Cross Examination by Ms. Chavkin

 2   more              more         give      to      them.

 3                Q           Okay.
 4                A           But      children           also        can      suffer          from       what         we

 5   call      metobolic               bone        disease            and that           decreases               the

 6   strength            of      the       bone.         And we cannot                   actually              evaluate

 7   metabolic              bone       disease           by looking                at    x-rays           just         as we

 8   get     older          we become              more          osteoperodic.                    Children,

 9   especially               black         children,               can     often        have        Rickets            or

10   metobolic              bone       disease           that        makes         their          bones         less

11   resistent,               less         pliable,              easier       to     break.             So it          is     a

12   multitude              of      factors           that         you would            have       to     take         into

13   consideration.

14                Q           Have you ever                      studied       child         abuse?

15                A           Have I studied                      child      abuse?

16                                      MR. ROBERTS:                       Objection.               Relevance.

17                                      THE COURT:                   Overruled.

18                A           I don't          know what              you mean by the                         question,

     so perhaps               you should               ask         me the      question.                  I     have        done
19
     autopsies              on cases           that          I     have     called          blunt         trauma            and
20
     calling           it     a homicide,                and        you could              call      that        child
21
     abuse.            So I don't               know if             there       is      a thing           to     study
22
     child         abuse,           especially               in     forensic            pathology.                 So,        I
23
24   have         done      a lot          of autopsies                   on babies.               When I worked

25   at     the       medical          examiner's                  office       I did         a lot           of babies.


                                     Cheryl M. Moore, Senior Court Reporter
     Case 23-589, Document 74, 01/17/2024, 3604428, Page170 of 264
                                                   APPENDIX                                                                             1421

                                                                                                                                                70

     1    Dr. S. Teas - Cross Examination by Ms. Chavkin

     2    And then               after            I left          for       certain          counties                I did             all

     3    their            baby         autopsies.

     4                 Q               Would you say                      that     posterior                 rib     fractures

     5    are     a common type                          of rib            fractures             seen        in the           abuse            of

     6    children?

     7                 A               In abuse            of children?                     I --        here's             the

     8    problem            with           rib       fractures.                  We don't           have           the       basis            of

     9    how many children                              really           have      fractures                because               nobody

 10       has     studied                  systematically.                        The child              abuse

11        pediatricians                       say        sometimes               that      posterior                rib

12        fractures               are         due to         child           abuse         but      there           is     actually

13        no literature                       that         says      that         we have           x-raye.d              "X" number

14       of     children                   and only          what          they          would      call           child         abuse

15       shows         posterior                   rib      fractures.                    The literature                      is        rift

16       with         what        I call             circular              reasoning.                They say                 because

17       you have                got       posLerior                rib      fractures             that's            why it              is

18       child         abuse            but       nobody            has      studied          the       basis            of      it.

19       Like,         what           is     the      base          rate         of posterior                 rib        fractures

20       or     any        rib        fractures              in children?                    There            are        reports

21       that         children               who have             never           left      the      hospital                 have

22       posterior                rib        fractures.                    Patrick          Lance,            who is           a

23       professor               at        Wake Forest                  University,               presented                   a paper

24       at     the        academy            meeting             in 2008            where        he described                         four

25       children            who had                 not     left          the     hospital             at     all         who had


                                            Cheryl M. Moore, Senior Court Reporter
     Case 23-589, Document 74, 01/17/2024, 3604428, Page171 of 264
                                                     APPENDIX                                                                                    1422

                                                                                                                                                         71

     1    Dr. S. Teas • CrossExamination by Ms. Chavkin

     2    posterior                    rib         fractures.                   So that                means         somebody                 at       the

     3    hospital                 caused               them.           All       of        those            children           had

     4    metobolic                    bone         disease             and       they            sustained             those

     5    fractures                    with         normal             handling              in        the      hospital.

     6                 Q                How many times                        have          you personally                          seen

     7    liver            damage             caused             by CPR?

     8                 A               By CPR, I have                         seen          it        in     adults        a lot              of

     9    times.              It        is        not      extensive               in        children.                  It's            more

 10       rare.             I would                 say         just       a few cases.                         And one of the

11        cases            that         were         in my memory                      is        when there               is        a

12       controversy                        about          it       and     the        case           that       I showed                you was

13       a case             that            I autopsied                   and     there               was a controversy

14       about         it.

15                     Q               When you say                     they're              rare,            what      do you

16       mean?

17                     A               It     is        not      common that                     every          child          who has

18       CPR is             going            to      get         lacerations                     --     liver         lacerations.

19       You have                 to        understand                 that       CPR causes                    injuries

20       depending                 --        a lot            of the          literature                     looks       at         SIDS

21       cases         and         those            are         babies          that             have        been       dead            for        a

22       prolonged                 period               of time            before            CPR is             performed.                         So a

23       lot      of       the         injuries                 that       we see            as a result                  of CPR are

24       what      I call                   reperfusion                   injuries,                   that      there          is        still

25       some blood                    flowing                and      then       an injury                   occurs           and


                                              Cheryl M. Moore, Senior Court Reporter
 Case 23-589, Document 74, 01/17/2024, 3604428, Page172 of 264
                                                APPENDIX                                                                   1423

                                                                                                                                      72

     1    Dr. S. Teas - Redirect Examination by Mr. Roberts

     2    then      --     then           you see          the      blood.          So there              are      lots      of

     3    important              little           factors           that     you have           to        consider

     4    before         drawing              any conclusions.                      In this          case         the      most

     5    important              for      me was the               microscopic            examination.

     6                                          MS. CHAVKIN:                 I have       no further

     7                            questions,               your       Honor.

     8                                          THE COURT:             Mr. Roberts,                  anything              else?

     9                                          MR. ROBERTS:                 Yes,    your       Honor.

10                               Redirect              Examination             by Mr. Roberts

11                 Q              Doctor,           the        prosecutor           asked       you some

12       questions               about          CPR and          you discussed              that           you have              to

13       do it         on a hard                surface.            Are      you aware,              based          upon

14       your      experience,                   the      ramifications               of performing                       CPR on

15       a soft          surface?

16                 A             Well,          what       happens          when you perform                       CPR on a

17       soft      surface,               such      as      futon          or a bed,        like          my other

18       case      was performed                    on a --           on a bed         too,          is     that          you

19       really          don't         know how hard                  you're        pushing           because

20       there's          so much give                    to     a mattress.              So,        I mean,             that's

21       what      I would             say.         That's          why they         --     they          say      that          you

22       should        perform             it     on a flat            hard     surface,              like         the

23       floor      is      the        best       place,          or a table.

24                 Q             Can you testify                     as to     what       factors               the       soft

25       surface          would           have     had         on Lhe fractures?                      Is        that       known


                                       Cheryl M. Moore, Senior Court Reporter
     Case 23-589, Document 74, 01/17/2024, 3604428, Page173 of 264
                                                         APPENDIX                                                                                  1424

                                                                                                                                                            73

     1    Dr. S. Teas - Redirect Examination by Mr. Roberts

     2    or      is        it     unknown?

     3                 A                It     is        --      I really                    don't         know because                    I

     4    really             don't             know the                structure                      of    the     futon         in       this

     5    case.              You know,                    all        I know is                    that        futons           have        wood

     6    slats            and      then             you have               a cushion                      over     it,        so ...

     7                 Q                So if            you performed                            CPR and          there's             a wood

     8    slat         underneath                        there         and        it         is      pressing             against              the

     9    bone,            could             that         affect            the             ability          of that            bone           to      be

10        more         or        less         susceptible                     to            a fracture?

11                     A                It     could.                 I mean,                 I agree             with      Dr.        Sikirica

12        that         the        mechanism                     is    the      compression                        and      that's              what

13        is     happening                    with            the     CPR, the                    way it          was demonstrated

14       on the             interrogation                            tapes.

15                     Q            And you had                        discussed                      some questions

16       regarding                 child             abuse.

17                     A            Yes.

18                     Q            Okay.                 Have you had                         the         opportunity                in       your

19       experience                     to     view            children                 that          have        been      exposed                 to,

20       I guess,                abuse?

21                     A            Yes,            if        you call                 it      abuse.             In my case                   I

22       wasn't             aJlowed                 to     use        the      term               "abuse"          because              I think

23       abuse         is        more          a legal                term         rather              than        a medical                   term,

24       which         is        fine,          things               have          changed.                   And,        in     fact,              the

25       case      that            I showed                   you,       the           other           case        with        the       liver


                                              Cheryl M. Moore, Senior Court Reporter
 Case 23-589, Document 74, 01/17/2024, 3604428, Page174 of 264
                                      APPENDIX                                                                         1425

                                                                                                                                   74

 1   Dr. S. Teas - Redirect Examination by Mr. Roberts

 2   lacerations,                  that      was a child                     abuse        case      and       I agree             it

 3   was a child               abuse         case.

 4             Q              What other             factors             did     you look              at      to

 5   determine              that      this         was --           that       that        case       you're

 6   talking           about         is     a homicide?                      What other              injuries              did

 7   you see?

 8             A              There        was a lot              of       hemorrhage,               as      I showed,

 9   in the           pancreas.              There         was a hemorrhage                                 a lot          of

10   hemorrhage               with        the      peritoneal                 hemorrhage.                   There          was

11   hemorrhage               of the         adrenal           glands.                 I don't            remember               the

12   other        details.                And microscopically                             the     picture             was

13   dramatically                  different.
14                Q           What about             physically                 that         that      child          --        how

15   did     their          skin      appear?

16                A           That        child      had      a lot            of bruises              on the           front

17   and the           side        and on the               back.
18                Q           Okay.          And in v-•s                        case         what      significance

19   did     you put            on the            lack      of damage                to    any other                 organ        or

20   surface           of     the     body?
21                A           So by itself                 I wouldn't                 take       one        little

22   thing         out.         You look             at     the        whole         picture.                I always

23   look      at      everything                 together.                  There        are       certain           factors

24   that         I give        more        importance                 to.       The lack              of necrosis

25   in     the       liver        was very              telling.              And the              absence           of the


                                     Cheryl M. Moore, Senior Court Reporter
     Case 23-589, Document 74, 01/17/2024, 3604428, Page175 of 264
                                               APPENDIX                                                                                  1426

                                                                                                                                                75

     1    Dr. S. Teas - Redirect Examination by Mr. Roberts

     2    other          injuries             supports                 my conclusion.

     3               Q            Okay.             And have                  you ever            seen         injuries

     4    performed              autopsies                 on individuals                       who had been

     5    involved           in        car     accidents?

     6               A            Yes.

     7               Q            And in            any of             those         autopsies                 have            you ever

     8    seen       an individual                    have             just      one        injury         to            the     liver         as

     9    opposed           to    all         the     body         organs?

10                   A            Often         times            they          have     many more                    injuries             and

11        what      they         die     of     is         the     other             injuries             rather               than      the

12        liver       injuries.                 Like             Dr.     Moritz             described                    MVA or a

13       motor        vehicle            accident                 where         he went              to    the            emergency

14       room,        they        sent         him home,                 he was fine                    and         the        next

15       morning           he was found                     dead         from         a liver             laceration                  that

16       had       bled      because            they         didn't             detect            it.          That            used      to

17       happen           a lot         actually             when I started                         because                they

18       didn't           have      CTs.            Now they                  have     CTs and             when they                  do CT

19       and      they       find        a liver             laceration                    they         actually                 observe.

20       In fact,            trauma           surgeons                 will      tell         you that.                        And one

21       trauma           surgeon,            one      of my colleagues,                                they         had         a case

22       where       a piece             of     liver            was floating                     loose.                 They didn't

23       do anything,                  they         just         watched             the      person                in     the

24       hospital           to make sure                     they         had bed             rest         and           then

25       they're           not      doing           other         things             that       will           --        will      lead


                                        Cheryl M. Moore, Senior Court Reporter
     Case 23-589, Document 74, 01/17/2024, 3604428, Page176 of 264
                                             APPENDIX                                                                      1427

                                                                                                                                     76

     1    Dr. S. Teas - Redirect Examination by Mr. Roberts

     2    to     bleeding.                 So,     I've        had a case            where          a woman was a

     3    passenger,                in    the      hospital            for        11 days          and         she      had died

     4    from     head        injuries.                  And her            liver      --        the        right       lobe    of

     S    the     liver        was just             a whole            blob       of blood.                    She didn't

     6    die     from      that,           she     died           from     head     injuries.

     7             Q            Okay.             And you were                 asked         some questions

     8   related          to     your           opinions.              Can you rule                 out         whether         or

     9   not      Viola        passed            because            of an undetected                         seizure

 10      medically?

11                 A            I can't            rule        it    out.

12                 Q           Okay.             And in            your      opinion,             based          upon     your

13       medical          review           of     all        the     materials            in this               case,      do

14       you have          an opinion                   as    to     whether         or not              what's

15       presented             to        you was a homicide?

16                 A           No.          At the           most      I would          call            it

17       undetermined.                     And --            because         I don't           have           a cause       of

18       death         I would            say     the        cause        of death           is     undetermined

19       and     the      manner           of death            is     undetermined.                          That's

20       exactly          what           I did     with        the        other      case         that          I described

21       to     you.

22                                          MR. ROBERTS:                     Thank      you,            Doctor.

23                                          Nothing            further,            your      Honor.

24                                          THE COURT:                 Okay.         Anything                  else      from

25                             the        People?


                                         Cheryl M. Moore, Senior Court Reporter
 Case 23-589, Document 74, 01/17/2024, 3604428, Page177 of 264
                                APPENDIX                                                                        1428

                                                                                                                       77

 1   Peop1e v. Michael Davis

 2                              MS. CHAVKIN:                    No, your           Honor.

 3                              THE COURT:                Okay.            Doctor,             you may step

 4                  down.         Thank        you.

 5                              THE WITNESS:                    Thank       you.

 6                              (Whereupon,               the      witness,              Shaku          Teas,

 7                  was excused               from        the      witness           stand.)

 8                              THE COURT:                Mr.      Roberts?

                                MR. ROBERTS:                    Your Honor,               at         this
 9

10                  juncture           defense            rests.

                                THE COURT:                Okay.            Attorneys                 approach
11

12                  please        off-the-record.

13                              (Whereupon,               an off-the-record

14                  discussion               was held.)

15                              ( In open          court.)

16                              THE COURT:                Okay.            We'll         go back              on the

17                  record.            All     right.              Members           of        the      Jury,

18                  we're        going        to     break         at      thjs      time.              We're

19                  going        to    take        our     lunch           break         at     this          time.

20                  It     is    12:30.            We'll         take       a little             bit         of   an

21                  extended           lunch         break.             We'll        break            until

22                  2:00        and at        2:00        the      trial          will         resume.

23                              I will        remind            during        this            break         please

24                  don't        discuss           this         case,       don't         read          or

25                  listen        to     any media               accounts,               don't          visit         or


                            Cheryl M. Moore, Senior Court Reporter
Case 23-589, Document 74, 01/17/2024, 3604428, Page178 of 264
                     APPENDIX                                   1429




EXHIBIT ''C''
          Case 23-589, Document 74, 01/17/2024, 3604428, Page179 of 264
                                           APPENDIX                                                 1430


UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
----· ~ ...- • --.-·-··· -- •.••-····-••. ···----·.        -·-··•-.    ·X

MICHAEL DA VIS-GUJDER,

                                                      Plaintiff,
                                                                                    PLAINTIFF'S
                                                                                    EXPERT
              -against-                                                             DISCLOSURE
                                                                                    17 CV 1290
                                                                                    (FJS) (DJS)
CITY OF TROY, RONALD FOUNTAIN, Individually,
DANIELLE COONRADT, Individually, CHARLES MCDONALD,
Individually, TIM COLANERI, Individually, ADAM R. MASON,
Individually, MICHAELE. PARROW, Individually,
RENSSELAER COUNTY, MICHAEL SIKIRICA, Individually,
JOEL ABELOVE, Individually, ANDRA ACKERMAN,
Individually, and JOHN and JANE DOE 1- to, Individually, (the
names John and Jane Doe being fictitious, as the true names are
presently unknown),
                                                 Defendants.



         Plaintiff MICHAEL DAVIS-GUIDER, by his attorneys, Brett H. Klein, Esq., PLLC, as

 and for his Expert Disclosure pursuant to Federal Rule 26(a)(2)(B), respectfully notifies

 defendants that Katherine F. Maloney, M.D. will be called for the plaintiff at the time of trial,

 and hereby discloses, and refers defendants to, the enclosed documents and information provided

 pursuant to Rule 26, including Dr. Maloney's expert report, curriculum vitae, a list of all other

 cases in which, during the previous 4 years, she has testified as an expert at trial or by deposition,

 and her fee schedule.

 Dated: New York, New York
        November l, 2021

                                                       BRETT H. KLEIN, ESQ., .PLLC
                                                       Attorneys for the Plaintiff MICHAEL DAVIS~
                                                       GUIDER
                                                       305 Broadway, Suite 600
                                                       New York, New York 10007
                                                       (212) 335-0132

                                                       By:         9u:t±-~~
                                                                   BRETT H. KLEIN
        Case 23-589, Document 74, 01/17/2024, 3604428, Page180 of 264
                                       APPENDIX                                                   1431




 November 1, 2021

 Katherine Maloney, M.D.
 Nickel City Forensics, LLC
 PO Box 114
 Getzville, NY 14068



 Case information
 Decedent: va, ]-;)OB:             DOD: 2/26/15
 Postmortem case number: MS-15-120



 Items provided for review
 Autopsy report and medical examiner's office file
Autopsy photographs
 Scene photographs
 Pediatrician medical recotds
EMS report
Hospital records from terminal admission
Police reports and drawing of the scene
Police deposition of Russell Brown (friend)
Police deposition of Rebecca Parker (mother)
Police deposition of Michael Bayley (firefighter/EMS)
Police deposition of James Tidings (firefighter/EMS)
Police deposition of Jason Lucey (firefighter/EMS) •
Police deposition of Frank Shoemaker IU (firefighter/EMS)
Police deposition of Michael Rustin (restaurant employee)
Police deposition of Kathleen Crisafulli (ER doctor)
Grand jury testimony of Dr. Michael Sikitca 9/25/15
Deposition of Dr. Michael Sikirca 5/24/21
Deposition of Michael Davis 3/30/17, 5/19/21
Transcripts of trial testimony



Facts of the incident
Per report, the decedent seemed lethargic and tired on the morning of the day she died (2/26/15) as
noted by the decedent's mother and mother's boyfriend (Michad Davis). The decedent's mother


                                                                                         11Page
        Case 23-589, Document 74, 01/17/2024, 3604428, Page181 of 264
                                        APPENDIX                                                     1432


went to work and Mr. Davis was responsible for watching her during the day. The decedent was
placed for a nap by Mr. Davis in the late morning who also took a nap at that time. When he awoke,
he reported that the decedent was unresponsive. He attempted cardiopulmonary resuscitation (CPR)
by pacing one hand on her back and one on her chest/stomach and compressing the decedent's
torso. Mr. Davis did not have a phone, so after attempting CPR and getting no response, he went to
a restaurant down the street to use their phone to call 911. When the decedent's mother arrived
home from work, Mr. Davis was coming down the street back to the residence after having called
911 for assistance.

The ambulance arrived at 13:14 and CPR was initiated. In his deposition, firefighter/EMS
personnel, Frank Shoemaker II stated that the decedent's abdomen was "not distended" when they
arrived and CPR was initiated. The decedent arrived to the emergency room at 13:46 and was
pronounced dead at 14:08. During this time, CPR was continued by medical personnel.

Autopsy photographs revealed lacerations of the anterior and posterior right and left lobes of the
liver with pulpifieation of the intervening parenchyma of the right lobe, and approximately 350 ml
of liquid blood in the peritoneal cavity. They also revealed fractures of the posterior right 9th and 10'h
ribs with surrounding hemorrhage in the soft tissue; no overlying skin hemorrhage (contusion) of
the back was demonstrated. Postmortem metabolic screening detected a slightly elevated level of
thyroid stimulation hormone (TSH) consistent with hypothyroidism.



Opinion
The injuries to the decedent's liver are consistent with CPR, as is the amount of blood in the
peritoneal cavity. While CPR ic;being performed, the heart is kept artifactually "beating" allowing
injuries, like liver lacerations, to continue oozing blood and bleeding into the surrounding soft tissue.
Of note, one of the EMS personnel stated that her abdomen did not appear distended when they
arrived to the residence, which suggests that additional blood accumulated while CPR was being
performed by EMS and hospital staff.

It is not uncommon to see rib fractures during routine CPR. While routine CPR usually does not
cause posterior rib fractures (as were seen in this case), Mr.Davis stated that when he performed
CPR, he pl.Acedone of his bands on the decedent's back and one of his hands on the decedent's
front. The hand placed on the back could have caused the posterior rib fractures identified in this
case, and as such, they are not concerning for inflicted trauma. The nature and extent of the CPR
related injuries would not have provided information about the size of Mr. Davis's hands, despite
the size of his hands being specifically being listed in the autopsy report.

The autopsy and subsequent examination did not identify a cause of death. As such, the decedent's
death would be classified as Sudden Unexplained Death in Childhood with Intrinsic Factors
(hypothyroidism), using the latest recommendations of the National Association of Medical


                                                                                               21Page
       Case 23-589, Document 74, 01/17/2024, 3604428, Page182 of 264
                                        APPENDIX                                                      1433


Examiners. Deaths that fall into this category are often thought to be due to cardiac arrhythmias
(when the heart beats irr.egularlyor stops beating) or seizures. Further work-up of these diagnoses
includes extensive review of brain and cardiac tissue, genetic testing, and referral to the Sudden
Unexplained Death in Childhood Registry and Research Collaborative may be considered. It is
possible that a thorough evaluation of the heart and brain could have pro~ided information about
the cause of death. Additionally further studies of the thyroid gland could have been considered
given the decedent's abnormal thyroid metabolic screening. It is not clear if these studies were
performed in this case, as all of the emphasis was placed on the non-fatal and non-contributory to
death CPR related injuri.es.

To a reasonable degree of medical and scientific certainty, there is no evidence that the injuries to
the decedent's liver and ribs were due to anything other than CPR, and they did not contribute to
her death.

The facts and opinions above are based on the provided information, and may change should new
information be provided. Please do not hesitate to contact me if there are further questions.




Katherine Maloney, M.D.
Nickel City Forensics, LLC




                                                                                             3IPage
   Case 23-589, Document 74, 01/17/2024, 3604428, Page183 of 264
                                APPENDIX                                         1434



 Katherine F. Maloney,M.D.
Nickel City Forensics, L.L.C.
P.O. Box 114
Getzville, NY 14068
(774) 249-8241
nickelcityforensics@gmail.com

Professional Experience
Deputy Chief Medical Examiner                                   2016 - Present
Erie County Medical Bxaminer,s Office
Buffalo,NY

Associate Chief Medical Examiner                                2013- 2016
Erie County Medical Examiner's Office
Buffalo, NY

City Medical Examiner                                           2011- 2013
Office of Chief Medical Examiner
NewYork,NY


Education and Training
Fellow in Forensic Neuropathology and Cardiac Pathology          2012-2013
0 ffice of Chief Medical Examiner
NewYork,NY

Fellow in Forensic Pathology                                    2011-2012
0 ffice of Chief Medical Examiner
NewYork,NY

Resident in Anatomic and Clinical Pathology                     2007 -2011
New York Presbyterian Hospital - Weill Cornell Medical Center
Department of Pathology and Laboratory Medicine
NewYotk,NY

Doctor of Medicine                                              2003-2007
University of Massachusetts Medical School
Worcester, MA

Bachelor of Science, Biology                                    1998 -2002
Boston College, College of Arts & Sciences
Chestnut Hill, MA



10/8/2020                                                        --o:>ntismcd-
   Case 23-589, Document 74, 01/17/2024, 3604428, Page184 of 264
                                  APPENDIX                                                     1435
                                                                   KatherincF. Maloney, M.D.




 Academic Appointments
 Clinical Assistant Professor                                               2014 - Present
 Pathology and Anatomical Sciences, University at Buffalo
 Buffalo, NY

 Clinical Instructor                                                        2011- 2013
 Department of Forensic Medicine, New York University
 NewYork,NY


 Medical Licensing and Examinations

Forensic Pathology Board Certified                           Certification Date 9/4/2012
Anatomic and Clinical Pathology Board Certified              Certification Date 7/29/2011
NewYorkState Medical License -#250114                          Licensure Date 8/22/2008
United States Medical Licensing Examination, St.eps 1-3


Professional Organizations

American Academy of Forensic Sciences                                      2014 - Present
New York State Association of County Coroners & Medical Examiners          2014 - Present
National Association of Medical Examiners                                  2011 - Present
United States & Canadian Academy of Pathology                              2008 - Present
American Society for Clinical Pathology                                    2008 - Present
College of American Pathologists                                           2007 - Present


Service to the Profession

Forensic Pathology Section Editor                                          2017 - Present
American Society for Clinical Pathology Forensic Pathology Case Reports

National Association of Medical Examiners                                   2016 - Present
Protocols for Intcragency Interactions in Mass Fatality Incidents Committee

National Association of Medical Examiners                                  2016 - 2017
Forensic Pathology Fellowship Training Committee

Forensic Pathology Case Reviewer                                     2016- Present
Sudden Unexpected Death in Childhood (SUDC) Registry and Research Collaborative

Case Reviewer                                                            2014- Present
American Society for Clinical Pathology Forensic Pathology Check Samples




10/8/2020                                                                        Page 2of6
   Case 23-589, Document 74, 01/17/2024, 3604428, Page185 of 264
                                 APPENDIX                                                     1436
                                                                    KatherincF. Maloney,M.D.



 Teaching Experience
CRJ303:Ctiminal Investigation I Lab                                         2019 - Present
Medaillc College
Buffalo, NY

Child Homicide Investigations                                               2018- Present
National Criminal Justice Training Center
Fox Valley Technical College

Forensic Lecture Series                                                     September 2017
Jefferson Medical College, Lenox I-I.illHospital, Albert Einstein College of Medicine, Weill
Cornell Medical College

Resident Lectures                                                           2013- Present
Ede County Medical Examiner's Office
Buffalo, NY

Resident Lectures                                                           2011- 2013
Office of Chief Medical Examiner
NewYork,NY

Small Gtoup Instructor                                                      2007- 2011
Weill Medical College of Cornell University
NewYork,NY

Teaching Assistant                                                          2000-2002
Boston College
Chestnut Hill, MA


Research Experience
Graduate Research                                                2008- 2011
New York-Presbyterian Hospital - Weill Cornell Medical Center
Department of Pathology
NewYork,NY
       Mentor: Rebecca Baergen
      ~ Types ofMaternal Hypertensive Disease and 1beir Association with
               Placental Pathologic Lesions and Clinical Factors

Undergraduate Research Assistant                                             2006-2007
University of Massachusetts Medical School
Department of Pathology
Worcester, MA
     Mentor:Dr. Ashraf Kahn


10/8/2020                                                                        Page 3 of6
    Case 23-589, Document 74, 01/17/2024, 3604428, Page186 of 264
                                 APPENDIX                                                   1437
                                                                Katherine F. Maloney,M.D.



       SeniorProject: Expression of Vascuhu: Endothelial Growth Factor Subtypes and
                      Their Relationship to Tumor Progression

 Research Assistant                                               June -August 2004
 University of Southern California
 Division of Research Immunology/Bone Marrow Transplantation
 LosAngcles, CA

 Research Assistant                                                        2002-2003
 Massachusetts General Hospital
 Department of Molecular Pathology and Neuro-Oncology
 Boston, MA

 Undergraduate Research Assistant                                          2000-2002
 Boston College
 Department of Biology
 Chestnut Hill, MA

Research Assistant                                                         1998-1999
University of Massachusetts Medical School
Department of Molecular Pathology
Worcester, MA



Publications

Maloney KF, Webb M. ''Overdose death associated with vapiog designer fentanyl
analogs." Oi11irt1I  Form.rit·r,,xim/~gy
                 r111d                                 -1✓ICC/ C-1PJ, 2019 Dc:ccmbn.
                                       Nm,.r {Q11t1t1rr!J·.

Miller AO, Buckwalter SP, Henry MW, Wu P, Maloney KP, Abi-aham BK, Hartman BJ,
Brause BD, Whittier S, Walsh TJ, Schuetz AN. "Globkot~//11
                                                        .ra1,gui11i.r
                                                                 Ostcomyelitis and
Bacteremia: Review of an Emerging Human Pathogen with an Expanding Spectrum of
Disease." OpenForumI,ifectDir 2017, 4(1): ofw277.

Maloney KF, Schoppe CS. "Obesity and noo-atherosclerotic cardiovascular disease."
AcademicForm.ti.J>athology
                        2013 March, 3(1): 8-12.

Gill JG, Maloney KF, Hirsch CH. "The coasli;tency and advantage of therapeutic
complication as a manner of death!' Acadt1nicForensicPatholoo2012 June, 2(2): 176-182.

Maloney KF, Baergen RN. "Maternal floor infarction (Massive perivillous fibrin
deposition)." PathologyCase&views2010, 15(2):58-61.




10/8/2020                                                                    Page4 of6
   Case 23-589, Document 74, 01/17/2024, 3604428, Page187 of 264
                               APPENDIX                                                  1438
                                                                KatherineF. Maloney,M.D.



Maloney KF, Heller DS, Baergen RN. "Types of Maternal Hypertensive Disease and
Their Association with Pathologic Lesions and ClinicalFactors." Fetala11dPediatric
                                                                                Pathology
2012 Oct;31(5):319-23.



Abstracts and Poster Presentations
Maloney KF and Webb M. "An Overdose Death Associated with Vaping Designer
      Fentanyl Analogs." National Association of Medical Examiners (NAME) Annual
      Meeting; Virtual: October 16-17, 2020.

Maloney KF, Hart AM, Reed S, Mahar TJ. "Your patient is going W die I: A rc.-viewof
      iatrogenic injuries." National Association of Medical Examiners (NAME) Annual
      Meeting;Virtual: October 16-17, 2020.

Maloney KF, Hart AM, Reed S, Mahar TJ. "Yout patient is going to die II: A review of
      missed diagnoses." National Association of Medical Examiners (NAME) Annual
      Meeting; Virtual: October 16-17, 2020.

Hart AM, ?vlaloney KF, Yarid NA, Mahar TJ. "Two dead boclks in a cemetery: Ao
      u11.expectcdlighrning su:ikc." .American Academy of Forensic Sciences (AAFS)
      Annual Meeting; Se:ittle.WA: Fcbtuary 19-24, 2018.

Maloney KF, Yarid NA, Giffin CR, Corcoran CM, Blank J, Mahar TJ. "U-47700: A
      synthetic opioid of unknown significance." American Academy of Forensic
      Sciences (AAFS) Annual Meeting; New Orleans, LA: February 13-18, 2017.

Maloney KF, Yarid NA, Giffin CR, Corcoran CM, Blank J, Mahar TJ. "Butyrylfentanyl
      and acetylfentanyl levels in driving under the influence and overdose cases."
      National Association of Medical Examiners (NAME) Annual Meeting; Minneapolis,
      MN: September 7-13, 2016.

Maloney KF, Yarid NA, Blank J, Mahar 1J. "Deaths associated with a November 2014
      snowstorm ("Winter Storm Knife") in Erie County, New York." American
      Academy of Forensic Sciences (AAFS) Annual Meeting; Las Vegas, NV: February
      22-27, 2016.

Gill JG, Maloney KP, Hirsch CH. "The consistency and advantage of therapeutic
      complication as a manner of death." National Association of Medical Examiners
      (NAME) Annual Meeting; Baltimore, MD: October 5-9, 2012.

Maloney KF, Heller DS, Baergen RN. "Types of Maternal Hypertensive Disease and
    Their Association with Pathologic Lesions and Clinical Factors." United States &
    Canadian Academy of Pathology (USCAP) Annual Meeting; Boston, MA: March 7-
    13, 2009.



10/8/2020                                                                     Page5of6
    Case 23-589, Document 74, 01/17/2024, 3604428, Page188 of 264
                                   APPENDIX                                               1439
                                                               KatherineF. Maloney,M.D.




 Maloney KF, Savageau J, Pulver T, Prasad M, Quinlan R, Ashraf K. "Expression of
     Vascular Endothelial Growth Factor Subtypei; and Their Relariooship to Tumor
     Progression." College of American Pathologists (CAP) Annual Meeting; Chicago, IL:
     April 14-18, 2007.

 Maloney KF, Petti WH. '"The Utility of Eight Canine Microsatellite Markers for
     Determining Genetic Variation in the Eastern Coyote (Camslatro11J)." 60th Annual
     Eastern N cw England Biological Research Conference; Boston, MA: April 2002.



 Media Appea~~.....
               n_c_e_s
                    _________________                                               _
Forensic Pathology Expert                                        TBA
"Hell and Gone - The Mit:riceRichardson Case"
School of Humans, Podcast

Forensic Pathology Expert                                        TBA
"Exhumed - The Stacey Caster Case"
Milojo DowntownLLC, Oxygen Network

Forensic Pathology Expert                                        2019-2020
"Crime Stories with Nancy Grace"
Crime Online, Podcast

Forensic Pathology Expert                                         June 2019
"Wrong Man"
Radical Media, Statz

Forensic Pathology Expert                                         Jwie 2019
"Murder and Justice: The Case of Martha Moxley"
Jupiter Productions, Oxygen Network

Forensic Pathology Expert                                         April 2018
"Deadly Intelligence''
Beyond Productions, Science Channel

Forensic Pathology Expert                                         January 2018
"Final Appeal"
Peacock Productions, Oxygen Network




10/8/2020                                                                     Page6 of6
           Case 23-589, Document 74, 01/17/2024, 3604428, Page189 of 264
                                        APPENDIX                                             1440

Date        Case                                          Type                 Location
    3/2/2017 1960-16                                      Criminal             ChautauquaCo, NY
  3/14/2017 0621-16                                       Criminal             Buffalo, NY
  3/16/2017 Mll-5917                                      Criminal             New York, NY
  5/15/2017 0052-14                                       EvidenciaryHearing   USDOJ,Buffalo, NY
  6/13/2017 2994-16                                       Grand Jury           Buffalo, NY
  7/28/2017 0693-08                                       Criminal             Buffalo, NY
    8/8/2017 0485-15                                      EvidenciaryHearing   Buffalo, NY
  9/13/2017 1445-15                                       EvidenciaryHearing   USDOJ,Buffalo, NY
  9/14/2017 0103-17, 0641-16, 0658-16, 1109-15, 0429-17   Grand Jury           USDOJ,Buffalo, NY
  9/28/2017 1621-16                                       Criminal             Buffalo, NV
  11/8/2017 1947-17                                       Grand Jury           Buffalo, NY
 12/14/2017 2872-09                                       Criminal             USDOJ,Buffalo, NY
  12/8/2017 2380-17                                       Grand Jury           Buffalo, NY
  3/23/2018 1868-16                                       Criminal             Buffalo, NY
  4/11/2018 0378-18                                       Grand Jury           Buffalo, NY
  4/19/2018 1868-16                                       Criminal             Buffalo, NY
  6/13/2018 1198-18                                       Grand Jury           Niagara Co, NY
 11/29/2018 0728-18                                       Grand Jury           USDOJ,Buffalo, NY
  12/6/2018 2200-17                                       Criminal             Buffalo, NY
 12/14/2018 1232-17                                       Criminal             Buffalo, NY
  1/24/20191825-17                                        Criminal             Buffalo, NY
    2/1/2019 2661-17                                      Criminal             Buffalo, NY
  2/13/2019 1684-18                                       Criminal             Buffalo, NY
   3/6/2019 1616-18                                       Criminal             Buffalo, NY
  3/22/2019 0378-18                                       Criminal             Buffalo, NY
  4/30/2019 1684-18                                       Criminal             Buffalo, NY
   5/1/2019 2422-17                                       Grand Jury           Orleans Co, NY
  6/21/2019 18-2261                                       Grand Jury           NiagaraCo, NV
   7/2/2019 19-0238                                       Grand Jury           USDOJ,Buffalo, NY
  7/29/2019 19-0222                                       Grand Jury           Buffalo, NY
   9/4/2019 19-0982                                       Grand Jury           Buffalo, NY
 10/15/2019 720-17, 1983-17                               Grand Jury           USDOJ,Buffalo, NV
10/23/2019 19-0697                                        Grand Jury           USDOJ,Buffalo, NV
10/29/2019 19-0631                                        Grand Jury           USDOJ,Buffalo, NV
  12/4/2019 19-0629                                       Grand Jury           USDOJ,Buffalo, NY
• 1/23/2020 20-0039                                       Felony Hearing       Buffalo, NV
  7/28/2020 20-0039                                       Grand Jury           Buffalo, NY
10/18/2020 20-0192                                        Grand Jury           Buffalo, NY
10/15/2020 2525-17                                        Criminal             USDOJ,Buffalo, NY
  3/12/2021 19-1149                                       Grand Jury           Buffalo, NY
  3/24/2021 19-0009                                       Grand Jury           Buffalo, NY
         Case 23-589, Document 74, 01/17/2024, 3604428, Page190 of 264
                                          APPENDIX                                                    1441


                                       Nickel City Forensics, l.L.C.
                                              P.O. Box114
                                          Getzvllle, NY 14068
                                     nickelcltyforensics@gmail.com

                                            2021 Fee Schedule

 Consultations$600.00/hr
 Review of documents, photographs or other materials
 Examination of slides, radiographs or tissue
 Writing reports, consultations and emails
 Meetings, conferences and telephone contacts
 Literature and medical research
 Preparation for trial or deposition testimony

LocalDepositionsand Meetings$300.00/hr
Depositions (within Western New York/Buffalo region-travel time billed at local rate)
Local meetings (within Western New York/Buffalo region -travel time billed at local rate)

Local Travel $300.00/hr plus mileage
Western New York/Buffalo region and up to 250 miles
Mileage billed at IRS2021 standard rate of 56 cents/mile

Out-of-TownMeetings$5,000.00/day plusexpenses
Greater than 250 miles from Western New York/Buffalo region
Travel time included

Out-of-TownDepositionsor Trials$7,000.00/day plusexpenses
Greater than 250 miles from Western New York/Buffalo region
Travel time included

Trials$600.00/hour plusexpenses
Trial testimony
Trials requiring an overnight stay will be charged an additional $600.00

Notes
This is the standard fee schedule; individual contract terms may vary
A $1,200.00 non-refundable retainer ls required to initiate consultation; exception may be made for
court-appointed work
Minimum billing increment is 30 minutes
Expensesare billed in addition to consulting fees
Feesand expenses may be billed monthly for ongoing matters
Payment is due 30 days from Invoice date. Late payments are subject to interest charges
Cancellation of court appearances within one (1) calendar week of confirmed schedule date will be
charged a cancellation fee of $600.00 plus any expenses already incurred
        Case 23-589, Document 74, 01/17/2024, 3604428, Page191 of 264
                                        APPENDIX                                  1442



UNITED STATES DISTRICTCOURT
NORTHERNDISTRICTOF NEW YORK
..··--------·· .• ------·----·-······-·-·--·-------·--X
MICHAELDAVIS-GUIDER,

                                                Plaintiff,

            -against-                                               17 CV 1290
                                                                    (FJS) (DJS)
CITY OF TROY, RONALDFOUNTAIN,Individually,
DANIELLECOONRADT,Individually,CHARLESMCDONALD,
Individually,TIM COLANBRI,Individually,ADAM R. MASON,
Individually,MICHAELE. PARROW,Individually,
RENSSELAERCOUNTY,MICHAELSIKJRICA,Individually,
JOEL ABELOVE,Individually,ANDRAACKERMAN,
Individually,and JOHN and JANE DOE l-10, lndividually,(the
names John and Jane Doe being fictitious,as the true namesare
presently unknown),
                                                Defendants.

                  ---·-···············-·······--------X




                              PLAINTIFF'SEXPERTDISCLOSURE




                                   BRETT H. KLEIN,ESQ., PLLC
                                      Attorneys for the Plaintiff
                                      305 Broadway,Suite 600
                                       New, New York 10007
                                             (212) 335-0132
            Case
          Case 1:17-cv-01290-DJS
                                        APPENDIX
                  23-589, DocumentDocument
                                   74, 01/17/2024,
                                             116-8 3604428,  Page192
                                                    Filed 02/04/22   of 264
                                                                   Page  1 of 9
                                                                                           1443



UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
___________________________________________________
MICHAEL DAVIS-GUIDER,

                                       Plaintiff,                     CITY DEFENDANTS’
                                                                       STATEMENT OF
                 -against-                                             MATERIAL FACTS
                                                                     Case No.: 1:17-cv-1290
CITY OF TROY, RONALD FOUNTAIN, Individually,                              (FJS/DJS)
DANIELLE COONRADT, Individually, CHARLES
MCDONALD, Individually, TIM COLANERI, Individually,
ADAM R. MASON, Individually, RENSSELAER COUNTY,
MICHAEL SIKIRICA, Individually, and
JOEL ABELOVE, Individually,

                              Defendants.
___________________________________________________

          Pursuant to Local Rule 56.1(a) of this Court, the above-named Defendants, the City of Troy

(the “City”), Ronald Fountain (“Fountain”), Danielle Coonradt (“Coonradt”), Charles McDonald

(“McDonald”), Tim Colaneri (“Colaneri”), and Adam R. Mason (“Mason”) (collectively referred

to as the “City Defendants”), contend that as to the following material facts, no genuine issue

exists:

          1.     At all relevant times up until approximately March 2016, Fountain was a duly

sworn police officer/detective of the Troy Police Department (“TPD”). (Fountain Aff. ⁋⁋2, 87).

          2.     At all relevant times up until February 2016, Coonradt was a duly sworn police

officer of the TPD. (Coonradt Aff. ⁋⁋ 2, 31).

          3.     At all relevant times up until approximately February 2016, McDonald was a duly

sworn police officer/detective TPD. (McDonald Aff. ⁋⁋ 2,44).

          4.     At all relevant times herein, defendant Tim Colaneri was a duly sworn police

officer/detective of the TPD. (Colaneri Aff. ⁋2).

                                                    1
          Case
        Case    23-589, DocumentDocument
             1:17-cv-01290-DJS
                                          APPENDIX
                                 74, 01/17/2024,
                                           116-8 3604428,  Page193
                                                  Filed 02/04/22   of 264
                                                                 Page  2 of 9
                                                                                           1444



       5.      At all relevant times herein, Mason was a duly sworn police officer/detective of the

TPD. (Mason Aff. ⁋2).

       6.      On February 26, 2015, Plaintiff, Michael Davis-Guider was home with his

girlfriend’s daughter, Viola Davis (“V.D.”). (Third Amended Complaint, E.C.F. Doc. No. 77, ⁋

14).

       7.      V.D.’s mother, Plaintiff’s girlfriend, Rebecca Parker (“Parker”), left for work on

the morning of February 26, 2015 around 8:00am. (Exhibit “B” Holehan Aff.).

       8.      V.D. was awake at the time Parker left for work on the morning of February 26,

2015. (Exhibit “B” to Holehan Aff.).

       9.      According to the Plaintiff, after V.D. was awake, Plaintiff noticed that she had

soiled her diaper, and after changing it, he sent her back to bed with a bottle. (Davis EBT attached

to Firth Affidavit as Exhibit “D,” pp. 56-57).

       10.     According to the Plaintiff, after V.D. was sent back to bed, he turned on a movie

and fell asleep. (Davis EBT attached to Firth Affidavit as Exhibit “D,” p. 57).

       11.     According to the Plaintiff, when he woke up, he called to V.D., but she did not

respond. (E.C.F. Doc. No. 77, p. 38; Davis EBT attached to Firth Affidavit as Exhibit “D,” p. 60).

       12.     According to the Plaintiff, he then went to her bedroom, called to her again, and

observed her lying in her bed; she was not moving and did not respond. (Davis EBT attached to

Firth Affidavit as Exhibit “D,” p. 60).

       13.     According to the Plaintiff, he observed that V.D. was not breathing and he

attempted to perform CPR twice. (Davis EBT attached to Firth Affidavit as Exhibit “D,” pp. 61-

62).


                                                 2
            Case
          Case 1:17-cv-01290-DJS
                                       APPENDIX
                  23-589, DocumentDocument
                                   74, 01/17/2024,
                                             116-8 3604428,  Page194
                                                    Filed 02/04/22   of 264
                                                                   Page  3 of 9
                                                                                             1445



          14.   According to the Plaintiff, his resuscitation efforts were not successful, and he then

moved V.D. from her bed, brought her into the living room, placed her on a futon, and tried CPR

one more time. (Davis EBT attached to Firth Affidavit as Exhibit “D,” pp. 61, 65).

          15.   According to the Plaintiff, after his resuscitation efforts were unsuccessful, he

attempted to call 911 however, the two cell phones accessible to him in the house were “extremely

dead” and there was no landline. (Davis EBT attached to Firth Affidavit as Exhibit “D,” pp. 61,

65-66).

          16.   According to the Plaintiff, he then ran across the street to his neighbor’s house to

try and find help, but nobody was home. (Davis EBT attached to Firth Affidavit as Exhibit “D,”

p. 62).

          17.   According to the Plaintiff, when his neighbor did not answer their door, he ran back

to the house to check on V.D. and her status had not changed, and he did not attempt CPR again.

(Davis EBT attached to Firth Affidavit as Exhibit “D,” p. 62, 66-67).

          18.   According to the Plaintiff, he ran out of the house again and across the street to

Testo’s Restaurant to use a phone to call 911. (Davis EBT attached to Firth Affidavit as Exhibit

“D,” p. 62, 67).

          19.   The Plaintiff was able to use an employee’s phone to call 911. (Davis EBT attached

to Firth Affidavit as Exhibit “D,” p. 67).

          20.   The Plaintiff hung up on the 911 operator, ran back to the house where V.D. was,

and encountered Parker who was arriving home. (Davis EBT attached to Firth Affidavit as Exhibit

“D,” p. 69).

          21.   On February 26, 2015, Coonradt was on duty patrolling the City of Troy in a


                                                  3
          Case
        Case 1:17-cv-01290-DJS
                                      APPENDIX
                23-589, DocumentDocument
                                 74, 01/17/2024,
                                           116-8 3604428,  Page195
                                                  Filed 02/04/22   of 264
                                                                 Page  4 of 9
                                                                                         1446



marked police car when she received a dispatch regarding a juvenile cardiac arrest. (Coonradt Aff.

⁋ 3).

        22.    Coonradt was the first responding TPD officer on scene. (Coonradt Aff. ⁋ 4).

        23.    When Coonradt arrived on scene, paramedics were already at the residence.

(Coonradt Aff. ⁋ 5).

        24.    Coonradt observed the Plaintiff and V.D.’s mother outside the residence and

approached them to ask what was going on. (Coonradt Aff. ⁋⁋ 5-6).

        25.    The Plaintiff engaged in a brief conversation with Coonradt regarding V.D. being

found unresponsive. (Exhibit “B” to Coonradt Aff.).

        26.    Paramedics on scene were attempting to revive V.D. through administration of

CPR. (E.C.F. Doc. #77, ⁋20).

        27.    V.D. was transported to Saint Mary’s Hospital in Troy, New York. (E.C.F. Doc.

#77, ⁋22).

        28.    After V.D. was transported to the hospital, Fountain and McDonald arrived on

scene. (Fountain Aff. ⁋5).

        29.    The Plaintiff was driven to TPD police station by Fountain and McDonald.

(Fountain Aff. ⁋⁋6-7).

        30.    Coonradt remained on scene. (Coonradt Aff. ⁋17).

        31.    V.D. was pronounced dead at the hospital. (E.C.F. Doc. #77, ⁋23).

        32.    While on scene, Coonradt contacted Child Protective Services (“CPS”) and

completed relevant TPD form documents. (Exhibit “A” and Exhibit “B” to Coonradt Aff.).

        33.    After V.D. was pronounced dead, Fountain was informed of such and responded to


                                                4
          Case
        Case 1:17-cv-01290-DJS
                                      APPENDIX
                23-589, DocumentDocument
                                 74, 01/17/2024,
                                           116-8 3604428,  Page196
                                                  Filed 02/04/22   of 264
                                                                 Page  5 of 9
                                                                                           1447



the hospital. (Fountain Aff. ⁋11).

       34.     McDonald remained at the police station with the Plaintiff. (McDonald Aff. ⁋13).

       35.     Fountain returned to TPD central station and he, Colaneri and McDonald

interviewed the Plaintiff. (McDonald Aff. ⁋15).

       36.     The Plaintiff consented to TPD searching the home. (Exhibit “B” to Holehan Aff.).

       37.     Prior to TPD conducting a search of the Plaintiff’s home, Coonradt was relieved

from her position by Officer Balarin and was not present for said search. (Coonradt Aff. ⁋22).

       38.     TPD searched the Plaintiff’s home on February 26, 2015, and secured evidence.

(Fountain Aff. ⁋

       39.     After the search was completed, the Plaintiff left TPD central station. (McDonald

Aff. ⁋19).

       40.     On February 27, 2015, Rensselaer County Medical Examiner, Defendant Michael

Sikirica (“Sikirica”) performed an autopsy of V.D. (Fountain Aff. ⁋23).

       41.     Present during said autopsy was Fountain, Colaneri, McDonald, TPD Detective-

Sergeant Parrow, TPD Evidence Technician Anthony Buttufucco, Rensselaer County Assistant

District Attorney (“ADA”) Andra Ackerman and relevant employees of the Rensselaer County

Medical Examiner Office including Sikirica. (Fountain Aff. ⁋23).

       42.     It is not uncommon for the police to attend an autopsy. (Plaintiff’s Criminal Trial

Expert Transcript, p. 55, L. 11; attached as Exhibit “B” to Spencer Affidavit).

       43.     After the autopsy was completed, McDonald and Fountain went to the Plaintiff’s

residence to ask if he would agree to another interview. (Exhibit “A” to Fountain Aff.).

       44.     The Plaintiff agreed and was interviewed at TPD central station on March 2, 2015.


                                                  5
          Case
        Case    23-589, DocumentDocument
             1:17-cv-01290-DJS
                                        APPENDIX
                                 74, 01/17/2024,
                                           116-8 3604428,  Page197
                                                  Filed 02/04/22   of 264
                                                                 Page  6 of 9
                                                                                             1448



(Fountain Aff. ⁋38).

       45.       Said March 2, 2015 interview was recorded. (Fountain Aff. ⁋38).

       46.       During said March 2, 2015 interview, the Plaintiff demonstrated how he performed

CPR on V.D.. (Fountain Aff. ⁋53).

       47.       After the Plaintiff was interviewed, the Plaintiff left the police station. (Fountain

Aff. ⁋54).

       48.       A copy of the interview recording was provided to Sikirica. (Fountain Aff. ⁋55).

       49.       TPD obtained a witness statement from paramedic Michael Bayly on February 27,

2015. (Exhibit “C” to Holehan Aff.).

       50.       TPD obtained a witness statement from Parker on March 2, 2015. (Exhibit “D” to

Holehan Aff.).

       51.       TPD obtained a witness statement from paramedic Frank H. Shoemaker, III on

March 2, 2015. (Exhibit “E” to Holehan Aff.).

       52.       TPD obtained a witness statement from paramedic James D. Tidings on March 2,

2015. (Exhibit “F” to Holehan Aff.).

       53.       TPD obtained a witness statement from emergency room doctor, Kathleen

Crisafulli on March 5, 2015. (Exhibit “G” to Holehan Aff.).

       54.       TPD obtained a witness statement from Russell E. Brown on March 5, 2015.

(Exhibit “I” to Holehan Aff.).

       55.       On March 12, 2015, Fountain, Colaneri, Mason, Detective-Sergeant Parrow, and

ADA Andra Ackerman attended a meeting at the Rensselaer County Medical Examiner’s Office

with Sikirica. (Fountain Aff. ⁋65).


                                                   6
           Case
         Case 1:17-cv-01290-DJS
                                        APPENDIX
                 23-589, DocumentDocument
                                  74, 01/17/2024,
                                            116-8 3604428,  Page198
                                                   Filed 02/04/22   of 264
                                                                  Page  7 of 9
                                                                                            1449



        56.      At the March 12, 2015 meeting, Sikirica advised that V.D.’s injuries could not have

been caused by CPR. (Mason EBT attached to Firth Affidavit as Exhibit “J,” p. 49-50).

        57.      According to Sikirica, he has never encountered anything like V.D.’s liver

lacerations at any time in his career, and in his performance of over 10,000 autopsies. (p. 72 of

Sikirica EBT attached as Exhibit “F” to Firth Aff.).

        58.      Sikirica issued his final autopsy report dated August 14, 2015. (Autopsy Report

attached to Firth Affidavit as Exhibit “L”).

        59.      Sikirica concluded that V.D.’s cause of death was hypovolemic shock due to

multiple lacerations of the liver with right rib fractures due to blunt-force trauma. (Exhibit “L” to

Firth Aff., p. 1.).

        60.      Sikirica concluded that the manner of V.D.’s death was homicide. (Exhibit “L” to

Firth Aff., p. 1.).

        61.      The Plaintiff was interviewed on September 9, 2015. (Fountain Aff. ⁋70).

        62.      The Plaintiff did not provide any additional information than what TPD already

knew. (Fountain Aff. ⁋72).

        63.      The Plaintiff left the police station after his interview concluded. (Fountain Aff.

⁋72).

        64.      The Rensselaer County District Attorney’s Office presented the case to the grand

jury on September 29, 2015. (Fountain Aff. ⁋⁋74, 77).

        65.      Fountain testified before the grand jury on September 29, 2015. (Exhibit “A” to

Spencer Aff.).

        66.      Sikirica also testified before the grand jury on September 29, 2015. (Exhibit “N” to


                                                  7
           Case
         Case 1:17-cv-01290-DJS
                                       APPENDIX
                 23-589, DocumentDocument
                                  74, 01/17/2024,
                                            116-8 3604428,  Page199
                                                   Filed 02/04/22   of 264
                                                                  Page  8 of 9
                                                                                               1450



Firth Aff.).

         67.   Coonradt did not testify before the grand jury. (Coonradt Aff. ⁋29).

         68.   Mason did not testify before the grand jury. (Mason Aff. ⁋21).

         69.   Colaneri did not testify before the grand jury. (Colaneri Aff. ⁋30).

         70.   McDonald did not testify before the grand jury. (McDonald Aff. ⁋41).

         71.   On or about October 2, 2015, the grand jury indicted the Plaintiff on the charges of:

(1) manslaughter in the first degree; (2) manslaughter in the second degree; and (3) endangering

the welfare of a child. (Exhibit “O” to Firth Aff.).

         72.   As a result of the indictment, a warrant was issued for the Plaintiff’s arrest and he

was arrested pursuant to said warrant. (Exhibit “C” to Fountain Aff.).

         73.   Coonradt did not assist in the Plaintiff’s arrest. (⁋30 of Coonradt Aff.).

         74.   Mason did not assist in the Plaintiff’s arrest. (⁋20 of Mason Aff.).

         75.   McDonald did not assist in the Plaintiff’s arrest. (⁋43 of McDonald Aff.).

         76.   Plaintiff was arraigned and held without bail. (Exhibit “C” to Fountain Aff.).

         77.   On May 3, 2014, Coonradt testified at a suppression hearing. (⁋32 of Coonradt

Aff.).

         78.   Mason did not testify at the suppression hearing. (⁋24 of Mason Aff.).

         79.   Fountain did not testify at the suppression hearing. (⁋88 of Fountain Aff.).

         80.   McDonald did testify at the suppression hearing. (⁋45 of McDonald Aff.).

         81.   Fountain testified at the Plaintiff’s criminal trial. (⁋91 of Fountain Aff.).

         82.   Coonradt testified at the Plaintiff’s criminal trial. (⁋34 of Coonradt Aff.).

         83.   Mason did not testify at the Plaintiff’s criminal trial. (⁋24 of Mason Aff.).


                                                  8
         Case
       Case 1:17-cv-01290-DJS
                                      APPENDIX
               23-589, DocumentDocument
                                74, 01/17/2024,
                                          116-8 3604428,  Page200
                                                 Filed 02/04/22   of 264
                                                                Page  9 of 9
                                                                                             1451



       84.    Colaneri did not testify at the Plaintiff’s criminal trial. (⁋31 of Colaneri Aff.).

       85.    McDonald did not testify at the Plaintiff’s criminal trial. (⁋46 of McDonald Aff.).

       86.    Abelove did not attend any meetings with and City Defendant in this case. (p. 47

of Abelove EBT attached as Exhibit “E” to Firth Aff.).

       87.    The Plaintiff was acquitted on all charged. (E.C.F. Doc. No. 77, ⁋45).



Dated: February 4, 2022.


                                             Rhiannon I. Spencer, Esq.
                                             PATTISON, SAMPSON, GINSBERG & GRIFFIN, PLLC
                                             Attorneys for Defendants
                                             Adam Mason, Ronald Fountain, & Tim Colaneri
                                             22 First Street, P.O. Box 208
                                             Troy, New York 12181-0208
                                             (518) 266-1001




                                                 9
            Case
          Case    23-589, Document Document
               1:17-cv-01290-DJS
                                            APPENDIX
                                   74, 01/17/2024, 3604428,
                                             121 Filed      Page201
                                                       04/01/22 Pageof 1264
                                                                         of 15
                                                                                                 1452

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------------------X
                                                                                     PLAINTIFF’S
MICHAEL DAVIS-GUIDER,                                                                RESPONSE TO
                                                                                     THE COUNTY
                                                                                     DEFENDANTS’
                                                     Plaintiff,                      STATEMENT
                 -against-                                                           OF MATERIAL
                                                                                     FACTS
CITY OF TROY, RONALD FOUNDTAIN, Individually,
DANIELLE COONRADT, Individually, CHARLES MCDONALD,                                   17 CV 1290 (DJS)
Individually, TIM COLANERI, Individually, ADAM R. MASON,
Individually, RENSSELAER COUNTY, MICHAEL SIKIRICA,
Individually, and JOEL ABELOVE, Individually,

                                                     Defendants.

---------------------------------------------------------------------------------X

        Plaintiff respectfully submits this response to the County defendants’ statement submitted

pursuant to Local Rule 7.1.

        1.       Not disputed.

        2.       Not disputed.

        3.       Not disputed.

        4.       Not disputed.

        5.       Not disputed.

        6.       Not disputed.

        7.       Not disputed.

        8.       Not disputed.

        9.       Not disputed.

        10.      Not disputed.

        11.      Not disputed.

        12.      Disputed. Parker woke up around 7:45 to get ready for work and left for work
          Case
        Case 1:17-cv-01290-DJS
                                      APPENDIX
                23-589, Document Document
                                 74, 01/17/2024, 3604428,
                                           121 Filed      Page202
                                                     04/01/22 Pageof 2264
                                                                       of 15
                                                                                          1453

around 8:30 a.m. Klein Decl. Ex. 2, Fountain Notes; Ex. 8, Parker Witness Dep.

       13.     Not disputed.

       14.     Disputed. Davis smelled poop when he woke up and then called V.D. out of her

room to where he was in the living room, and after helping V.D. finish in the bathroom and

changing her diaper, Davis put her back to bed because she seemed tired and sluggish. Id. at Ex.

1, Davis Dep. Tr. 55:23-57:11.

       15.     Not disputed.

       16.     Not disputed.

       17.     Not disputed.

       18.     Not disputed.

       19.     Not disputed, that he so testified, but how hard Davis pushed during his CPR

attempts remains a question of fact for the jury because Davis also informed the police that he

thought he was doing it lightly, but was in a panic, and therefore was not sure how much pressure

he actually used. Id. at Ex. 10, Mar. 2, 2015, Interrogation Tr. page 13:2-11.

       20.     Not disputed.

       21.     Not disputed.

       22.     Not disputed.

       23.     Not disputed.

       24.     Not disputed that he used a phone at Testo’s Restaurant but disputed that the phone

belonged to a patron. Id. at Ex. 35, Davis 50-h by City 17:18-18:13.

       25.     Not disputed.

       26.     Not disputed.

       27.     Not disputed that Davis was inside during while EMS was performing CPR but

further asserts that Davis observed EMS doing CPR on the soft futon, with two hands, pressing

                                                2
          Case
        Case 1:17-cv-01290-DJS
                                       APPENDIX
                23-589, Document Document
                                 74, 01/17/2024, 3604428,
                                           121 Filed      Page203
                                                     04/01/22 Pageof 3264
                                                                       of 15
                                                                                           1454

very hard on V.D. Id. at Ex. 1, Davis Dep. Tr. 65:10-12, 72:9-73:5; Ex. 3, Trial Tr. III 6:15-7:14,

15:22-24; Ex. 5, Trial Tr. V 52:5-53:17.

       28.     Not disputed.

       29.     Not disputed.

       30.     Not disputed as to the facts asserted but disputed that this was all Coonradt did

that day.    She also spoke to Davis, searched Davis’ home, and prepared a false report

misrepresenting what Davis told her. Id. at Ex. 1, Davis Dep. Tr. 73:17-75:11, 79:16-81:4,

145:10-146:6, 152:4-153:6, 155:21-159:15; Ex. 3, Trial. Tr. III 42:22-43:6; Ex. 16, Coonradt

Dep. Tr. 15:13-16:7; Ex. 17, Coonradt Supp. Rpt.

       31.     Not disputed.

       32.     Not disputed.

       33.     Not disputed but state the reason that Davis and Parker did not accompany V.D.

to the hospital was because they were not allowed to. Id. at Ex. 1, Davis Dep. Tr. 77:9-17; Ex.

5, Trial Tr. V 54:17-55:18; Ex. 8, Parker Witness Dep.

       34.     Not disputed.

       35.     Not disputed.

       36.     Not disputed.

       37.     Disputed. Defendant Colaneri was also present and was the primary interrogator.

Id. at Ex. 18, Fountain Dep. Tr. 37:5-38:2; Ex. 29, Colaneri Dep. Tr. 24:4-25:17; Ex. 21,

Suppression Hearing Tr. 115:8-14.

       38.     Disputed. Defendants Fountain and McDonald were jointly assigned to conduct

the investigation. Id. at Ex. 18, Fountain Dep. Tr. 34:12-20, 40:6-11, 41:3-20; Ex .19, McDonald

Dep. Tr. 27:6-29:8.

       39.     Not disputed.

                                                 3
            Case
          Case 1:17-cv-01290-DJS
                                       APPENDIX
                  23-589, Document Document
                                   74, 01/17/2024, 3604428,
                                             121 Filed      Page204
                                                       04/01/22 Pageof 4264
                                                                         of 15
                                                                                           1455

       40.     Not disputed.

       41.     Not disputed.

       42.     Not disputed that prolonged CPR involving approximately 6,000 compressions

was administered to V.D., none of which was mentioned or factored into Sikirica’s autopsy

report, despite that prolonged CPR is known to result more CPR-related injuries. Id. at Ex. 15,

Sikirica Dep. Tr. 57:1-60:4. Maloney Decl. ¶ 9

       43.     Not disputed.

       44.     Not disputed that Sikirica does not ultimately determine criminal charges, but he

is involved in deciding the cause of death and he was aware that his determination that V.D. had

died of a homicide would lead to a criminal prosecution and that his testimony and determination

would form the basis of and otherwise be important to the prosecution. Klein Decl. Ex. 15,

Sikirica Dep. Tr. 82:9-14, 140:11-21.        Further, whether Sikirica did more than provide

information and expertise is a question of fact for the jury.

       45.     Disputed. Sikirica’s autopsy report specifically references a “[h]istory of decedent

reportedly found unresponsive with reported history of attempted cardiopulmonary resuscitation

by a large adult” as contributing to the cause of death. Id. at Ex. 28, Autopsy Rpt. 000119.

       46.     Not disputed.

       47.     Not disputed.

       48.     Not disputed.

       49.     Disputed to the extent that the National Academy of Science recommends that law

enforcement and prosecutors should not be present during autopsies because they may influence

the medical examiner. Id. at Ex. 6, Trial Tr. VI 55:14-56:14

       50.     Move to strike insofar as what is commonly done is not relevant to the instant

motion.

                                                  4
            Case
          Case 1:17-cv-01290-DJS
                                      APPENDIX
                  23-589, Document Document
                                   74, 01/17/2024, 3604428,
                                             121 Filed      Page205
                                                       04/01/22 Pageof 5264
                                                                         of 15
                                                                                          1456

       51.     Not disputed.

       52.     Move to strike insofar as what is commonly done is not relevant to the instant

motion.

       53.     Not disputed.

       54.     Not disputed that Sikirica did order tests relevant to determining whether V.D.’s

death was due to natural causes, but disputed that Sikirica ruled out all potential natural causes

including potential genetic mutations, or other issues involving the heart and brain that are

associated with sudden unexplained death as occurred with V.D. Id. at Ex. 6, Trial Tr. VI 19:19-

20:11, 45:23-47:4; Maloney Decl. Ex. 2, Maloney Rpt. p. 2-3.

       55.     Disputed. Approximately one week before her death, V.D. was sick with a fever,

coughing, and vomiting, and had complained of chest pains. Klein Decl. Ex. 1, Davis Dep Tr.

47:9-48:7; Ex. 2, Fountain Notes 000424-25. Further, when V.D. awoke on February 26, 2015,

she appeared low energy, sluggish, and not her normal self. Id. at Ex. 1, Davis Dep. Tr. 56:14-

57:11. V.D. also suffered from low iron and a postmortem metabolic screening detected an

elevated thyroid stimulation hormone consistent with hypothyroidism and chronic inflammation

of the bronci. Id. at Ex. 1, Davis Dep Tr. 46:21-47:5; Ex. 6, Trial Tr. VI 52:9-20. Maloney Decl.

Ex. 2, Maloney Rpt. p. 2.

       56.     Disputed. See supra, ¶ 55.

       57.     Not disputed.

       58.     Not disputed but disputed that Sikirica included this critical information in his

final autopsy report. Klein Decl. Ex. 28, Autopsy Rpt.

       59.     Not disputed but note that Sikirica omitted this information from his final autopsy

report. Id.

       60.     Not disputed but note that Sikirica omitted this information in his final autopsy

                                                 5
          Case
        Case 1:17-cv-01290-DJS
                                       APPENDIX
                23-589, Document Document
                                 74, 01/17/2024, 3604428,
                                           121 Filed      Page206
                                                     04/01/22 Pageof 6264
                                                                       of 15
                                                                                            1457

report. Id.

       61.     Not disputed.

       62.     Not disputed.

       63.     Disputed that Sikirica testified to a correlation between ruptured livers and

anterior rib fractures. Id. at Ex. 15, Sikirica Dep. Tr. 60:21-62:15.

       64.     Not disputed.

       65.     Not disputed.

       66.     Disputed.     The rib injuries were postmortem and consistent with Davis’

description of having a hand on V.D.’s back while attempting CPR. Maloney Decl. Ex. 2

Maloney Rpt. p. 2. Klein Decl. Ex. 15, Sikirica Dep. Tr. 59:19-60:4.

       67.     Not disputed that he so opined, but Sikirica admitted that his opinion in this regard

was merely based on an assumption that CPR was done correctly and that he did not question any

of the EMS personnel who performed CPR to inquire how CPR was done, despite that he should

have. Id. at Ex. 6, Trial Tr. VI 22:5-19, 64:2-15; Ex. 15, Sikirica Dep. Tr. 72:10-78:19.

Moreover, Sikirica’s assumption was wrong insofar as evidence supports that EMS incorrectly

performed CPR with two hands on a soft futon. Id. at Ex. 1, Davis Dep. Tr. 65:10-12, 72:9-73:5;

Ex. 3, Trial Tr. III 6:15-7:14, 15:22-24; Ex. 5, Trial Tr. V 52:5-53:17.

       68.     Disputed. V.D.’s injuries were not beyond what would be expected in a CPR

situation and were also concededly consistent with how Davis described his attempted CPR. Id.

at Ex. 4, Trial Tr. IV 58:15-25; Ex. 6, Trial Tr. VI 43:8-44:3, 63:12-64:15; Ex. 15, Sikirica Dep.

Tr. Dep. 83:18-84:11; Ex. 32, Brady Disclosure; Maloney Decl. ¶ 8.

       69.     Not disputed that V.D. had blood in her abdomen but disputed that it can be

concluded that the volume of blood was from the lacerations rather than from prolonged CPR.

Klein Decl. Ex. 6, Trial Tr. VI 52:21-55:10. Maloney Decl. Ex. 2, Maloney Rpt. p. 2.

                                                  6
          Case
        Case 1:17-cv-01290-DJS
                                       APPENDIX
                23-589, Document Document
                                 74, 01/17/2024, 3604428,
                                           121 Filed      Page207
                                                     04/01/22 Pageof 7264
                                                                       of 15
                                                                                           1458

       70.     Not disputed.

       71.     Not disputed.

       72.     Not disputed.

       73.     Not disputed.

       74.     Not disputed.

       75.     Disputed. The volume of blood was consistent with slow bleeding lacerations and

the fact that while CPR is being performed the heart is kept artificially beating allowing injuries

like liver lacerations to continue bleeding into the surrounding soft tissue. Klein Decl. Ex. 6,

Trial Tr. VI 52:21-55:10. Maloney Decl. Ex. 2, Maloney Rpt. p. 2.

       76.     Not disputed that Sikirica failed to note that some of the bleeding was from CPR

despite acknowledging that CPR results in continued post-mortem bleeding. Klein Decl. Ex. 15,

Sikirica Dep. Tr. 75:17-77:17; Ex. 28, Autopsy Rpt. Plaintiff further asserts that no medical

examiner should ever draw the conclusion that the amount of blood seen on autopsy was present

at the time of death because it is known that humans continue to bleed after death with CPR. Id.

at Ex. 6, Trial Tr. VI 52:21-55:10.

       77.     Not disputed.

       78.     Not disputed, but further note that Sikirica also based his conclusion on an

incorrect assumption that all other medical personnel correctly did CPR. See supra, ¶ 67.

       79.     Disputed that Sikirica not learned anything from the police at the time he issued

his autopsy report that bore on his findings insofar as he was aware that Davis was the only person

with V.D. at the time of her death and appeared to have factored that into his determination at the

outset that this was a homicide at the hands of a large adult. Klein Decl. Ex. 13, CPS Records

000507, 000521; Ex. 18, Fountain Dep. Tr. 118:19-119:19; Ex. 28, Autopsy Rpt. 000119.

       80.     Move to strike insofar as Sikirica’s testimony as to what he would have done is

                                                 7
            Case
          Case 1:17-cv-01290-DJS
                                        APPENDIX
                  23-589, Document Document
                                   74, 01/17/2024, 3604428,
                                             121 Filed      Page208
                                                       04/01/22 Pageof 8264
                                                                         of 15
                                                                                             1459

mere speculative.

          81.   Not disputed that Sikirica officially pended his determination but asserted that he

had already determined that the death was a homicide to the exclusion of potential natural causes

of death while still awaiting relevant test results. Id. at Ex. 6, Trial Tr. VI 49:6-50:21; Ex. 13,

CPS Records 000507, 000521.

          82.   Not disputed that such was Sikirica’s determination but disputed that his finding

was correct insofar as the injuries Sikirica observed were due to CPR and did not contribute to

V.D.’s death. Maloney Decl. Ex. 2, Maloney Rpt. p. 2-3.

          83.   Disputed. Sikirica’s autopsy report on its face attributes the cause of V.D.’s

injuries to Davis’ attempted CPR and Sikirica concedes that he cannot dispute that V.D. was

already unresponsive at the time Davis attempted CPR. Klein Decl. Ex. 15, Sikirica Dep. Tr.

66:21-67:3; Ex. 28, Autopsy Rpt. 000119.

          84.   Disputed. V.D.’s injuries were consistent with CPR and did not contribute to

V.D.’s death, and Sikirica’s autopsy report on its face attributes the cause of V.D.’s injuries to

Davis’ attempted CPR. Id. at Ex. 28, Autopsy Rpt. 000119. Maloney Decl. Ex. 2, Maloney Rpt.

p. 2-3.

          85.   Disputed. Sikirica conceded to the grand jury that Davis’ attempt at CPR could

have caused the injuries. Klein Decl. Ex. 9, Grand Jury Tr. 000853-000862.

          86.   Disputed. There was a reported history of illness and chest pain close in time to

V.D.’s death and evidence on autopsy that V.D. had inflamed bronchi and hypothyroidism. See

supra, ¶ 55. Further, Sikirica did not rule out all potential natural causes including potential

genetic mutations, or other issues involving the heart and brain that are associated with sudden

death. Maloney Decl. Ex. 2, Maloney Rpt. p. 2-3

          87.   Not disputed that Sikirica gave this false testimony despite that there was a history

                                                  8
            Case
          Case 1:17-cv-01290-DJS
                                       APPENDIX
                  23-589, Document Document
                                   74, 01/17/2024, 3604428,
                                             121 Filed      Page209
                                                       04/01/22 Pageof 9264
                                                                         of 15
                                                                                             1460

and evidence of illness. See supra, ¶ 55.

       88.     Disputed. Sikirica did not rule out all potential natural causes including potential

genetic mutations, or other issues involving the heart and brain that are associated with sudden

death and Sikirica admits that it is possible V.D. could have died of natural causes. Klein Decl.

Ex. 6, Trial Tr. VI 19:19-20:11, 45:23-47:4; Ex. 15, Sikirica Dep. Tr. 66:21-67:3, 79:17-82:8.

Maloney Decl. Ex. 2, Maloney Rpt. p. 2-3

       89.     Not disputed that he so testified but disputed that his testimony was truthful insofar

as he did not do testing necessary to rule out issues involving the heart and brain that are

associated with sudden death, and Sikirica admits that it is possible V.D. could have died of

natural causes. Klein Decl. Ex. 6, Trial Tr. VI 19:19-20:11, 45:23-47:4; Ex. 15, Sikirica Dep. Tr.

66:21-67:3, 79:17-82:8. Maloney Decl. Ex. 2, Maloney Rpt. p. 2-3.

       90.     Not disputed that the rib fractures did not damage V.D.’s liver but disputed that

V.D.’s fractures could not have been caused by CPR, when performed with a hand behind the

back. Klein Decl. Ex. 15, Sikirica Dep. Tr. 59:19-60:4. Maloney Decl. Ex. 2, Maloney Rpt. p.

2.

       91.     Not disputed.

       92.     Disputed. Sikirica stated that V.D. could not have caused her own injuries by

accident. Grand Jury Tr. 000913-000914. Further, accepting Sikirica’s own autopsy finding that

Davis alone caused the injuries while attempting CPR, even under Sikirica’s flawed findings, this

should have been ruled an accident not a homicide. Klein Decl. Ex. 15, Sikirica Dep Tr. 127:21-

128:13.

       93.     Disputed. Sikirica stated that V.D. could not have caused her own injuries by

accident. Id. at Ex. 9, Grand Jury Tr. 000913-000914. Further, accepting Sikirica’s own autopsy

finding that Davis alone caused the injuries while attempting CPR, even under Sikirica’s flawed

                                                  9
          Case
        Case 1:17-cv-01290-DJS
                                       APPENDIX
                23-589, DocumentDocument
                                 74, 01/17/2024, 3604428,
                                           121 Filed      Page210
                                                     04/01/22 Pageof10
                                                                     264
                                                                       of 15
                                                                                               1461

findings, this should have been ruled an accident not a homicide. Id. at Ex. 15, Sikirica Dep Tr.

127:21-128:13.

       94.     Disputed. V.D. was unconscious when Davis found her, and her rib and liver

injuries were postmortem. Id. at Ex. 6, Trial Tr. VI 33:12-43:7, 62:9-11. Maloney Decl. Ex. 2,

Maloney Rpt. p. 3.

       95.     Disputed. Sikirica concedes that V.D.’s injuries could have been caused by Davis’

CPR attempt. Klein Decl. Ex. 6, Trial Tr. IV 58:15-25; Ex. 15, Sikirica Dep. Tr. Dep. 83:18-

84:11; Ex. 32, Brady Disclosure.

       96.     Not disputed that this was his testimony but note that Sikirica testified he could

not dispute that V.D. was unresponsive when Davis found her. Id. at Ex. 15, Sikirica Dep. Tr.

66:21-67:3

       97.     Not disputed that Sikirica ignored literature that contradicted his findings.

       98.     Not disputed that he so testified but move to strike insofar as the literature and/or

study, or citation to said literature, was never produced to plaintiff and is not in evidence and

therefore its reliability is unknown, nor could plaintiff provide the study to his expert for review

and comment.

       99.     Not disputed that he so testified but move to strike insofar as the study is not in

evidence.

       100.    Disputed. V.D.’s lacerations did not go beyond what can be expected from CPR.

Klein Decl. Ex. 6, Tr. VI 43:8-44:3, 63:12-64:15. Maloney Decl. ¶ 8.

       101.    Not disputed that this is his testimony but disputed that any inference can be drawn

from this insofar as other medical examiners have observed similar injuries. Klein Decl. Ex. 6,

Trial Tr. VI 43:8-44:3, 63:12-64:15. Maloney Decl. ¶ 8.

       102.    Not disputed this was his classification but disputed that Sikirica was correct.

                                                 10
         Case
       Case    23-589, DocumentDocument
            1:17-cv-01290-DJS
                                       APPENDIX
                                74, 01/17/2024, 3604428,
                                          121 Filed      Page211
                                                    04/01/22 Pageof11
                                                                    264
                                                                      of 15
                                                                                            1462

Maloney Decl. Ex. 2, Maloney Rpt.

       103.    Not disputed that he worked in cooperation with TPD and Rensselaer County

District Attorney’s Office, but whether or not this was customary is irrelevant to the motion.

       104.    Not disputed.

       105.    Disputed. Sikirica concedes that he factored in information from law enforcement

and without the information he learned from law enforcement he would not have linked V.D.’s

death to Davis. Klein Decl. Ex. 15, Sikirica Dep Tr. 89:10-16, 94:8-19, 98:19-99:3.

       106.    Disputed. Sikirica testified that the presence of law enforcement at an autopsy

was indicative that the death was suspicious and possibly a homicide. Id. at Ex. 4, Trial Tr. IV

49:21-50:2; Ex. 15, Sikirica Dep Tr. 152:21-153:11.

       107.    Not disputed.

       108.    Not disputed and further note that this supports plaintiff’s contention that Sikirica

took a myopic view as to V.D.’s death.

       109.    Not disputed.

       110.    Not disputed.

       111.    Not disputed.

       112.    Not disputed.

       113.    Not disputed.

       114.    Not disputed.

       115.    Move to strike insofar as the citation does not support the proposition asserted.

Further, Fountain testified that he both apprised the RCDAO of investigatory information and

took investigatory direction from them. Id. at Ex. 18, Fountain Dep. Tr. 43:23-44:9.

       116.    Not disputed.

       117.    Not disputed.

                                                11
           Case
         Case 1:17-cv-01290-DJS
                                       APPENDIX
                 23-589, DocumentDocument
                                  74, 01/17/2024, 3604428,
                                            121 Filed      Page212
                                                      04/01/22 Pageof12
                                                                      264
                                                                        of 15
                                                                                            1463

         118.   Not disputed.

         119.   Not disputed, but note he participated in email communications with Akerman,

Fountain, and Colaneri. Id. at Ex. 26, March 1, 2015, Email.

         120.   Not disputed.

         121.   Disputed. Some evidence supports that he did, including being included in an

investigation related email, participating in a meeting during trial wherein Dr. Sikirica expressed

his dismay with the handling of the case by the assigned ADA, and comments post trial that he

was aware the case was not strong but did not regret pursuing it. Id. at Ex. 26, March 1, 2015,

Email;           https://www.troyrecord.com/2016/08/25/former-professional-basketball-player-

acquitted-in-lansingburgh-toddlers-death

         122.   Not disputed.

         123.   Not disputed.

         124.   Disputed. Sikirica testified he met with RCDAO after he issued his report and

before testifying before the grand jury. Id. at Ex. 15, Sikirica Dep. Tr. 26:2-10.

         125.   Move to strike as irrelevant to the issues presented insofar as Abelove became the

Rensselaer County District Attorney after other relevant matters were prosecuted by the RCDAO

including the People v. Adrian Thomas matter. Id. at Ex. 24, Abelove Dep. Tr. 19:15-22.

         126.   Move to strike as irrelevant to the issues presented.

         127.   Not disputed.

         128.   Move to strike to the extent Sikirica cannot testify as to what is in someone else’s

mind.

         129.   Not disputed.

         130.   Not disputed.

         131.   Not disputed.

                                                 12
          Case
        Case 1:17-cv-01290-DJS
                                       APPENDIX
                23-589, DocumentDocument
                                 74, 01/17/2024, 3604428,
                                           121 Filed      Page213
                                                     04/01/22 Pageof13
                                                                     264
                                                                       of 15
                                                                                           1464

       132.    Not disputed.

       133.    Not disputed.

       134.    Move to strike insofar as the experts’ opinions are clearly in dispute and therefore

not proper for a Rule 56.1 statement of undisputed facts.

       135.    Move to strike insofar as the experts’ opinions are clearly in dispute and therefore

not proper for a Rule 56.1 statement of undisputed facts.

       136.    Move to strike insofar as the experts’ opinions are clearly in dispute and therefore

not proper for a Rule 56.1 statement of undisputed facts.

       137.    Not disputed.

       138.    Move to strike insofar as the experts’ opinions are clearly in dispute and therefore

not proper for a Rule 56.1 statement of undisputed facts. Further clarify that Dr. Teas testified

that sudden unexpected death could occur through age 30, involving people who die

unexpectedly, and it is not limited to infants. Id. at Ex. 6, Trial Tr. VI 45:23-46:16.

       139.    Disputed. A sudden unexpected death can occur through aged thirty involving

people who die unexpectedly, and it is not limited to infants. Trial Tr. VI 45:23-46:16.

       140.    Disputed.    The category for an unexplained death in a toddler is Sudden

Unexplained Death in Childhood. Maloney Decl. Ex. 2, Maloney Rpt. p. 2-3.

       141.    Disputed. The liver lacerations were consistent with CPR and did not contribute

to V.D.’s death. Id.

       142.    Not disputed.

       143.    Not disputed.




                                                 13
        Case
      Case 1:17-cv-01290-DJS
                               APPENDIX
              23-589, DocumentDocument
                               74, 01/17/2024, 3604428,
                                         121 Filed      Page214
                                                   04/01/22 Pageof14
                                                                   264
                                                                     of 15
                                                                           1465

Dated: April 1, 2022
       New York, New York

                                    BRETT H. KLEIN, ESQ., PLLC
                                    Attorneys for the Plaintiff
                                    305 Broadway, Suite 600
                                    New York, New York 10007
                                    (212) 335-0132

                                    By:    _____________________________
                                           BRETT H. KLEIN
                                           LISSA GREEN-STARK




                                      14
           Case
         Case    23-589, DocumentDocument
              1:17-cv-01290-DJS
                                            APPENDIX
                                  74, 01/17/2024, 3604428,
                                            121 Filed      Page215
                                                      04/01/22 Pageof15
                                                                      264
                                                                        of 15
                                                                                                 1466

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------------------X

MICHAEL DAVIS-GUIDER,

                                                     Plaintiff,
                                                                                     17 CV 1290 (DJS)
                 -against-

CITY OF TROY, RONALD FOUNDTAIN, Individually,
DANIELLE COONRADT, Individually, CHARLES MCDONALD,
Individually, TIM COLANERI, Individually, ADAM R. MASON,
Individually, RENSSELAER COUNTY, MICHAEL SIKIRICA,
Individually, and JOEL ABELOVE, Individually,


                                                     Defendant.

---------------------------------------------------------------------------------X




         PLAINTIFF’S RESPONSE TO THE CITY DEFENDANTS’ STATEMENT
                            OF MATERIAL FACTS




                                    BRETT H. KLEIN, ESQ., PLLC
                                       Attorneys for the Plaintiff
                                       305 Broadway, Suite 600
                                      New York, New York 10007
                                            (212) 335-0132
           Case
        Case    23-589, DocumentDocument
             1:17-cv-01290-DJS
                                            APPENDIX
                                 74, 01/17/2024,
                                          121-1 3604428,   Page216
                                                 Filed 04/01/22    of 264
                                                                Page  1 of 18
                                                                                                 1467

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------------------X

MICHAEL DAVIS-GUIDER,                                                                PLAINTIFF’S
                                                                                     LOCAL RULE 56.1
                                                     Plaintiff,                      COUNTER
                 -against-                                                           STATEMENT

CITY OF TROY, RONALD FOUNTAIN, Individually,                                         17 CV 1290 (DJS)
DANIELLE COONRADT, Individually, CHARLES MCDONALD,
Individually, TIM COLANERI, Individually, ADAM R. MASON,
Individually, RENSSELAER COUNTY, MICHAEL SIKIRICA,
Individually, and JOEL ABELOVE, Individually, and JOHN and
JANE DOE 1-10, Individually,

                                                     Defendants.

---------------------------------------------------------------------------------X

        Plaintiff respectfully submits this Local Rule 56.1 Counter Statement in support of his

opposition to defendants City of Troy, Adam R. Mason, Ronald Fountain, and Tim Colaneri’s

motion for summary judgment, and to defendants Rensselaer County, Michael Sikirica and Joel

Abelove’s motion for summary judgment.

        1.       V.D. is the daughter of plaintiff’s girlfriend, but plaintiff loved and cared for her as

if she was his own daughter. Klein Decl. Ex. 1, Davis Dep. Tr. 42:18-43:9.

        2.       Approximately one week before her death, V.D. was sick with a fever, coughing,

and vomiting. Id. at Ex. 1, Davis Dep Tr. 47:9-48:17.

        3.       V.D. had also complained of chest pain. Id. at Ex. 2, Fountain Notes 000424-25

        4.       V.D. suffered from low iron and a postmortem metabolic screening detected an

elevated thyroid stimulation hormone consistent with hypothyroidism. Id. at Ex. 1, Davis Dep Tr.

46:21-47:5; Maloney Decl. Ex. 2, Maloney Rpt. p. 2.
          Case
       Case 1:17-cv-01290-DJS
                                      APPENDIX
               23-589, DocumentDocument
                                74, 01/17/2024,
                                         121-1 3604428,   Page217
                                                Filed 04/01/22    of 264
                                                               Page  2 of 18
                                                                                           1468

       5.      V.D.’s autopsy also revealed evidence of chronic inflammation of the bronchi.

Klein Decl. Ex. 6, Trial Tr. VI 52:9-20.

       6.      The night before V.D.’s death, Michael Davis watched basketball with a friend

across the street, while V.D. remained home with her mother Rebecca Parker, and V.D. was

already asleep when Davis returned home. Id. at Ex. 1, Davis Dep. Tr. 49:18-53:3.

       7.      On February 26, 2015, when Davis woke up in the morning, he smelled poop and

called V.D. out from her room to the living room where he and Rebecca slept. Id. at Ex. 1, Davis

Dep. Tr. 55:23-57:11.

       8.      When V.D. came out to Davis, she appeared low energy, sluggish, and not her

normal self. Id. at Ex. 1, Davis Dep. Tr. 56:14-57:11; Ex. 8, Parker Witness Dep 000494.

       9.      Davis helped V.D. finish going to the bathroom, changed V.D.’s diaper, and offered

her food and a sippy cup, which V.D. declined. Id. at Ex. 1, Davis Dep. Tr. 56:14-57:11.

       10.     Consistent with Davis’ explanation of the morning events, police would later find

a sippy cup, soiled diaper, and pants on the floor near the bed in the living room, and V.D. in a

clean unsoiled diaper. Id. at Ex. 9, Grand Jury Tr. 000892-000893; Ex. 10, Mar. 2, 2015,

Interrogation Tr. 176:9-177:24

       11.     Seeing that V.D. appeared abnormally tired, Davis put her back to bed. Id. at Ex.

1, Davis Dep. Tr. 56:14-57:11.

       12.     Davis put on a movie in the living room and fell asleep himself. Id. at Ex. 1, Davis

Dep. Tr. 56:14-57:11.

       13.     When Davis woke up, he found V.D. unresponsive in her bed. Id. at Ex. 1, Davis

Dep. Tr. 59:22-61:6.




                                                2
          Case
       Case    23-589, DocumentDocument
            1:17-cv-01290-DJS
                                       APPENDIX
                                74, 01/17/2024,
                                         121-1 3604428,   Page218
                                                Filed 04/01/22    of 264
                                                               Page  3 of 18
                                                                                              1469

       14.     Davis attempted CPR a few times, including doing a few compressions where he

pressed down on her stomach with his hand behind her back, and then at 1:09 p.m., called 911

from a restaurant across the street because Davis did not have a working phone at home. Id. at Ex.

1, Davis Dep. Tr. 61:4-67:19; Ex. 11, 911 Call Sheet.

       15.     When emergency medical service providers (hereinafter “EMS”) arrived at the

scene, V.D. was already in cardiac arrest, was not breathing, had no pulse, no heart activity, and

was warm to the touch. Id. at Ex. 3, Trial Tr. III 38:9-42:18; Ex. 12, Bayley Witness Dep. 000496;

Ex. 13, CPS Case Notes 000499.

       16.     EMS immediately started CPR in the home, using two hands pressing very hard on

V.D., while V.D. was on a soft futon. Id. at Ex. 1, Davis Dep. Tr. 65:10-12, 72:9-73:5; Ex. 3, Trial

Tr. III 6:15-7:14, 15:22-24; Ex. 5, Trial Tr. V 52:5-53:17.

       17.     CPR should neither be performed with two hands on a child, nor should it be

performed on a soft surface. Id. at Ex. 6, Trial Tr. VI 64:2-15.

       18.     CPR was continued in the ambulance en route to St. Mary’s Hospital. Id. at Ex.

Ex. 3, Trial Tr. III 8:23-9:17.

       19.     Davis and Parker were not given an opportunity to go with V.D. in the ambulance.

Id. at Ex. 1, Davis Dep. Tr. 77:9-17; Ex. 5, Trial Tr. V 54:17-55:18; Ex. 8, Parker Witness Dep.

       20.     EMS performed 100 to 120 compressions per minute for the 20 minutes CPR was

performed in the home and on the way to the hospital. Id. at Ex. 3, Trial Tr. III 29:7-30:23.

       21.     Only after performing CPR did EMS briefly detect some heart activity while in the

ambulance. Id. at Ex. 3, Trial Vol III 38:9-40:12.

       22.     At no time did V.D. regain a pulse or start breathing. Id. at Ex. 3, Trial Tr. III 8:25-

9:6.




                                                  3
          Case
       Case    23-589, DocumentDocument
            1:17-cv-01290-DJS
                                        APPENDIX
                                74, 01/17/2024,
                                         121-1 3604428,   Page219
                                                Filed 04/01/22    of 264
                                                               Page  4 of 18
                                                                                            1470

       23.     CPR was continued at the hospital for another thirty minutes, before V.D. was

pronounced dead at 2:10 p.m. Id. at Ex. 3, Trial Tr. III 53:25-54:9; Ex. 14, Crisafulli Witness Dep.

000495.

       24.     A total of approximately 6,000 compressions were done collectively by EMS and

hospital staff. Id. at Ex. 15, Sikirica Dep. Tr. 57:1-5.

       25.     Defendant Troy Police Department (hereinafter “TPD”) Officer Danielle Coonradt

was the first officer to respond to the scene and despite that per EMS, V.D. had no visible injuries,

Coonradt began searching the house in a manner that indicated she was suspicious of something,

including opening cupboards and looking in high places. Id. at Ex. 1, Davis Dep. Tr. 73:17-75:11,

152:4-153:6, 155:21-159:15; Id. at Ex. 3, Trial Tr. III 42:22-43:625.

       26.     Coonradt also questioned plaintiff and prepared an inaccurate report of her

conversation with Davis, falsely recording in an official police report that Davis purportedly told

her he tried to wake V.D. up at 11:00 a.m., and that he responded to Coonradt’s statement that it

was now 1:30 p.m. by stating that time must be flying. Id. at Ex. 1, Davis Dep. Tr. 79:16-81:4,

145:10-146:6; Ex. 16, Coonradt Dep. Tr. 15:13-16:7; Ex. 17, Coonradt Supp. Rpt. 000490.

       27.     To the contrary, Davis told the police that he was not sure what time he woke up

because he did not have a clock in the house and his phone was not working. Id. at Ex. 1, Davis

Dep. Tr. 79:16-81:4.

       28.     Defendants former TPD Detective Ronald Fountain and Detective Charles

McDonald were jointly assigned to conduct the investigation of the case and responded to the Mr.

Davis’ home on February 26, 2015. Id. at Ex. 18, Fountain Dep. Tr. 34:12-20, 40:6-11, 41:3-20;

Ex. 19, McDonald Dep. Tr. 27:6-29:8.




                                                  4
          Case
       Case    23-589, DocumentDocument
            1:17-cv-01290-DJS
                                       APPENDIX
                                74, 01/17/2024,
                                         121-1 3604428,   Page220
                                                Filed 04/01/22    of 264
                                                               Page  5 of 18
                                                                                            1471

       29.     Fountain told plaintiff he would be driven to the hospital, but instead McDonald

and Fountain drove Davis to the TPD headquarters. Id. at Ex. 1, Davis Dep. Tr. 152:4-154:10.

       30.     At the TPD headquarters, McDonald first sat with plaintiff trying to keep him

occupied while Fountain went to the hospital to gather more information. Id. at Ex. 19, McDonald

Dep. Tr. 36:20-38:7.

       31.     Defendant Tim Colaneri was also involved in the investigation, first going to the

hospital with an evidence technician to take photographs, and then going to plaintiff’s home, where

he got a briefing from an officer on scene, assisted in executing a search warrant, and also assisted

in canvassing the neighborhood and speaking to witnesses. Id. at Ex. 20, Colaneri Dep Tr. 16:5-

24:3, 24:20-25:8; Ex. 22, Cont. Suppression Hearing Tr. 26:11-13.

       32.     Fountain, McDonald, and Colaneri then interrogated Davis at the precinct. Id. at

Ex. Ex. 19, McDonald Dep. Tr. 38:8-39:22; Ex. 20, Colaneri Dep. Tr. 24:4-25:17.

       33.     Colaneri was the primary questioner during the first interrogation of Davis, and he

recorded part of the interrogation on his cell phone. Id. at Ex. 18, Fountain Dep. Tr. 37:5-38:2;

Ex. 20, Colaneri Dep. Tr. 24:4-25:17; Ex. 21, Suppression Hearing Tr. 115:8-14.

       34.     Davis provided no incriminating statements during his first conversation with

police, and defendants concede probable cause to arrest plaintiff did not exist based on the known

information. Id. at Ex. 18, Fountain Dep. Tr. 38:3-13; Ex. 20, Colaneri Dep. Tr. 27:12-15.

       35.     On February 27, 2015, an autopsy was conducted by defendant Michael Sikirica,

the Rensselaer County medical examiner, which was attended by defendants McDonald, Fountain,

and Colaneri, evidence technician Anthony Buttofucco, and an Assistant District Attorney

(hereinafter “ADA”) from the Rensselaer County District Attorney’s Office (hereinafter




                                                 5
          Case
       Case    23-589, DocumentDocument
            1:17-cv-01290-DJS
                                       APPENDIX
                                74, 01/17/2024,
                                         121-1 3604428,   Page221
                                                Filed 04/01/22    of 264
                                                               Page  6 of 18
                                                                                             1472

“RCDAO”) Andra Ackerman. Id. at Ex. 18, Fountain Dep. Tr. 48:5-49:5, Ex. 23, Feb. 27, 2015,

Sign in Sheet 000436.

       36.     Andra Ackerman’s overall supervisor was District Attorney Joel Abelove. Id. at

Ex. 24, Abelove Dep. Tr. 29:13-30:20.

       37.     Law enforcement presence is not necessary for Sikirica to perform an autopsy and

law enforcement is generally not present for all autopsies conducted by Sikirica. Id. at Ex. 4, Trial

Tr. IV 47:21-50:2; Ex. 18, Fountain Dep Tr. 118:19-119:19.

       38.     The TPD officers were present during V.D.’s autopsy to feed Sikirica information.

Id. at Ex. 9, Grand Jury Tr. 000901.

       39.     Fountain would have told Sikirica that Davis was the only person home when V.D.

died. Id. at Ex. 18, Fountain Dep. Tr. 118:19-119:19.

       40.     As part of the autopsy, Sikirica ordered some tests relevant to determining whether

V.D. had died of natural causes, but despite that the results of said tests were outstanding, Sikirica

informed Fountain that he planned to rule the death a homicide. Id. at Ex. 13, CPS Records

000507, 000521.

       41.     Sikirica’s decision to rule the death a homicide based solely on his discussions with

the defendant TPD officers, and on the observed injuries, resulted in Sikirica failing to fully

explore potential natural causes of death. Id. at Ex. 6, Trial Tr. VI 49:6-50:21.

       42.     The National Academy of Science recommends that law enforcement and

prosecutors should not be present during autopsies because they may influence the medical

examiner. Id. at Ex. 6, Trial Tr. VI 55:14-56:14.




                                                  6
          Case
       Case    23-589, DocumentDocument
            1:17-cv-01290-DJS
                                       APPENDIX
                                74, 01/17/2024,
                                         121-1 3604428,   Page222
                                                Filed 04/01/22    of 264
                                                               Page  7 of 18
                                                                                         1473

       43.     On February 27, 2015, plaintiff and Ms. Parker were questioned again by Mason

and TPD Sergeant Parrow. Id. at Ex. 1, Davis Dep. Tr. 90:17-92:19; Ex. 25, Mason Dep. Tr.

29:19-31:18.

       44.     On March 1, 2015, ADA Ackerman sent an email to defendants Fountain and

Colaneri, copying defendant Abelove, concerning a February 28, 2015, meeting held regarding

next steps in investigating Davis and V.D.’s death. Id. at Ex. 18, Fountain Dep. Tr. 121:2-122:21;

Ex. 26, March 1, 2015, Email.

       45.     On March 2, 2015, Fountain conducted a second interview of Davis inside an

interrogation room at TPD headquarters, which lasted approximately two hours and was recorded

by the TPD defendants via a video camera. Id. at Ex. 18, Fountain Dep. Tr. 61:10-63:23.

       46.     McDonald participated in the interview by monitoring the video feed on a computer

from a separate room. Id. at Ex. 19, McDonald Dep. Tr. 46:11-23.

       47.     The March 2, 2015, interview yielded no additional information to support probable

cause to arrest Davis, and it was still unknown to the defendants what caused V.D.’s death. Id. at

Ex. 18, Fountain Dep Tr. 63:7-67:18.

       48.     On March 12, 2015, a subsequent meeting was held with defendant Sikirica,

attended by defendants Fountain, Colaneri, and Mason, as well as ADA Ackerman, and TPD

Detective Sergeant Parrow, to discuss the case. Id. at Ex. 18, Fountain Dep. Tr. 68:6-69:16; Ex.

27, March 12, 2015, Sign in Sheet 000439.

       49.     Sometime before or after the meeting, Sikirica received a copy of the March 2,

2015, interrogation video from the TPD defendants, during which Davis demonstrated how he had

attempted to perform CPR on V.D. Id. at Ex. 15, Sikirica Dep. 118:15-119:12.




                                                7
          Case
       Case    23-589, DocumentDocument
            1:17-cv-01290-DJS
                                          APPENDIX
                                74, 01/17/2024,
                                         121-1 3604428,   Page223
                                                Filed 04/01/22    of 264
                                                               Page  8 of 18
                                                                                          1474

       50.     Over the next several months, Fountain and McDonald questioned plaintiff at least

two more times while he was out walking and Fountain told him, in sum and substance, that he

needed him to tell the truth because his boss was pressuring him to close the case. Id. at Ex. 1,

Davis Dep. Tr. 93:14-94:15, 138:9-140:8, 162:8-163:23.

       51.     Fountain also met with the RCDAO a few times during the investigation and before

the final autopsy report was released. Id. at Ex. 18, Fountain Dep. Tr. 43:17-44:17, 70:19-72:2.

       52.     The only evidence linking Davis to V.D.’s death was that he was with her when she

died, which alone is not sufficient to charge a person with murder. Id. at Ex. 18, Fountain Dep.

Tr. 64:2-21, 97:22-99:10.

       53.     On August 14, 2015, defendant Sikirica issued his final autopsy report determining

in relevant part that the manner of V.D.’s death was purportedly a homicide and that V.D. had died

of “[h]ypovolemic shock due to a large hemoperitoneum due to multiple lacerations of the liver

with right rib fractures due to blunt force trauma” and noting a “[h]istory of decedent reportedly

found unresponsive with reported history of attempted cardiopulmonary resuscitation by a large

adult.” Id. at Ex. 28, Autopsy Rpt. 000110, 000119.

       54.     Sikirica made this determination after watching the video of Davis demonstrating

CPR and linking the pattern of injuries observed to be most consistent with what Davis had

demonstrated on the video. Id. at Ex. 15, Sikirica Dep. 83:18-84:11.

       55.     Had Sikirica not seen the video he would not have attributed the death to Davis. Id.

at Ex. 15, Sikirica Dep. Tr. 98:2-99:3.

       56.     Sikirica failed to note in his autopsy report that an additional 6,000 compressions

were also performed on V.D. by EMS and hospital staff of various sized hands, despite conceding




                                                8
          Case
       Case 1:17-cv-01290-DJS
                                      APPENDIX
               23-589, DocumentDocument
                                74, 01/17/2024,
                                         121-1 3604428,   Page224
                                                Filed 04/01/22    of 264
                                                               Page  9 of 18
                                                                                           1475

he was aware that V.D. had undergone prolonged CPR. See Id. at Ex. 15, Sikirica Dep. Tr. 101:1-

102:5; Ex. 28, Autopsy Rpt.

       57.     The size of an individual’s hands cannot be medically correlated to the resultant

CPR-related injury based on accepted medical research and knowledge. Maloney Decl. ¶ 10; Ex.

2, Maloney Rpt. p. 2.

       58.     Notwithstanding that he was given the supporting depositions of EMS and medical

staff taken by TPD, Sikirica neither spoke to EMS nor to the emergency room doctors who

performed CPR to determine how CPR was conducted by them prior to issuing his report, but

rather just assumed it was done correctly and without compressing the abdomen. Klein Decl. Ex.

15, Sikirica Dep. Tr. 53:18-55:7, 72:10-78:19.

       59.     Sikirica should have spoken to all the individuals who performed CPR where it was

known that extensive CPR involving several thousand compressions was performed and there was

a known possibility that V.D.’s injuries were CPR related. Id. at Ex. 6, Trial Tr. VI 22:5-19.

       60.     Sikirica’s assumption that CPR was performed correctly was faulty given that EMS

had performed CPR with two hands while V.D. was on a soft futon. Id. at Ex. 1, Davis Dep. Tr.

65:10-12, 72:9-73:5; Ex. 3, Trial Tr. III 6:15-7:14, 15:22-24; Ex. 5, Trial Tr. V 52:5-53:17; Ex. 6,

Trial Tr. VI 64:2-15.

       61.     Sikirica destroyed the contemporaneous dictation he made from which the final

autopsy report was drafted. Id. at Ex. 4, Trial Tr. IV 41:11-42:24.

       62.     At the time of these events, Davis was 6’ 10” tall and approximately 240 to 250

pounds and had very big hands. Id. at Ex. 1, Davis Tr. 62:21-63:4.




                                                 9
        CaseCase 23-589, Document
             1:17-cv-01290-DJS Document
                                       APPENDIX
                                  74, 01/17/2024,
                                          121-1 3604428,    Page225
                                                  Filed 04/01/22    of 10
                                                                 Page  264of 18
                                                                                             1476

        63.    Without the autopsy findings linking the death to a large adult, i.e., Davis, there

was no probable cause to arrest Davis for V.D.’s death. Id. at Ex. 19, McDonald Dep. Tr. 67:9-

23.

        64.    When Sikirica determined V.D.’s death was a homicide, it was foreseeable to him

that this would lead to a homicide prosecution, and Sikirica further understood that his

determination and testimony would be important to the prosecution. Id. at Ex. 15, Sikirica Dep.

Tr. 82:9-14, 140:11-21.

        65.    On September 9, 2015, Fountain, along with McDonald, interviewed Davis in the

aforementioned interrogation room on video for a third time, during which no new information to

support an arrest was learned. Id. at Ex. 18, Fountain Dep Tr. 75:21-76:6, 78:8-13; Ex. 19,

McDonald Dep. Tr. 52:2-53:16

        66.    Fountain believed, based on conversations with Sikirica, that V.D.’s ribs had been

fractured and that the ribs had lacerated the liver, causing V.D. to die. Id. at Ex. 18, Fountain Dep.

Tr. 50:12-51:15.

        67.    According to Sikirica, Fountain’s understanding of V.D.’s death was incorrect, and

he would not have told him that was the cause of death. Id. at Ex. 18, Fountain Dep. Tr. 92:1-

93:8.

        68.    McDonald, along with Fountain, met with a prosecutor, believed to be ADA

Ackerman from the RCDAO, prior to the grand jury presentation to discuss what would be

charged, but did not testify because he was on vacation when the grand jury was convened. Id. at

Ex. 19, McDonald Dep. Tr. 91:21-94:18.




                                                 10
      CaseCase 23-589, Document
           1:17-cv-01290-DJS Document
                                       APPENDIX
                                74, 01/17/2024,
                                        121-1 3604428,    Page226
                                                Filed 04/01/22    of 11
                                                               Page  264of 18
                                                                                           1477

       69.     Fountain falsely testified to the grand jury that Davis said it was a normal

occurrence for V.D. to wake up tired. Id. at Ex. 8, Parker Witness Dep. 000494; Ex. 9, Grand Jury

Tr. 000878-000879; Ex. 10, Mar. 2, 2015, Interrogation 74:9-75:10.

       70.     Fountain falsely informed the grand jury that V.D.’s bed was really neat and made

up, and not fussed or messed up at all, and therefore inconsistent with someone performing CPR

on the bed as Davis claimed he did. Id. at Ex. 9, Grand Jury Tr. 000881-000882; Ex. 29, Photo of

Bed DSC_7357.

       71.     Fountain falsely informed the grand jury that Davis and Parker were not prevented

from going to the hospital in the ambulance. Id. at Ex. 8, Parker Witness Dep. 000493; Ex. 9,

Grand Jury Tr. 000868-000869.

       72.     Fountain falsely informed the grand jury that Davis was calm, subdued, even

keeled, and not acting like you would think somebody would if they had a two-and-a-half-year-

old who was not breathing. Id. at Ex. 9, Grand Jury Tr. 000876.

       73.     To the contrary, on February 26, 2015, Davis was distraught, upset, concerned,

sniffling, and crying at times. Id. at Ex. 21, Suppression Hearing Tr. 18:23-19:2; 25:10-22; 115:15-

116:11; 157:13-160:8; Ex. 30, Brown St. 001538; Ex. 31, Brown Witness Dep. 0001680.

       74.     Sikirica met with the RCDAO after he issued his report and before testifying before

the grand jury. Id. at Ex. 15, Sikirica Dep. Tr. 26:2-10.

       75.     Sikirica falsely told the grand jury that he had ruled out any natural cause of death

or other explanation for V.D. to have been unconscious, despite later conceding that it was possible

V.D. had died of a natural event and that he could not dispute that V.D. could have been in cardiac

arrest before Davis attempted CPR. Id. at Ex. 9, Grand Jury Tr. 000911-000912, 000917; Id. at

Ex. 15, Sikirica Dep. Tr. 66:21-67:3, 79:17-82:8.




                                                11
      CaseCase 23-589, Document
           1:17-cv-01290-DJS Document
                                       APPENDIX
                                74, 01/17/2024,
                                        121-1 3604428,    Page227
                                                Filed 04/01/22    of 12
                                                               Page  264of 18
                                                                                             1478

       76.     In his direct testimony presented by RCDAO to the grand jury, Sikirica did not

inform the grand jury of his final autopsy finding that he had correlated V.D.’s injuries to a

“[h]istory of decedent reportedly found unresponsive with reported history of attempted

cardiopulmonary resuscitation by a large adult.” Id. at Ex. 9, Grand Jury Tr. 000895-000917; Ex.

28, Autopsy Rpt. 000119.

       77.     The District Attorney placed into evidence before the grand jury only photos of the

lacerated liver and the final death certificate, omitting the final autopsy report which referenced

the performance of CPR by a large adult. Id. at Ex. 9, Grand Jury Tr. 000895-000917.

       78.     Only when recalled to the grand jury and pressed by a grand juror did Sikirica

concede that the manner in which Davis described doing CPR could cause rib fractures and

lacerations to the liver. Id. at Ex. 9, Grand Jury Tr. 000853-000862.

       79.     This concession was exculpatory evidence which was later disclosed by RCDAO

pursuant to Brady v. Maryland, 373 U.S. 83 (1963). Id. at Ex. 31, July 20, 2016, Disclosure.

       80.     Sikirica falsely informed the grand jury that the amount of blood found in V.D.’s

abdomen indicated that the fractures and lacerations did not occur during Davis’ CPR attempt and

that V.D. was alive after the injuries were inflicted because the five squeezes described by Davis

would not have amounted to 400 MLs of blood. Id. at Ex. 9, Grand Jury Tr. 000861-000862.

       81.     Sikirica failed to put in his autopsy report or to otherwise inform the grand jury that

after Davis’ five squeezes, EMS and hospital staff did approximately 6,000 additional

compressions which would have contributed to the amount of blood found in V.D.’s abdomen at

autopsy. Id. at Ex. 9, Grand Jury Tr. 000853-000864; Ex. 15, Sikirica Dep. Tr. 77:9-23; Maloney

Decl. Ex. 2, Maloney Rpt. p. 2.




                                                 12
      CaseCase 23-589, Document
           1:17-cv-01290-DJS Document
                                       APPENDIX
                                74, 01/17/2024,
                                        121-1 3604428,    Page228
                                                Filed 04/01/22    of 13
                                                               Page  264of 18
                                                                                             1479

       82.     No pathologist should draw the conclusion that the amount of blood seen on

autopsy was present at the time of death because it is known that humans continue to bleed after

death with CPR. Klein Decl. Ex. 6, Trial Tr. VI 52:21-55:10.

       83.     The amount of blood in V.D.’s abdomen at autopsy was consistent with CPR and

with the fact that lacerations to the liver continue to bleed. Maloney Decl. Ex. 2, Maloney Rpt. p.

2.

       84.     EMS reported that V.D.’s stomach was not distended upon arrival, which also

supports that additional blood accumulated while CPR was being performed by EMS and hospital staff.

Maloney Decl. Ex. 2, Maloney Rpt. p. 2.

       85.     Sikirica falsely informed the grand jury that when EMS arrived, V.D. was cool to

the touch and had some electrical activity in her heart, when in actuality per EMS V.D. was warm

to the touch and had no electrical activity. Klein Decl. Ex. 3, Trial Tr. III 38:9-42:18; Ex. 9, Grand

Jury Tr. 000853Ex. 12, Bayley Witness Dep. 000496; Ex. 13, CPS Case Notes 000499.

       86.     Sikirica falsely informed the jury that based on the false fact that V.D. purportedly

had electrical activity when EMS responded, V.D.’s injuries had occurred approximately 15 to 20

minutes prior to the arrival of EMS. Id. at Ex. 9, Grand Jury Tr. 000863-000864.

       87.     After hearing the testimony of only Fountain and Sikirica, the grand jury indicted

plaintiff. Id. at Ex. 9, Grand Jury Tr.; Ex. 33, Indictment P000031-P000033.

       88.     Joel Abelove signed the indictment. Id. at Ex. Ex. 33, Indictment P000033.

       89.     After the indictment, an arrest warrant was issued, and plaintiff was arrested on

October 2, 2015, and jailed until his acquittal after a jury trial on August 25, 2016. Id. at Ex. 1,

Davis Dep. Tr. 13:11-14:5; Ex. 7, Trial Tr. VII 19:20-23:17; Ex. 18, Fountain Dep Tr. 46:19-47:8;

Ex. 34, Arrest Report 000534; Ex. 35, Davis City 50-h 11:4-13:7.




                                                 13
         CaseCase 23-589, Document
              1:17-cv-01290-DJS Document
                                        APPENDIX
                                   74, 01/17/2024,
                                           121-1 3604428,    Page229
                                                   Filed 04/01/22    of 14
                                                                  Page  264of 18
                                                                                              1480

         90.    Coonradt testified at a suppression hearing conducted on May 3, 2016, where she

reiterated her false claims that plaintiff had informed her that he told V.D. to go back to bed

because it was too early, that he woke up at 11:00 a.m., and made a comment that time must be

flying. Id. at Ex. 21, Suppression Hearing Tr. 10:4-18.

         91.    McDonald testified at the suppression hearing conducted on May 3, 2016, during

which he conceded plaintiff was upset, sniffling, and on the verge of tears, and repeatedly

expressed that he did not know what happened and was trying to figure out what happened. Id. at

Ex. 21, Suppression Hearing Tr. 112:9-113:17.

         92.    Coonradt testified at trial and again reiterated her false claims that plaintiff had

informed her that he told V.D. to go back to bed because it was too early, that he woke up at 11:00

a.m., and made a comment that time must be flying. Id. at Ex. 3, Trial Tr. III 67:17-68:3.

         93.    Sikirica testified at trial and, like with the grand jury, during his direct testimony

Sikirica did not inform the jury of his final autopsy finding that he had correlated V.D.’s injuries

to Davis’ attempted CPR with large hands, instead informing the jury it would take the force of a

motor vehicle accident or severe blunt force trauma caused by being hit in the abdomen with an

object or running into an object for such injuries to the liver to occur. Id. at Ex. 4, Trial Tr. IV

12:11-13:2; Ex. 28, Autopsy Rpt. 000119.

         94.    Sikirica denied at trial that his medical opinion was based on the video which

depicted Davis performing CPR despite that he directly referenced information learned from the

video in his autopsy report. Id. at Ex. 4, Trial Tr. IV 54:11-19.; Ex. 28, Autopsy Rpt. 000119.

         95.    Fountain also testified at the trial, although he had retired from TPD after he himself

had been indicted by defendant Abelove for corruption. Id. at Ex. 18, Fountain Dep. Tr. 89:11-

91:17.




                                                  14
      CaseCase 23-589, Document
           1:17-cv-01290-DJS Document
                                       APPENDIX
                                74, 01/17/2024,
                                        121-1 3604428,    Page230
                                                Filed 04/01/22    of 15
                                                               Page  264of 18
                                                                                            1481

       96.     The investigation which led to plaintiff’s arrest was a collaborative effort among

Sikirica, RCDAO, and the TPD. Id. at Ex. 25, Mason Dep. Tr. 42:20-44:20.

       97.     Sikirica was not a neutral witness, as evidenced by his decision to call a meeting

with ADA Hall and defendant Abelove to express his frustration and criticism of the trial ADA,

ADA Cindy Chavkin. Id. at Ex. 15, Sikirica Dep. Tr. Dep 48:2-51:13, 85:19-87:1.

       98.     Abelove conceded after the acquittal that the case against Davis was not strong but

stated that he did not regret pursuing it.        https://www.troyrecord.com/2016/08/25/former-

professional-basketball-player-acquitted-in-lansingburgh-toddlers-death/.

       99.     CPR can cause lacerations to the liver and fracture ribs, and the liver and ribs are

the more likely areas to be injured during CPR. Id. at Ex. 6, Trial Tr. VI 25:13-30:15, 65:3-24;

Ex. 15, Sikirica Dep. Tr. 100:19-23; Maloney Decl. Ex. 2, Maloney Rpt.

       100.    Prolonged CPR, as V.D. underwent, is significantly associated with a higher

incident of rib fractures, as is CPR if performed with a hand behind the decedent as Davis did here.

Klein Decl. Ex. 15, Sikirica Dep. Tr. 57:14-60:4.

       101.    The longer CPR is performed, the more CPR-associated injuries will be seen.

Maloney Decl. ¶ 9.

       102.    V.D. had no exterior bruising, or bruising or injuries to other organs, which is also

indicative of V.D.’s injuries being CPR related. Klein Decl. Ex. 6, Trial Tr. VI 41:7-43:7.

       103.    All experts concede the type of compressions Davis demonstrated were consistent

with the compressive injuries sustained by V.D. Id. at Ex. 4, Trial Tr. IV 58:15-25; Ex. 15, Sikirica

Dep. Tr. Dep. 83:18-84:11; Ex. 32, Brady Disclosure. Maloney Decl. Ex. 2, Maloney Rpt. p. 2.




                                                 15
      CaseCase 23-589, Document
           1:17-cv-01290-DJS Document
                                      APPENDIX
                                74, 01/17/2024,
                                        121-1 3604428,    Page231
                                                Filed 04/01/22    of 16
                                                               Page  264of 18
                                                                                           1482

       104.    V.D.’s injuries to her liver and ribs were obviously postmortem and did not

contribute to her death. Klein Decl. Ex. 6, Trial Tr. VI 33:12-43:7, 62:9-11. Maloney Decl. Ex.

2, Maloney Rpt. pp. 2-3.

       105.    Sikirica cannot dispute that V.D. was already unresponsive when Davis performed

CPR. Klein Decl. Ex. 15, Sikirica Dep. Tr. 66:21-67:3.

       106.    Sikirica concedes that injuries inflicted during the process of resuscitation efforts

when a person is already in extremis would not be a homicide. Id. at Ex. 15, Sikirica Dep Tr.

127:21-128:13.

       107.    Had Sikirica determined that the rib and liver injuries leading to death were from

EMS performing CPR, he would not have determined the death was a homicide, but rather would

have left the death undetermined or accidental. Id. at Ex. 15, Sikirica Dep. Tr. 127:21-128:6.

       108.    Sikirica performs approximately 600 autopsies per year, which is almost double the

maximum number of autopsies recommended by the National Board of Medical Examiners. Id.

at Ex. 4, Trial Tr. IV 36:20-39:24.

       109.    Sikirica has a history known to Rensselaer County of ignoring evidence of natural

deaths in children and of providing cause of death determinations and medical diagnoses consistent

with investigating police and prosecutors who are seeking manslaughter convictions for child

deaths, as established by the trials of Joseph McElheny in 2011 and Adrian Thomas in 2015. ECF

Doc. 77 ¶¶ 51-54.

       110.    Joseph McElheny was arrested by TPD officers, prosecuted by the RCDAO, and in

2011, acquitted of murdering his four-month-old daughter, based on a defense that defendant

Sikirica ignored extensive medical evidence which supported a finding that the child had died of




                                                16
      CaseCase 23-589, Document
           1:17-cv-01290-DJS Document
                                       APPENDIX
                                74, 01/17/2024,
                                        121-1 3604428,    Page232
                                                Filed 04/01/22    of 17
                                                               Page  264of 18
                                                                                            1483
natural causes. Id. at ¶ 52; Klein Decl. Ex. 38, Joseph McElheny Acquitted of Manslaughter and
Murder in Death of his 4-Month-Old Daughter, Saratogian, Oct. 12, 2011.
       111.    Adrian Thomas was also arrested by TPD officers, including some of the TPD
defendants herein, prosecuted by RCDAO, and in 2015, acquitted of charges including murder
arising from the death of his four-month-old son based on a defense that defendant Sikirica ignored
medical evidence that Thomas’ son had died of natural causes from sepsis. ECF Doc. 77 ¶ 54;
Klein Decl. Ex. 39, The National Registry of Exonerations, June 21, 2014, Post on Adrian Thomas.
See also Thomas v. Mason, et al., 17 CV 626 (DJS), which is currently pending before this Court.
       112.    Despite such notice, defendant Rensselaer continued to retain defendant Sikirica
and to proffer his reports and otherwise utilize his services in furtherance of wrongful prosecutions
involving juvenile deaths, including that of Davis. ECF Doc. 77 ¶ 58.
       113.    From 2005 through 2018, Sikirica was paid $72,600 per year to perform autopsies
for Rensselaer County. Klein Decl. Ex. 36, Civil Service Rec.
       114.    Sikirica received a raise in 2019 to $75,900 per year. Id.
Dated: April 1, 2022
       New York, New York
                                              BRETT H. KLEIN, ESQ., PLLC
                                              Attorneys for the Plaintiff
                                              305 Broadway, Suite 600
                                              New York, New York 10007
                                              (212) 335-0132
                                              By:     _____________________________
                                                      BRETT H. KLEIN
                                                      LISSA GREEN-STARK
                                                 17
       CaseCase 23-589, Document
            1:17-cv-01290-DJS Document
                                            APPENDIX
                                 74, 01/17/2024,
                                         121-1 3604428,    Page233
                                                 Filed 04/01/22    of 18
                                                                Page  264of 18
                                                                                                 1484

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------------------X

MICHAEL DAVIS-GUIDER,

                                                     Plaintiff,
                                                                                     17 CV 1290 (DJS)
                 -against-

CITY OF TROY, RONALD FOUNTAIN, Individually,
DANIELLE COONRADT, Individually, CHARLES MCDONALD,
Individually, TIM COLANERI, Individually, ADAM R. MASON,
Individually, RENSSELAER COUNTY, MICHAEL SIKIRICA,
Individually, and JOEL ABELOVE, Individually, and JOHN and
JANE DOE 1-10, Individually,


                                                     Defendant.

---------------------------------------------------------------------------------X




                 PLAINTIFF’S LOCAL RULE 56.1 COUNTER STATEMENT




                                    BRETT H. KLEIN, ESQ., PLLC
                                       Attorneys for the Plaintiff
                                       305 Broadway, Suite 600
                                      New York, New York 10007
                                            (212) 335-0132
           Case
          Case   23-589, Document 74,
               1:17-cv-01290-DJS  Document
                                            APPENDIX
                                      01/17/2024,
                                             122 3604428,   Page234
                                                  Filed 04/01/22    of 264
                                                                 Page  1 of 7
                                                                                                 1485

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------------------X
                                                                                     PLAINTIFF’S
MICHAEL DAVIS-GUIDER,                                                                RESPONSE TO
                                                                                     THE CITY
                                                                                     DEFENDANTS’
                                                     Plaintiff,                      STATEMENT
                 -against-                                                           OF MATERIAL
                                                                                     FACTS
CITY OF TROY, RONALD FOUNDTAIN, Individually,
DANIELLE COONRADT, Individually, CHARLES MCDONALD,                                   17 CV 1290 (DJS)
Individually, TIM COLANERI, Individually, ADAM R. MASON,
Individually, RENSSELAER COUNTY, MICHAEL SIKIRICA,
Individually, and JOEL ABELOVE, Individually,

                                                     Defendants.

---------------------------------------------------------------------------------X

        Plaintiff respectfully submits this response to the City defendants’ statement submitted

pursuant to Local Rule 56.1.

        1.       Not disputed.

        2.       Not disputed.

        3.       Not disputed.

        4.       Not disputed.

        5.       Not disputed.

        6.       Not disputed.

        7.       Disputed. Per Fountain’s notes, Rebecca left at 8:30 a.m. Klein Decl. Ex. 2,

Fountain Notes 000424; Ex. 37, Fountain Narrative 000441. Further note that the citation does

not support that fact asserted.

        8.       Not disputed except that the citation does not support the fact asserted.

        9.       Not disputed that plaintiff changed V.D.’s diaper and that V.D then went back to

sleep but assert that plaintiff testified that V.D. seemed sluggish and lower energy than normal
            Case
           Case   23-589, Document 74,
                1:17-cv-01290-DJS
                                       APPENDIX
                                       01/17/2024,
                                   Document   122 3604428,   Page235
                                                   Filed 04/01/22    of 264
                                                                  Page  2 of 7
                                                                                           1486

for her in the morning and this is why Davis sent her back to bed. Id. at Ex. 1, Davis Dep. Tr.

56:14-57:11.

       10.     Not disputed.

       11.     Not disputed.

       12.     Not disputed.

       13.     Not disputed.

       14.     Not disputed.

       15.     Not disputed.

       16.     Not disputed.

       17.     Not disputed.

       18.     Not disputed.

       19.     Not disputed.

       20.     Not disputed.

       21.     Not disputed.

       22.     Not disputed.

       23.     Not disputed.

       24.     Disputed. Coonradt testified under oath at the criminal trial that she approached

plaintiff and spoke to and questioned only him. Id. at Ex. 3, Trial Tr. III 66:17-68:3, 73:2-5; Ex.

16, Coonradt Dep. Tr. 14:20-16:16.

       25.     Not disputed that they had a brief conversation but disputed as to any inference

that the conversation was initiated by plaintiff, as Coonradt approached plaintiff and questioned

him. Id.

       26.     Not disputed.

       27.     Not disputed.

                                                 2
          Case
         Case   23-589, Document 74,
              1:17-cv-01290-DJS
                                      APPENDIX
                                     01/17/2024,
                                 Document   122 3604428,   Page236
                                                 Filed 04/01/22    of 264
                                                                Page  3 of 7
                                                                                          1487

       28.     Not disputed.

       29.     Not disputed.

       30.     Not disputed.

       31.     Not disputed.

       32.     Not disputed.

       33.     Not disputed.

       34.     Not disputed.

       35.     Not disputed.

       36.     Not disputed.

       37.     Not disputed.

       38.     Not disputed that items were taken from the home but disputed as to any inference

that the items implicated Davis in V.D.’s death or provided probable cause to arrest or prosecute.

Id. at Ex. 19, McDonald Dep Tr. 40:19-41:11.

       39.     Not disputed.

       40.     Not disputed.

       41.     Not disputed.

       42.     Disputed that it is common for police to be at autopsies generally. Sikirica

confirmed it is not uncommon in cases involving suspicious deaths or homicides. Id. at Ex. 15,

Sikirica Dep Tr. 152:21-153:11.

       43.     Not disputed.

       44.     Not disputed.

       45.     Not disputed.

       46.     Not disputed.

       47.     Not disputed.

                                                 3
          Case
         Case   23-589, Document 74,
              1:17-cv-01290-DJS
                                       APPENDIX
                                     01/17/2024,
                                 Document   122 3604428,   Page237
                                                 Filed 04/01/22    of 264
                                                                Page  4 of 7
                                                                                            1488

       48.     Not disputed.

       49.     Not disputed.

       50.     Not disputed.

       51.     Not disputed.

       52.     Not disputed.

       53.     Not disputed.

       54.     Not disputed.

       55.     Not disputed.

       56.     Not disputed that Sikirica may have voiced the opinion that V.D.’s injuries could

not have been caused by properly performed CPR, but disputed that such an opinion is correct,

and further note that Sikirica conceded that the manner in which Davis described doing CPR

could cause such injuries, which in this case would have been postmortem. Id. at Ex. 4, Trial Tr.

IV 58:15-25; Ex. 6, Trial Tr. VI 22:5-31:7, 32:34:7; Ex. 15, Sikirica Dep. Tr. Dep. 83:18-84:11;

Ex. 32, Brady Disclosure; Maloney Decl. ¶ 8, Ex. 2, Maloney Rpt.

       57.     Not disputed that Sikirica testified that he has not encountered injuries like V.D.’s

but disputed that any inference can be drawn from this testimony insofar as other medical

examiners have observed similar injuries. Klein Decl. Ex. 6, Trial Tr. VI 43:8-44:3, 63:12-64:15.

Maloney Decl. ¶ 8.

       58.     Not disputed.

       59.     Not disputed but note that defendant Sikirica also concluded in his autopsy report

that the cause of death was due a “[h]istory of decedent reportedly found unresponsive with

reported history of attempted cardiopulmonary resuscitation by a large adult.” Klein Decl. Ex.

28, Autopsy Rpt. 000119.

       60.     Not disputed that such was the conclusion in his report as to manner of death but

                                                 4
          Case
         Case   23-589, Document 74,
              1:17-cv-01290-DJS
                                        APPENDIX
                                     01/17/2024,
                                 Document   122 3604428,   Page238
                                                 Filed 04/01/22    of 264
                                                                Page  5 of 7
                                                                                              1489

disputed that his homicide determination was consistent with his finding that V.D.’s injuries were

due to a reported history of CPR by a large adult, insofar as Sikirica concedes that injuries

inflicted during the process of resuscitation efforts when a person is already in extremis would

not be a homicide, but rather should be categorizes as undetermined or accidental. Id. at Ex. 6,

Trial Tr. VI 33:12-43:7, 62:9-11; Ex. 15, Sikirica Dep Tr. 127:21-128:13. Maloney Decl. Ex. 2,

Maloney Rpt.

       61.     Not disputed.

       62.     Not disputed.

       63.     Not disputed.

       64.     Not disputed.

       65.     Not disputed.

       66.     Not disputed.

       67.     Not disputed.

       68.     Not disputed.

       69.     Not disputed.

       70.     Not disputed.

       71.     Not disputed.

       72.     Not disputed.

       73.     Disputed. While Coonradt did not personally place plaintiff in handcuffs, she was

personally involved in investigatory activity that led in part to plaintiff’s arrest. See Plaintiff’s

56.1 Counter Statement (hereinafter “PCS”) ¶¶ 25-26.

       74.     Not disputed.

       75.     Disputed. While McDonald did not personally place plaintiff in handcuffs, he was

personally involved in investigatory activity that led in part to plaintiff’s arrest. See e.g., PCS ¶¶

                                                  5
          Case
         Case 1:17-cv-01290-DJS
                                  APPENDIX
                23-589, Document 74, 01/17/2024,
                                 Document   122 3604428,   Page239
                                                 Filed 04/01/22    of 264
                                                                Page  6 of 7
                                                                               1490
28, 30, 32, 35, 46, 48, 50, 68.
       76.     Not disputed.
       77.     Not disputed.
       78.     Not disputed.
       79.     Not disputed.
       80.     Not disputed.
       81.     Not disputed.
       82.     Not disputed.
       83.     Not disputed.
       84.     Not disputed.
       85.     Not disputed.
       86.     Not disputed.
       87.     Not disputed.
Dated: April 1, 2022
       New York, New York
                                       BRETT H. KLEIN, ESQ., PLLC
                                       Attorneys for the Plaintiff
                                       305 Broadway, Suite 600
                                       New York, New York 10007
                                       (212) 335-0132
                                       By:   _____________________________
                                             BRETT H. KLEIN
                                             LISSA GREEN-STARK
                                         6
           Case
          Case   23-589, Document 74,
               1:17-cv-01290-DJS  Document
                                            APPENDIX
                                      01/17/2024,
                                             122 3604428,   Page240
                                                  Filed 04/01/22    of 264
                                                                 Page  7 of 7
                                                                                                 1491

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------------------X

MICHAEL DAVIS-GUIDER,

                                                     Plaintiff,
                                                                                     17 CV 1290 (DJS)
                 -against-

CITY OF TROY, RONALD FOUNDTAIN, Individually,
DANIELLE COONRADT, Individually, CHARLES MCDONALD,
Individually, TIM COLANERI, Individually, ADAM R. MASON,
Individually, RENSSELAER COUNTY, MICHAEL SIKIRICA,
Individually, and JOEL ABELOVE, Individually,

                                                     Defendant.

---------------------------------------------------------------------------------X




         PLAINTIFF’S RESPONSE TO THE CITY DEFENDANTS’ STATEMENT
                            OF MATERIAL FACTS




                                    BRETT H. KLEIN, ESQ., PLLC
                                       Attorneys for the Plaintiff
                                       305 Broadway, Suite 600
                                      New York, New York 10007
                                            (212) 335-0132
           Case
        Case    23-589, DocumentDocument
             1:17-cv-01290-DJS
                                            APPENDIX
                                 74, 01/17/2024,
                                          122-1 3604428,   Page241
                                                 Filed 04/01/22    of 264
                                                                Page  1 of 18
                                                                                                 1492

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------------------X

MICHAEL DAVIS-GUIDER,                                                                PLAINTIFF’S
                                                                                     LOCAL RULE 56.1
                                                     Plaintiff,                      COUNTER
                 -against-                                                           STATEMENT

CITY OF TROY, RONALD FOUNTAIN, Individually,                                         17 CV 1290 (DJS)
DANIELLE COONRADT, Individually, CHARLES MCDONALD,
Individually, TIM COLANERI, Individually, ADAM R. MASON,
Individually, RENSSELAER COUNTY, MICHAEL SIKIRICA,
Individually, and JOEL ABELOVE, Individually, and JOHN and
JANE DOE 1-10, Individually,

                                                     Defendants.

---------------------------------------------------------------------------------X

        Plaintiff respectfully submits this Local Rule 56.1 Counter Statement in support of his

opposition to defendants City of Troy, Adam R. Mason, Ronald Fountain, and Tim Colaneri’s

motion for summary judgment, and to defendants Rensselaer County, Michael Sikirica and Joel

Abelove’s motion for summary judgment.

        1.       V.D. is the daughter of plaintiff’s girlfriend, but plaintiff loved and cared for her as

if she was his own daughter. Klein Decl. Ex. 1, Davis Dep. Tr. 42:18-43:9.

        2.       Approximately one week before her death, V.D. was sick with a fever, coughing,

and vomiting. Id. at Ex. 1, Davis Dep Tr. 47:9-48:17.

        3.       V.D. had also complained of chest pain. Id. at Ex. 2, Fountain Notes 000424-25

        4.       V.D. suffered from low iron and a postmortem metabolic screening detected an

elevated thyroid stimulation hormone consistent with hypothyroidism. Id. at Ex. 1, Davis Dep Tr.

46:21-47:5; Maloney Decl. Ex. 2, Maloney Rpt. p. 2.
          Case
       Case 1:17-cv-01290-DJS
                                      APPENDIX
               23-589, DocumentDocument
                                74, 01/17/2024,
                                         122-1 3604428,   Page242
                                                Filed 04/01/22    of 264
                                                               Page  2 of 18
                                                                                           1493

       5.      V.D.’s autopsy also revealed evidence of chronic inflammation of the bronchi.

Klein Decl. Ex. 6, Trial Tr. VI 52:9-20.

       6.      The night before V.D.’s death, Michael Davis watched basketball with a friend

across the street, while V.D. remained home with her mother Rebecca Parker, and V.D. was

already asleep when Davis returned home. Id. at Ex. 1, Davis Dep. Tr. 49:18-53:3.

       7.      On February 26, 2015, when Davis woke up in the morning, he smelled poop and

called V.D. out from her room to the living room where he and Rebecca slept. Id. at Ex. 1, Davis

Dep. Tr. 55:23-57:11.

       8.      When V.D. came out to Davis, she appeared low energy, sluggish, and not her

normal self. Id. at Ex. 1, Davis Dep. Tr. 56:14-57:11; Ex. 8, Parker Witness Dep 000494.

       9.      Davis helped V.D. finish going to the bathroom, changed V.D.’s diaper, and offered

her food and a sippy cup, which V.D. declined. Id. at Ex. 1, Davis Dep. Tr. 56:14-57:11.

       10.     Consistent with Davis’ explanation of the morning events, police would later find

a sippy cup, soiled diaper, and pants on the floor near the bed in the living room, and V.D. in a

clean unsoiled diaper. Id. at Ex. 9, Grand Jury Tr. 000892-000893; Ex. 10, Mar. 2, 2015,

Interrogation Tr. 176:9-177:24

       11.     Seeing that V.D. appeared abnormally tired, Davis put her back to bed. Id. at Ex.

1, Davis Dep. Tr. 56:14-57:11.

       12.     Davis put on a movie in the living room and fell asleep himself. Id. at Ex. 1, Davis

Dep. Tr. 56:14-57:11.

       13.     When Davis woke up, he found V.D. unresponsive in her bed. Id. at Ex. 1, Davis

Dep. Tr. 59:22-61:6.




                                                2
          Case
       Case    23-589, DocumentDocument
            1:17-cv-01290-DJS
                                       APPENDIX
                                74, 01/17/2024,
                                         122-1 3604428,   Page243
                                                Filed 04/01/22    of 264
                                                               Page  3 of 18
                                                                                              1494

       14.     Davis attempted CPR a few times, including doing a few compressions where he

pressed down on her stomach with his hand behind her back, and then at 1:09 p.m., called 911

from a restaurant across the street because Davis did not have a working phone at home. Id. at Ex.

1, Davis Dep. Tr. 61:4-67:19; Ex. 11, 911 Call Sheet.

       15.     When emergency medical service providers (hereinafter “EMS”) arrived at the

scene, V.D. was already in cardiac arrest, was not breathing, had no pulse, no heart activity, and

was warm to the touch. Id. at Ex. 3, Trial Tr. III 38:9-42:18; Ex. 12, Bayley Witness Dep. 000496;

Ex. 13, CPS Case Notes 000499.

       16.     EMS immediately started CPR in the home, using two hands pressing very hard on

V.D., while V.D. was on a soft futon. Id. at Ex. 1, Davis Dep. Tr. 65:10-12, 72:9-73:5; Ex. 3, Trial

Tr. III 6:15-7:14, 15:22-24; Ex. 5, Trial Tr. V 52:5-53:17.

       17.     CPR should neither be performed with two hands on a child, nor should it be

performed on a soft surface. Id. at Ex. 6, Trial Tr. VI 64:2-15.

       18.     CPR was continued in the ambulance en route to St. Mary’s Hospital. Id. at Ex.

Ex. 3, Trial Tr. III 8:23-9:17.

       19.     Davis and Parker were not given an opportunity to go with V.D. in the ambulance.

Id. at Ex. 1, Davis Dep. Tr. 77:9-17; Ex. 5, Trial Tr. V 54:17-55:18; Ex. 8, Parker Witness Dep.

       20.     EMS performed 100 to 120 compressions per minute for the 20 minutes CPR was

performed in the home and on the way to the hospital. Id. at Ex. 3, Trial Tr. III 29:7-30:23.

       21.     Only after performing CPR did EMS briefly detect some heart activity while in the

ambulance. Id. at Ex. 3, Trial Vol III 38:9-40:12.

       22.     At no time did V.D. regain a pulse or start breathing. Id. at Ex. 3, Trial Tr. III 8:25-

9:6.




                                                  3
          Case
       Case    23-589, DocumentDocument
            1:17-cv-01290-DJS
                                        APPENDIX
                                74, 01/17/2024,
                                         122-1 3604428,   Page244
                                                Filed 04/01/22    of 264
                                                               Page  4 of 18
                                                                                            1495

       23.     CPR was continued at the hospital for another thirty minutes, before V.D. was

pronounced dead at 2:10 p.m. Id. at Ex. 3, Trial Tr. III 53:25-54:9; Ex. 14, Crisafulli Witness Dep.

000495.

       24.     A total of approximately 6,000 compressions were done collectively by EMS and

hospital staff. Id. at Ex. 15, Sikirica Dep. Tr. 57:1-5.

       25.     Defendant Troy Police Department (hereinafter “TPD”) Officer Danielle Coonradt

was the first officer to respond to the scene and despite that per EMS, V.D. had no visible injuries,

Coonradt began searching the house in a manner that indicated she was suspicious of something,

including opening cupboards and looking in high places. Id. at Ex. 1, Davis Dep. Tr. 73:17-75:11,

152:4-153:6, 155:21-159:15; Id. at Ex. 3, Trial Tr. III 42:22-43:625.

       26.     Coonradt also questioned plaintiff and prepared an inaccurate report of her

conversation with Davis, falsely recording in an official police report that Davis purportedly told

her he tried to wake V.D. up at 11:00 a.m., and that he responded to Coonradt’s statement that it

was now 1:30 p.m. by stating that time must be flying. Id. at Ex. 1, Davis Dep. Tr. 79:16-81:4,

145:10-146:6; Ex. 16, Coonradt Dep. Tr. 15:13-16:7; Ex. 17, Coonradt Supp. Rpt. 000490.

       27.     To the contrary, Davis told the police that he was not sure what time he woke up

because he did not have a clock in the house and his phone was not working. Id. at Ex. 1, Davis

Dep. Tr. 79:16-81:4.

       28.     Defendants former TPD Detective Ronald Fountain and Detective Charles

McDonald were jointly assigned to conduct the investigation of the case and responded to the Mr.

Davis’ home on February 26, 2015. Id. at Ex. 18, Fountain Dep. Tr. 34:12-20, 40:6-11, 41:3-20;

Ex. 19, McDonald Dep. Tr. 27:6-29:8.




                                                  4
          Case
       Case    23-589, DocumentDocument
            1:17-cv-01290-DJS
                                       APPENDIX
                                74, 01/17/2024,
                                         122-1 3604428,   Page245
                                                Filed 04/01/22    of 264
                                                               Page  5 of 18
                                                                                            1496

       29.     Fountain told plaintiff he would be driven to the hospital, but instead McDonald

and Fountain drove Davis to the TPD headquarters. Id. at Ex. 1, Davis Dep. Tr. 152:4-154:10.

       30.     At the TPD headquarters, McDonald first sat with plaintiff trying to keep him

occupied while Fountain went to the hospital to gather more information. Id. at Ex. 19, McDonald

Dep. Tr. 36:20-38:7.

       31.     Defendant Tim Colaneri was also involved in the investigation, first going to the

hospital with an evidence technician to take photographs, and then going to plaintiff’s home, where

he got a briefing from an officer on scene, assisted in executing a search warrant, and also assisted

in canvassing the neighborhood and speaking to witnesses. Id. at Ex. 20, Colaneri Dep Tr. 16:5-

24:3, 24:20-25:8; Ex. 22, Cont. Suppression Hearing Tr. 26:11-13.

       32.     Fountain, McDonald, and Colaneri then interrogated Davis at the precinct. Id. at

Ex. Ex. 19, McDonald Dep. Tr. 38:8-39:22; Ex. 20, Colaneri Dep. Tr. 24:4-25:17.

       33.     Colaneri was the primary questioner during the first interrogation of Davis, and he

recorded part of the interrogation on his cell phone. Id. at Ex. 18, Fountain Dep. Tr. 37:5-38:2;

Ex. 20, Colaneri Dep. Tr. 24:4-25:17; Ex. 21, Suppression Hearing Tr. 115:8-14.

       34.     Davis provided no incriminating statements during his first conversation with

police, and defendants concede probable cause to arrest plaintiff did not exist based on the known

information. Id. at Ex. 18, Fountain Dep. Tr. 38:3-13; Ex. 20, Colaneri Dep. Tr. 27:12-15.

       35.     On February 27, 2015, an autopsy was conducted by defendant Michael Sikirica,

the Rensselaer County medical examiner, which was attended by defendants McDonald, Fountain,

and Colaneri, evidence technician Anthony Buttofucco, and an Assistant District Attorney

(hereinafter “ADA”) from the Rensselaer County District Attorney’s Office (hereinafter




                                                 5
          Case
       Case    23-589, DocumentDocument
            1:17-cv-01290-DJS
                                       APPENDIX
                                74, 01/17/2024,
                                         122-1 3604428,   Page246
                                                Filed 04/01/22    of 264
                                                               Page  6 of 18
                                                                                             1497

“RCDAO”) Andra Ackerman. Id. at Ex. 18, Fountain Dep. Tr. 48:5-49:5, Ex. 23, Feb. 27, 2015,

Sign in Sheet 000436.

       36.     Andra Ackerman’s overall supervisor was District Attorney Joel Abelove. Id. at

Ex. 24, Abelove Dep. Tr. 29:13-30:20.

       37.     Law enforcement presence is not necessary for Sikirica to perform an autopsy and

law enforcement is generally not present for all autopsies conducted by Sikirica. Id. at Ex. 4, Trial

Tr. IV 47:21-50:2; Ex. 18, Fountain Dep Tr. 118:19-119:19.

       38.     The TPD officers were present during V.D.’s autopsy to feed Sikirica information.

Id. at Ex. 9, Grand Jury Tr. 000901.

       39.     Fountain would have told Sikirica that Davis was the only person home when V.D.

died. Id. at Ex. 18, Fountain Dep. Tr. 118:19-119:19.

       40.     As part of the autopsy, Sikirica ordered some tests relevant to determining whether

V.D. had died of natural causes, but despite that the results of said tests were outstanding, Sikirica

informed Fountain that he planned to rule the death a homicide. Id. at Ex. 13, CPS Records

000507, 000521.

       41.     Sikirica’s decision to rule the death a homicide based solely on his discussions with

the defendant TPD officers, and on the observed injuries, resulted in Sikirica failing to fully

explore potential natural causes of death. Id. at Ex. 6, Trial Tr. VI 49:6-50:21.

       42.     The National Academy of Science recommends that law enforcement and

prosecutors should not be present during autopsies because they may influence the medical

examiner. Id. at Ex. 6, Trial Tr. VI 55:14-56:14.




                                                  6
          Case
       Case    23-589, DocumentDocument
            1:17-cv-01290-DJS
                                       APPENDIX
                                74, 01/17/2024,
                                         122-1 3604428,   Page247
                                                Filed 04/01/22    of 264
                                                               Page  7 of 18
                                                                                         1498

       43.     On February 27, 2015, plaintiff and Ms. Parker were questioned again by Mason

and TPD Sergeant Parrow. Id. at Ex. 1, Davis Dep. Tr. 90:17-92:19; Ex. 25, Mason Dep. Tr.

29:19-31:18.

       44.     On March 1, 2015, ADA Ackerman sent an email to defendants Fountain and

Colaneri, copying defendant Abelove, concerning a February 28, 2015, meeting held regarding

next steps in investigating Davis and V.D.’s death. Id. at Ex. 18, Fountain Dep. Tr. 121:2-122:21;

Ex. 26, March 1, 2015, Email.

       45.     On March 2, 2015, Fountain conducted a second interview of Davis inside an

interrogation room at TPD headquarters, which lasted approximately two hours and was recorded

by the TPD defendants via a video camera. Id. at Ex. 18, Fountain Dep. Tr. 61:10-63:23.

       46.     McDonald participated in the interview by monitoring the video feed on a computer

from a separate room. Id. at Ex. 19, McDonald Dep. Tr. 46:11-23.

       47.     The March 2, 2015, interview yielded no additional information to support probable

cause to arrest Davis, and it was still unknown to the defendants what caused V.D.’s death. Id. at

Ex. 18, Fountain Dep Tr. 63:7-67:18.

       48.     On March 12, 2015, a subsequent meeting was held with defendant Sikirica,

attended by defendants Fountain, Colaneri, and Mason, as well as ADA Ackerman, and TPD

Detective Sergeant Parrow, to discuss the case. Id. at Ex. 18, Fountain Dep. Tr. 68:6-69:16; Ex.

27, March 12, 2015, Sign in Sheet 000439.

       49.     Sometime before or after the meeting, Sikirica received a copy of the March 2,

2015, interrogation video from the TPD defendants, during which Davis demonstrated how he had

attempted to perform CPR on V.D. Id. at Ex. 15, Sikirica Dep. 118:15-119:12.




                                                7
          Case
       Case    23-589, DocumentDocument
            1:17-cv-01290-DJS
                                          APPENDIX
                                74, 01/17/2024,
                                         122-1 3604428,   Page248
                                                Filed 04/01/22    of 264
                                                               Page  8 of 18
                                                                                          1499

       50.     Over the next several months, Fountain and McDonald questioned plaintiff at least

two more times while he was out walking and Fountain told him, in sum and substance, that he

needed him to tell the truth because his boss was pressuring him to close the case. Id. at Ex. 1,

Davis Dep. Tr. 93:14-94:15, 138:9-140:8, 162:8-163:23.

       51.     Fountain also met with the RCDAO a few times during the investigation and before

the final autopsy report was released. Id. at Ex. 18, Fountain Dep. Tr. 43:17-44:17, 70:19-72:2.

       52.     The only evidence linking Davis to V.D.’s death was that he was with her when she

died, which alone is not sufficient to charge a person with murder. Id. at Ex. 18, Fountain Dep.

Tr. 64:2-21, 97:22-99:10.

       53.     On August 14, 2015, defendant Sikirica issued his final autopsy report determining

in relevant part that the manner of V.D.’s death was purportedly a homicide and that V.D. had died

of “[h]ypovolemic shock due to a large hemoperitoneum due to multiple lacerations of the liver

with right rib fractures due to blunt force trauma” and noting a “[h]istory of decedent reportedly

found unresponsive with reported history of attempted cardiopulmonary resuscitation by a large

adult.” Id. at Ex. 28, Autopsy Rpt. 000110, 000119.

       54.     Sikirica made this determination after watching the video of Davis demonstrating

CPR and linking the pattern of injuries observed to be most consistent with what Davis had

demonstrated on the video. Id. at Ex. 15, Sikirica Dep. 83:18-84:11.

       55.     Had Sikirica not seen the video he would not have attributed the death to Davis. Id.

at Ex. 15, Sikirica Dep. Tr. 98:2-99:3.

       56.     Sikirica failed to note in his autopsy report that an additional 6,000 compressions

were also performed on V.D. by EMS and hospital staff of various sized hands, despite conceding




                                                8
          Case
       Case 1:17-cv-01290-DJS
                                      APPENDIX
               23-589, DocumentDocument
                                74, 01/17/2024,
                                         122-1 3604428,   Page249
                                                Filed 04/01/22    of 264
                                                               Page  9 of 18
                                                                                           1500

he was aware that V.D. had undergone prolonged CPR. See Id. at Ex. 15, Sikirica Dep. Tr. 101:1-

102:5; Ex. 28, Autopsy Rpt.

       57.     The size of an individual’s hands cannot be medically correlated to the resultant

CPR-related injury based on accepted medical research and knowledge. Maloney Decl. ¶ 10; Ex.

2, Maloney Rpt. p. 2.

       58.     Notwithstanding that he was given the supporting depositions of EMS and medical

staff taken by TPD, Sikirica neither spoke to EMS nor to the emergency room doctors who

performed CPR to determine how CPR was conducted by them prior to issuing his report, but

rather just assumed it was done correctly and without compressing the abdomen. Klein Decl. Ex.

15, Sikirica Dep. Tr. 53:18-55:7, 72:10-78:19.

       59.     Sikirica should have spoken to all the individuals who performed CPR where it was

known that extensive CPR involving several thousand compressions was performed and there was

a known possibility that V.D.’s injuries were CPR related. Id. at Ex. 6, Trial Tr. VI 22:5-19.

       60.     Sikirica’s assumption that CPR was performed correctly was faulty given that EMS

had performed CPR with two hands while V.D. was on a soft futon. Id. at Ex. 1, Davis Dep. Tr.

65:10-12, 72:9-73:5; Ex. 3, Trial Tr. III 6:15-7:14, 15:22-24; Ex. 5, Trial Tr. V 52:5-53:17; Ex. 6,

Trial Tr. VI 64:2-15.

       61.     Sikirica destroyed the contemporaneous dictation he made from which the final

autopsy report was drafted. Id. at Ex. 4, Trial Tr. IV 41:11-42:24.

       62.     At the time of these events, Davis was 6’ 10” tall and approximately 240 to 250

pounds and had very big hands. Id. at Ex. 1, Davis Tr. 62:21-63:4.




                                                 9
        CaseCase 23-589, Document
             1:17-cv-01290-DJS Document
                                       APPENDIX
                                  74, 01/17/2024,
                                          122-1 3604428,    Page250
                                                  Filed 04/01/22    of 10
                                                                 Page  264of 18
                                                                                             1501

        63.    Without the autopsy findings linking the death to a large adult, i.e., Davis, there

was no probable cause to arrest Davis for V.D.’s death. Id. at Ex. 19, McDonald Dep. Tr. 67:9-

23.

        64.    When Sikirica determined V.D.’s death was a homicide, it was foreseeable to him

that this would lead to a homicide prosecution, and Sikirica further understood that his

determination and testimony would be important to the prosecution. Id. at Ex. 15, Sikirica Dep.

Tr. 82:9-14, 140:11-21.

        65.    On September 9, 2015, Fountain, along with McDonald, interviewed Davis in the

aforementioned interrogation room on video for a third time, during which no new information to

support an arrest was learned. Id. at Ex. 18, Fountain Dep Tr. 75:21-76:6, 78:8-13; Ex. 19,

McDonald Dep. Tr. 52:2-53:16

        66.    Fountain believed, based on conversations with Sikirica, that V.D.’s ribs had been

fractured and that the ribs had lacerated the liver, causing V.D. to die. Id. at Ex. 18, Fountain Dep.

Tr. 50:12-51:15.

        67.    According to Sikirica, Fountain’s understanding of V.D.’s death was incorrect, and

he would not have told him that was the cause of death. Id. at Ex. 18, Fountain Dep. Tr. 92:1-

93:8.

        68.    McDonald, along with Fountain, met with a prosecutor, believed to be ADA

Ackerman from the RCDAO, prior to the grand jury presentation to discuss what would be

charged, but did not testify because he was on vacation when the grand jury was convened. Id. at

Ex. 19, McDonald Dep. Tr. 91:21-94:18.




                                                 10
      CaseCase 23-589, Document
           1:17-cv-01290-DJS Document
                                       APPENDIX
                                74, 01/17/2024,
                                        122-1 3604428,    Page251
                                                Filed 04/01/22    of 11
                                                               Page  264of 18
                                                                                           1502

       69.     Fountain falsely testified to the grand jury that Davis said it was a normal

occurrence for V.D. to wake up tired. Id. at Ex. 8, Parker Witness Dep. 000494; Ex. 9, Grand Jury

Tr. 000878-000879; Ex. 10, Mar. 2, 2015, Interrogation 74:9-75:10.

       70.     Fountain falsely informed the grand jury that V.D.’s bed was really neat and made

up, and not fussed or messed up at all, and therefore inconsistent with someone performing CPR

on the bed as Davis claimed he did. Id. at Ex. 9, Grand Jury Tr. 000881-000882; Ex. 29, Photo of

Bed DSC_7357.

       71.     Fountain falsely informed the grand jury that Davis and Parker were not prevented

from going to the hospital in the ambulance. Id. at Ex. 8, Parker Witness Dep. 000493; Ex. 9,

Grand Jury Tr. 000868-000869.

       72.     Fountain falsely informed the grand jury that Davis was calm, subdued, even

keeled, and not acting like you would think somebody would if they had a two-and-a-half-year-

old who was not breathing. Id. at Ex. 9, Grand Jury Tr. 000876.

       73.     To the contrary, on February 26, 2015, Davis was distraught, upset, concerned,

sniffling, and crying at times. Id. at Ex. 21, Suppression Hearing Tr. 18:23-19:2; 25:10-22; 115:15-

116:11; 157:13-160:8; Ex. 30, Brown St. 001538; Ex. 31, Brown Witness Dep. 0001680.

       74.     Sikirica met with the RCDAO after he issued his report and before testifying before

the grand jury. Id. at Ex. 15, Sikirica Dep. Tr. 26:2-10.

       75.     Sikirica falsely told the grand jury that he had ruled out any natural cause of death

or other explanation for V.D. to have been unconscious, despite later conceding that it was possible

V.D. had died of a natural event and that he could not dispute that V.D. could have been in cardiac

arrest before Davis attempted CPR. Id. at Ex. 9, Grand Jury Tr. 000911-000912, 000917; Id. at

Ex. 15, Sikirica Dep. Tr. 66:21-67:3, 79:17-82:8.




                                                11
      CaseCase 23-589, Document
           1:17-cv-01290-DJS Document
                                       APPENDIX
                                74, 01/17/2024,
                                        122-1 3604428,    Page252
                                                Filed 04/01/22    of 12
                                                               Page  264of 18
                                                                                             1503

       76.     In his direct testimony presented by RCDAO to the grand jury, Sikirica did not

inform the grand jury of his final autopsy finding that he had correlated V.D.’s injuries to a

“[h]istory of decedent reportedly found unresponsive with reported history of attempted

cardiopulmonary resuscitation by a large adult.” Id. at Ex. 9, Grand Jury Tr. 000895-000917; Ex.

28, Autopsy Rpt. 000119.

       77.     The District Attorney placed into evidence before the grand jury only photos of the

lacerated liver and the final death certificate, omitting the final autopsy report which referenced

the performance of CPR by a large adult. Id. at Ex. 9, Grand Jury Tr. 000895-000917.

       78.     Only when recalled to the grand jury and pressed by a grand juror did Sikirica

concede that the manner in which Davis described doing CPR could cause rib fractures and

lacerations to the liver. Id. at Ex. 9, Grand Jury Tr. 000853-000862.

       79.     This concession was exculpatory evidence which was later disclosed by RCDAO

pursuant to Brady v. Maryland, 373 U.S. 83 (1963). Id. at Ex. 31, July 20, 2016, Disclosure.

       80.     Sikirica falsely informed the grand jury that the amount of blood found in V.D.’s

abdomen indicated that the fractures and lacerations did not occur during Davis’ CPR attempt and

that V.D. was alive after the injuries were inflicted because the five squeezes described by Davis

would not have amounted to 400 MLs of blood. Id. at Ex. 9, Grand Jury Tr. 000861-000862.

       81.     Sikirica failed to put in his autopsy report or to otherwise inform the grand jury that

after Davis’ five squeezes, EMS and hospital staff did approximately 6,000 additional

compressions which would have contributed to the amount of blood found in V.D.’s abdomen at

autopsy. Id. at Ex. 9, Grand Jury Tr. 000853-000864; Ex. 15, Sikirica Dep. Tr. 77:9-23; Maloney

Decl. Ex. 2, Maloney Rpt. p. 2.




                                                 12
      CaseCase 23-589, Document
           1:17-cv-01290-DJS Document
                                       APPENDIX
                                74, 01/17/2024,
                                        122-1 3604428,    Page253
                                                Filed 04/01/22    of 13
                                                               Page  264of 18
                                                                                             1504

       82.     No pathologist should draw the conclusion that the amount of blood seen on

autopsy was present at the time of death because it is known that humans continue to bleed after

death with CPR. Klein Decl. Ex. 6, Trial Tr. VI 52:21-55:10.

       83.     The amount of blood in V.D.’s abdomen at autopsy was consistent with CPR and

with the fact that lacerations to the liver continue to bleed. Maloney Decl. Ex. 2, Maloney Rpt. p.

2.

       84.     EMS reported that V.D.’s stomach was not distended upon arrival, which also

supports that additional blood accumulated while CPR was being performed by EMS and hospital staff.

Maloney Decl. Ex. 2, Maloney Rpt. p. 2.

       85.     Sikirica falsely informed the grand jury that when EMS arrived, V.D. was cool to

the touch and had some electrical activity in her heart, when in actuality per EMS V.D. was warm

to the touch and had no electrical activity. Klein Decl. Ex. 3, Trial Tr. III 38:9-42:18; Ex. 9, Grand

Jury Tr. 000853Ex. 12, Bayley Witness Dep. 000496; Ex. 13, CPS Case Notes 000499.

       86.     Sikirica falsely informed the jury that based on the false fact that V.D. purportedly

had electrical activity when EMS responded, V.D.’s injuries had occurred approximately 15 to 20

minutes prior to the arrival of EMS. Id. at Ex. 9, Grand Jury Tr. 000863-000864.

       87.     After hearing the testimony of only Fountain and Sikirica, the grand jury indicted

plaintiff. Id. at Ex. 9, Grand Jury Tr.; Ex. 33, Indictment P000031-P000033.

       88.     Joel Abelove signed the indictment. Id. at Ex. Ex. 33, Indictment P000033.

       89.     After the indictment, an arrest warrant was issued, and plaintiff was arrested on

October 2, 2015, and jailed until his acquittal after a jury trial on August 25, 2016. Id. at Ex. 1,

Davis Dep. Tr. 13:11-14:5; Ex. 7, Trial Tr. VII 19:20-23:17; Ex. 18, Fountain Dep Tr. 46:19-47:8;

Ex. 34, Arrest Report 000534; Ex. 35, Davis City 50-h 11:4-13:7.




                                                 13
         CaseCase 23-589, Document
              1:17-cv-01290-DJS Document
                                        APPENDIX
                                   74, 01/17/2024,
                                           122-1 3604428,    Page254
                                                   Filed 04/01/22    of 14
                                                                  Page  264of 18
                                                                                              1505

         90.    Coonradt testified at a suppression hearing conducted on May 3, 2016, where she

reiterated her false claims that plaintiff had informed her that he told V.D. to go back to bed

because it was too early, that he woke up at 11:00 a.m., and made a comment that time must be

flying. Id. at Ex. 21, Suppression Hearing Tr. 10:4-18.

         91.    McDonald testified at the suppression hearing conducted on May 3, 2016, during

which he conceded plaintiff was upset, sniffling, and on the verge of tears, and repeatedly

expressed that he did not know what happened and was trying to figure out what happened. Id. at

Ex. 21, Suppression Hearing Tr. 112:9-113:17.

         92.    Coonradt testified at trial and again reiterated her false claims that plaintiff had

informed her that he told V.D. to go back to bed because it was too early, that he woke up at 11:00

a.m., and made a comment that time must be flying. Id. at Ex. 3, Trial Tr. III 67:17-68:3.

         93.    Sikirica testified at trial and, like with the grand jury, during his direct testimony

Sikirica did not inform the jury of his final autopsy finding that he had correlated V.D.’s injuries

to Davis’ attempted CPR with large hands, instead informing the jury it would take the force of a

motor vehicle accident or severe blunt force trauma caused by being hit in the abdomen with an

object or running into an object for such injuries to the liver to occur. Id. at Ex. 4, Trial Tr. IV

12:11-13:2; Ex. 28, Autopsy Rpt. 000119.

         94.    Sikirica denied at trial that his medical opinion was based on the video which

depicted Davis performing CPR despite that he directly referenced information learned from the

video in his autopsy report. Id. at Ex. 4, Trial Tr. IV 54:11-19.; Ex. 28, Autopsy Rpt. 000119.

         95.    Fountain also testified at the trial, although he had retired from TPD after he himself

had been indicted by defendant Abelove for corruption. Id. at Ex. 18, Fountain Dep. Tr. 89:11-

91:17.




                                                  14
      CaseCase 23-589, Document
           1:17-cv-01290-DJS Document
                                       APPENDIX
                                74, 01/17/2024,
                                        122-1 3604428,    Page255
                                                Filed 04/01/22    of 15
                                                               Page  264of 18
                                                                                            1506

       96.     The investigation which led to plaintiff’s arrest was a collaborative effort among

Sikirica, RCDAO, and the TPD. Id. at Ex. 25, Mason Dep. Tr. 42:20-44:20.

       97.     Sikirica was not a neutral witness, as evidenced by his decision to call a meeting

with ADA Hall and defendant Abelove to express his frustration and criticism of the trial ADA,

ADA Cindy Chavkin. Id. at Ex. 15, Sikirica Dep. Tr. Dep 48:2-51:13, 85:19-87:1.

       98.     Abelove conceded after the acquittal that the case against Davis was not strong but

stated that he did not regret pursuing it.        https://www.troyrecord.com/2016/08/25/former-

professional-basketball-player-acquitted-in-lansingburgh-toddlers-death/.

       99.     CPR can cause lacerations to the liver and fracture ribs, and the liver and ribs are

the more likely areas to be injured during CPR. Id. at Ex. 6, Trial Tr. VI 25:13-30:15, 65:3-24;

Ex. 15, Sikirica Dep. Tr. 100:19-23; Maloney Decl. Ex. 2, Maloney Rpt.

       100.    Prolonged CPR, as V.D. underwent, is significantly associated with a higher

incident of rib fractures, as is CPR if performed with a hand behind the decedent as Davis did here.

Klein Decl. Ex. 15, Sikirica Dep. Tr. 57:14-60:4.

       101.    The longer CPR is performed, the more CPR-associated injuries will be seen.

Maloney Decl. ¶ 9.

       102.    V.D. had no exterior bruising, or bruising or injuries to other organs, which is also

indicative of V.D.’s injuries being CPR related. Klein Decl. Ex. 6, Trial Tr. VI 41:7-43:7.

       103.    All experts concede the type of compressions Davis demonstrated were consistent

with the compressive injuries sustained by V.D. Id. at Ex. 4, Trial Tr. IV 58:15-25; Ex. 15, Sikirica

Dep. Tr. Dep. 83:18-84:11; Ex. 32, Brady Disclosure. Maloney Decl. Ex. 2, Maloney Rpt. p. 2.




                                                 15
      CaseCase 23-589, Document
           1:17-cv-01290-DJS Document
                                      APPENDIX
                                74, 01/17/2024,
                                        122-1 3604428,    Page256
                                                Filed 04/01/22    of 16
                                                               Page  264of 18
                                                                                           1507

       104.    V.D.’s injuries to her liver and ribs were obviously postmortem and did not

contribute to her death. Klein Decl. Ex. 6, Trial Tr. VI 33:12-43:7, 62:9-11. Maloney Decl. Ex.

2, Maloney Rpt. pp. 2-3.

       105.    Sikirica cannot dispute that V.D. was already unresponsive when Davis performed

CPR. Klein Decl. Ex. 15, Sikirica Dep. Tr. 66:21-67:3.

       106.    Sikirica concedes that injuries inflicted during the process of resuscitation efforts

when a person is already in extremis would not be a homicide. Id. at Ex. 15, Sikirica Dep Tr.

127:21-128:13.

       107.    Had Sikirica determined that the rib and liver injuries leading to death were from

EMS performing CPR, he would not have determined the death was a homicide, but rather would

have left the death undetermined or accidental. Id. at Ex. 15, Sikirica Dep. Tr. 127:21-128:6.

       108.    Sikirica performs approximately 600 autopsies per year, which is almost double the

maximum number of autopsies recommended by the National Board of Medical Examiners. Id.

at Ex. 4, Trial Tr. IV 36:20-39:24.

       109.    Sikirica has a history known to Rensselaer County of ignoring evidence of natural

deaths in children and of providing cause of death determinations and medical diagnoses consistent

with investigating police and prosecutors who are seeking manslaughter convictions for child

deaths, as established by the trials of Joseph McElheny in 2011 and Adrian Thomas in 2015. ECF

Doc. 77 ¶¶ 51-54.

       110.    Joseph McElheny was arrested by TPD officers, prosecuted by the RCDAO, and in

2011, acquitted of murdering his four-month-old daughter, based on a defense that defendant

Sikirica ignored extensive medical evidence which supported a finding that the child had died of




                                                16
      CaseCase 23-589, Document
           1:17-cv-01290-DJS Document
                                       APPENDIX
                                74, 01/17/2024,
                                        122-1 3604428,    Page257
                                                Filed 04/01/22    of 17
                                                               Page  264of 18
                                                                                            1508
natural causes. Id. at ¶ 52; Klein Decl. Ex. 38, Joseph McElheny Acquitted of Manslaughter and
Murder in Death of his 4-Month-Old Daughter, Saratogian, Oct. 12, 2011.
       111.    Adrian Thomas was also arrested by TPD officers, including some of the TPD
defendants herein, prosecuted by RCDAO, and in 2015, acquitted of charges including murder
arising from the death of his four-month-old son based on a defense that defendant Sikirica ignored
medical evidence that Thomas’ son had died of natural causes from sepsis. ECF Doc. 77 ¶ 54;
Klein Decl. Ex. 39, The National Registry of Exonerations, June 21, 2014, Post on Adrian Thomas.
See also Thomas v. Mason, et al., 17 CV 626 (DJS), which is currently pending before this Court.
       112.    Despite such notice, defendant Rensselaer continued to retain defendant Sikirica
and to proffer his reports and otherwise utilize his services in furtherance of wrongful prosecutions
involving juvenile deaths, including that of Davis. ECF Doc. 77 ¶ 58.
       113.    From 2005 through 2018, Sikirica was paid $72,600 per year to perform autopsies
for Rensselaer County. Klein Decl. Ex. 36, Civil Service Rec.
       114.    Sikirica received a raise in 2019 to $75,900 per year. Id.
Dated: April 1, 2022
       New York, New York
                                              BRETT H. KLEIN, ESQ., PLLC
                                              Attorneys for the Plaintiff
                                              305 Broadway, Suite 600
                                              New York, New York 10007
                                              (212) 335-0132
                                              By:     _____________________________
                                                      BRETT H. KLEIN
                                                      LISSA GREEN-STARK
                                                 17
       CaseCase 23-589, Document
            1:17-cv-01290-DJS Document
                                            APPENDIX
                                 74, 01/17/2024,
                                         122-1 3604428,    Page258
                                                 Filed 04/01/22    of 18
                                                                Page  264of 18
                                                                                                 1509

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------------------X

MICHAEL DAVIS-GUIDER,

                                                     Plaintiff,
                                                                                     17 CV 1290 (DJS)
                 -against-

CITY OF TROY, RONALD FOUNTAIN, Individually,
DANIELLE COONRADT, Individually, CHARLES MCDONALD,
Individually, TIM COLANERI, Individually, ADAM R. MASON,
Individually, RENSSELAER COUNTY, MICHAEL SIKIRICA,
Individually, and JOEL ABELOVE, Individually, and JOHN and
JANE DOE 1-10, Individually,


                                                     Defendant.

---------------------------------------------------------------------------------X




                 PLAINTIFF’S LOCAL RULE 56.1 COUNTER STATEMENT




                                    BRETT H. KLEIN, ESQ., PLLC
                                       Attorneys for the Plaintiff
                                       305 Broadway, Suite 600
                                      New York, New York 10007
                                            (212) 335-0132
           Case
          Case   23-589, Document 74,
               1:17-cv-01290-DJS  Document
                                            APPENDIX
                                      01/17/2024,
                                             123 3604428,   Page259
                                                  Filed 04/01/22    of 264
                                                                 Page  1 of 6
                                                                                                 1510

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------------------X

MICHAEL DAVIS-GUIDER,
                                                                                     DECLARATION
                                                     Plaintiff,                      OF BRETT H.
                 -against-                                                           KLEIN

CITY OF TROY, RONALD FOUNDTAIN, Individually,                                        17 CV 1290 (DJS)
DANIELLE COONRADT, Individually, CHARLES MCDONALD,
Individually, TIM COLANERI, Individually, ADAM R. MASON,
Individually, RENSSELAER COUNTY, MICHAEL SIKIRICA,
Individually, and JOEL ABELOVE, Individually,

                                                     Defendants.

---------------------------------------------------------------------------------X

        BRETT H. KLEIN, declares under penalty of perjury pursuant to 28 U.S.C. § 1746 that

the following is true and correct:

        1.       My firm represents the plaintiff, Michael Davis-Guider, in the above-captioned

action. I make this declaration in support of plaintiff’s memorandum of law, responses to

defendants’ statements of material fact, and plaintiff’s Local Rule 56.1 counter statement, which

are all respectfully submitted in opposition to defendants’ motions for summary judgment.

        2.       Attached hereto as Exhibit 1 are excerpts from the deposition testimony of

Michael Davis-Guider conducted on May 19, 2021.

        3.       Attached hereto as Exhibit 2 are investigative notes recorded by defendant Ronald

Fountain.

        4.       Attached hereto as Exhibit 3 are excerpts from the criminal trial testimony taken

on August 19, 2016.

        5.       Attached hereto as Exhibit 4 are excerpts from the criminal trial testimony taken

on August 22, 2016.
          Case
         Case   23-589, Document 74,
              1:17-cv-01290-DJS
                                     APPENDIX
                                     01/17/2024,
                                 Document   123 3604428,   Page260
                                                 Filed 04/01/22    of 264
                                                                Page  2 of 6
                                                                                       1511

       6.     Attached hereto as Exhibit 5 are excerpts from the criminal trial testimony taken

on August 23, 2016.

       7.     Attached hereto as Exhibit 6 are excerpts from the criminal trial testimony taken

on August 24, 2016.

       8.     Attached hereto as Exhibit 7 are excerpts from the criminal trial testimony taken

on August 25, 2016.

       9.     Attached hereto as Exhibit 8 is a copy of a witness statement entitled deposition

of witness, signed by Rebecca Parker, bearing Bates numbers 000493-000494.

       10.    Attached hereto as Exhibit 9 is a copy of grand jury testimony presented on

September 29, 2015.

       11.    Attached hereto as Exhibit 10 are excerpts from the Interrogation of Michael

Davis-Guider conducted on March 2, 2015.

       12.    Attached hereto as Exhibit 11 is the Rensselaer County 911 call sheet relating to

Davis’ February 26, 2015, call, bearing Bates number 000529-000531.

       13.    Attached hereto as Exhibit 12 is a copy of a witness statement entitled deposition

of witness, signed by Michael Bayley, bearing Bates numbers 000496.

       14.    Attached hereto as Exhibit 13 are excerpts from investigation conducted by the

Child Protective Services.

       15.    Attached hereto as Exhibit 14 is a copy of a witness statement entitled deposition

of witness, signed by Kathleen Crisafulli, bearing Bates numbers 000495.

       16.    Attached hereto as Exhibit 15 are excerpts of the deposition of Michael Sikirica

conducted on May 24, 2021.




                                              2
         Case
        Case   23-589, Document 74,
             1:17-cv-01290-DJS
                                     APPENDIX
                                    01/17/2024,
                                Document   123 3604428,   Page261
                                                Filed 04/01/22    of 264
                                                               Page  3 of 6
                                                                                      1512

       17.    Attached hereto as Exhibit 16 are excerpts of the deposition of Danielle Coonradt

conducted on May 28, 2021.

       18.    Attached hereto as Exhibit 17 is a copy of Danielle Coonradt’s supplement report

prepared on February 26, 2015.

       19.    Attached hereto as Exhibit 18 are excerpts of the deposition of Ronald Fountain

conducted on May 21, 2021.

       20.    Attached hereto as Exhibit 19 are excerpts of the deposition of Charles McDonald

conducted on May 26, 2021.

       21.    Attached hereto as Exhibit 20 are excerpts of the deposition of Timothy Colaneri

conducted on May 26, 2021.

       22.    Attached hereto as Exhibit 21 are excerpts testimony presented during the

criminal court suppression hearing conducted on May 3, 2016.

       23.    Attached hereto as Exhibit 22 are excerpts testimony presented during the

criminal court continued suppression hearing conducted on July 7, 2016.

       24.    Attached hereto as Exhibit 23 is a copy of the sign in sheet for the February 27,

2015, autopsy, bearing Bates number 000436.

       25.    Attached hereto as Exhibit 24 are excerpts of the deposition of Joel Abelove

conducted on May 28, 2021.

       26.    Attached hereto as Exhibit 25 are excerpts from the deposition of Adam Mason

conducted on May 21, 2021.

       27.    Attached hereto as Exhibit 26 is a copy of an email sent by Assistant District

Attorney Andra Ackerman on March 1, 2015.




                                              3
          Case
         Case   23-589, Document 74,
              1:17-cv-01290-DJS
                                       APPENDIX
                                     01/17/2024,
                                 Document   123 3604428,   Page262
                                                 Filed 04/01/22    of 264
                                                                Page  4 of 6
                                                                                         1513

       28.    Attached hereto as Exhibit 27 is a copy of the sign in sheet for the March 12,

2015, meeting held with defendant Sikirica, bearing Bates number 000439.

       29.    Attached hereto as Exhibit 28 is a copy of the final Autopsy Report issued by

defendant Michael Sikirica on April 14, 2015, bearing Bates number 000109-000123.

       30.    Attached hereto as Exhibit 29 is a sworn statement dated August 15, 2016, signed

by Russel Brown, bearing Bates number 0001538-001539.

       31.    Attached hereto as Exhibit 30 are excerpts of the testimony of defendant Adam R.

Mason given during the grand jury proceedings held on September 26, 2008.

       32.    Attached hereto as Exhibit 31 is a copy of a witness statement entitled deposition

of witness, signed by Russel Brown, bearing Bates numbered 001680-001681.

       33.    Attached hereto as Exhibit 32 is a copy of the July 20, 2016, Brady disclosures

served by the Rensselaer County District Attorney’s Office.

       34.    Attached hereto as Exhibit 33 is a copy of the indictment filed against plaintiff on

October 2, 2015 and signed by Joel E. Abelove.

       35.    Attached hereto as Exhibit 34 is a copy of the Troy Police Department arrest

report, bearing Bates number 000534.

       36.    Attached hereto as Exhibit 35 are excerpts from G.M.L. 50-h hearing conducted

by City of Troy on March 30, 2017.

       37.    Attached hereto as Exhibit 36 are records from the Rensselaer County Civil

Service Commission regarding defendant Sikirica’s employment.

       38.    Attached hereto as Exhibit 37 is a copy of an investigative report prepared by

defendant Fountain on March 1, 2015, bearing Bates number 000441.




                                                 4
         Case
        Case   23-589, Document 74,
             1:17-cv-01290-DJS
                                    APPENDIX
                                    01/17/2024,
                                Document   123 3604428,   Page263
                                                Filed 04/01/22    of 264
                                                               Page  5 of 6
                                                                                     1514

       39.    Attached hereto as Exhibit 38 is an Article Joseph McElheny Acquitted of

Manslaughter and Murder in Death of his 4-Month-Old Daughter, printed in the Saratogian, Oct.

12, 2011.

       40.    Attached hereto as Exhibit 39 is a copy of a post from The National Registry of

Exonerations, June 21, 2014, regarding Adrian Thomas.

Dated: New York, New York
       April 1, 2022

                                          BRETT H. KLEIN, ESQ., PLLC
                                          Attorneys for the Plaintiff
                                          305 Broadway, Suite 600
                                          New York, New York 10007
                                          (212) 335-0132

                                          By:     ______________________________
                                                  BRETT H. KLEIN




                                             5
           Case
          Case   23-589, Document 74,
               1:17-cv-01290-DJS  Document
                                            APPENDIX
                                      01/17/2024,
                                             123 3604428,   Page264
                                                  Filed 04/01/22    of 264
                                                                 Page  6 of 6
                                                                                                 1515

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------------------X

MICHAEL DAVIS-GUIDER,

                                                     Plaintiff,
                 -against-                                                           17 CV 1290 (DJS)

CITY OF TROY, RONALD FOUNDTAIN, Individually,
DANIELLE COONRADT, Individually, CHARLES MCDONALD,
Individually, TIM COLANERI, Individually, ADAM R. MASON,
Individually, RENSSELAER COUNTY, MICHAEL SIKIRICA,
Individually, and JOEL ABELOVE, Individually,

                                                     Defendants.

---------------------------------------------------------------------------------X




                               DECLARATION OF BRETT H. KLEIN




                                    BRETT H. KLEIN, ESQ., PLLC
                                       Attorneys for the Plaintiff
                                       305 Broadway, Suite 600
                                      New York, New York 10007
                                            (212) 335-0132
